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          10
                 Attorneys for Respondent DOORDASH, INC.
          11

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          13
                                            UNITED STATES DISTRICT COURT
          14
                                         NORTHERN DISTRICT OF CALIFORNIA
          15
                                                    SAN FRANCISCO DIVISION
          16

          17
                 CHRISTINE BOYD, et al.,                           CASE NO.
          18
                                     Petitioners,                  DECLARATION OF JOSHUA LIPSHUTZ IN
          19                                                       SUPPORT OF RESPONDENT DOORDASH,
                       v.                                          INC.’S NOTICE OF REMOVAL
          20
                 DOORDASH, INC.,                                   [Removal from Superior Court of California,
          21                                                       County of San Francisco, Case No. CPF-19-
                                     Respondent.                   516930]
          22

          23                                                       Action Filed: November 19, 2019
          24

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Gibson, Dunn &
Crutcher LLP

                   DECLARATION OF JOSHUA LIPSHUTZ IN SUPPORT OF RESPONDENT DOORDASH, INC.’S NOTICE OF REMOVAL
                   Case 3:19-cv-07646-WHA            Document 1-1        Filed 11/20/19      Page 2 of 326


            1           I, Joshua Lipshutz, certify and declare as follows:
            2           1.      I am an attorney admitted to practice law before this Court and all of the Courts of the
            3    State of California. I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record
            4    for Respondent DoorDash, Inc. (“DoorDash”) in the above-captioned action. I offer this declaration
            5    in support of DoorDash’s Notice of Removal of the instant action from the California Superior Court,
            6    City and County of San Francisco, to the United States District Court for the Northern District of
            7    California. I have personal knowledge of all the facts set forth in this declaration (unless otherwise
            8    noted), and, if called to testify, I could and would competently testify to them.
            9           1.      Attached hereto as Exhibit A is a true and correct copy of the Docket Sheet in Case No.
          10     CPF-19-516930.
          11            2.      Attached hereto as Exhibit B is a true and correct copy of the Summons served on
          12     DoorDash on November 19, 2019.
          13            3.      Attached hereto as Exhibit C is a true and correct copy of the Petition to Compel
          14     Arbitration, served on DoorDash on November 19, 2019.
          15            4.      Attached hereto as Exhibit D is a true and correct copy of the Civil Case Cover Sheet,
          16     filed by Petitioners in the Superior Court, City and County of San Francisco, on November 19, 2019.
          17            5.      Attached hereto as Exhibit E is a true and correct copy of the November 19, 2019 Proof
          18     of Service of Process of the Summons and Complaint of the above-captioned action.
          19            6.      Attached hereto as Exhibit F is a true and correct copy of the Ex Parte Motion for
          20     Temporary Restraining Order and Order to Show Cause, filed by Petitioners in the Superior Court, City
          21     and County of San Francisco, on November 19, 2019.
          22            7.      In accordance with 28 U.S.C. § 1446(a), Exhibits A through F include “all process,
          23     pleadings and orders served upon” the DoorDash in this action.
          24            8.      Attached hereto as Exhibit G is a true and correct copy of an arbitration demand filed
          25     with the American Arbitration Association (“AAA”) by Petitioner Felipe Rosas.
          26            9.      Attached hereto as Exhibit H is a true and correct copy of an arbitration demand filed
          27     with AAA by Petitioner Kaneisha Grim.
          28

Gibson, Dunn &
Crutcher LLP                                                        2
                   DECLARATION OF JOSHUA LIPSHUTZ IN SUPPORT OF RESPONDENT DOORDASH, INC.’S NOTICE OF REMOVAL
                   Case 3:19-cv-07646-WHA           Document 1-1       Filed 11/20/19      Page 3 of 326


            1           10.     Attached hereto as Exhibit I is a true and correct copy of an arbitration demand filed
            2    with AAA by Petitioner Irwin Allen.
            3

            4           I declare under penalty of perjury under the laws of the United States that the foregoing is true
            5    and correct, and that this declaration was executed on this 20th day of November, 2019, in Washington,
            6    DC.
            7

            8                                                                 /s/ Joshua Lipshutz
                                                                                 Joshua Lipshutz
            9

          10                                                  Attorney for Defendant DOORDASH, INC.

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Gibson, Dunn &
Crutcher LLP                                                       3
                   DECLARATION OF JOSHUA LIPSHUTZ IN SUPPORT OF RESPONDENT DOORDASH, INC.’S NOTICE OF REMOVAL
Case 3:19-cv-07646-WHA   Document 1-1   Filed 11/20/19   Page 4 of 326




             EXHIBIT A
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              EXHIBIT B
Case 3:19-cv-07646-WHA   Document 1-1   Filed 11/20/19   Page 7 of 326
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                                                                                                                                SUM-200(A)
   SHORT TITLE: Christine Boyd, et al. v. DoorDash, Inc.                                         CASE NUMBER:




                                                            INSTRUCTIONS FOR USE
       This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
       If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

   List additional parties (Check only one box. Use a separate page for each type of party.):

        X     Plaintiff             Defendant       Cross-Complainant             Cross-Defendant


   See Attachment A




                                                                                                                    Page    2      of       24
                                                                                                                                        Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California               ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                     Attachment to Summons
   Case 3:19-cv-07646-WHA   Document 1-1   Filed 11/20/19   Page 9 of 326




                            ATTACHMENT A

TREVON ABBASI; FERYAL ABBOODI; JENIN ABDELJABBAR; BASEM JAMAL
ABDELKHALEQ; TEVIN ABDESSIAN; STEPHEN ABDOU; BAKIR ABDULJABBAR;
MEDINA ABDULLAH; SAMUEL ABELS; SHARAREH ABHARI; YERZHAN ABILDIN;
ASHLEY ABNEY; TERRELL ABRAMS; SANDRA ABUNDIS; SIMON ACHVAN; LUIS
ACOSTA; ANGELA ADAMS; CHRISTOPHER ADAMS; THOMAS ADAMS; TONY
ADAMS; TREVON ADAMS; ADESOLA ADEOGUN; ERICSON ADINIG; ANDREW AFIA;
WILARD AGDEPPA; LANITA AGEE; EHDA AGHA MOHYALDIN; ROBERT AGOZINO;
AARON AGUILAR; AMBER AGUILAR; JOSE AGUILAR; JULIE AGUILAR; STEPHANIE
AGUILAR; SUSANA AGUILAR; LIZBETH AGUNDEZ; PATRICK AHERN; SHAHAB
AHMADPANAH; FILSUN AHMED; MEREDITH AIMONE; PAULINE AJAYI; AUJHANA
AKINS; DONNETTA AKINS; MAHMOOD AL GHAZAWI; OMER AL MASHAHEDAH;
ROMAN AL; LANA ALANIZ; MARIA ALARCON; OMAR ALAYA; MAGDI ALBARTY;
MUAYAD ALBAZIAN; VANICA ALBERT; ANDREW ALBRECHT; MAIA ALBRO;
ELISSA ALCALA; ALEXANDER ALCARAZ; STEVE ALCAZAR; CHRISTOPHER ALEJO;
NEHEMIAS ALEMAN; SAUL ALEMAN; JACOB ALESNA; CALONDRA ALEXANDER;
JENNIFER ALEXANDER; JOEL ALEXANDER; KAYLAH ALEXANDER; MARLA
ALEXANDER; RUDOLPH ALEXANDER; ROY ALFAJORA; ALEX ALFARAS; DENNY
ALFARO; ELIZABETH ALFARO; RAMON ALFARO; SHANNON ALFARO; AMANDA
ALFRED; JOSEPH ALFRESCO; SAM ALHADDADEN; DUAA ALHAJRI; MOHAMMED
ALIA; BERMUDEZ ALICIA; IRWIN ALLEN; MICHAEL ALLEN; MONIQUE ALLEN;
RENEE ALLEN; TIMEKA ALLEN; ALEXANDRIA ALLGOOD; MELISSA ALMARAZ;
YOUSEF ALMASRI; HAYDAR ALMAYALEE; ELIZABETH ALMENDAREZ; AMMAR
ALSHAWOSH; DIEGO ALTAMIRANO; MALCOLM ALUGAS; FRANCISCO
ALVARADO; VICTORIA ALVARADO; ADRIAN ALVAREZ; JEAN ALVAREZ; LILIA
ALVAREZ; MARISELA ALVAREZ; MILLY ALVAREZ; MICHAEL ALVARIZARES;
JUSTIN AMADOR; MARYAMAWEET AMARE; RICHARD AMARO; INGRID AMAYA;
NORA AMERICANO; RUDY AMESQUITA; AHSSANULLAH AMINYAR; JOSARA
AMMANN; RACHAEL AMOAH; FRANCISCO ANAYA; ISAAC ANAYA; ROMUALDO
ANAYA; ASHLEY ANDERSON; CASHLEY ANDERSON; CHARLES ANDERSON;
DAVID ANDERSON; DESIREE ANDERSON; FRANCIS ANDERSON; JOHN ANDERSON;
JONATHAN ANDERSON; JULIA ANDERSON; KAI ANDERSON; MICHAEL
ANDERSON; SHAWN ANDERSON; VICTORIA ANDERSON; YAMILB ANDERSON;
SHAYNA ANDERSON-SCHMIDT; SHAWNA ANDINO; JARED ANDRADE; KEVIN
ANDRADE; ROBERT ANDRADE; RAPHELLE ANDREWS; NADINE ANGUIANO;
RICARDO ANTILLON; MASOUD ANWARY; ANNETTE APODACA; ANTIMONY
APODACA; ARTHUR APPLING; JUSTIN AQUINO; EDGAR ARAMBULA; NICHOLAS
ARANDA; JERROLD ARANGORIN; JUAN ARAUJO; KAYLEE ARAUJO; PABLO
ARAUJO; MELISSA ARAYA; EVA ARCE; JAMES ARCE; ZAKARIA ARCHANE;
VINCENT ARCHIE; JAN COLEEN ARCINAS; KRISTI ARD; MELISSA ARELLANO; LUIS
ARENAS; ALICIA ARGUELLO; EDUARDO ARIAS; JAMES ARLOW; MANUEL
ARMENTA; ISAAC ARMSTRONG; JEANETTE ARMSTRONG; LINDA ARMSTRONG;
MICHAEL ARNETT; COREY ARNOLD; CALVIN AROMIN; DOMINIC ARREOLA;
DANIELA ARREY; ALFRED ARRINGTON; STEVEN ARTIGA; GEORGE ARTOPE;
MIGUEL ARVIZO; GLORIA ARZU; AKSEL ASADOURIAN; DEAN ASAMURA;

                                                                   Page 3 of 24
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ARLETTE ASCENSO; BRIAN ASHE; BRIANNA ASHLEY; ROGER ASHTON; MICHAEL
ASIS; MUH DARYOSH ASLAMI; TIMOTHY ASLAN; OMAR ASSAF; STEVEN ASSEF;
TIMONA ASUEGA; DION ASUNCION; YORDAN ATANASOV; ROZA ATIKYAN;
ALFRED ATKINS; LEANDRE ATKINS; ALEX ATTRILL; NATALIE AUBELE; AIDAN
AUSTIN; RASHEETA AUSTIN; CHRISTINE AVELAR; MICAH AVERY; JESUS
AVEYTIA; MARISSA AVILA METZ; DAWN AVILA; JARON AVILA; MONICA AVILA;
EMANOEL AVRAHEM; NASSER AWAWDA; THEO AWDNG; WILLIAM AYDLETTE;
ALESSANDRO AYER; JERIZA AYSON; AMIR AZARI; MELISSA AZEVEDO; NAVID
AZIZI; PAUL AZZOLINA; MOHAMED BAAGHIL; DOMINIQUE BACA; BRIAN
BACHAR; CHAD BACHMAN; HARMONY BACON; KATHY BADER; CHRISTIAN
BAEZ; MAMIE BAGBY; LENA BAGWELL; JAVIER BAHAMONDE; EDON BAINVOLL;
LAWRENCE BAISDEN II; LAQUANN BAKER; MARVIN BAKER; MEDINA BAKER;
SCOTT BAKER; TOMMY BAKER; TRACY BAKER; GAGANDEEP BAL; KENNETH
BALANON; JESSE BALDAIN; ROSARIO BALDERAS; VICENTE BALINTON; JENNIFER
BALL; JORDAN BALL; CHRIS BALLARD; DAMEONN BALLARD; GLEN BALZA;
ARCHANA BANDARU; JELANI BANDELE; JULIAN BANDERAS; GWENDOLYN
BANKS; KAYLA BANKSTON; KATHARINE BANTIGUE; ROBERTO BAPTISTA;
CHRYSTLE BARAJAS; DANIEL BARBA MORALES; MARCOS BARBA; ALICIA
BARBEE; MICHAEL BARBER; MICHAELA BARBER; TANNER BARBER; CARLOS
BARBOSA; PETER BARD; JESSICA BARFIELD; SONIA BARILLAS; BRIANA BARNES;
KATELYNN BARNES; STEVE BARNES; CAMERON BARNETT; JAMES BARNETTE;
TRINI BARON; JESUS BARRAGAN; CASSANDRA BARRANCO; ENRIQUE BARRERA;
GABRIEL BARRERA; MONICA BARRERA; MONICA BARRERA; JA'MONTEYANNA
BARRETT; ARIANA BARRIOS; REBECCA BARRON; VANESSA KAY BARRON;
DONALD BARRY; JEFFREY BARTNEK; ISIAH BARTOLOME; TREVEON BASKIN;
MOHAN BASNET; EVERETT BASS; OTIS BASSETT; BROOKE BASTIAANS; JARED
BASTIAN; THALIA BATISTA; ARIUNSAIKHAN BATKHUYAG; RYAN BATORICK;
LAUREN BATTAGLIA; THOMAS BATTAGLIA; AMRIT BATTH; AJANAI BATTLE;
CRISTINA BAUTISA; CRISTIAN MERRY BAUTISTA; STEVEN BAVIN; DERRICK
BAXTER; KIMBERLY BAYARDO; VERTIS BAYNE; JASON BEADLE; JOHNNY BEARD;
CHRISTOPHER BEARDEN; PATRICIA BEARDSLEY; GARINER BEASLEY; JONATHAN
BEASLEY; REGINA BEASLEY; JENNA BEATON; RODRICK BEAVERS; LUANA
BEAVERS-DELOACH; KAREN BECCAR; JEREMIAH BECK; ZACKARY BECKER;
DANNY BEDFORD; TONY BEDI; BENJAMIN BEERS; LAURIE BEHREND; DAOUD
BEITUNI; MIKE BELARDES; ANNA BELIEL; BRIANNE BELL; HUNTER BELL; JARED
BELL; TANISHA BELL; VINESHIA BELL; YVONNE BELL; MOUAADH BELLAL;
CONNIE BELLMER; EMMANUEL BELLO; WENDY BELMONT; SABRINA
BELMONTEZ; MIGUEL BELTRAN; HATEM BEN MILED; SARAJANE BENASSI;
OLIVIA BENAVIDES; VAHAN BENDIAN; SIMONE BENECH; TASHALLA-LYNN
BENFORD; ANDREA BENNETT; DOMINIQUE BENNETT; ENDIRA BENNETT; JACOB
BENNETT; MARISSA BENNETT; MICHAEL BENNETT; SARA BENSON; ANDREI
BERG; JAMES BERG; MATTHEW BERG; ALAYNA BERGMAN; FLOR BERMUDEZ;
DESSA BERNABE; CHRISTIAN BERNARD; OSCAR DE JESUS BERNARDINO FLORES;
SCOTT BERNAVE; ISHA BERRY; MICHAEL BERRY; RICHARD BERRY; SAMANTHA
BERRY; VINCENT BERRY; RICHARD BERTHIL; JACK BESSIERE; SENECA BEVERLY;
OZONE BHAGUAN; MUHAMMAD BHUTTA; JAMEE BIADORA; ANGELA BIBBS;

                                                                   Page 4 of 24
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MICHAEL BICKHAM; TANIA BIELECKI; LAUREN BIGORNIA; JONATHAN BIRD;
BOBBY BIRDI; ROBIN BIRDSONG VINCENT; JOSEPH BIRDSONG; JESSE BIRINGER;
BRETT BIRMINGHAM; ARRICK BISCHOFBERGER; CODY BISHOP; NICHELE
BISSETT; MIRHAD BJELEVAC; SAMANTHA BLACK; THERESA BLACK;
CHRISTANYA BLACKMAN; SANDRA BLACKMON; KERRY BLACKMORE; NICHOLE
BLACKWELL; STEPHEN BLAKE; SHAUWN BLAND; TROY BLANTON; JANETTE
BLEVINS; TANYA BLUE; TATIANA BLUFORD; EMMETT BLUNT; JASON BLYSTON;
NICHOLAS BOBER; JAKEH BODE; ALICIA BODWAY; RANDY BOEGLIN; NICHOLAS
BOESCH; RICHARD BOGOLUB; GENEVIEVE BOHAN; RONE BOLES; ROSZONNE
BOLTON; ALEXIA BOND; BARBARA BONDS; AUDREY BONGATO; CINTIA
BONIFACIO; CARMENA BOONE; MARCUS BOONE; ERIC BOOTHE; LASHAY
BOOZER; ALEJANDRO BOQUIREN; JASMYN BORDERS; SAMANTHA BORG; ROBERT
BORJAS; ALICIA BORREGO; CAMILLE BORROMEO; PAUL BOSLEY-PITTMAN;
DANIELLE BOSTIC; APRIL BOSWORTH; JOSH BOTELLO; CAMERON BOTHWELL;
MONET BOUNTHON; NADRA BOURDI; MONIKA BOWERS; SHAQUISHA BOWERS;
THEODORE BOWERS; CATHERINE BOYD; JONATHAN BOYD; ERIN BOYER;
AMANDA BOYETT; JOHN BOYLE; ROBERT BOYLE; BENJAMIN BRADFORD;
CARLOS BRADFORD; SAMANTHA BRADFORD; ANGELA BRADLEY; GARRETT
BRADLEY; STEVIE BRADLEY; THOMAS BRAGER; JA’SAWN BRAGG; WILLIAM
BRAJNIKOFF; REBEKAH BRANCH; YAQUII BRANCH; JONATHAN BRANNON;
COREY BRANTLEY; TAMEKIA BRANTLEY; JODI BRAUND; GEORGINA BRAVO;
JAYLEN BRENT; DESTINY BREWER; BRIAN BREWSTER; NAJA BRIDGEFORTH;
GREG BRIDGEWATER; TAWANA BRIDGEWATER; VICTOR BRIFFA; JUSTIN BRIGGS;
ANTHONY BRIGHT; DETRICK BRIGHT; MONIQUE BRIM; TANISHA BRINKLEY;
ROSA A BRIONES; MIYAKO BRISKER; GERARDO BRITO; RICARDO BRITO-
GONZALEZ; TRAVIS BRITTON; GAYLA BROOKINS; LATASHA BROOKS; OLIVIA
BROOKS; PARADICE BROOKS; SHERIA BROOKS; TESS BROWDER; HENRY BROWN
III; BARBARA BROWN; BRITANY BROWN; BRYSON BROWN; CHARLOTTE BROWN;
CHERELE BROWN; COLLEEN BROWN; DOMINIQUE BROWN; DONNASIA BROWN;
EARL BROWN; ELIJAH BROWN; HAROLD BROWN; HEATHER BROWN; JARRETT
BROWN; KENON BROWN; KIMBERLY BROWN; KRISTINA BROWN; LATOYA
BROWN; LAUREN BROWN; LORA BROWN; MARCELLES BROWN; MARGARET
BROWN; MARTEZ BROWN; MICHAEL BROWN; MONIQUE BROWN; NATALIE
BROWN; NIESHA BROWN; ROBYN BROWN; RODNEY BROWN; SABRINA BROWN;
STEVEN BROWN; TONISHA BROWN; AZIZA BRUMFIELD; KATIE BRUNIUS;
CARLTON BRUNNER; DUNCAN BRUNST; JULIA BRYAN; TERAN BRYAN-HOWELL;
JANNET BRYANT; KEVIN BRYANT; KIMBRIELLE BRYANT; LAQUISHA BRYANT;
LINDA BRYANT; ODEIRRE BRYANT; SHANTE BRYANT; GILBERTO BUENROSTRO;
EBONE BUGGS; MICHAEL BUI; VU BUI; ELMER BUNGAY; GURGEN BUNIATYAN;
MARISSA BURGESS; ALLISON BURKE; LAUREN BURKE; ANTHONY BURKS;
ANITRA BURMEN; BERNADETTE BURNIAS; CANDICE BURNS; MATTHEW BURNS;
TERRIA BURSEY; CODDIE BURTON; JALISA BURTON; ANNIE BUSHNELL; STEVEN
BUSTAMANTE; ARETTA BUTLER; MARLOW BUTLER; DAVION BYRD BYRD;
ROBERT BYRD; SHAWNA BYRD; CHRISTIAN CABANAYAN; AZEENITH CABANERO;
JEWEL CABIGAS; BRE CABIN; SAUL CABRAL; TOMAS CABRAL; ABIGALI
CABRERA; JORGE CACERES; CHLOE CALDASSO-SMITH; JOSE CALDERA;

                                                                   Page 5 of 24
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ANTHONY CALDERON; EARLE CALDERON; MICHAEL CALDERON; JASMINE
CALDWELL; MIA CALDWELL; RICKY CALDWELL; ROCIO CALENDA; KENNETH
CALICDAN; TYLER CALLAHAN; KARINA CALLAHAND; CARDELL CALLOWAY;
JENNIFER CALTON; JOHN CALUCIN; DANICA CAMAGONG; SAMANTHA
CAMAIONI; DON CAMANAG; GABRIEL CAMBRON; REGINA CAMERON; ASHLEY
CAMILLUCCI; KEYLI CAMPBELL; KIEMARA CAMPBELL; CAROL CAMPO; ATHIANE
CAMPOS; CAROLINA CAMPOS; MELINA CAMPOS; ARTHUR CANALES; CASEY
CANALES; LAURA CANAS; OLIVER CANBAZOGLU; JC CANNEGIETER; KIERRA
CANNON; SEAN CANNON; CARLOS CANTON; FRANK CANTORAN; AMANDA
CANTRELL; KRISTY CANTRELL; MARK CAPACCIO; CHRIS CAPRON; LASHAY
CARADINE; GREG CARAMELLA; JOHN CARANDANG; PATRICK CARDEA; RYAN
CARDENAS; CHRISTOPHER CARDINELLI; AARON CARDOZA; VERONICA CARGILL;
JOSEPH CARINI; JESSICA CARMONA; MICHELLE CAROLAN; JIMMIE CARPENTER;
RON CARPENTER; RYAN CARPENTER; SAMANTHA CARPINTERO; VICTORIA
CARPIO; CAMERON CARR; CARRADINE CARR; JERRY CARR; LA QUESHA CARR;
ROXANNE CARR; VONDETRICK CARR; CYNTHIA CARRANZA; JONATHAN
CARRASCO; MATTHEW CARRELL; RYAN CARRETHERS; BRANDON CARRIER;
MICHAEL CARRIERI; SANDRA CARRIERI; LISA CARRILLO; JASMINE CARRION;
NANCY CARRION; TIMOTHY CARRIZALES; STEVEN CARROLL; RENE CARSON;
BRANDON CARTER; CRAIG CARTER; NATHANAEL CARTER; PAUL CARTER;
RONNIE CARTER; SHAWNICE CARTER; ANTHONY CARVER; ISABEL CASALES;
JANELL CASCIA; JUDY CASE; MARSHAL CASE; KYLE CASEY; ANDREW CASH;
ARIELLE CASILLAS; ADRIANA CASSELL; EMILY CASTANON; ALEXIS
CASTELLANOS; JUANCARLO CASTELLANOS; PETE CASTELLANOS; TERRENCE
CASTILLE; CARLOS CASTILLO; CAROLINE CASTILLO; LEON CASTILLO; SAMUEL
CASTILLO; MONTE CASTON; DANIEL CASTRO; ELYSE CASTRO; EVELYN CASTRO;
FERNANDO CASTRO; JORGE CASTRO; LINDA CASTRO; MARITZA CASTRO;
MONICE CASTRO; LALITA CASTRO-KINH; KELLIE CATENA; APRIL CAUDILLO;
ANGELA CAVINESS; JEAN CAYABYAB; REAGAN CECCARELLI; MIAJOY CEDENO;
JASON CELESTIAL; TAMIKA CENTERS; ADRIAN CERDA; LUCAS CESPEDES; LUIS
CHABLÉ; KIMBERLY CHADWICK; BRENDA CHAIREZ; EBONEE CHAMBERS; KALIA
CHAMBERS; PESACH CHANANIAH; ZACHARIAH CHANCE; GARY CHANDLER;
JASMINE CHANDRA; RONALD CHANDRA; LYNN CHANEY; DARWIN CHANG;
SHENG-YANG CHANG; ALLEN CHANNEL; SUSIE CHANPHENG; SERENA CHAPMAN;
ELIZABETH CHAPMAN-ARATA; CRYSTAL CHAPPEL; DRAKE CHAPUT; DANIELLE
CHARETTE; KAAJAL CHARITRA; NAOMI CHARLES; JALEN CHARLESON; SERGIO
CHAVEZ; TAMMI CHAVEZ; ANDY CHEA; ALISHA CHEESEBORO; JIN GUANG CHEN;
SHEILA CHENAULT; ALEXANDER CHERENKOV; JUDITH CHESSER; ALVIN
CHETTY; AARON CHEUNG; MOEUN CHHEANG; JASON CHIANG; ARINZE CHIDOM;
RAJAY CHILDS; SHEILA CHILDS; SRITEJA CHILLARIGE; CHIKEZIE CHIMA;
ALEXANDER CHIRISHYAN; JERMAINE CHISM; KRYSTAL CHITTY; RAYMOND CHO;
JOHN CHOE; LACHIA CHRISTIAN; SAMUEL CHRISTIAN; SAMANTHA
CHRISTIANSEN; SAIMAN CHU; AMINMORN CHUENGMANKONG; IKEM
CHUKWUDIFU; CAMERON CHUMBLEY; RICHARD CHUNG; LINDA CISCO; ARTURO
CISNEROS; RICARDO CISNEROS; BACONGO CISSE; TRISHA CLABORN; KIMBERLY
CLARK BURRELL; CONRAD CLARK; JOSHUA CLARK; MICHAEL CLARK; TANEIKA

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CLARK; TERA CLARK; VIRGINIA CLARK; LESTER CLAROS; GIAN CLAUDIO; RICK
CLAYTON; JESSICA CLEMENTS; KAREN CLEMENTS; JOVITA CLEMONS;
JEANROBERT CLERVOIX; CHRISTOPHER CLEVELAND; ELLIOT CLEVELAND;
JENNIFER CLIFTON; MIKAELA COBB; CHRISTOPHER CODILLA; MARCIE COE;
DANNY COELLO; MARTIN COHEN; TANAE COLBERT; BREANNA COLEMAN;
DESTINY COLEMAN; KRISTINE COLEMAN; LAKESHA COLEMAN; ZACHARY
COLEMAN; ASHLEY COLGLAZIER; ANGELO COLLIER; AMBER COLLINS; SIMON
COLLINS; STEVE COLLINS; TANYA COLLINS; TINA COLLINS; CELIA COLON;
SANDRA COMBEE; CHRISTOPHER COMLY; MARVIN CONANT; ALEXIS
CONCANNON; CLIFFORD CONDELLO; KARRIANN CONLEY; TAYLOR CONLEY;
RYAN CONN; KODIAK CONRAD; MILES CONRAD; KRISHNA CONSTANCIO;
ALEJANDRO CONTRERAS; EDDIE CONTRERAS; JENNIFER CONTRERAS; JORGE
CONTRERAS; ROLANDO CONTRERAS; SHARON CONTRERAS; ALEX CONVERSE SR;
CHASE CONVERSE; DEMESHA CONWAY; JONATHAN CONWAY; MALIK CONWAY;
TAYLOR CONYERS; NICOLAS COOK LEON; JACQUEZ COOK; SANDY COOK;
FERNANDO COOK-MORALES; JON COOLEY; APPLE COOPER; KELLI COOPER;
MICHAEL COOPER; TRACY COOPER; MARTIN COPPA SR.; ANJELICA CORBETT;
RONISHA CORBIN; CASSIDY CORBOLINE; CHRIS CORDINGLEY; DANA CORDOVA;
JOHN CORDOVA; LORENA CORDOVA; VANESSA CORDOVA; CHERYL CORLL;
MAYRA CORONA; TINA CORONA; SALLY CORONADO; DANIEL CORPUZ; NICOLAS
CORRAL; EDMUNDO CORREA; TESSA CORREA; KEITH CORSI; MAYRA CORTES;
RAMIRO CORTEZ ROMAN; ELLIE CORTEZ; FEISAL CORTEZ; MICHAEL CORTEZ;
BIANCA CORTINAS; SHELIYA COSBY; STEPHANIE COSIO; MARK COSTELLO;
SHARI COSTON; ANDREA COTA; RAYMOND COTA; LARRY COTTON JR; ANGELA
COTTON; SANDRA COURTNEY-SIMS; LASHAE COUSIN; DOROTHY COUSINS;
EMMA COUVILLION; MARIO COX; TASHA COX; ALEXIS COZZI; DIIYMILEA
CRAFTON; IBOETE CRAIG; LISA CRAIN; FELICIA CRAPIA; OWEN CRAVER;
CABONIA CRAWFORD; LEKEITRA CRAWFORD; JAWARA CRICHTON; ANGELA
CRISWELL; DANIELLE CROCKER; CHELSEA CROIL; JAMES CROPPER; ERICKA
CROSBY; VANESSA CROTEAU; JASMINE CROUCH; DESAMONA CROWDER;
GRAYCE CROWDER; BRYNN CROWLEY; JASON CROWLEY; WESLEY CRUM;
MERCEDES CRUMBY; ANA CRUZ; DIXIE CRUZ; JORGE CRUZ; MARIA CRUZ;
JENNIFER CSISZAR; MANUEL CUENCA; MELANIE CUI; SHAYNE CUI; ASHLEE
CUMMINGS; AARON CUMPTON; MARIA CUNANAN; KAREEM CUNNINGHAM;
TERRA CUPP; BRANDON CUPPOLETTI; TINISHA CURLEY; DEJANA CURRY;
WILLIAM CURRY; LATANYA CURTIS; STEPHANIE CURTIS; JAMIE CZELUSNIAK;
JOSHUA CZUPOWSKI; KAREN DADALT; DILJOT DAISY; ALEXANDER DALE;
CAITLIN DALTON; JOIA DANAI; VICTOR DANDRADE; JOSEPH DANGLER; EBONY
DANIELS; EMMITT DANIELS; ERIKA DANIELS; KYESHA DANIELS; MICHALAY
DANIELS; LORI DANIELSON; DANIEL DAVIDSON; FELIPE ROSAS; CAROLYN
DAVIO; JOHNATHAN DAVIS II; JASON DAVIS JR; ADAM DAVIS; BRIELLE DAVIS;
CAMERON DAVIS; CHARDANEY DAVIS; CHARRICE DAVIS; CHRISTINE DAVIS;
CHRISTINE DAVIS; DANA DAVIS; DARREN DAVIS; DASIA DAVIS; DONYEA DAVIS;
GABRIELLA DAVIS; JESSE DAVIS; JONATHAN DAVIS; KARRI DAVIS; LAKIESHA
DAVIS; NATHANIEL DAVIS; RONNIE DAVIS; RYAN DAVIS; SHAUNDA DAVIS;
VALERIE DAVIS; VICTORIA DAVIS; TADEH DAVTIAN; GUADALUPE DE ALBA;

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CILIA DE ARAÚJO; MELISSA DE CASTRO; ROBERT L DE FRANCE JR; MANUEL DE
GONZALO; LAVVED DARYLL DE GUZMAN; ROBERT DE LA CRUZ; MARCO DE LA
LUZ; MARLON DE LA TORRE; MAYBETH DE LA TORRE; FREDDIE DE LEON;
RICHARD DE LOS REYES; CHRISTINA DE PAZ; GREGORY DEAN; MATTHEW DEAN;
TANGIE DEBERRY; FARID DEBIT; NICHOLAS DEBRITO; GRETA DEDMON; SHARON
DEESE; JOSEPH DEGIROLAMO; IVAN DEJESUS JE; KAREN DEKRUIF; JAMES
CARTER DEL ROSARIO; CYNTHIA DELA CRUZ; RHYAN DELA CRUZ; MICHAEL
DELANEY; PETER DELATORRE; MY DELBRIDGE; JENNIFER DELEON; NICHOLAS
DELEON; MARIO DELGADO JR; CHRISTOPHER DELGADO; PAM DELGADO; PEDRO
DELGADO; EDELIZA DELOS SANTOS; ERIC DELRIO; KRISTINE DELROSARIO;
ELIZABETH DELUCIA ROGERS; BENJAMIN DEMERS; MANUEL DEMPSEY;
LIVINGSTON DENEGRE-VAUGHT; JIAHAO DENG; KYMBERLI DENNETT;
JACQUELINE DENTON; CYNTHIA DERITA; RYAN DESCHAINE; DANIEL DESMOND;
JAYANTH DEV; ANTHONY JAMES DEVIEW; CAMERON DEVORE; CHRISTINE
DEVORE; LISA DEWITT; ARA DEYLAN; ARIS DEYLAN; GURJOT SINGH DHALIWAL;
ANGI DIAMOND; ALVERA DIAS; ALEJANDRO DIAZ; ALFREDO DIAZ; ALYSSA DIAZ;
ELIANA DIAZ; JOANNE DIAZ; LUIS DIAZ; OLIVIA DIAZ; CASSIDY DICK; DYLAN
DICKERSON; JAMES DICKERSON; BREANNA DICKINSON; BRITTANY DICKINSON;
CHRISTOPHER DIEGO; KATIE DIETERLY; JABULANI DILL; DARBI DILLON; TAYLOR
DILLON; CHERIKA DILWORTH; DEVONTAY DIMERY; IRVIN DINA; SON DINH;
HALEY DIPALMA; KASCIMA DIRIENZO; WILLIAM DISKIN; ALEX DISTEFANO;
NICOLE DIXON; TIMOTHY DIXON; SAM DLUZAK; JASON DOAN; LESLEY DOAN;
DEREK DODGE; JENNIFER DOKEY; MICHELLE DOMINGUEZ; VERONICA
DOMINGUEZ; WILLIAM DONALDSON; CONSTANTINO DONDIEGO; GIAO DONG;
JOHN DORAN; JAMES DORANTES; DON DORIA; JULIE DORMIRE; SHAWN
DORMISHIAN; YVONNE DORSEY; AUBREY DOUGLAS; CHRIS DOUGLAS; KENNETH
DOUGLAS; TAEJANE DOWNS; PAUL DOXIE; SHAYLYNN DOXIE; JODI DRAEGER;
TAMMY DRAPER; NATASHA DREW; YURIY DROBENYUK; JOHNATHAN DUARTE;
RYAN DUCUSIN; DOMINIC DUFOUR; BRANDON DUNCAN; MASON DUNCAN;
KELLY DUNN; MICHAEL DUNN; KATARINE DUNNING; NGHIA NHAN DUONG;
DEMETRIUS DUPREE; MEGAN DURAN; STEPHANIE DURAN; HUNTER DURAND;
RYAN DURELL; SHAY DURISSEAU; KYLE DURNFORD; STEPHANN DURR; SHOBNI
DUTT; LAUREN EACH; SHANALL EADDY; JAJUAN EARL; CHRISTOPHER EARL-
ROCKEFELLER; LESLY EARNEST; JANICE EASON; SHANTELLE EASTER; RYAN
EATON; DESTINY ECHOLS; ALEX ECK; CASSANDRA EDILLORAN; SHERRY
EDLUND; VIOLET EDMUNDS; BRANDAN EDWARDS; CEDRIC EDWARDS;
MATTHEW EDWARDS; TAJA EDWARDS; VANESSA EDWARDS; IGOR EFIMOV;
TATIANA EFIMOVA; ETHAN EICH; DAVID EISENBART; ROBIN EISMAN; AKRAM
EISSA; LA’RHONDA ELAM; MISTY ELDER; BIANCA ELEAZAR; EMMANUEL
ELENDU; RAAFAT ELHENAWY; DEMETRIUS ELKINS; DESTINY ELLINGBERG;
LAKITA ELLIOTT; CHRISTIAN ELLIS; DERRICK ELLIS; JACOB ELLIS; KIMBERLY
ELLIS; AHMED ELMEHEY; AHMED ELSHARKAWY; HEATHER ELVIN; PAUL ELZIE;
JERELL ENCALADE; CASAUNDRA ENDRES; MICHELLE ENGEBRETSON;
SAMANTHA ENGLAND; VICTORIA ENGLAND; RANDY ENGLEKIRK; VERONICA
ERAZO; DAVID ERICKSON; LAWRENCE ERISPE; ANGELICA ESCAMILLA; AMANDA
ESCOBAR; GIOVANNI ESCOBAR; LORENA ESCOBAR; NANCY ESCOBAR; ROBERT

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ESCOBAR; JESSICA ESCOBEDO; BIANCA ESCORCIO; MASOOMEH
ESHRAGHINOMANDAN; BESHOY ESKAROUS; MICAELA ESPARZA; RALPH
ESPARZA; ERIKA ESPERICUETA; JULIO ESPINO; ALINA ESPINOSA; FRANK
ESPINOZA; JOSEPHINA ESPINOZA; NEPTALY ESPINOZA; RODRIGO ESPINOZA;
LAUREN ESQUER; MAYRA ESQUIVEL; BOB ESTEFANI; JAVIER ESTRADA; JULISA
ESTRADA; LINDA ESTRADA; SELENA ESTRADA; MELE ETEAKI; SASHA ETHRIDGE;
BRANDI EUBANK; MICHAEL EUBANK; IRMA EUBANKS; HYOMI EUM; KAIRO
EVANS; KIMBERLY EVANS; MICHELLE EVANS; NICOLE EVANS; TIM EVANS;
THOMAS EVANSSAINE; JAMES EWING; SARAH EWING; MICHELLE FACIONES;
EMILY FAHEY; KARIEM FAHMY; ANTHONY FAIRBANKS; VANESSA FALCAO;
RICHARD FALCON; COLETON FALKE; LETICIA FALLA; JAMES FARAG; ZAKIYA
FARD; MAGDY FARID; STEPHANIE FARIN; DUSTAN FARR; FIONA FARRELL;
KHAMILLE FARRIS; ARVIN FARZANEGAN; KAVEH FATA; FARZAD FAZEL;
RACHEL FEDDEN; EVELLE FEJERAN; RHONDA FELIX; EDSON FERNANDES;
JOSEPH FERNANDES; CAMERON FERNANDEZ; DARIO FERNANDEZ; DEXTER
FERNANDEZ; FARO FERNANDEZ; GABRIEL FERNANDEZ; JENNIFER FERNANDEZ;
MIKE FERNANDEZ; TAISA FERNANDEZ; MARIA FERRER; JASSICA FETUU; AMBER
FIELDS; DONYAE FIELDS; LEATRICIA FIELDS; TOMICA FIELDS; TORRIN FIELDS;
CHRISTOPHER FIGUEROA; MAXIMO FILIPPINI; AUDRA FILLION-ALBERT; SILAS
FINCH; JOSEPH FINCHER; SHAWNA FINK; TIFFANY FINNEY; JESSICA FISHER;
WAKEEIA FITZGERALD; BRIANNA FLEMING; ATLEY FLENNER; CHERYL
FLETCHER ZARICH; NALANI FLINT; RUSSELL FLISK; ALEXIS FLORES; AMANDA
FLORES; BEN FLORES; EDGAR FLORES; EDGAR FLORES; GLORIA FLORES; JACOB
FLORES; LIUIS FLORES; MARISSA FLORES; MATTHEW FLORES; PAOLA FLORES;
RANDY FLORES; ROGER FLORES; SONYA FLORES; STEPHAN FLORES; SHEA
FLORESESPINDOLA; MAXIMUM FLOURNOY; LUDLOW FLOWER IV; ALISSA
FLOYD; JENISE FLOYD; RUDDIE FLOYD; JEREMY FODOR; MAIA FOELSCH; JACLYN
FOGLE; TUESDAY FOMAN; ADRIAN FONDA; BRITTNEY FONSECA; SHEILA
FONSECA; ANDREA FOPPIANO; CONNOR FORBES; ONTEIRO FORD; STEVEN FORD;
STAR FOREMAN; TINA FORTE; ANTOINE FOSTER; MIKE FOSTER; YOUSEF
FOTOVAT; AUGUST FOUCAULT; AMBER FOWLER; DEVYN FOWLER; ASHLEY
FRAME; SURINITY FRANCIS; YVONNA FRANCIS; RAMON FRANCO JR; GEDDY
FRANCO; JOSEPH FRANCO; CHRIS FRANKLIN; SHETARA FRANKLIN; JANAE
FRAZIER; TIERRA FRAZIER; RENEE FREDERICKSEN; ALICIA FREEMAN; SAMUEL
FREEMAN; RICKELLE FREENY; CALVIN FREER; RASHAD FRENCH; ALEXIS FRIAS;
KAITLYN FRITH; ALEC FROST; AMIR FROZANO; SHERYL FRY; ROBERT FRYE;
CHRISTINA FUCHS; JED FUCHS; BERNARDO FUENTES; MARK FUENTES; CLARISSA
FULLER; MICHAEL FULLER; ALLYSSIA FUNICELLIO; LASHANTA FURNACE; TYLER
FURUSHO; WADE FUSSNER; MARIANA G LEAL; SONIA G MCCORMACK; WALID
GAD; ARJUN GADKARI; BRIANNA GAETA; HECTOR GAGLIARDI; LISA GAILEY;
BRIANA GAINES; MICHAEL GAITHER; TROY GALA; JESSICA GALDAMEZ; KAITLIN
GALE; STEPHANIE GALICIA; ELIANA GALINDO; MELODY GALIZADEH; HAYLEY
GALLAGHER; SEAN MICHAEL GALLAGHER; RICHARD GALLARDO; SONIA
GALLEGOS; IRMA GALLO; BRYAN GALVAN; HEATHER GALVAN; MUNKHBOLD
GANBOLD; RENA GANT; ANTONIQUE GANTT; ALISA GARBER; ALEXANDER
GARCIA; ALONDRA GARCIA; AMADO GARCIA; CRISTINA GARCIA; DANIEL

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GARCIA; EFRAIN GARCIA; GEORGE GARCIA; ISSAC GARCIA; JIMMY-EUGENE
GARCIA; JOHN GARCIA; JONATHAN GARCIA; LUIS GARCIA; MAKAELA GARCIA;
MARC GARCIA; MARCUS GARCIA; MELANIE GARCIA; MELODY GARCIA; NATALIA
GARCIA; ROCIO GARCIA; SAMUEL GARCIA; SAUL GARCIA; VASTI GARCIA;
VICTORIA GARCIA; YVONNE GARCIA; ZEIDA GARCIA; ALEX GARCIA-ROBLES;
CHRISTOPHER GARDNER; DAVID GARDNER; KIMBERLY GARNER JONES;
KASHINA GARNER; JENNIFER GARNICA; ERICK GARRETT; SAVANNAH GARY;
BRITTNEY GARZA; MITCHELL GASKEY; NICKOLAS GATES; ROBIN GATES;
NAILAH GATEWOOD; RONALD GATEWOOD; GINNY GAUCHER; CHIRANJIBI
GAUTAM; GILBERT GAW; MARCUS GAY; TANYA GAYLOR; KARI GAYLORD;
NATHAN GAYTAN; MARISSA GAZCON; ASGEDOM GEBRE; CALEB GEBREWOLD;
ALEX GEORGE; CHERELLE GERRALD; COLE GERSON; ALEXANDER GETTLIN;
GHIASS GHAUSS; SHAHIN GHAZIASKAR; HOSSEIN GHAZIPOUR; SAMILA
GHOMESHI; ASHLEY GIBBS; DONALD GIDDINGS; JULIAN GIGOLASANVANSAN;
RYAN GIGUERE; ALICIA GILBERT; KAILANI GILBUENA; OWEN GILCHRIST;
BRENDA GILES; DANIEL GIL-FERNANDEZ; ASHLYN GILKEY; KRISTY GILL;
MICHELLE GILL; MEGAN GILLETTE-MCCARTHY; GARY GILROY; PATRICIA
GIMLEN; LISA GIORDANELLI; TAYRON GIOVANI; JASMIN GIPOLAN; MIANI GIRON;
NICHOLAS GIZDICH; SAMANTHA GJERDE; VIVIANA GLAPA; CHARLOTTE GLASS;
JORGE GODINEZ; ALLAN GODOY; JESSICA GODOY; BENNETT GOERTZ; MARTIN
GOES; GREGORY GOFF; KEVIN GOLCHIN; ANDREW GOLDENBERG; SHEYLA
GOMEZ LESSIUR; ALMA GOMEZ MARQUEZ; CORNELIO GOMEZ; DANIEL GOMEZ;
DANIEL GOMEZ; DEIDRA GOMEZ; FEDERICO GOMEZ; GILBERTO GOMEZ;
MERCEDES GOMEZ; NICOLE GOMEZ; RAUL GOMEZ; VICTOR GOMEZ; SONYA
GONCHARENKO; SHAWN GONEZ; AARON GONZALES; GREGORIO GONZALES;
JESSICA GONZALES; JOE GONZALES; ROBERT GONZALES; ANDRES GONZALEZ;
BRYAN GONZALEZ; CESAR GONZALEZ; CHRISTIAN GONZALEZ; CYNTHIA
GONZALEZ; DAVID GONZALEZ; DELANNA GONZALEZ; DIANA GONZALEZ;
ENRIQUE GONZALEZ; FRANCISCO GONZALEZ; GERALD GONZALEZ; HECTOR
GONZALEZ; ISABEL GONZALEZ; ISRAEL GONZALEZ; JACOB GONZALEZ;
MARCELO GONZALEZ; MARIACRUZ GONZALEZ; MAURO GONZALEZ; MEGAN
GONZALEZ; MONSERRAT GONZALEZ; PAUL GONZALEZ; CAITLYN GONZALEZ-
SAINZ; NICOLE GOODAN; SHAHIN GOODARZI; CASEY GOODMAN; DENISE
GORDON; SABRINA GORDON; TIMOTHY GORDON; DANIEL GORMAN; MARIANNE
GORSICH; ELIZABETH GOSA; GUY GOTTLIEB; CONOR GOULART; JORDAN
GOVORKO; SEENA GOWA; NICK GRAFF; HAYLEE GRAHAM; LYLE GRAHAM; ERIK
GRANADOS; BILLY GRANDY; ANDREW GRANILLO; DEVIN GRANT; LANESHA
GRANT; ANTHONY GRAY; BOBBY GRAY; TYRONE GRAY; VANESSA GRAY;
XAUDIA GRAY; JUSTIN GRAZE; KIMBERLY GREANEY; BRANDON GRECO; TINA
GRECO; ADAM GREEN; DANTE GREEN; JAMES GREEN; AJA GREENE; ANDRE
GREENE; DANIELLE GREENE; LAYLA GREENE; YAVAUNNE GREENWOOD;
MELINA GREGORIO; AMANDEEP GREWAL; GULAL GREWAL; LATASHA GRIDER;
LANORA GRIFFIN; KANEISHA GRIM; JASMINE GRISBY; WILLIAM GRISWOLD;
WESLEY GRIZZELLE; BENJAMIN GROVE; STEPHANIE GROVER; ADAM GRUBER;
JEANNIE GRUMMITT; ARYN GRUSIN; AARON GUARDADO; ELLEN GUDINO; SHANE
GUENTHER; IRENE GUERRA; ISAAC GUERRERO; JASON GUERRERO; KEVIN GUILD;

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DANIELA GUILLEN; GILBERTO GUILLEN; RICK GUILLEN; JAKE GUINN; REBECCA
GULLETT; DUSHAWN GULLEY; DAVID GULLIFORD; ANDREW GULMATICO;
SHAMEEKA GULTRY; YIQUAN GUO; RAJESH GUPTA; KUMAR GURUNG; ANAIS
GUTIERREZ; ANTONIO GUTIERREZ; CHRISTIAN GUTIERREZ; ELIJAH GUTIERREZ;
JORGE GUTIERREZ; JOSE GUTIERREZ; MATEO GUTIERREZ; OMAR GUTIERREZ;
RICKY GUTIERREZ; ROSARIO A GUTIÉRREZ; JESSE GUTTERMAN; MARTHA
GUTTIERREZ; EMILIANO GUZMAN; MARK GUZMAN; RIGOBERTO GUZMAN;
STEPHANIE GUZMAN-FERRAN; AUSTIN HA; DAT HA; JASHAWNAH HA; THUHAN
HA; ALEXUS HADNOT; IRLANDA HADNOT; CHARLES HAFRON; KIM HAGEL;
LAURA HAGGINS; DYLAN HAIGHT; ROBIN HALEY; DYLLAN HALL; LAURA HALL;
MARTIN HALL; RYAN HALL; ROSSANA HALLUM-JOHNSON; ANDREW HAM;
KATELYNN HAMBLEY; JENNIFER HAMEN; AHMAD SAMIM HAMID; DOMINIC
HAMILTON; LATARSHA HAMILTON; TIFFANH HAMILTON; TREVOR HAMILTON;
MATTHEW HAMMAR; LATOYA HAMMONDS; DAVID HAMMONJR; JEREMY
HAMON; JOSHUA HAMPTON; CATHERINE HANEY; DESSERI HANSEN; MICHELLE
HANSEN; MARIE HARBAUGH; BRYCE HARDER; DONELL HARDIN; DAMONT
HARDNETT; ERIC HARDY; CHRISTIAN HARGROVE; DOMINICK HARGROVE;
ALAJAH HARPER; ALEXIS HARPER; BRIGETTE HARPER; KAYLE HARPER;
LAQUICHE HARRELL; ANTHONY HARRER; ALEXIS HARRIS; ANTIONE HARRIS;
APRIL HARRIS; JADE HARRIS; JORDAN HARRIS; KIMBERLY HARRIS; LOGAN
HARRIS; MELITA HARRIS; PATRICIA HARRIS; SANDRA HARRIS; SHARLESE
HARRIS; SHAUNA HARRIS; THEREA HARRIS; LISA HARRISON; ROBERT HARRISON;
ELISHA HARRY; MIKE HARSINI; GAYLE HART; KELLY HART; BRIAN HARVEY;
CHRISTA HARVEY; SARA HARVEY; MATTHEW HASEMEIER; MOHAMMED
HASSAN; HANNAH HATCH; DEBORAH HATLER; ALEX HATTEN; KAYLA
HAVERKORN; LISA HAWKER; ANDREW HAYDEN; SUZANNE HAYES; SANDRA
HAYHURST; JEANNIE HAZELL; MYLES HECHT; PAUL HEEMANN; ZYLO HEFFERAN;
CHRIS HEFNER; JUANITA HEIDELBURG; MICHAEL HEINTZ; GRETCHEN HEINZ;
RANDY HELSEL; ELIZABETH HEMPHILL; ANTHONY HENDERSON; HEATHER
HENDERSON; MICHELEA HENDERSON; TORRELL HENDERSON; VANESSA
HENDERSON; NOAH HENDRICKSON; CHANDRA HENKE; YONEL HENRI; DEYSI
HENRIQUEZ; HANCY F HENRY JR; BREEAUNNA HENRY; MICHAEL HENRY; SALLIE
HENRY; KONNOR HEREDIA; CODY HERMANSON; REYNA HERNADEZ; NINA
HERNANDES; SIXTA LETICIA HERNANDEZ BLAS; JOCELYN HERNANDEZ GOMEZ;
ALISA HERNANDEZ; ATHENA HERNANDEZ; CATERINE HERNANDEZ; GABRIEL
HERNANDEZ; GEORGE HERNANDEZ; GUILLERMO HERNANDEZ; HECTOR
HERNANDEZ; JESSICS HERNANDEZ; JOSUE HERNÁNDEZ; MARLENA HERNANDEZ;
MAX HERNANDEZ; ROCHELLE HERNANDEZ; DAVID HERR; BREANNA HERRERA;
DARLENE HERRERA; FERDINAND HERRERA; JOEL HERRERA; MATTHEW
HERRERA; MOISES HERRERA; PAUL HERRERA; DARRELL HERRON; ERFAN
HETTINI; TONI HEUCHAN; AUTHER HEWITT; SHANTIANA HICKS ENGLISH; GARY
HICKS; MATTHEW HICKS; JAUNET HICKSON; DAVID HIDALGO; ADRIAN HILK;
ALICIA HILL; AMAENDA HILL; ANTHONY HILL; GREGORY HILL; RYAN HILL;
SHANNEN HILL; TASHA HILL; BRITTANY HILLIARD; COREY HILSENBECK; JUSTIN
HILTON; SOPHIA HIRANO; NIKKI HOARD; EDUARDO HOCHER; WALTER
HOCHREIN; KORY HOCKER; ANDREW HOFFMAN; KEVIN HOFFMAN; ROBERT

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HOFFMAN; SHALINDA HOGAINS; KAMILAH HOGAN; JUSTIN HOLAN; DARNELLE
HOLCOMB; DANIELLE HOLLAND; ELVIN HOLLAND; MICHAEL HOLLAND; PIERRE
HOLLAND; TEMIA HOLLIDAY ARCHIE; LAWRENCE HOLLIDAY; HOLLY
HOLLINGSWORTH; BRANDON HOLLIS; TERESA HOLLIS; LATISHA HOLLOWAY;
BREANNA HOLMES; BREANNA HOLMES; KEATON HOLTER-HAMILTON;
MOHAMMAD MASSOUD HOMAYOUN; SHAUIB HOMRAN; KENNETH HOOD;
BRESHON HOOKER; KENDRA HOPKINS; REQUEL HOPKINS; TINA HOPKINS; DAVID
HOPTMAN; JUNE HORCASITAS; IAN HORST; ERICK HORTA; GRANT HORTON;
ISAJAH HORTON; DANIELLE HOUK; JAMES HOUR; JOHN HOUSE; AMBER HOUSER;
JAMIE HOWARD; NICOLE HOWARD; NICOLE HOWARD; PAULA HOWARD; PORSHA
HOWARD; SHARON HOWARD; TED HOWARD; VAN HOWARD; JAMES HOWELL;
ALYSE HOY; RYAN HOY; HENRY HUANG; KAITLIN HUBBARD; LETICE HUBBARD;
TAYLOR HUBER; KENNETH HUERTA; ANDREW HUFF; BRANDON HUGGINS;
CARRIE HUGGINS; HOLLY HUGHES; MARTHA HUGHES; TIFFANY HUGHES;
MELISSA HUITRON; ALEXANDAR HULL-RICHTER; KAYONE HUMPHREY; BRENT
HUMPHREYS; BRIGITTE HUMPHRIES; JASMINE HUNT; KAROL HUNT; CARITA
HUNTER; CASSANDRA HUNTER; RASHAWNN HUNTER; TINA HURSEY; RAMON
HURST; JASMINE HUSAK; MICHELLE HUSER; AHMAD HUSSAIN; SABER HUSSAIN;
ETHAN HUTCHINS; GRANT HUTCHINS; TONY HUTCHINSON; LORNA HUYCKE;
HOANG HUYNH; MICHAEL HUYNH; THINH HUYNH; CHERI HYATT; FRANCES
HYDER; MEEKER HYMES; GAYLAN HYSON; CARLOS IBARRA; ROXANNE IBARRA;
PAULINE IBARRA/ALVARADO; HECTOR IBOA; FOWSI IBRAHIM; KHONGORZUL
IDERKHANGAI; RENNET IGUNBOR; OBINNA IKERIONWU; STEPHANIE INCLAN;
JAMIE INGLET; SHANNON INGRAM; EMILY INGRAO; SABRINA INOCENCIO;
IVANIA ISASSI; DAVID ISRAEL; TIGRAN ISRAELYAN; MAGDI ISTAFANOS; JAY
IVAN; JOANNE IVY; JOHNNIE IWABUCHI; RACHEAL IYIOLA; RAQUEL JACHETTA;
BONNIE JACKSON; BRIAN JACKSON; DESIRAY JACKSON; DOMINIQUE JACKSON;
GREGORY JACKSON; HEATHER JACKSON; JOSHUA JACKSON; KAYLA JACKSON;
SHANINE JACKSON; TIFFANY JACKSON; VONCHELLE JACKSON; ALYSSA JACOBS;
KRYSTA JACOBSON; SHAYNA JAI; SALAZAR JAIME; BRANDIE JAMES; BRYSHA
JAMES; FRANC JAMES; CHRISTOPHER JAMISON; ANGELO JARAMILLO; GABRIEL
JARAMILLO; DOMECIA JASPER; BRANDON JAUREGUI; JACOB JAUREGUI; JORDAN
JAVAHERI; EGAL JAVANFARD; ARTHUR JAVIER; RICHARD JEANJACQUES; RAMON
JEFFERSON; STEVEN JEFFERSON; CATHY JENKINS; GILBERT JENKINS; JAQUIERIA
JENKINS; AMBER JENNINGS; JESSE JERONIMO; CHEVON JEX; THOMAS JIA; SYED
MUHAMMED ALI JILANI; BRANDON JIMENEZ FLORES; GLADYS JIMENEZ; JAKE
JIMENEZ; JUAN JIMENEZ; MARIANA JIMENEZ; RAFAEL JIMENEZ; ALEXANDER JO;
GORDON JOE; LOUIE JOEL; SHONTAL JOHNSON; ALISHA JOHNSON; AMANDA
JOHNSON; ANGELA JOHNSON; ANTHONY JOHNSON; ASHLEY JOHNSON; CHRISTA
JOHNSON; DAMON JOHNSON; DENISE JOHNSON; DUANE JOHNSON; ERIC
JOHNSON; ERIK JOHNSON; ERIKA JOHNSON; ILIANNA JOHNSON; JANINE
JOHNSON; JARRELL JOHNSON; JAY JOHNSON; JESSICA JOHNSON; JOHNNY
JOHNSON; JORDEN JOHNSON; LASHONA JOHNSON; LAURA JOHNSON; LEKEISHA
JOHNSON; LISA JOHNSON; MARCUS JOHNSON; MARIA JOHNSON; MARIAH
JOHNSON; MARVIN JOHNSON; NIKOLI JOHNSON; NORMAN JOHNSON; REGINALD
JOHNSON; ROSHAWN JOHNSON; SHAYLA JOHNSON; SONDRA JOHNSON; STEVEN

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BAIS - JOHNSON; SUSIEJEAN JOHNSON; THOMAS JOHNSON; TORI JOHNSON;
TYLER JOHNSON; TROY JOHNSTON; ADDISON JONES; ALAINA JONES; ALLISON
JONES; BRENDA JONES; CHAVONNE JONES; DANIEL JONES; DONALD JONES;
ELLIS JONES; EMERALD JONES; FRANKLIN JONES; GERICA JONES; GILJANINE
JONES; JAIME JONES; JENNIFER JONES; JESSICA JONES; JOKI JONES; KAYLA
JONES; KEN JONES; LAHEAVEN JONES; MELISSA JONES; NOELL JONES; PHAEDRA
JONES; RICARDO JONES; ROCHEL JONES; ROCHELLE JONES; TRACY JONES;
ZAYDA JONES; ANGELIA JONES-JACKSON; DION JORDAN; JAYLIN JORDAN;
MARIO JORDAN; MYRESHA JORDAN; RENEE JORDAN; NATALIE JORDON; HARRY
JOSE; CHAD JOSEPHWILLIAMS; ALEJANDRO JUAREZ; FRANCISCO JUAREZ;
NORMA JUAREZ; RAHEEM JUDD; MARK JULOYA; BRENDA JUNI; CALEB JUVERA;
SUBARNA K C; DEBRA KAESTNER; KRISTINE KAESTNER; DANIELLE KAHL;
STEFANI KAIRAN; NOELANI KAKATIN; JOSHUA KALIN; SHAYLA KAMENA; ELLEN
KANG; BALAJI KANGADHARAN; KYLE KAPPES; SHANKET KARKI; ANTHONY
KARRIEM; ELIZABETH KASPARIAN; JOSEPH KASSIS; PETER KATALARIS; ROBERT
KATHAN; SHILYN KAUFMAN; KEVIN KAUKER; RUPINDER KAUR; QAISSE
KAWYANI; GHAVAM KAZEMI; TIFFANY KEAHEY; KYLE KEAST; ZENOBIA
KEETON; MARY KELLER; ANGELLA KELLY; LAUREEN KELLY; SARAH KELLY;
JORDAN KEMP; LEROY KEMP; ERIC KENERLY; ALEXA KENNEDY; DANISHA
KENNEY; JAMES KENNY; LA KENSAVATH; MARCUS KENT; PORTER KEVIN; ALICE
KEYES; SANAZ KHADEMIDELJOO; ROSHNI KHALASI; MUKHAMMADISMOIL
KHAMIDOV; AHMAD KHAN; ALAMZEB KHAN; HARIS KHAN; MIR KHAN;
MOHAMMED KHAN; NAVAZ KHAN; DARYUSH KHODADADI-MOBARAKEH; STACY
KHOEUN; HASEEB KHUWAJAZADA; SAULAR KIANI; DENNIS KIEU; LINDA
KILLINGBECK; JIYOUNG KIM; KISUNG KIM; MICHAEL KIM; SI HYUNG KIM;
JAYLAN KIMBROUGH; CRAIG KING; DANIESHA KING; ERIC KING; TERIK KING;
SOURIYA KINNAVONGSA; JUSTIN KINNEL; SEBASTJAN KINNEY; STEVEN KINSEY;
TYLER KIRK; BRENDAN KIRKPATRICK-MCKEE; ETHAN KIRSH; SARAH
KLAPHECK; KRISTIN KLAUS; ERICA KLEMASKE; WILLIAM KLEMME; REBECKAH
KLEMP; NIKOLE KLINKHAMER; HANA KLISTURIC; MAGEN KNIGHT; RACHEL
KNOTT; RASHIDA KNOX; JACQUELINE KO; JEFF KOHLSCHMIDT; KIMBERLY
KOHN; AMANDA KOLAR; KIMBERLY KOLE; COLLEEN KONOVAL; SARAH
KORALY; JULES KORMAN; CHRISTINE KOSMIDES; CALVIN KOSOVICH; THOMAS
KOWALSKI; AVO KOZUKARAYAN; MAXIM KRAFT; TAMARA KRAKE; ELISHA
KRANENBURG; NATALIIA KRINITSYNA; SUMESH KUINKEL; LESLIE KUKUK; JULIA
KUNG; SADA KURDI; FREDIANTO KUSNADI; MICHAEL KWAO; LARRY KWONG;
MARIA KYLE; GEORGE KYRIAKOPOULOS; JIMMIE L STOVALL; BERNARDO
LABANSAT; ADAM LAFFERTY; JENNA LAFFERTY; ALLAN LAGUATAN; JUSTIN
LAIRD; NICOLE LAMAR; SHANNON LAMBERT; MARIBELLE LANDAVAZO;
KRISTINA LANDOLFI; JOHN LANDTROOP; DAWN LANE; KEVIN LANE; MICHAEL
LANG; KARA LAPERE; BRUNO LARA; MARY LARRAGOITIY; BRYAN LARSON;
BRENDON LASALLE; TRAVIS LASH; IAN LASKY; RUDY LASTRA; SAMIRA
LAVENDER; KRYSTLE LAW; SARAH LAWES; TERRELL LAWRENCE; MELINDA
LAWSON; DWIGHT LAY; GYULA LAZAR; EBONY LAZARO; KRISTINE LE; PETER LE;
PHUC LE; THUY LE; ILAI LEBEL; MARISSA LEBEL; JONATHON LEBERT; CARLOS
LECHUGA; TIFFANY LEDERHOS; CYNDI LEDET; LILLY LEDOUX-MADRIGAL;

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ANDY LEE; AYESHA LEE; DAVID LEE; HANA'ALOHA LEE; JAMIE LEE; JOHNIQUE
LEE; JOHNSON LEE; KATY LEE; KIM LEE; RICHARD LEE; RYAN LEE; SANDRA LEE;
WANDA LEE; HEATHER LEIGHTON; RICHARD LEIVA; JENNIFER LEMMON; MALA
LEMNAH; KEVIN LENTZ; JESSICA LENZ; KAREN LEON; ANGELA LESLIE;
CHARLEMAGNE LESPERANCE; KRISTINA LETBETTER; ALANNA LEUKUMA;
DUSTIN LEVENTHAL; JAMENA LEVI; VALDANE LEVIAS; AMBER LEWIS;
CAMERON LEWIS; JASHON LEWIS; JENNIFER LEWIS; SATIRA LEWIS; ALEXIS
LEWKOWICZ; ALEX LEYVA; GLORIA LEYVA; SIYUN LI; JASON LIEN; GILMAR
EDUARDO LIMA; CHARLENE LIMEN; CHRISTOPHER LIMON; JESSE LIMON; ANGIE
LINDAHL; BRIAN LINDBERGH; RICH LINDLEY; CHRISTIAN LINDO; EBONY
LINDSEY; JENNIFER LINDSEY; ANDREA LINQUI; CAMERON LIRA; BROOKE LITTLE;
CASEY LITTLEJOHN; LASHANAE LITTLES; TAYLOR LITTLETON; YONGXIAN LIU;
ABRAHAM LIZAOLA; CHRISTINA LIZARRAGA; RHONDA LOBRILLO; JUAN
LOCKETT; LASHANDRA LOCKETT; DOMINIQUE LOCKHART; EARNEST
LOCKHART; SHEILA LOCKS-LEE; WILLIAM LOEW; ADRIANA LOFTON; LASHAWN
LOGAN; MICHAEL LOGAN; MICHELLE LOGAN; MARY LOGSDON; DARIEN LOHOF;
GAVIN LOMBARDI; STEPHANIE LOMELI; PAULA LONDOW; CHRISTINE LONG;
LASHEINATE LONG; PERRY LONG; CAROLYN LOPE; ANDREW LOPER; JOHN
LOPER; TRACIELOPES LOPES; EDUARDO LOPEZ JR; ADAM LOPEZ; ADRIANA
LOPEZ; ANDRES LOPEZ; BIANCA LOPEZ; ERIC LOPEZ; EZEQUIEL LOPEZ; FREDDY
LOPEZ; HAYDEN LOPEZ; JOEY LOPEZ; JONATHAN LOPEZ; MARIBEL LOPEZ; MYRA
LOPEZ; PEDRO LOPEZ; ROSA LOPEZ; RYAN LOPEZ; SANDY LOPEZ; SAVANNAH
LOPEZ; SIERRA LOPEZ; TAMMI LOPEZ; DESI LORA; NICK LOTT; TAMYSHA LOTT;
ANTHONY LOVATO; MARCELLA LOVELACE; JAMES LOVETT; ALEX LOWDER-
HIMMEL; BRIANAH LOWE; IMANI LOWE; CELESTE LOWELL; SHANNON LOWRY;
JENNIE LOZANO; MARIO LOZANO; CAROL LOZON; SHEILA LUCAS; ROBERT
LUCERO; SIM LUCIEN; CYNTHIA LUCK; STIINA LUEDTKE; BRANDON LUERA;
CORRALES LUIS; ISMAEL LUJAN ROJAS; ANGELA LUNA; MIGUEL LUNA; RICARDO
LUNA; RUBEN LUNA; STEVEN LUNDIN; SARAH LUNDYBOUDREAUX; ANA LUQUE;
NICHOLAS LURYE; BIANCA LUSTER; GENE LUZALA; DAVID LY; KRISTIN
LYBARGER; ALEXANDER MABINI; CHRISTOPHER MACDEVITT; JESSICA MACEDO;
BARBARA MACFARLAND; WENDY MACHEN-WONG; CHRISTINA MACIAS; EDWIN
MACIAS; FIDEL MACIAS; SHARON MACIAS; JACOB MACIEL; GREGORY MACK;
KENDRICK MACK; BRIANNA MACKEY; NATALIE MADRIGAL; TRACY MAFFIA;
NATHAN MAGADIA; DIANA MAGALLON; ADRIENNE MAGANA; BRADY MAGANA;
CARLOS MAGANA; JAVIER MAGANA; FLORENTINO MAGDALENO; JOVEN MAGOS;
ROSHAN MAHABALI; ABDELWAHID MAHBOULI; ROBIN MAHER; DAVID MAIER;
SONIA MAIO; BASEER MAJEED; ELIZABETH MALDONADO; NADEEM MALKI;
JAMES MALONE; TREVOR MALONE; LAWRENCE MALONEY; CHARLES
MANALANG; BAR MANDALEVY; SCOTT MANG; CELISSE MANIER; TYLER
MANISAY; SUSAN MANN; AMIR MANOCHEHRI; RAVEN MANRIQUEZ; SIUNE
MANSOORIAN; JAMES MANTSCH; MARIA MANZANO SEGOVIA; SUZANNE MAPES;
AYANNA MAPP; MIGUEL MARENCO; SANDRA MARES; VERONICA MARES;
HECTOR MARIANO; YESICA MARIN ROBLES; JULIETTE MARIN; RADINE MARIN;
ALEXANDER MARKEL; MICHAEL MARKHAM; PRENESS MARKS; SETH MARKS;
AMBER MARLEY; AIDAN MARMION; MICHELE MAROTTA; CATHERINE MARPLE;

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CRAIG MARQUEZ; AMBER MARSHALL; BETTYANN MARSHALL; COURTNEY
MARSHALL; SALYNA MARSHALL; VICTORIA MARTELLI; ANTHONY MARTIN;
CATRINA MARTIN; EDEL MARTIN; JAMAAL MARTIN; JEREMY MARTIN; JUDI
MARTIN; KRISTHINE MARTIN; LENA MARTIN; MARIKA MARTIN; MARLIN
MARTIN; MELISSA MARTIN; SAVANAH MARTIN; TIM MARTIN; ADRIANA
MARTINEZ; ANDRES MARTINEZ; ANGIE MARTINEZ; ANTHONY MARTINEZ;
BENNERITA MARTINEZ; BRENDA MARTINEZ; CHRISTOPHER MARTINEZ; EDGAR
MARTINEZ; EDMUNDO MARTINEZ; ELI MARTINEZ; ERIKA MARTINEZ; ERIQ
MARTINEZ; GABRIEL MARTINEZ; GABRIELA MARTINEZ; HIPOLITO MARTINEZ;
ISAAC MARTINEZ; JESSICA MARTINEZ; JESSYCA MARTINEZ; JONATHAN
MARTINEZ; JOSEPH MARTINEZ; JULIA MARTINEZ; JULIO MARTINEZ; KARINA
MARTINEZ; LOUIS MARTINEZ; MARCO MARTINEZ; MARVIN MARTINEZ; MONICA
MARTINEZ; PAUL MARTINEZ; TAMIE MARTINEZ; VERONICA MARTÍNEZ;
WINSTON MARTINEZ; ISAIAH MARTINEZ-HILL; JESSICA MARTINEZ-MUELLER;
LAURYN MASANIAI; STEPHEN MASON; THOMAS MASON; ROBERT MASSIE;
CORELL MASTERS; LINDA MASTERS; GURMIT SINGH MASUTE; IGNACIO MATA;
OVIDIO MATEO; CTAIG MATHEWS; IEASHA MATHEWS; REGINALD MATHIES;
JASPER MATHISEN; MARK MATTA; REGINALD MATTHEWS; RENEE MATTHEWS;
SUSAN MATTHEWS; CLAIRE MATTIS; TAYLOR MAUCH; MAURICE MAULDIN;
LAQRESHA MAXWELL; SIERRA MAXWELL; RACQUEL MAY; STEFANI MAY;
THOMAS MAY; TISHA MAYER; AARON MAYES; CHANZELL MAYFIELD; DEANNA
MAYFIELD; JEFFREY MAYFIELD; AMBER MAYS; REINHARD MAZARIEGOS; DEVON
MAZURE; BRIAN MCALEAVEY; SEAN MCALLISTER; SHONTE MCBRIDE; GEORGE
MCCALISTER; KALA MCCARTER-ROGERS; KENYON MCCASTLE; ANGELIQUE
MCCLEARY; BRANDON MCCLOSKEY; JONATHAN MCCORMICK; ANDREA
MCCOWAN; ADRIAN MCCOY; ANDRE MCCOY; DAISHS MCCOY; DESIRAE MCCOY;
MIKAYLA MCCOY; JACOB MCCOY-BARBA; MONICA MCCULLOUGH; DEZOHN
MCCULLUM; REGINA MCCULLUM; NICOLE MCCURRY; KENDRA MCDONALD;
MICHAEL MCDONALD; JEFF MCDOWELL; TYLER MCFADDEN; SUZANNE
MCGREER; GREGORY MCHENRY; MICHAEL MCINTYRE; MYLES MCKEE-OSIBODU;
EGYPT MCKEITHEN; RYAN MCKENZIE; DORNETTA MCKINNEY; JODI MCKINNEY;
MELISSA MCKINNEY; WILLIAM MCKINNEY; KEVIN MCKINNON; BYRON
MCKNIGHT; ANASTASIA MCLELLAND; SHIRLEY MCLELLAND; ERIN MCLEOD;
CATHERINE MCMAHON; KEVIN MCMANUS; TERI MCMICHAEL; MELINDA
MCNAMEE; JALEN MCNEAL; HOWARD MCNEELY; KAMEELAH MCNEELY; JESSICA
MCPEEK; ZURI MCPHAIL; NICOLE MCQUEEN; RAVAA MEADORS; ADRIAN
MEDINA; AMANDA MEDINA; GREGORY MEDINA; JACOB MEDINA; TINA MEDINA;
WENDY MEJIA BARAHONA; SANTIAGO MEJIA; LAURA MELENDEZ; ANTHONY
MELENDREZ; PAULA MELER; SAMANTHA MELTON; DAVID MENCHACA; JANICA
MENDENHALL; DANIEL MENDEZ; NADINE MENDEZ; ABRAHAM MENDOZA;
ADRIANA MENDOZA; ALONDRA MENDOZA; CECILIA SOFIA MENDOZA;
CHRISTIAN MENDOZA; EFRAIN MENDOZA; GLENDA MENDOZA; JOOVANA
MENDOZA; JOSUE A MENDOZA; LUIS MENDOZA; RUBEN MENDOZA; SECILLIA
MENDOZA; CONSTANCE MENEESE; AMOS MENSAH; JOSHUA MENTZER; IHAB
MERABET; CHRISTINA MERCADO; PATRICK MERCADO; KAYLA MERCHANT;
SHELLEY MEREDITH; DREW MERING; ZOE MERINO; RHONDA MERRILL; JENNIFER

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MERRITT; BASEM MESSIH; MARIEL MEYER; LUKE MEYERS; CHARLES
MIDDLEBROOK; CURT MIECZKOWSKI; MELODY MIHALIK; SAMIR MIKHAIL;
CAMERON MILES; JAMEQUA MILES; ANTONIO MILLAN; ALEXANDER MILLER;
BRAIN MILLER; DANIEL MILLER; DAVID MILLER; DAXTON MILLER; GEORGE
MILLER; GREGG MILLER; HEIDI MILLER; JALISA MILLER; KENNETH MILLER;
ROBERT MILLER; THOMAS MILLER; VERMYTTYA MILLER; YELILE MILLER;
JONATHAN MILLIGAN; JERRY MILLINER; CHILOPIE MILLINGTON; ERICA MILLS;
HEATHER MILLS; STEPHEN MILLS; DAMIEN MILTON; MADONNA MILTON;
MARVETTE MIMS; JAMES MINCKS; BRYAN MINOR; KELLIE MINOR; MARLENE
MINSTER; NICHOLE MINTZ; FELIPE MIRANDA; FERN MIRO; MARK MISOSHNIK;
LAUREL MITCHELL; ROBERT MITCHELL; SCHINIQUA MITCHELL; SEAN
MITCHELL; HENRY MIYOSHI; KIMBERLY MIZUTA; SIMIN MOADDAB ALIBEIGI;
ANTOINE MOBLEY; MEESHA MOGHADDAM; HANEEF MOHAMMAD; FAHAD
MOHAMMED; WILLIEPHINE MOHEAD; NIVETHAA MOHHAN; BRYAN MOHN; SIA
MOIWA; JOJO ACE MOJICA; SHAHIN MOKHTARI; CHRIS MOLANO; DAVID MOLINA;
RODOLFO MOLINA; RAMON MONCAYO; LENNY MONDRAGON; CANDACE
MONIZE; JAMES MONROE; DAWN MONTANEZ; FARIN MONTANEZ; ELVIA
MONTANO; FRANCESCA MONTENEGRO; ROBERTO MONTERROSA; FANNY
MONTES; JOSE MONTES; SPENCER MONTES; MIKE MONTGOMERY; ARACELI
MONTOYA; DAVID MONTOYA; JENNIFER MONTOYA; KIMBERLY MONTOYA;
RONNY MONTOYA; CARMELL MOORE; DANEATRA MOORE; DANIELLE MOORE;
DAWN MOORE; HUNTER MOORE; JOSHUA MOORE; LARRY MOORE; MESHALON
MOORE; TOM MOORE; VICKIE MOORE; LILLIE MOORES; LEANDRO MORAIS;
RAFAEL MORAIS; CLARA MORALES; DEANNA MORALES; GUSTAVO MORALES;
MICHELLE MORALES; RONI MORALES; AZALIA MORAN; MICHELLE MOREHOUSE;
ERIC MORENO; PRECIOSA MORENO; VALENTE MORENO; YESENIA MORENO;
JESSICA MORENTIN; AMANDA MORGAN; JASMINE MORGAN; SHYJERUAN
MORGAN; CARLO MORIN; LORI MORRIS WESTLEY; SHAUNTELL MORRIS; TRISTEN
MORSE; EMILY MOSQUEDA; HERMANIE MOTLEY; KEVIN MUGWAGWA;
CHRISTINE MULLER; GEORGINA MUNGUIA; JUAN MUNOZ NIEVES; JOE MUNOZ
VALDIVIA; ELSA MUNOZ; EVA MUNOZ; SELINA MUNOZ; MARISSA MURCKO; ERIN
MURPHY; EVELYN MURPHY; ROSEANNA MURPHY; SANAE MURRAY; KEVIN
MURREN; KAYODE MUSTAPHA; GUNCHIN MYAGMARSAMBUU; JONATHON
MYER; ANDREA MYERS; ROBERT MYERS; BRIAN MYNATT; BRADEN NAIL;
ROBERT NAIMARK; JAMAL NAJIBI; CRISTIAN NALBANDIAN; JOHN NALTY;
MANINDER NANHAR; FREDERIC NANMO; RACHEL NARVAEZ CANTU; NICHOLAS
NATIVIDAD; JACOB NAVA; SAUL NAVA; WILLIAM NAVARRETE; ANASTASIA
NAVARRO; DEVIN NAVARRO; ED NAVARRO; GUSTAVO NAVARRO; SARA
NAVARRO; NISSA NAVONE; ISHMAM NAWAR; SEAN NAYLOR; LIZA NAZARCHUK;
ARVIN NAZARI; FARIS NAZEEM; ALEXANDER NEAL; JAMES NEAL; SHERIKA
NEAL; JOSIAS NECH; TIFFANI NEELY; CHRISTOPHER NEIL; CANDACE NEIMAN;
NICOLE NEISLER; ALYSA NELSON; CRYSTAL NELSON; JOVANNAH NELSON;
KANDIS NELSON; TYLIA NELSON; EDWARD NEREY; MICHELLE NESBIT; GEORGES
NESIM; JEFFREY NEVELS; NOA NEVO; ALEX NEWBERG; DARREN NG; ZORANA
NGAI; BINH NGUYEN; CATDUNG NGUYEN; DANG NGUYEN; JAMES NGUYEN;
QUAN NGUYEN; TAM NGUYEN; TONY NGUYEN; TRAN NHAN; FRANCESCA NHEM;

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MELANIE NICHOLS; PAIGE NICKISCH; ANTONIA NIEBLA; JASON NIEBLAS;
ANTHONY NIEDERBERGER JUAREZ; TANNER NIEMANN; MARISA NIX; DANIELLE
NOAH; JASON NOBLE; LOUIS NOBLE; FRANCISCO NOGUER; HEIDI NOLAN;
JEANETTE NOLAN; JOHN NOLAN; JASON NORCROSS; TONY NORWOOD; WYNETTE
NORWOOD; PATRICK NUDANU; ALEJANDRO NUNEZ; CHRISTIAN NUNEZ; DAISY
NUNEZ; JAMEELAH NUNEZ; SAL NUNEZ; ROBERT NUNN; LESLIE NUSH; CHIOMA
NWABUFOH; BETHANY OBRYAN; ANDREW OCHOA; CARLOS OCHOA; VERONICA
OCHOA; MAHMOUD ODEH; YVONNE OGBOGU; STACEY OGLE; ELIZABETH
OGLESBY; JOSEPH OJERIAKHI; ALEX OKA; JIDEOFO OKWUDIRI; MARCO OLARTE;
CHANDRA OLAZABA; MANNY OLGUIN; MIGUEL OLID; JESUS OLIVARES; BRIAN
OLIVER; TOSH OLIVERI-NELSON; PAUL OLLERTON; JOSE OLMOS; MICHAEL OLTZ;
DANA OLVERA; JOSE OLVERA; PATRICK OMALLEY; STEPHEN OMONDI; RENE
ONEAL; LATOSHA ONEIL; MADISON ONEIL; CHADWELL O'NEILL; MIRANDA
OQUENDO; STANISLAV OREKHOV; ERNESTO ORNELAS; CRYSTAL ORONA;
COURTENEY O'ROURKE; MERLE ORTEGA; CARLOS ORTIZ; CHRISTINA ORTIZ;
GABRIEL ORTIZ; ROLANDO ORTIZ; ROBERTA OSAKO; OSCAR ESPIRITU; JOAQUIN
OSORIO; JORGE OSORIO; VANESSA OSORIO; AMIRE OTHMAN; VANESSA OTIS-
THOMAS; MICHELE OTTO; RAYVON OWEN; CAROL OWENS; MARCUS OWENS;
NORRIS OWENS; RENEE OWENS; SHEILACY OWENS; AUBREY OXLEY;
BAIGALIMAA OYUNCHULUUN; YAIR PABLO; MICHELLE PACK; JENIFFER PADDA;
ADRIANA PADILLA; GABRIELLA PADILLA; SOFIA PADILLA; ANDREW PAGANI;
RONALD PALMER; TIMOTHY PALMORE; JOHN PANDZA; JOHN PANGELINA; MARY
PANTOJA; KYLE PARADEZA; BRYAN PAREDES; LEONEL PAREDES; MARIA
PAREDES; CRISTIE PARIS; SAM PARK; CLARISSA PARKER; BRITTNEY PARKS;
STEPHANIE PARMELY; BRANDON PARRA; JULIAN PARRA; YESENIA PARRA;
DAKOTA PARRISH; ADRIAN PARTIDA; YANA PASELSKY; BHAVIN PATEL; SAHIL
PATEL; LEROY PATTERSON; RICKISA PATTERSON; DUJUANA PATTON; ERIC PAUL;
GARY PAULINO; STEVEN PAULINO; CHRIS PAVAO; JARROD PAVLAK; DARNELL
PAXTON; BRANDON PAYNE; SHANIKA PAYNE; RANDY PAZ; BENJAMIN
PEARLMAN; AMIRA PEARSON; KAITLIN PEARSON; TIANA PEARSON; VICTORIA
PEARSON; SUZANN PEDERSEN; JAIRO PEDROZA; NATHANIEL PEDROZA; LIVIA
PEEPLES; SARAH PEET; FAUSTINO PELAYO; LAURA PELOQUIN; ROSA PENATE;
CHRIS PENCZEK; DONALD PENDLETON; JENNIFER PENDRAK; JULIA PENECALE;
TERRANCE PENNY; AIMEE PENOYER; KIERRE PEPPARS; LAURA PERAL; RONNIE
PERALTA; MONIQUE PERANTONI; JOSEPH PERDOMO; KRISTI PERDUE; AARON
PEREZ; ANGELA PEREZ; AUGUST PEREZ; CHRISTOPHER PEREZ; DAIHONA PEREZ;
EDWARD PEREZ; ERICK PEREZ; KATIE PEREZ; MICHAEL PEREZ; VERONICA
PEREZ; VICTORIA PEREZ; ADRIAN PERKINS; JERRY PERKINS; SAQUITA PERKINS;
TRASHON PERKINS; JANAY PERKINS-PAYNE; PHILLIP PERRIN; BLAINE PERRY;
MICHAEL PERRY; TOM PERRY; MALIK PERRYMAN; CHRISTOPHER PETERS;
LAURA PETERS; LILY PETERS; MATTHEW PETERS; PROMISE PETERS; RICHARD
PETERSEN; COLBY PETERSON; RANDALL PETERSON; UNIQUE PETITE; KAY PETR;
MAXIME PETROV; SHARLENE PETROVICH; JORDAN PETTITT; RENITA PETTUS;
ESTHER PFIRRMANN; HANG PHAM; QUOC PHAM; JONATHAN PHAN; CAITLIN
PHILLIPS; LAURA PHILLIPS; ORLANDO PHILLIPS; PAMELA PHILLIPS; REGINALD
PHILLIPS; ERICKA PICAZO SOTO; CURTIS PIERCE; NOAH PIERPOINT; BRYAN

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PIERRE; ROCHEALL PIERRE; CAMAREA PIERSON; ALEJANDRO PINA; EVA PINEDA;
CANDICE PINKHAM; ANA PINTADO; GREG PINTO; RITA PIPKINS; LINDA PIQUE;
SIMONE PIRTLE; NATHAN PITKIN; HAILEE PITSLEY; ELIAS PIZARRO; VERONICA
PLATAS; JERRY PLEDGER; MICHAEL PLESNICHER; JOE PLUMMER; ANTHONY
POBLETE; DESHAYA POE; ASHLYNN POGGIO; LIPARIT POLADYAN; ANGELA
POLK; DANIELLE POLK; JANI POLK; BRITTANY POLO; SAMUEL POLSTON; DENNIS
POMAZANOV; CESAR PONCE; RAMONA PONCE; TEDDY POOL; DONSANEKA
POOLE; CAMERON PORRAS; ELIZABETH PORTELA; KIMBERLY PORTER; TALEAH
PORTER; WENDY PORTER; ANGELA PORTER-RIGDON; JAMIE PORTILLO;
ANGELINA POSTELL; MICHAEL POSTELL; CYNTHIA POUNDS; JACARE POWE;
ANTHONY POWELL; CHARLA POWELL; JESSICA POWELL; KIM POWELL; FORREST
POWERS; DEEPIKA PRASAD; GESHNI PRASAD; ROSLIN PRASAD; DANA PRATHER;
RYAN PRATT; CLAUDIA PRECIADO; DEBORAH PRESLEY-BRANDO; CHRISTIN
PRICE; HETTIE PRICE; JAMONNIE PRICE; JOE PRICE; STEPHANIE PRICE; PAULINE
PRIDGEON; MARISSA PRIETO; AUTUMN PRINCE; SHANNA PRINCEAU; NICHOLAS
PRINSEN; ZAK PRIOLO; BRIAN PRITCHARD; JASON PROFETA; ALEXANDER
PROKHOROV; DENNIS PROVIDO; KELAN PRUITT; KRISTIN PRUITT; CLARENCE
PULLER; STEVEN PURCELL; DILRAJ PUREWAL; BRANDIE PURNELL; DANA
PURVIS; J. MARIA PUTT; DAN QIAO; CHRISTINE QUALLS; EARL QUALS;
ANDRAQUE QUINNINE; SOGHRA QURAISHY; AHMAD QUTAMI; MELINDA RABB;
OCTAVIAN RADDLE; DERE RADECKI; NICHOLAS RADONICH; KLIM RADOSTEV;
XAVIER RAFALOUSKI; ELI RAGLE; ABDULLAH RAHMANI; MICHAEL RAINS;
RAMAMOORTHY RAJA; WHITNEY RALEIGH; AYANNA RALSTON; ARVIND
RAMAMOORTHY; SHAHBANDARI RAMELLA; ERIKA RAMIREZ OROZCO; DANIEL
RAMIREZ; DARLENE RAMIREZ; ERIC RAMIREZ; FRANCISCO RAMIREZ; JOSE
RAMIREZ; LESLIE RAMIREZ; LOUIS RAMIREZ; TANI RAMIREZ; VALERIE RAMIREZ;
FRANCINE RAMOS; YAZMIN RAMOS; AHCHERI RAMSAY; SEAN RANDALL; DINA
RANDLE; LUTRICIA RANDOLPH; TIFFANY RANKIN; HENRY RAPPAPORT; FATIMA
RASCON; HAMID RASHIDI; HASIB RASOOL; SOUNTHALY RATTANAPANYA; JASON
RAVARRA; ASHLEE RAY; ERIC RAY; HALEY RAY; KAREN RAY; SEAN RAY; WILLIE
RAY; MIKE RAYTER; DEREK REA; YOLONDA REDDICK; ANGELICA REDMAN;
ASHLEE REED; AUSTIN REED; DANIELLE REED; JAMES REED; LAGUANNA REED;
NATALIE REED; SAMANTHA REED; SEQUOYAH REED; TORREY REED; WILLIAM
REED; RAYMOND REEDER; MARIAM REHMAN; ROSALINE REINERO; ROCKY
RELPH; WELSI RENAUD; ANTHONY RENDA; MIA RENDON; DEANNA RENFRO;
ANGELA RENISON; ASHLEY RENTERIA; STEPHANIE RENTERIA; AMIRREZA
RESALI; JACK RESIDES; CAROLINA REVOLLAR; MELISSA REX; ANTHONY REYES;
BREANA REYES; DESIREE REYES; EVELIN REYES; GENA REYES; KARINA REYES;
MARK REYES; REBEKAH REYES; TONY REYES; VICTORIA REYES; JONATHAN
REYLES; BRYANT REYNA SANCHEZ; ANSON REYNOLDS; DOUGLAS REYNOLDS;
JACOB REYNOLDS; JOSHUA REYNOLDS; BRANDON REZAI; MICHAEL RHODES;
DANIEL RIBEIRO; APRIL RICE; COREY RICE; SHIRLEY RICE; ROY RICHARD;
DAVIONNE RICHARDS; JULIA RICHARDS; SARAH RICHARDS; SAVONAH
RICHARDS; TINA RICHARDS; JAMILO RICHARDSON; MATT RICHARDSON; SHANE
RICHARDSON; THOMAS RICHARDSON; TRACIE RICHARDSON; CHRISTOPHER
RICHMOND-MATHIS; DOUG RICKARD; KIMBERLY RICKS-SPONBERG; TARA

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RIDDLE; HEATHER RIDGILL; EZEQUIEL RIESGO; REBECCA RIGGS; KUNTI
RIGMADEN; KORIE RILEY; BARBARA RINCON; GREGORY RINCON; VINCENT
RINCON; ANA RIOS; DANIEL RIOS; LUIS ANTONIO RIOS; MIGUEL RIOS; SERGIO
RIOS; ANDREW RIPLEY; ALBERTA RIVAS; MONICA RIVAS; GLORIA RIVERA BOYD;
AMBER RIVERA; ANTHONY RIVERA; ERNESTO RIVERA; GLORIMAR RIVERA;
KIMBERLEE RIVERA; LUIS RIVERA; NICOLE RIVERA; ZACHARY ROBBINS; APRIL
ROBERTS; DRIE LYNN ROBERTS; HASTEN ROBERTS; NATHAN ROBERTS; STEVEN
ROBERTS; TRISHAUN ROBERTS; ROMAN ROBERTSON SR.; SARAH ROBERTSON;
TIANA ROBERTSON; PORTIA JOURDAN; ANDREA ROBINSON; CALEB ROBINSON;
CHARLETTE ROBINSON; DONNA ROBINSON; DYLAN ROBINSON; LATASHIA
ROBINSON; LATEESHA ROBINSON; MEREDITH ROBINSON; MICHAEL ROBINSON;
JOSEPH ROBITAILLE; DAMIAN ROBLEDO; JENNIFER ROBLES; NATHAN ROBOHM;
LEONARDO ALEJANDRO ROCHA GALVAN; HENRY ROCHEZ; JEFF RODAS; CHERI
RODGERS; MARK RODGERS; TIMMY RODGERS; ALDO RODRIGUEZ; BRYAN
RODRIGUEZ; DAVID RODRIGUEZ; ELIZABETH RODRIGUEZ; GEOVANNI
RODRIGUEZ; GILBERT RODRIGUEZ; GILBERT RODRIGUEZ; MARIBEL RODRIGUEZ;
NICOLE RODRIGUEZ; OMAR RODRIGUEZ; VERONICA RODRIGUEZ; WILSON
RODRIGUEZ; YVETTE RODRIGUEZ; AMBER RODRIQUEZ; IAN RODRIQUEZ;
KAMILLE ROESE; BYRON ROGAN; TYREE ROGAN; LYNDSAY ROGERS; SKYLAR
ROGERS; SYLVIA ROGERS; TRACI ROGERS; ANGELA ROJAS; CESAR ROJAS;
DESIREE ROLAND; ASHLEY ROLLICE; BRITTANY ROMANO; VINCENT ROMANOS;
CHRISTOPHER ROMERO; LILIBETH ROMERO; LISA ROMERO; LUIS ROMERO; RENE
ROMERO; TESSIE ROMERO; JOSE REFUGIO ROMO ARIAS; JOSEPH ROMO; ROBERT
ROMO; KATHRYN ROQUEMORE; CHAZ ROSALES; OLIVIA ROSE; JASON ROSEN;
MARTIN ROSENFELD; BENZELL ROSS; BRIAN ROSS; JAMEELAH ROSS; SARAH
ROSS; TERRY ROSS; ERICA ROTHSTEIN; JAMES ROUNTREE; MARGARET ROWAN;
SINA ROWGHANI; CRAIG ROWTHAM; JUSTIS ROYSTER; BROOKE RUBERSON;
ARCELLIA RUBIO; LOURDES RUBIO; BETTINA RUFFALO; SHEWANDA RUFFUS;
BRIANA RUGGERI; ALAN RUIZ; ASHLY RUIZ; EFREN RUIZ; GABRIEL RUIZ; LUIS
RUIZ; RAMONA RUIZ; RIO RUIZ; SALVADOR RUIZ; CRYSTAL RUNNER; MICHAEL
RUNYAN; WILLIAM RUPERT; JOSEPH RUUZ; TANYA RYAN; NICHELE RYLES;
TRACY RYMENAMS; CYNTHIA RYMER; ROMAL SABER; NORMAN SADLER; OSCAR
SADOGUIO JR; ZOE SAENZ; TOUFOU SAEPHANH; ADAM SAFFIOTE; C.J. SAGADIA;
KAYLA SAGASTA; DENNIS SAICOCIE; MANUCHEKHR SAIDOV; DANIEL SAINAS;
MARISSA SAINZ; BOBACK SAJADPOUR; GHOLAMHOSSEIN SAKI; ADDAM SAKY;
MICHAELA SALAS; JANET SALAZAR; JENNIFER SALAZAR; NICOLE SALAZAR;
MICHAEL ANGELO SALDAJENO; GERARDO SALDIVAR; ASSAD SALEH; SELENA
SALGADO; JESUS SALGUERO; MONIQUE SALINAS; ZACHARY SALLEE; ACAMIE
SALTER; LALEH SAMADI; MICHAEL SAMI; DANA SAMPLE; SCOTT SAMPLE;
BRANDEE SAMPLES; ANDRES SANCHEZ; BRISSIA SANCHEZ; CELICIA SANCHEZ;
CORINA SANCHEZ; DANIEL SANCHEZ; GABRIEL SANCHEZ; JACQUELINE
SANCHEZ; MARLEN SANCHEZ; RAFAEL SANCHEZ; RAYMOND SANCHEZ; ROCKY
SANCHEZ; SHAWNA SANDAU; BAILH SANDERS; CHANTELL SANDERS;
CHRISTOPHER SANDERS; IRENE SANDERS; LISA SANDERS; WENDY SANDERS;
JAIMIE SANDERSON; STEVEN SANDERSON; SAVIJOT SANDHAR; GURPREET
SANDHUGALE; ANGEL SANDOVAL; DORA SANDOVAL; JEALENE SANDOVAL;

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WILLIAM SANDOVAL; YASMEEN SANDOVAL; HEATHER SANFORD; ZOEY
SANFORD; ARTHUR SANTAMARIA; DANIEL SANTANA; ALFREDO SANTILLAN;
DAVINA SANTIVANEZ; JOHANNA SANTOLALLA; CHRISTIAN SANTOS; FREDERICK
SANTOS; GABRIEL SANTOS; MANUEL SANTOS; MICHELLE SANTOS; OSCAR
SANTOS; PRISCILA SANTOS; RICHARD SANTOS; SHEENA SANTOS; DAVID
SANTOYO; MONICA SARABIA; TIM SARGIOUS; CHRISTIAN SARMIENTO; MISTY
SARMIENTO; NICHOLAS SARROCA; WESLEY SARTE; KRISTY SAULS; NATAVIA
SAVAGE; ROBIN SAVAGE; DIANA SAVALA THIBEAU; TINA SAVALA; LENA
SAVOEUN; MD SAYED; CAMERON SAYLER; NALANI SAYSOURIVONG; DOMINIC
SBICCA; KELSEA PIERCE; DERRICK SCALES; ANTHONY SCAMALDO; JEFF
SCAMMON; ADRINANNE SCARBOROUGH; JOHN SCHAFFRAN; RANDI
SCHEMENSKY; CHRIS SCHLENKER; KATHERINE SCHMIDT; SCOTT SCHNEIDER;
CALEB SCHOENFELD; JOHN SCHOENTHALER; DUSTIN SCHRAMM; JACOB
SCHREIBER; STARLENA SCHROEDER; LEEAH SCHULTZ; MICHAEL
SCHWEIGHARDT; AISHA SCOTT; CHE SCOTT; CHERRISH SCOTT; JOSEPH SCOTT;
LAKISHA SCOTT; MIRIYA SCOTT; ONDREA SCOTT; TINA SCOTT; ANDREW SCOTT-
JESTER; KEISHA SEALS; FRANCESCA SEARS; DARLENE SEBALA; JASON SEGURA;
LUCAS SELIG; GEMMA SELINGER; JAKE SELLERS; FELICIA SEMEBENE; RYAN
SENSENIG; DAWN SEPULVEDA; SOPHIA SEPULVEDA; DAVID SERNA; RAPHAEL
SERNA; AUBREE SERRANO; JEANPAUL SETAREH; ANNA SETHMAN; BRYAN
SEWALD; DARREN SEXTON; KORI SEXTON; ROYANNA SEXTON; ALEKSANDR
SEYRANOV; JESSICA SHADD; ABDUL SHAIKH; HAMZA SHAKIR; RANDALL
SHANKLAND; CHARLES SHANNON-WHITESIDE; AMIN SHARIFIAN ATTAR;
CHRISTOPHER SHARP; CODY SHARPE; ASHLEY SHAW; ANTHONY SHEAHAN;
GEOFFREY SHEETS; JOHN SHELBURNE; SHARLA SHELBY; JAHN SHELTON; SUDE
SHEMSU; INEZ SHEPARD; JAMAUDRA SHEPHERD; TIA SHEPHERD; ANTHONY
SHERIDAN; VIJAY SHETH; MACKENZIE SHIELDS; WILL SHILLING; JEREMIAH
SHIPP; STEPHANIE SHOALS; SHAHDON SHOGA; FATEMEH SHOKRGOZAR
KELIDBARI; DANIEL SHRIGLEY; ULADZISLAU SHULHA; MIKE SHUPE; DAPHNE
SHYANNE; MICHAEL SIANO; RAYMOND SIDHU; JENNIFER SIERRA; GIBSON SILEW;
ALDAIR SILVA; ALEXUS SILVA; CLAUDIA SILVA; PHOEBE SILVA; SILVIA SILVAS;
ZACHARY SILVER; ALEXIS SIMENTAL; AKILA SIMMONS; KEVIN SIMMONS;
SHERRIE SIMMONS; STASEA SIMMONS; WARREN SIMMONS; AARON SIMON; DEMI
SIMON; ARGIN SIMONIAN; MARYUM SIMPKINS; JOSHUA SIMPSON; SHATODDA
SIMPSON; UNIQUE SIMPSON; WILLIAM SIMPSON; KEITH SIMS; NICHOLAS SIMS;
ROBERT SIMS; BENJAMIN SINGER; JAGPRIT SINGH; MANDIP SINGH; MANSUKH
SINGH; RODNEY SINGH; KATHERINE SINKEWIZ; JAMES SINNOTT; DESIREE
SISNEROS; AARON SIZEMORE; SANDRA SKICKI; REANNE SLAMA; VINAY
SLATHIA; LAKEL SLAUGHTER; TAYLOR SLAVIN; REBECCA SLIGHTAM; LAUREN
SLOAT; JESSE SLOCUM; ALI SMADI; CERA SMART; JAN SMEJKAL; ADAM SMITH;
ADRIAN SMITH; ALTHEA SMITH; AMBER SMITH; ANGELA SMITH; ARLEAN SMITH;
ASHLEY SMITH; BRANDON SMITH; CHRISTINE SMITH; DANA SMITH; DONNA
SMITH; DORI SMITH; DOUGLAS SMITH; DU'PRAISEJA SMITH; EISHA SMITH;
EMILEE SMITH; EULA SMITH; FLOZELL SMITH; HUNTER SMITH; JABARI SMITH;
JALENA SMITH; JAMILA SMITH; JAYLAN SMITH; JEREMY SMITH; JONATHAN
SMITH; JONATHAN SMITH; LACY SMITH; LAURENCE SMITH; JAHWAN RANEY;

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LISA SMITH; NATASHA SMITH; OCTAVIA SMITH; PAMELA SMITH; PATRICE SMITH;
PORTIA SMITH; RAHAMON SMITH; ROXIANN SMITH; SABRINA SMITH; SHUANTA
SMITH; TRINIECE SMITH; VANESSA SMITH; WYVON SMITH; JESSICA SMOLAK;
DEREK SNARR; BENNIE SNEEDE; DEMISHA SNEEDE; DEAN SNELSON; EDUARD
SNITSAR; DOMINIQUE SNOWDEN; FERNANDO SOARES; JENNIFER SOBREPENA;
MELVIN SOBREPENA; ZULEMA SOLIS; KELLY SOLOMON; MOSES SOLOMON;
LAMARR SONNY; JOEY SORCE; SHONIECE SORIANO; VIVIAN SORROW; RICHARD
SOSA; ALICIA SOTELO; CESAR SOTO; OLIVIA SOTO; RICARDO SOTOVANDO;
WALBENS SOUZA; HELENA SPARKES; CARLOS SPARKS; RITA SPARKS; MICHAEL
SPARR; SHERRI SPEARS; BRYAN SPELKER; KAYLA SPENCER; MEOSHA SPENCER;
OCTAVIA SPENCER; THOMAS SPONBERG; MADHAV SRIVASTAVA; ZACKERIAH
STACEY; CHANTAL STAHL; ASHLEY STANFORD; CLYDE STANLEY; DAJAHNA
STANLEY; STEVEN STEADMAN; FORREST STEELE; KELLY STEELE; VYVON
STEELE; LAURIE STEELMAN; JANET STEGMAN; JEFFREY STEINBERG; RUSSELL
STEPHEN; NICTAYE STEPHENS; TONY STEPHENS; KIVA STERIN-BRESCHI; SARA
STERNER; CALEB STEVENS; TAMMY STEVENS; ADARRIUS STEVENSON; KARLA
STEVENSON; PATRICIA STEWART; SHONNEL STEWART; LEANNA STICKEL; DEAN
STIRRAT; DETRONA STITH; MICHAEL STIVER; JESSICA STOBART; NATHAN
STOCK; LEWIS STOKES; TINA STOKES; EDWARD STOUT; MARION STOUTT;
TAMARA STOVALL; LISA STOVER; JOHN STRASZAK; AMIE STRATTON; ERICA
STRAUB; BRITTANY STRECKER; HANAH STUART; MELANIE STUBBS; ELIZABETH
STUVA; LORI STYX; OSCAR SUAREZ; SANDRA SUAREZ; SHERELLE SUAREZ;
DAVID SUDDUTH; MARY SUGUITAN; BRITTANY SULLIVAN; ELISHA SULLIVAN;
LEANNE SULLIVAN; SARA SULLIVAN; KIMBERLY SUMMERS; DONNA SUMPMAN;
MICHAEL SUPNET; JULIAN SUTER; DEBORAH SUTHERLAND; NYSIA SUTTA-
MGENI; SAUNDRA SUTTON; CLIFFORD SUVA; LEANNA SWAIN; RYAN SWAMI;
LISA SWANSON; BRANDON SWARTZ; MATTHEW SWEARINGEN; PHONEXAY
SYCHAREUN; PATRICIA SYDNOR; YOUSUF SYED; MARIYA SHAH SYEDA; CHRIS
SYKES; CHRISTOPHER SZCZECH; ALANO T.ADRIANO; MARIA TAAMU; AHMAD
TABBARAH; ABENEZER TADESSE; SONIA TADEWOSYAN; AUDRA TAFOYA;
MASSINISSA TAIEB; ADOREE TAN; JUN TAN; ANDREW TAPIA; JUAN TAPIA;
RENATO TAPIA; AMY TARPLEY; DAYNA TARTT; DOROTHY TATE; STEVEN TATE;
KATHY TATICK; STEPHANIE TAVAREZ; SOLIMON TAWFIQ; ASHIA TAYLOR;
DERRICK TAYLOR; ERIC TAYLOR; ESTELLA TAYLOR; IAN TAYLOR; LARRY
TAYLOR; LATRISHA TAYLOR; LAURIE TAYLOR; MALARIE TAYLOR; MICHAEL
TAYLOR; SOVANY TEAM; KAYLA TEIXEIRA; DAN TEJADA; PAUL PHILIP TEJEDOR;
DULCE TELLEZ; ELIZABETH TENNIAL; GUADALUPE TENORIO; PEDROS
TEROGANESYAN; TAMMI TERRELL MORRIS; MILAKAA TERRY; NARENA TERRY;
TANGELA TERRY; ROSHAN THANK; MASON THATCHER; JAMES THAYER; RYAN
THIBERT; MANJINGER THIND; ROBERT THOMAN; EVERY THOMAS CAMPBELL;
ANDRE THOMAS; ANDRE THOMAS; ANDREW THOMAS; BENJAMIN THOMAS;
BRENITA THOMAS; DAJANAE THOMAS; DAVID THOMAS; DIAMOND THOMAS;
JODI THOMAS; KYLONDRIA THOMAS; MALCOLM THOMAS; MICHAEL THOMAS;
MICHELINE THOMAS; PATRICIA THOMAS; SHERINA THOMAS; STEPHANIE
THOMAS; STEVEN THOMAS; BRANDON THOMPSON; CHARISSA THOMPSON;
CORNELL THOMPSON; COURTNEY THOMPSON; KYOKO THOMPSON; MICHAELLE

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THOMPSON; NANCY THOMPSON; RICHARD THOMPSON; SARAH THOMPSON;
TAMIKA THOMPSON; HEATHER THORNTON; GREGORY TIFFITH; JON TIGER; GARY
TILBURY; MIKAYLA TIMMONS; BRYANT TINAJERO; CANDICE TINSLEY; LORI
TIRRI; DEANNA TIRY; BERNADETTE TITMAN; NATASHA TITSWORTH; ASHLEY
TODD; THERESA TOGAFAU; KEONA TOGIA; INEZ TOLBERT; TOMMIE TOLER; ERIC
TOLLE; ABE TOLLIVER III; LAUREN TOLLIVER-KING; DAVID TOLOSSA; NOUEL
TOMA; JULIAN TONGOL; VANITA TOOMBS; CHRISTIAN TOROSSIAN; AILEEN
TORRES; DAVID TORRES; ISIS TORRES; LINDA TORRES; MIGUEL TORRES;
SENORINA TORRES; STEVEN TORREZ; CHANEL TOURGEMAN; FARAJI TOUSSANT;
BENJAMIN TOVAR; BLAKE TOVEY; KIM TOWERS; LYNN TOWNSEL; JARRETT
TOWNSEND; GLENN TRABANINO; CAMERON TRAMEL; JOYCE TRAMMEL;
MYDUYEN TRAN; SANG TRAN; TENNY TRAN; TOMMY TRANG; YSSA TRAORE;
QUINN TRAVERS; HARRISON TRAWNIK; ELLIOT TREGONING; SARAH TRESVILLE;
TIANA TRESVILLE; HEATHER TRIPP; LORI TROESTER; BRIAN TROUSDALE; BRIAN
TRUJEQUE; CRISTINA TRUJILLO; MARIO TRUJILLO; QUAN TSANG; JAMAL
TSOUKALAS; MICHAEL TSUCALAS; JULIAN TUBERA; JOSEPH TUCKER; ADAM
TUFONO; MIKE TUFU; BADRI TULSIRAM; CHRISTINA TURCIOS; RONNY TURMAN;
ARTHUR TURNER; AZIZA TURNER; DALENE TURNER; DONYTHIA TURNER; EDDIE
TURNER; ISSAC TURNER; JACOB TURNER; JBARRIE TURNER; MONA TURNER;
RICKY TURNER; SHADEED TURNER; TAVARES TURNER; NELSON TUUFULI; CELIA
TYDINGCO; ANGELA UJAUGHELE; MD ULLAH; TAYLOR UNDERWOOD; NATHAN
UNG; BIPOP UPRETI; RYAN URBANO; JORDAN URBINA; ALAN URIBE; STEPHEN
URQUIDEZ; ISSACK VAID; RENATA VAINER; TONY VAIS; WHITNEY VALCIN;
DELINA VALDEZ; JAMIE VALDEZ; JOSEPH VALDEZ; JOVAN VALDEZ; REYNALDO
VALDEZ; GUILLERMO VALDIVIA; ALBERTO VALENCIA; LYNETTE VALENCIA;
TONY VALENCIA; STEVEN VALENCIANA; MARILYN VALENCIA-TAPIA; KENNETH
VALERA; ABIGAIL VALERIO; EMMANUEL VALLEJO-ALVAREZ; LORRAINA
VALSONIS; RUDY VAN ACKER; JOSHUA VAN DEVENTER; KRISTEN VAN DINE;
SIRENA VAN HOOK; LONNIE VAN HORN; MARISSA VAN HOUTE; SEBASTIEN VAN
PELT; STEVE VANCANTFORT; AMY VANCE; RYAN VANDENBURG; NALY VANG;
YAW VANSCOY; JORGE VARELA; ADRIANA VARGAS; ALEXANDER VARGAS;
ESTEBAN VARGAS; MARCELINO VARGAS; BREANNA VARGO; ANGEL VASQUEZ;
ANGELICA VASQUEZ; JACKLYN VASQUEZ; JUDITH VASQUEZ; WILFREDO
VASQUEZ; JEREMY VAZQUEZ; SELENE VAZQUEZ; AURELIO VECCHIOLA; DAISY
VEGA; ANTHONY VELASQUEZ; YOLANDA VELASQUEZ; AURELIO VELAZQUEZ;
RAUL VELAZQUEZ; DAVID VELEZ; THERESA VELLONE; DARLENE VELOZ;
PATRICE VENTRESCA; MARGARITA VENTURA; EDWARD VERA; JOHNNY VERA;
STEVE VERCHER; JUAN VIDAL; ADRIAN VIDAURRE; CHRISTOPHER VILLA; LAURA
VILLA; VICTOR VILLA; DANECA VILLACORTA; WILSON VILLACORTE; MARTIN
VILLAFUERTE; MICHAEL VILLAR; GRACE VILLARDE; IRENE VILLASANO;
CLAUDIA VILLEGAS; RICKY VILLEGAS; TANYA VILLINES; WINONA VINCENT; JON
VINSON; EMILYN VIRAY; ADRIAN VIRGILIO; CHRISTAN VISPERAS; SARA VIVO;
ADAM VOLK; NICK VOLZ; PETER VON WIEGANDT; JUSTIN VOO; STEPHANIE
VOONG; YEVGEN VOSKOLEY; PETER VU; KARI WADDELL; KAYLEE WADEMAN;
DANIEL WAGENSELLER; DOSHA WAGNER; GLORIA WAGNER; SARA WAGNER;
KARTTIE WAHOFF; TIFFANY WAITERS-MCCLINTON; ADMIRAL WALKER;

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ALLISSIA WALKER; DARRELL WALKER; DEONTE WALKER; JOEL WALKER;
JONIESHA WALKER; KWANIUS WALKER; LISA WALKER; TENISHA WALKER;
DEANNA WALLACE; EDWARD WALLACE; TERRA WALLACE; JORDAN WALLICK;
SASHA WALLS SMITH; BERTRAN WALLS; LAUREN WALMAN; RYAN WALTERS;
DARREN WALTON; KEIOSHA WALTON; NICOLL WALTON; SHENGWEI WANG;
KENDA WANNEMAKER; JOSHUA WARD; LEANNA WARD; TIANA WARD;
DANIELLE WARE; MARTIN WARE; SHAWN WARE; FELICIA WARNER; TODD
WARNER; BRITTANY WARREN; SARAH WARREN; ANGELA WASHINGTON;
CAMERON WASHINGTON; CHERESA WASHINGTON; JAZMINE WASHINGTON;
RAYLYNN WASSON; ASHLEY WATCHER; IAN WATERHOUSE; CRYSTAL WATERS;
JILL WATERS; PATRICK WATERS; GLENN WATKINS; MICHAEL WATKINS; JAMES
WATSON III; ELIJAH WATSON; JORIM WATSON; EBONY WATTS; SASHA WATTS;
BERTHA WAULS; KRISTIN WEATHERBY; JAIME WEAVER; BARRY WEBB; ERIC
WEBB; NATALIE WEBB; MICHELLE WEEKS; WANDA WEEKS; MELISSA WEGNER;
PETER WEHRMEYER; ERICH WEIDTMANN; CHRISTOPHER WEIL; KAYLA
WEINREICH; NATHAN WEISS; CURTIS WELCH; TONY WELCH; CURTIS WELLING;
IVY WELLS; KAYLA WELLS; UNIQUE WELLS; RYAN WELSHONSE; SHONDESS
WESSON SR; ANDREW WEST; ARON WEST; DANIEL WEST; ELIJAH WEST; JOEL
WEST; KAWAQUANA WEST; RICHARD WEST; ZACHARY WESTMORE; BRIAN
WESTMORELAND; CORAL WESTON; JACOB WETHERBEE; NICOLE WEYBURN;
KENDRICK WHEATON; RAESHELL WHISMAN; CHRIS WHITCOMB; APONDO WHITE;
BRIAN WHITE; CALLIE WHITE; CASSIDY WHITE; DEVANTE WHITE; EDWIN WHITE;
EMILIE WHITE; GREGORY WHITE; JULIAN WHITE; KAYLA WHITE; NETTIE WHITE;
SEDRIC WHITE; TASHA WHITE; TERIAN WHITE; COURTNEY WHITFIELD; MICHAEL
WHITFIELD; TERRY WHITFIELD; MARISSA WHITING; ANTHONY WHITSEY; KEVIN
WICAL; MARCALETT WIDEMAN; INDIKA WIJESEKERA; DESIREE WILBON; ADAM
WILBORN; LASHAWN WILBURN; DIAMOND WILDER; AARION WILEY; JAMES
WILEY; TAHJ WILIAMS; TIFFINY WILKINS; WILLIAM WILKINS; HENRY WILLAUER;
ROSA WILLIAMS JETER; DEREK WILLIAMS JR; AARONEKIA WILLIAMS; ALICIA
WILLIAMS; ANFERNEE WILLIAMS; BRANDON WILLIAMS; CHANEL WILLIAMS;
CHASTITY WILLIAMS; CHELSEY WILLIAMS; CYNTHIA WILLIAMS; DANYAEL
WILLIAMS; DAVID WILLIAMS; DEANNDRA WILLIAMS; DENISE WILLIAMS;
DENZELL WILLIAMS; DERRICK WILLIAMS; EMILY WILLIAMS; ERIC WILLIAMS;
GARY WILLIAMS; GERALD WILLIAMS; JACOB WILLIAMS; JACQUELINE
WILLIAMS; JAMILA WILLIAMS; JAMILIA WILLIAMS; JORDIN WILLIAMS;
JOSHCENIA WILLIAMS; JULIUS WILLIAMS; KENDRA WILLIAMS; KENOV
WILLIAMS; KEVIN WILLIAMS; LA SHAWN WILLIAMS; LADONNA WILLIAMS;
LIGAYA WILLIAMS; MICHELLE WILLIAMS; NATASHA WILLIAMS; PORTIA
WILLIAMS; RANDY WILLIAMS; RONALD WILLIAMS; SHARWANNA WILLIAMS;
TAMICKA WILLIAMS; TATIANA WILLIAMS; VERONICA WILLIAMS; VICTORIA
WILLIAMS; MACKENZIE WILLIAMSON; MARKUS WILLIAMSON; SEAN
WILLIAMSON; BONNIE WILLIAMS-TAYLOR; BLAKE WILLIFORD; MATT WILLIS;
ANASTASIA WILLOUGHBY; ALEXIS WILSON; CHERISE WILSON; CHRISTINA
WILSON; CRISSY WILSON; DAVID WILSON; ERIC WILSON; HEATHER WILSON;
IRENE WILSON; KHALI WILSON; MAIYA WILSON; MICHAEL WILSON; NICHOLAS
WILSON; REGINALD WILSON; TOKA WILSON; VASHAYLA WILSON; WHITNEY

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WILSON; YMUNIQUE WILSON; KIRA WINDMUELLER; SHANELLE WINDOM; JODIE
WINKLEBLECH; HALEY WINN; TAMIKA WINSLOW; LORI WISE; JAMES WISEMAN;
DAVID WITCHER; TALIYAH WITT; COREY WOJAHN; MAHLET WOLDEMICHAEL;
JAY WONG; PAUL WONG; STEVEN WONG; ANGELA WOOD; ERICA WOOD; JESSICA
WOOD; JOHNATHAN WOOD; MICHAEL WOOD; SAMMANTHA WOOD; AUGUSTA
WOODARD; ASHLEY WOODBRIDGE; SPENCER WOODCOCK; CHYRAH WOODS;
NICOLE WOODS; CASSANDRA WOODWARD; HEATHER WOOLEN; BINH WORLEY;
SHANNA WORLEY; ASHLEY WRIGHT; BRIAN WRIGHT; D'AJANE WRIGHT; DEAN
WRIGHT; MICHELLE WRIGHT; VINCENT WRIGHT; ZONOBIA WRIGHT; TIGER WU;
LORENZO WUYSANG; MELANIE WYATT; DOMINIQUE WYNNE COOLEY;
CHRISTOPHER WYRICK; SONDRA WYRICK; MICHELLE XIONG; CRANE XU; YIN
KUM XUE; STEVEN YAMAGUCHI; JESSICA YANEZ; HEIJIN YANG; BATTSENGEL
YANJMAA; CHRIS YANKE; ETIENNE YANSUNNU; JACOB YARLETZ; DEVEN
YASAY; AHMED YASEEN; VINCENT YATES; CHRISTOPHER YBARRA YBARRA;
CHRIS YODER; JOSEPH YOO; BRYAN YOUNG; CHRISTOPHER YOUNG; GRENITA
YOUNG; JIMMY YOUNG; OLIVIA YOUNG; SAMANTHA YOUNG; SHONNTAE
YOUNG; ROSALINA YSAIS; RUTH ZAGARS; ANASTASIIA ZAGORUIKO; LAURIE
ZALESKI; TOMMIE ZAM; RUDOLPH ZAMARRIPA; MICHAEL ZAMBELLI; SAN
JUANITA ZAMORA-MEZA; BENNJI ZANABRIA; ANTHONY ZAPATA; ELIZABETH
ZAPATA; MARTIN ZARAGOZA; ROYCE ZARO; ANDREA ZAVALA; ANGELA
ZAVALA; ERIC ZAVALA; LUPE ZAVALA; ZAHIR ZEGGANE; JACQUELINE ZENN;
BRISA ZEPEDA; ANDREW ZERTUCHE; WEI ZHAO; JOSHUA ZIELINSKI; JESSICA
ZINZUN; DAVID ZIRKELBACH; KAMEEL ZREIK; and REYNA ZUNIGA.




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 1     MAHMOOD AL GHAZAWI; OMER AL
       MASHAHEDAH; ROMAN AL; LANA
 2     ALANIZ; MARIA ALARCON; OMAR
       ALAYA; MAGDI ALBARTY; MUAYAD
 3     ALBAZIAN; VANICA ALBERT; ANDREW
       ALBRECHT; MAIA ALBRO; ELISSA
 4     ALCALA; ALEXANDER ALCARAZ;
       STEVE ALCAZAR; CHRISTOPHER
 5     ALEJO; NEHEMIAS ALEMAN; SAUL
       ALEMAN; JACOB ALESNA; CALONDRA
 6     ALEXANDER; JENNIFER ALEXANDER;
       JOEL ALEXANDER; KAYLAH
 7     ALEXANDER; MARLA ALEXANDER;
       RUDOLPH ALEXANDER; ROY
 8     ALFAJORA; ALEX ALFARAS; DENNY
       ALFARO; ELIZABETH ALFARO; RAMON
 9     ALFARO; SHANNON ALFARO;
       AMANDA ALFRED; JOSEPH ALFRESCO;
10     SAM ALHADDADEN; DUAA ALHAJRI;
       MOHAMMED ALIA; BERMUDEZ
11     ALICIA; IRWIN ALLEN; MICHAEL
       ALLEN; MONIQUE ALLEN; RENEE
12     ALLEN; TIMEKA ALLEN; ALEXANDRIA
       ALLGOOD; MELISSA ALMARAZ;
13     YOUSEF ALMASRI; HAYDAR
       ALMAYALEE; ELIZABETH
14     ALMENDAREZ; AMMAR ALSHAWOSH;
       DIEGO ALTAMIRANO; MALCOLM
15     ALUGAS; FRANCISCO ALVARADO;
       VICTORIA ALVARADO; ADRIAN
16     ALVAREZ; JEAN ALVAREZ; LILIA
       ALVAREZ; MARISELA ALVAREZ;
17     MILLY ALVAREZ; MICHAEL
       ALVARIZARES; JUSTIN AMADOR;
18     MARYAMAWEET AMARE; RICHARD
       AMARO; INGRID AMAYA; NORA
19     AMERICANO; RUDY AMESQUITA;
       AHSSANULLAH AMINYAR; JOSARA
20     AMMANN; RACHAEL AMOAH;
       FRANCISCO ANAYA; ISAAC ANAYA;
21     ROMUALDO ANAYA; ASHLEY
       ANDERSON; CASHLEY ANDERSON;
22     CHARLES ANDERSON; DAVID
       ANDERSON; DESIREE ANDERSON;
23     FRANCIS ANDERSON; JOHN
       ANDERSON; JONATHAN ANDERSON;
24     JULIA ANDERSON; KAI ANDERSON;
       MICHAEL ANDERSON; SHAWN
25     ANDERSON; VICTORIA ANDERSON;
       YAMILB ANDERSON; SHAYNA
26     ANDERSON-SCHMIDT; SHAWNA
       ANDINO; JARED ANDRADE; KEVIN
27     ANDRADE; ROBERT ANDRADE;
       RAPHELLE ANDREWS; NADINE
28     ANGUIANO; RICARDO ANTILLON;
                                         2
                    PETITION FOR ORDER COMPELLING ARBITRATION
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 1     MASOUD ANWARY; ANNETTE
       APODACA; ANTIMONY APODACA;
 2     ARTHUR APPLING; JUSTIN AQUINO;
       EDGAR ARAMBULA; NICHOLAS
 3     ARANDA; JERROLD ARANGORIN; JUAN
       ARAUJO; KAYLEE ARAUJO; PABLO
 4     ARAUJO; MELISSA ARAYA; EVA ARCE;
       JAMES ARCE; ZAKARIA ARCHANE;
 5     VINCENT ARCHIE; JAN COLEEN
       ARCINAS; KRISTI ARD; MELISSA
 6     ARELLANO; LUIS ARENAS; ALICIA
       ARGUELLO; EDUARDO ARIAS; JAMES
 7     ARLOW; MANUEL ARMENTA; ISAAC
       ARMSTRONG; JEANETTE ARMSTRONG;
 8     LINDA ARMSTRONG; MICHAEL
       ARNETT; COREY ARNOLD; CALVIN
 9     AROMIN; DOMINIC ARREOLA;
       DANIELA ARREY; ALFRED
10     ARRINGTON; STEVEN ARTIGA;
       GEORGE ARTOPE; MIGUEL ARVIZO;
11     GLORIA ARZU; AKSEL ASADOURIAN;
       DEAN ASAMURA; ARLETTE ASCENSO;
12     BRIAN ASHE; BRIANNA ASHLEY;
       ROGER ASHTON; MICHAEL ASIS; MUH
13     DARYOSH ASLAMI; TIMOTHY ASLAN;
       OMAR ASSAF; STEVEN ASSEF; TIMONA
14     ASUEGA; DION ASUNCION; YORDAN
       ATANASOV; ROZA ATIKYAN; ALFRED
15     ATKINS; LEANDRE ATKINS; ALEX
       ATTRILL; NATALIE AUBELE; AIDAN
16     AUSTIN; RASHEETA AUSTIN;
       CHRISTINE AVELAR; MICAH AVERY;
17     JESUS AVEYTIA; MARISSA AVILA
       METZ; DAWN AVILA; JARON AVILA;
18     MONICA AVILA; EMANOEL AVRAHEM;
       NASSER AWAWDA; THEO AWDNG;
19     WILLIAM AYDLETTE; ALESSANDRO
       AYER; JERIZA AYSON; AMIR AZARI;
20     MELISSA AZEVEDO; NAVID AZIZI;
       PAUL AZZOLINA; MOHAMED
21     BAAGHIL; DOMINIQUE BACA; BRIAN
       BACHAR; CHAD BACHMAN; HARMONY
22     BACON; KATHY BADER; CHRISTIAN
       BAEZ; MAMIE BAGBY; LENA
23     BAGWELL; JAVIER BAHAMONDE;
       EDON BAINVOLL; LAWRENCE
24     BAISDEN II; LAQUANN BAKER;
       MARVIN BAKER; MEDINA BAKER;
25     SCOTT BAKER; TOMMY BAKER;
       TRACY BAKER; GAGANDEEP BAL;
26     KENNETH BALANON; JESSE BALDAIN;
       ROSARIO BALDERAS; VICENTE
27     BALINTON; JENNIFER BALL; JORDAN
       BALL; CHRIS BALLARD; DAMEONN
28     BALLARD; GLEN BALZA; ARCHANA
                                         3
                    PETITION FOR ORDER COMPELLING ARBITRATION
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 1     BANDARU; JELANI BANDELE; JULIAN
       BANDERAS; GWENDOLYN BANKS;
 2     KAYLA BANKSTON; KATHARINE
       BANTIGUE; ROBERTO BAPTISTA;
 3     CHRYSTLE BARAJAS; DANIEL BARBA
       MORALES; MARCOS BARBA; ALICIA
 4     BARBEE; MICHAEL BARBER;
       MICHAELA BARBER; TANNER
 5     BARBER; CARLOS BARBOSA; PETER
       BARD; JESSICA BARFIELD; SONIA
 6     BARILLAS; BRIANA BARNES;
       KATELYNN BARNES; STEVE BARNES;
 7     CAMERON BARNETT; JAMES
       BARNETTE; TRINI BARON; JESUS
 8     BARRAGAN; CASSANDRA BARRANCO;
       ENRIQUE BARRERA; GABRIEL
 9     BARRERA; MONICA BARRERA;
       MONICA BARRERA; JA'MONTEYANNA
10     BARRETT; ARIANA BARRIOS;
       REBECCA BARRON; VANESSA KAY
11     BARRON; DONALD BARRY; JEFFREY
       BARTNEK; ISIAH BARTOLOME;
12     TREVEON BASKIN; MOHAN BASNET;
       EVERETT BASS; OTIS BASSETT;
13     BROOKE BASTIAANS; JARED BASTIAN;
       THALIA BATISTA; ARIUNSAIKHAN
14     BATKHUYAG; RYAN BATORICK;
       LAUREN BATTAGLIA; THOMAS
15     BATTAGLIA; AMRIT BATTH; AJANAI
       BATTLE; CRISTINA BAUTISA;
16     CRISTIAN MERRY BAUTISTA; STEVEN
       BAVIN; DERRICK BAXTER; KIMBERLY
17     BAYARDO; VERTIS BAYNE; JASON
       BEADLE; JOHNNY BEARD;
18     CHRISTOPHER BEARDEN; PATRICIA
       BEARDSLEY; GARINER BEASLEY;
19     JONATHAN BEASLEY; REGINA
       BEASLEY; JENNA BEATON; RODRICK
20     BEAVERS; LUANA BEAVERS-
       DELOACH; KAREN BECCAR; JEREMIAH
21     BECK; ZACKARY BECKER; DANNY
       BEDFORD; TONY BEDI; BENJAMIN
22     BEERS; LAURIE BEHREND; DAOUD
       BEITUNI; MIKE BELARDES; ANNA
23     BELIEL; BRIANNE BELL; HUNTER
       BELL; JARED BELL; TANISHA BELL;
24     VINESHIA BELL; YVONNE BELL;
       MOUAADH BELLAL; CONNIE
25     BELLMER; EMMANUEL BELLO;
       WENDY BELMONT; SABRINA
26     BELMONTEZ; MIGUEL BELTRAN;
       HATEM BEN MILED; SARAJANE
27     BENASSI; OLIVIA BENAVIDES; VAHAN
       BENDIAN; SIMONE BENECH;
28     TASHALLA-LYNN BENFORD; ANDREA
                                         4
                    PETITION FOR ORDER COMPELLING ARBITRATION
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 1     BENNETT; DOMINIQUE BENNETT;
       ENDIRA BENNETT; JACOB BENNETT;
 2     MARISSA BENNETT; MICHAEL
       BENNETT; SARA BENSON; ANDREI
 3     BERG; JAMES BERG; MATTHEW BERG;
       ALAYNA BERGMAN; FLOR BERMUDEZ;
 4     DESSA BERNABE; CHRISTIAN
       BERNARD; OSCAR DE JESUS
 5     BERNARDINO FLORES; SCOTT
       BERNAVE; ISHA BERRY; MICHAEL
 6     BERRY; RICHARD BERRY; SAMANTHA
       BERRY; VINCENT BERRY; RICHARD
 7     BERTHIL; JACK BESSIERE; SENECA
       BEVERLY; OZONE BHAGUAN;
 8     MUHAMMAD BHUTTA; JAMEE
       BIADORA; ANGELA BIBBS; MICHAEL
 9     BICKHAM; TANIA BIELECKI; LAUREN
       BIGORNIA; JONATHAN BIRD; BOBBY
10     BIRDI; ROBIN BIRDSONG VINCENT;
       JOSEPH BIRDSONG; JESSE BIRINGER;
11     BRETT BIRMINGHAM; ARRICK
       BISCHOFBERGER; CODY BISHOP;
12     NICHELE BISSETT; MIRHAD BJELEVAC;
       SAMANTHA BLACK; THERESA BLACK;
13     CHRISTANYA BLACKMAN; SANDRA
       BLACKMON; KERRY BLACKMORE;
14     NICHOLE BLACKWELL; STEPHEN
       BLAKE; SHAUWN BLAND; TROY
15     BLANTON; JANETTE BLEVINS; TANYA
       BLUE; TATIANA BLUFORD; EMMETT
16     BLUNT; JASON BLYSTON; NICHOLAS
       BOBER; JAKEH BODE; ALICIA
17     BODWAY; RANDY BOEGLIN;
       NICHOLAS BOESCH; RICHARD
18     BOGOLUB; GENEVIEVE BOHAN; RONE
       BOLES; ROSZONNE BOLTON; ALEXIA
19     BOND; BARBARA BONDS; AUDREY
       BONGATO; CINTIA BONIFACIO;
20     CARMENA BOONE; MARCUS BOONE;
       ERIC BOOTHE; LASHAY BOOZER;
21     ALEJANDRO BOQUIREN; JASMYN
       BORDERS; SAMANTHA BORG; ROBERT
22     BORJAS; ALICIA BORREGO; CAMILLE
       BORROMEO; PAUL BOSLEY-PITTMAN;
23     DANIELLE BOSTIC; APRIL BOSWORTH;
       JOSH BOTELLO; CAMERON
24     BOTHWELL; MONET BOUNTHON;
       NADRA BOURDI; MONIKA BOWERS;
25     SHAQUISHA BOWERS; THEODORE
       BOWERS; CATHERINE BOYD;
26     JONATHAN BOYD; ERIN BOYER;
       AMANDA BOYETT; JOHN BOYLE;
27     ROBERT BOYLE; BENJAMIN
       BRADFORD; CARLOS BRADFORD;
28     SAMANTHA BRADFORD; ANGELA
                                         5
                    PETITION FOR ORDER COMPELLING ARBITRATION
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 1     BRADLEY; GARRETT BRADLEY;
       STEVIE BRADLEY; THOMAS BRAGER;
 2     JA’SAWN BRAGG; WILLIAM
       BRAJNIKOFF; REBEKAH BRANCH;
 3     YAQUII BRANCH; JONATHAN
       BRANNON; COREY BRANTLEY;
 4     TAMEKIA BRANTLEY; JODI BRAUND;
       GEORGINA BRAVO; JAYLEN BRENT;
 5     DESTINY BREWER; BRIAN BREWSTER;
       NAJA BRIDGEFORTH; GREG
 6     BRIDGEWATER; TAWANA
       BRIDGEWATER; VICTOR BRIFFA;
 7     JUSTIN BRIGGS; ANTHONY BRIGHT;
       DETRICK BRIGHT; MONIQUE BRIM;
 8     TANISHA BRINKLEY; ROSA A
       BRIONES; MIYAKO BRISKER;
 9     GERARDO BRITO; RICARDO BRITO-
       GONZALEZ; TRAVIS BRITTON; GAYLA
10     BROOKINS; LATASHA BROOKS; OLIVIA
       BROOKS; PARADICE BROOKS; SHERIA
11     BROOKS; TESS BROWDER; HENRY
       BROWN III; BARBARA BROWN;
12     BRITANY BROWN; BRYSON BROWN;
       CHARLOTTE BROWN; CHERELE
13     BROWN; COLLEEN BROWN;
       DOMINIQUE BROWN; DONNASIA
14     BROWN; EARL BROWN; ELIJAH
       BROWN; HAROLD BROWN; HEATHER
15     BROWN; JARRETT BROWN; KENON
       BROWN; KIMBERLY BROWN;
16     KRISTINA BROWN; LATOYA BROWN;
       LAUREN BROWN; LORA BROWN;
17     MARCELLES BROWN; MARGARET
       BROWN; MARTEZ BROWN; MICHAEL
18     BROWN; MONIQUE BROWN; NATALIE
       BROWN; NIESHA BROWN; ROBYN
19     BROWN; RODNEY BROWN; SABRINA
       BROWN; STEVEN BROWN; TONISHA
20     BROWN; AZIZA BRUMFIELD; KATIE
       BRUNIUS; CARLTON BRUNNER;
21     DUNCAN BRUNST; JULIA BRYAN;
       TERAN BRYAN-HOWELL; JANNET
22     BRYANT; KEVIN BRYANT;
       KIMBRIELLE BRYANT; LAQUISHA
23     BRYANT; LINDA BRYANT; ODEIRRE
       BRYANT; SHANTE BRYANT; GILBERTO
24     BUENROSTRO; EBONE BUGGS;
       MICHAEL BUI; VU BUI; ELMER
25     BUNGAY; GURGEN BUNIATYAN;
       MARISSA BURGESS; ALLISON BURKE;
26     LAUREN BURKE; ANTHONY BURKS;
       ANITRA BURMEN; BERNADETTE
27     BURNIAS; CANDICE BURNS; MATTHEW
       BURNS; TERRIA BURSEY; CODDIE
28     BURTON; JALISA BURTON; ANNIE
                                         6
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 1     BUSHNELL; STEVEN BUSTAMANTE;
       ARETTA BUTLER; MARLOW BUTLER;
 2     DAVION BYRD BYRD; ROBERT BYRD;
       SHAWNA BYRD; CHRISTIAN
 3     CABANAYAN; AZEENITH CABANERO;
       JEWEL CABIGAS; BRE CABIN; SAUL
 4     CABRAL; TOMAS CABRAL; ABIGALI
       CABRERA; JORGE CACERES; CHLOE
 5     CALDASSO-SMITH; JOSE CALDERA;
       ANTHONY CALDERON; EARLE
 6     CALDERON; MICHAEL CALDERON;
       JASMINE CALDWELL; MIA CALDWELL;
 7     RICKY CALDWELL; ROCIO CALENDA;
       KENNETH CALICDAN; TYLER
 8     CALLAHAN; KARINA CALLAHAND;
       CARDELL CALLOWAY; JENNIFER
 9     CALTON; JOHN CALUCIN; DANICA
       CAMAGONG; SAMANTHA CAMAIONI;
10     DON CAMANAG; GABRIEL CAMBRON;
       REGINA CAMERON; ASHLEY
11     CAMILLUCCI; KEYLI CAMPBELL;
       KIEMARA CAMPBELL; CAROL CAMPO;
12     ATHIANE CAMPOS; CAROLINA
       CAMPOS; MELINA CAMPOS; ARTHUR
13     CANALES; CASEY CANALES; LAURA
       CANAS; OLIVER CANBAZOGLU; JC
14     CANNEGIETER; KIERRA CANNON;
       SEAN CANNON; CARLOS CANTON;
15     FRANK CANTORAN; AMANDA
       CANTRELL; KRISTY CANTRELL; MARK
16     CAPACCIO; CHRIS CAPRON; LASHAY
       CARADINE; GREG CARAMELLA; JOHN
17     CARANDANG; PATRICK CARDEA;
       RYAN CARDENAS; CHRISTOPHER
18     CARDINELLI; AARON CARDOZA;
       VERONICA CARGILL; JOSEPH CARINI;
19     JESSICA CARMONA; MICHELLE
       CAROLAN; JIMMIE CARPENTER; RON
20     CARPENTER; RYAN CARPENTER;
       SAMANTHA CARPINTERO; VICTORIA
21     CARPIO; CAMERON CARR; CARRADINE
       CARR; JERRY CARR; LA QUESHA
22     CARR; ROXANNE CARR; VONDETRICK
       CARR; CYNTHIA CARRANZA;
23     JONATHAN CARRASCO; MATTHEW
       CARRELL; RYAN CARRETHERS;
24     BRANDON CARRIER; MICHAEL
       CARRIERI; SANDRA CARRIERI; LISA
25     CARRILLO; JASMINE CARRION; NANCY
       CARRION; TIMOTHY CARRIZALES;
26     STEVEN CARROLL; RENE CARSON;
       BRANDON CARTER; CRAIG CARTER;
27     NATHANAEL CARTER; PAUL CARTER;
       RONNIE CARTER; SHAWNICE CARTER;
28     ANTHONY CARVER; ISABEL CASALES;
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 1     JANELL CASCIA; JUDY CASE;
       MARSHAL CASE; KYLE CASEY;
 2     ANDREW CASH; ARIELLE CASILLAS;
       ADRIANA CASSELL; EMILY
 3     CASTANON; ALEXIS CASTELLANOS;
       JUANCARLO CASTELLANOS; PETE
 4     CASTELLANOS; TERRENCE CASTILLE;
       CARLOS CASTILLO; CAROLINE
 5     CASTILLO; LEON CASTILLO; SAMUEL
       CASTILLO; MONTE CASTON; DANIEL
 6     CASTRO; ELYSE CASTRO; EVELYN
       CASTRO; FERNANDO CASTRO; JORGE
 7     CASTRO; LINDA CASTRO; MARITZA
       CASTRO; MONICE CASTRO; LALITA
 8     CASTRO-KINH; KELLIE CATENA; APRIL
       CAUDILLO; ANGELA CAVINESS; JEAN
 9     CAYABYAB; REAGAN CECCARELLI;
       MIAJOY CEDENO; JASON CELESTIAL;
10     TAMIKA CENTERS; ADRIAN CERDA;
       LUCAS CESPEDES; LUIS CHABLÉ;
11     KIMBERLY CHADWICK; BRENDA
       CHAIREZ; EBONEE CHAMBERS; KALIA
12     CHAMBERS; PESACH CHANANIAH;
       ZACHARIAH CHANCE; GARY
13     CHANDLER; JASMINE CHANDRA;
       RONALD CHANDRA; LYNN CHANEY;
14     DARWIN CHANG; SHENG-YANG
       CHANG; ALLEN CHANNEL; SUSIE
15     CHANPHENG; SERENA CHAPMAN;
       ELIZABETH CHAPMAN-ARATA;
16     CRYSTAL CHAPPEL; DRAKE CHAPUT;
       DANIELLE CHARETTE; KAAJAL
17     CHARITRA; NAOMI CHARLES; JALEN
       CHARLESON; SERGIO CHAVEZ; TAMMI
18     CHAVEZ; ANDY CHEA; ALISHA
       CHEESEBORO; JIN GUANG CHEN;
19     SHEILA CHENAULT; ALEXANDER
       CHERENKOV; JUDITH CHESSER; ALVIN
20     CHETTY; AARON CHEUNG; MOEUN
       CHHEANG; JASON CHIANG; ARINZE
21     CHIDOM; RAJAY CHILDS; SHEILA
       CHILDS; SRITEJA CHILLARIGE;
22     CHIKEZIE CHIMA; ALEXANDER
       CHIRISHYAN; JERMAINE CHISM;
23     KRYSTAL CHITTY; RAYMOND CHO;
       JOHN CHOE; LACHIA CHRISTIAN;
24     SAMUEL CHRISTIAN; SAMANTHA
       CHRISTIANSEN; SAIMAN CHU;
25     AMINMORN CHUENGMANKONG; IKEM
       CHUKWUDIFU; CAMERON CHUMBLEY;
26     RICHARD CHUNG; LINDA CISCO;
       ARTURO CISNEROS; RICARDO
27     CISNEROS; BACONGO CISSE; TRISHA
       CLABORN; KIMBERLY CLARK
28     BURRELL; CONRAD CLARK; JOSHUA
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 1     CLARK; MICHAEL CLARK; TANEIKA
       CLARK; TERA CLARK; VIRGINIA
 2     CLARK; LESTER CLAROS; GIAN
       CLAUDIO; RICK CLAYTON; JESSICA
 3     CLEMENTS; KAREN CLEMENTS;
       JOVITA CLEMONS; JEANROBERT
 4     CLERVOIX; CHRISTOPHER
       CLEVELAND; ELLIOT CLEVELAND;
 5     JENNIFER CLIFTON; MIKAELA COBB;
       CHRISTOPHER CODILLA; MARCIE COE;
 6     DANNY COELLO; MARTIN COHEN;
       TANAE COLBERT; BREANNA
 7     COLEMAN; DESTINY COLEMAN;
       KRISTINE COLEMAN; LAKESHA
 8     COLEMAN; ZACHARY COLEMAN;
       ASHLEY COLGLAZIER; ANGELO
 9     COLLIER; AMBER COLLINS; SIMON
       COLLINS; STEVE COLLINS; TANYA
10     COLLINS; TINA COLLINS; CELIA
       COLON; SANDRA COMBEE;
11     CHRISTOPHER COMLY; MARVIN
       CONANT; ALEXIS CONCANNON;
12     CLIFFORD CONDELLO; KARRIANN
       CONLEY; TAYLOR CONLEY; RYAN
13     CONN; KODIAK CONRAD; MILES
       CONRAD; KRISHNA CONSTANCIO;
14     ALEJANDRO CONTRERAS; EDDIE
       CONTRERAS; JENNIFER CONTRERAS;
15     JORGE CONTRERAS; ROLANDO
       CONTRERAS; SHARON CONTRERAS;
16     ALEX CONVERSE SR; CHASE
       CONVERSE; DEMESHA CONWAY;
17     JONATHAN CONWAY; MALIK
       CONWAY; TAYLOR CONYERS;
18     NICOLAS COOK LEON; JACQUEZ
       COOK; SANDY COOK; FERNANDO
19     COOK-MORALES; JON COOLEY; APPLE
       COOPER; KELLI COOPER; MICHAEL
20     COOPER; TRACY COOPER; MARTIN
       COPPA SR.; ANJELICA CORBETT;
21     RONISHA CORBIN; CASSIDY
       CORBOLINE; CHRIS CORDINGLEY;
22     DANA CORDOVA; JOHN CORDOVA;
       LORENA CORDOVA; VANESSA
23     CORDOVA; CHERYL CORLL; MAYRA
       CORONA; TINA CORONA; SALLY
24     CORONADO; DANIEL CORPUZ;
       NICOLAS CORRAL; EDMUNDO
25     CORREA; TESSA CORREA; KEITH
       CORSI; MAYRA CORTES; RAMIRO
26     CORTEZ ROMAN; ELLIE CORTEZ;
       FEISAL CORTEZ; MICHAEL CORTEZ;
27     BIANCA CORTINAS; SHELIYA COSBY;
       STEPHANIE COSIO; MARK COSTELLO;
28     SHARI COSTON; ANDREA COTA;
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 1     RAYMOND COTA; LARRY COTTON JR;
       ANGELA COTTON; SANDRA
 2     COURTNEY-SIMS; LASHAE COUSIN;
       DOROTHY COUSINS; EMMA
 3     COUVILLION; MARIO COX; TASHA
       COX; ALEXIS COZZI; DIIYMILEA
 4     CRAFTON; IBOETE CRAIG; LISA CRAIN;
       FELICIA CRAPIA; OWEN CRAVER;
 5     CABONIA CRAWFORD; LEKEITRA
       CRAWFORD; JAWARA CRICHTON;
 6     ANGELA CRISWELL; DANIELLE
       CROCKER; CHELSEA CROIL; JAMES
 7     CROPPER; ERICKA CROSBY; VANESSA
       CROTEAU; JASMINE CROUCH;
 8     DESAMONA CROWDER; GRAYCE
       CROWDER; BRYNN CROWLEY; JASON
 9     CROWLEY; WESLEY CRUM; MERCEDES
       CRUMBY; ANA CRUZ; DIXIE CRUZ;
10     JORGE CRUZ; MARIA CRUZ; JENNIFER
       CSISZAR; MANUEL CUENCA; MELANIE
11     CUI; SHAYNE CUI; ASHLEE
       CUMMINGS; AARON CUMPTON; MARIA
12     CUNANAN; KAREEM CUNNINGHAM;
       TERRA CUPP; BRANDON CUPPOLETTI;
13     TINISHA CURLEY; DEJANA CURRY;
       WILLIAM CURRY; LATANYA CURTIS;
14     STEPHANIE CURTIS; JAMIE
       CZELUSNIAK; JOSHUA CZUPOWSKI;
15     KAREN DADALT; DILJOT DAISY;
       ALEXANDER DALE; CAITLIN DALTON;
16     JOIA DANAI; VICTOR DANDRADE;
       JOSEPH DANGLER; EBONY DANIELS;
17     EMMITT DANIELS; ERIKA DANIELS;
       KYESHA DANIELS; MICHALAY
18     DANIELS; LORI DANIELSON; DANIEL
       DAVIDSON; FELIPE ROSAS; CAROLYN
19     DAVIO; JOHNATHAN DAVIS II; JASON
       DAVIS JR; ADAM DAVIS; BRIELLE
20     DAVIS; CAMERON DAVIS;
       CHARDANEY DAVIS; CHARRICE
21     DAVIS; CHRISTINE DAVIS; CHRISTINE
       DAVIS; DANA DAVIS; DARREN DAVIS;
22     DASIA DAVIS; DONYEA DAVIS;
       GABRIELLA DAVIS; JESSE DAVIS;
23     JONATHAN DAVIS; KARRI DAVIS;
       LAKIESHA DAVIS; NATHANIEL DAVIS;
24     RONNIE DAVIS; RYAN DAVIS;
       SHAUNDA DAVIS; VALERIE DAVIS;
25     VICTORIA DAVIS; TADEH DAVTIAN;
       GUADALUPE DE ALBA; CILIA DE
26     ARAÚJO; MELISSA DE CASTRO;
       ROBERT L DE FRANCE JR; MANUEL DE
27     GONZALO; LAVVED DARYLL DE
       GUZMAN; ROBERT DE LA CRUZ;
28     MARCO DE LA LUZ; MARLON DE LA
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 1     TORRE; MAYBETH DE LA TORRE;
       FREDDIE DE LEON; RICHARD DE LOS
 2     REYES; CHRISTINA DE PAZ; GREGORY
       DEAN; MATTHEW DEAN; TANGIE
 3     DEBERRY; FARID DEBIT; NICHOLAS
       DEBRITO; GRETA DEDMON; SHARON
 4     DEESE; JOSEPH DEGIROLAMO; IVAN
       DEJESUS JE; KAREN DEKRUIF; JAMES
 5     CARTER DEL ROSARIO; CYNTHIA
       DELA CRUZ; RHYAN DELA CRUZ;
 6     MICHAEL DELANEY; PETER
       DELATORRE; MY DELBRIDGE;
 7     JENNIFER DELEON; NICHOLAS
       DELEON; MARIO DELGADO JR;
 8     CHRISTOPHER DELGADO; PAM
       DELGADO; PEDRO DELGADO; EDELIZA
 9     DELOS SANTOS; ERIC DELRIO;
       KRISTINE DELROSARIO; ELIZABETH
10     DELUCIA ROGERS; BENJAMIN
       DEMERS; MANUEL DEMPSEY;
11     LIVINGSTON DENEGRE-VAUGHT;
       JIAHAO DENG; KYMBERLI DENNETT;
12     JACQUELINE DENTON; CYNTHIA
       DERITA; RYAN DESCHAINE; DANIEL
13     DESMOND; JAYANTH DEV; ANTHONY
       JAMES DEVIEW; CAMERON DEVORE;
14     CHRISTINE DEVORE; LISA DEWITT;
       ARA DEYLAN; ARIS DEYLAN; GURJOT
15     SINGH DHALIWAL; ANGI DIAMOND;
       ALVERA DIAS; ALEJANDRO DIAZ;
16     ALFREDO DIAZ; ALYSSA DIAZ; ELIANA
       DIAZ; JOANNE DIAZ; LUIS DIAZ;
17     OLIVIA DIAZ; CASSIDY DICK; DYLAN
       DICKERSON; JAMES DICKERSON;
18     BREANNA DICKINSON; BRITTANY
       DICKINSON; CHRISTOPHER DIEGO;
19     KATIE DIETERLY; JABULANI DILL;
       DARBI DILLON; TAYLOR DILLON;
20     CHERIKA DILWORTH; DEVONTAY
       DIMERY; IRVIN DINA; SON DINH;
21     HALEY DIPALMA; KASCIMA DIRIENZO;
       WILLIAM DISKIN; ALEX DISTEFANO;
22     NICOLE DIXON; TIMOTHY DIXON; SAM
       DLUZAK; JASON DOAN; LESLEY DOAN;
23     DEREK DODGE; JENNIFER DOKEY;
       MICHELLE DOMINGUEZ; VERONICA
24     DOMINGUEZ; WILLIAM DONALDSON;
       CONSTANTINO DONDIEGO; GIAO
25     DONG; JOHN DORAN; JAMES
       DORANTES; DON DORIA; JULIE
26     DORMIRE; SHAWN DORMISHIAN;
       YVONNE DORSEY; AUBREY DOUGLAS;
27     CHRIS DOUGLAS; KENNETH DOUGLAS;
       TAEJANE DOWNS; PAUL DOXIE;
28     SHAYLYNN DOXIE; JODI DRAEGER;
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 1     TAMMY DRAPER; NATASHA DREW;
       YURIY DROBENYUK; JOHNATHAN
 2     DUARTE; RYAN DUCUSIN; DOMINIC
       DUFOUR; BRANDON DUNCAN; MASON
 3     DUNCAN; KELLY DUNN; MICHAEL
       DUNN; KATARINE DUNNING; NGHIA
 4     NHAN DUONG; DEMETRIUS DUPREE;
       MEGAN DURAN; STEPHANIE DURAN;
 5     HUNTER DURAND; RYAN DURELL;
       SHAY DURISSEAU; KYLE DURNFORD;
 6     STEPHANN DURR; SHOBNI DUTT;
       LAUREN EACH; SHANALL EADDY;
 7     JAJUAN EARL; CHRISTOPHER EARL-
       ROCKEFELLER; LESLY EARNEST;
 8     JANICE EASON; SHANTELLE EASTER;
       RYAN EATON; DESTINY ECHOLS;
 9     ALEX ECK; CASSANDRA EDILLORAN;
       SHERRY EDLUND; VIOLET EDMUNDS;
10     BRANDAN EDWARDS; CEDRIC
       EDWARDS; MATTHEW EDWARDS;
11     TAJA EDWARDS; VANESSA EDWARDS;
       IGOR EFIMOV; TATIANA EFIMOVA;
12     ETHAN EICH; DAVID EISENBART;
       ROBIN EISMAN; AKRAM EISSA;
13     LA’RHONDA ELAM; MISTY ELDER;
       BIANCA ELEAZAR; EMMANUEL
14     ELENDU; RAAFAT ELHENAWY;
       DEMETRIUS ELKINS; DESTINY
15     ELLINGBERG; LAKITA ELLIOTT;
       CHRISTIAN ELLIS; DERRICK ELLIS;
16     JACOB ELLIS; KIMBERLY ELLIS;
       AHMED ELMEHEY; AHMED
17     ELSHARKAWY; HEATHER ELVIN; PAUL
       ELZIE; JERELL ENCALADE;
18     CASAUNDRA ENDRES; MICHELLE
       ENGEBRETSON; SAMANTHA
19     ENGLAND; VICTORIA ENGLAND;
       RANDY ENGLEKIRK; VERONICA
20     ERAZO; DAVID ERICKSON; LAWRENCE
       ERISPE; ANGELICA ESCAMILLA;
21     AMANDA ESCOBAR; GIOVANNI
       ESCOBAR; LORENA ESCOBAR; NANCY
22     ESCOBAR; ROBERT ESCOBAR; JESSICA
       ESCOBEDO; BIANCA ESCORCIO;
23     MASOOMEH ESHRAGHINOMANDAN;
       BESHOY ESKAROUS; MICAELA
24     ESPARZA; RALPH ESPARZA; ERIKA
       ESPERICUETA; JULIO ESPINO; ALINA
25     ESPINOSA; FRANK ESPINOZA;
       JOSEPHINA ESPINOZA; NEPTALY
26     ESPINOZA; RODRIGO ESPINOZA;
       LAUREN ESQUER; MAYRA ESQUIVEL;
27     BOB ESTEFANI; JAVIER ESTRADA;
       JULISA ESTRADA; LINDA ESTRADA;
28     SELENA ESTRADA; MELE ETEAKI;
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 1     SASHA ETHRIDGE; BRANDI EUBANK;
       MICHAEL EUBANK; IRMA EUBANKS;
 2     HYOMI EUM; KAIRO EVANS;
       KIMBERLY EVANS; MICHELLE EVANS;
 3     NICOLE EVANS; TIM EVANS; THOMAS
       EVANSSAINE; JAMES EWING; SARAH
 4     EWING; MICHELLE FACIONES; EMILY
       FAHEY; KARIEM FAHMY; ANTHONY
 5     FAIRBANKS; VANESSA FALCAO;
       RICHARD FALCON; COLETON FALKE;
 6     LETICIA FALLA; JAMES FARAG;
       ZAKIYA FARD; MAGDY FARID;
 7     STEPHANIE FARIN; DUSTAN FARR;
       FIONA FARRELL; KHAMILLE FARRIS;
 8     ARVIN FARZANEGAN; KAVEH FATA;
       FARZAD FAZEL; RACHEL FEDDEN;
 9     EVELLE FEJERAN; RHONDA FELIX;
       EDSON FERNANDES; JOSEPH
10     FERNANDES; CAMERON FERNANDEZ;
       DARIO FERNANDEZ; DEXTER
11     FERNANDEZ; FARO FERNANDEZ;
       GABRIEL FERNANDEZ; JENNIFER
12     FERNANDEZ; MIKE FERNANDEZ;
       TAISA FERNANDEZ; MARIA FERRER;
13     JASSICA FETUU; AMBER FIELDS;
       DONYAE FIELDS; LEATRICIA FIELDS;
14     TOMICA FIELDS; TORRIN FIELDS;
       CHRISTOPHER FIGUEROA; MAXIMO
15     FILIPPINI; AUDRA FILLION-ALBERT;
       SILAS FINCH; JOSEPH FINCHER;
16     SHAWNA FINK; TIFFANY FINNEY;
       JESSICA FISHER; WAKEEIA
17     FITZGERALD; BRIANNA FLEMING;
       ATLEY FLENNER; CHERYL FLETCHER
18     ZARICH; NALANI FLINT; RUSSELL
       FLISK; ALEXIS FLORES; AMANDA
19     FLORES; BEN FLORES; EDGAR FLORES;
       EDGAR FLORES; GLORIA FLORES;
20     JACOB FLORES; LIUIS FLORES;
       MARISSA FLORES; MATTHEW FLORES;
21     PAOLA FLORES; RANDY FLORES;
       ROGER FLORES; SONYA FLORES;
22     STEPHAN FLORES; SHEA
       FLORESESPINDOLA; MAXIMUM
23     FLOURNOY; LUDLOW FLOWER IV;
       ALISSA FLOYD; JENISE FLOYD;
24     RUDDIE FLOYD; JEREMY FODOR;
       MAIA FOELSCH; JACLYN FOGLE;
25     TUESDAY FOMAN; ADRIAN FONDA;
       BRITTNEY FONSECA; SHEILA
26     FONSECA; ANDREA FOPPIANO;
       CONNOR FORBES; ONTEIRO FORD;
27     STEVEN FORD; STAR FOREMAN; TINA
       FORTE; ANTOINE FOSTER; MIKE
28     FOSTER; YOUSEF FOTOVAT; AUGUST
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 1     FOUCAULT; AMBER FOWLER; DEVYN
       FOWLER; ASHLEY FRAME; SURINITY
 2     FRANCIS; YVONNA FRANCIS; RAMON
       FRANCO JR; GEDDY FRANCO; JOSEPH
 3     FRANCO; CHRIS FRANKLIN; SHETARA
       FRANKLIN; JANAE FRAZIER; TIERRA
 4     FRAZIER; RENEE FREDERICKSEN;
       ALICIA FREEMAN; SAMUEL FREEMAN;
 5     RICKELLE FREENY; CALVIN FREER;
       RASHAD FRENCH; ALEXIS FRIAS;
 6     KAITLYN FRITH; ALEC FROST; AMIR
       FROZANO; SHERYL FRY; ROBERT
 7     FRYE; CHRISTINA FUCHS; JED FUCHS;
       BERNARDO FUENTES; MARK FUENTES;
 8     CLARISSA FULLER; MICHAEL FULLER;
       ALLYSSIA FUNICELLIO; LASHANTA
 9     FURNACE; TYLER FURUSHO; WADE
       FUSSNER; MARIANA G LEAL; SONIA G
10     MCCORMACK; WALID GAD; ARJUN
       GADKARI; BRIANNA GAETA; HECTOR
11     GAGLIARDI; LISA GAILEY; BRIANA
       GAINES; MICHAEL GAITHER; TROY
12     GALA; JESSICA GALDAMEZ; KAITLIN
       GALE; STEPHANIE GALICIA; ELIANA
13     GALINDO; MELODY GALIZADEH;
       HAYLEY GALLAGHER; SEAN MICHAEL
14     GALLAGHER; RICHARD GALLARDO;
       SONIA GALLEGOS; IRMA GALLO;
15     BRYAN GALVAN; HEATHER GALVAN;
       MUNKHBOLD GANBOLD; RENA GANT;
16     ANTONIQUE GANTT; ALISA GARBER;
       ALEXANDER GARCIA; ALONDRA
17     GARCIA; AMADO GARCIA; CRISTINA
       GARCIA; DANIEL GARCIA; EFRAIN
18     GARCIA; GEORGE GARCIA; ISSAC
       GARCIA; JIMMY-EUGENE GARCIA;
19     JOHN GARCIA; JONATHAN GARCIA;
       LUIS GARCIA; MAKAELA GARCIA;
20     MARC GARCIA; MARCUS GARCIA;
       MELANIE GARCIA; MELODY GARCIA;
21     NATALIA GARCIA; ROCIO GARCIA;
       SAMUEL GARCIA; SAUL GARCIA;
22     VASTI GARCIA; VICTORIA GARCIA;
       YVONNE GARCIA; ZEIDA GARCIA;
23     ALEX GARCIA-ROBLES; CHRISTOPHER
       GARDNER; DAVID GARDNER;
24     KIMBERLY GARNER JONES; KASHINA
       GARNER; JENNIFER GARNICA; ERICK
25     GARRETT; SAVANNAH GARY;
       BRITTNEY GARZA; MITCHELL
26     GASKEY; NICKOLAS GATES; ROBIN
       GATES; NAILAH GATEWOOD; RONALD
27     GATEWOOD; GINNY GAUCHER;
       CHIRANJIBI GAUTAM; GILBERT GAW;
28     MARCUS GAY; TANYA GAYLOR; KARI
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 1     GAYLORD; NATHAN GAYTAN;
       MARISSA GAZCON; ASGEDOM GEBRE;
 2     CALEB GEBREWOLD; ALEX GEORGE;
       CHERELLE GERRALD; COLE GERSON;
 3     ALEXANDER GETTLIN; GHIASS
       GHAUSS; SHAHIN GHAZIASKAR;
 4     HOSSEIN GHAZIPOUR; SAMILA
       GHOMESHI; ASHLEY GIBBS; DONALD
 5     GIDDINGS; JULIAN
       GIGOLASANVANSAN; RYAN GIGUERE;
 6     ALICIA GILBERT; KAILANI GILBUENA;
       OWEN GILCHRIST; BRENDA GILES;
 7     DANIEL GIL-FERNANDEZ; ASHLYN
       GILKEY; KRISTY GILL; MICHELLE
 8     GILL; MEGAN GILLETTE-MCCARTHY;
       GARY GILROY; PATRICIA GIMLEN;
 9     LISA GIORDANELLI; TAYRON
       GIOVANI; JASMIN GIPOLAN; MIANI
10     GIRON; NICHOLAS GIZDICH;
       SAMANTHA GJERDE; VIVIANA GLAPA;
11     CHARLOTTE GLASS; JORGE GODINEZ;
       ALLAN GODOY; JESSICA GODOY;
12     BENNETT GOERTZ; MARTIN GOES;
       GREGORY GOFF; KEVIN GOLCHIN;
13     ANDREW GOLDENBERG; SHEYLA
       GOMEZ LESSIUR; ALMA GOMEZ
14     MARQUEZ; CORNELIO GOMEZ; DANIEL
       GOMEZ; DANIEL GOMEZ; DEIDRA
15     GOMEZ; FEDERICO GOMEZ; GILBERTO
       GOMEZ; MERCEDES GOMEZ; NICOLE
16     GOMEZ; RAUL GOMEZ; VICTOR
       GOMEZ; SONYA GONCHARENKO;
17     SHAWN GONEZ; AARON GONZALES;
       GREGORIO GONZALES; JESSICA
18     GONZALES; JOE GONZALES; ROBERT
       GONZALES; ANDRES GONZALEZ;
19     BRYAN GONZALEZ; CESAR
       GONZALEZ; CHRISTIAN GONZALEZ;
20     CYNTHIA GONZALEZ; DAVID
       GONZALEZ; DELANNA GONZALEZ;
21     DIANA GONZALEZ; ENRIQUE
       GONZALEZ; FRANCISCO GONZALEZ;
22     GERALD GONZALEZ; HECTOR
       GONZALEZ; ISABEL GONZALEZ;
23     ISRAEL GONZALEZ; JACOB
       GONZALEZ; MARCELO GONZALEZ;
24     MARIACRUZ GONZALEZ; MAURO
       GONZALEZ; MEGAN GONZALEZ;
25     MONSERRAT GONZALEZ; PAUL
       GONZALEZ; CAITLYN GONZALEZ-
26     SAINZ; NICOLE GOODAN; SHAHIN
       GOODARZI; CASEY GOODMAN; DENISE
27     GORDON; SABRINA GORDON;
       TIMOTHY GORDON; DANIEL GORMAN;
28     MARIANNE GORSICH; ELIZABETH
                                        15
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 1     GOSA; GUY GOTTLIEB; CONOR
       GOULART; JORDAN GOVORKO; SEENA
 2     GOWA; NICK GRAFF; HAYLEE
       GRAHAM; LYLE GRAHAM; ERIK
 3     GRANADOS; BILLY GRANDY; ANDREW
       GRANILLO; DEVIN GRANT; LANESHA
 4     GRANT; ANTHONY GRAY; BOBBY
       GRAY; TYRONE GRAY; VANESSA
 5     GRAY; XAUDIA GRAY; JUSTIN GRAZE;
       KIMBERLY GREANEY; BRANDON
 6     GRECO; TINA GRECO; ADAM GREEN;
       DANTE GREEN; JAMES GREEN; AJA
 7     GREENE; ANDRE GREENE; DANIELLE
       GREENE; LAYLA GREENE; YAVAUNNE
 8     GREENWOOD; MELINA GREGORIO;
       AMANDEEP GREWAL; GULAL
 9     GREWAL; LATASHA GRIDER; LANORA
       GRIFFIN; KANEISHA GRIM; JASMINE
10     GRISBY; WILLIAM GRISWOLD;
       WESLEY GRIZZELLE; BENJAMIN
11     GROVE; STEPHANIE GROVER; ADAM
       GRUBER; JEANNIE GRUMMITT; ARYN
12     GRUSIN; AARON GUARDADO; ELLEN
       GUDINO; SHANE GUENTHER; IRENE
13     GUERRA; ISAAC GUERRERO; JASON
       GUERRERO; KEVIN GUILD; DANIELA
14     GUILLEN; GILBERTO GUILLEN; RICK
       GUILLEN; JAKE GUINN; REBECCA
15     GULLETT; DUSHAWN GULLEY; DAVID
       GULLIFORD; ANDREW GULMATICO;
16     SHAMEEKA GULTRY; YIQUAN GUO;
       RAJESH GUPTA; KUMAR GURUNG;
17     ANAIS GUTIERREZ; ANTONIO
       GUTIERREZ; CHRISTIAN GUTIERREZ;
18     ELIJAH GUTIERREZ; JORGE
       GUTIERREZ; JOSE GUTIERREZ; MATEO
19     GUTIERREZ; OMAR GUTIERREZ; RICKY
       GUTIERREZ; ROSARIO A GUTIÉRREZ;
20     JESSE GUTTERMAN; MARTHA
       GUTTIERREZ; EMILIANO GUZMAN;
21     MARK GUZMAN; RIGOBERTO
       GUZMAN; STEPHANIE GUZMAN-
22     FERRAN; AUSTIN HA; DAT HA;
       JASHAWNAH HA; THUHAN HA;
23     ALEXUS HADNOT; IRLANDA HADNOT;
       CHARLES HAFRON; KIM HAGEL;
24     LAURA HAGGINS; DYLAN HAIGHT;
       ROBIN HALEY; DYLLAN HALL; LAURA
25     HALL; MARTIN HALL; RYAN HALL;
       ROSSANA HALLUM-JOHNSON;
26     ANDREW HAM; KATELYNN HAMBLEY;
       JENNIFER HAMEN; AHMAD SAMIM
27     HAMID; DOMINIC HAMILTON;
       LATARSHA HAMILTON; TIFFANH
28     HAMILTON; TREVOR HAMILTON;
                                        16
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 1     MATTHEW HAMMAR; LATOYA
       HAMMONDS; DAVID HAMMONJR;
 2     JEREMY HAMON; JOSHUA HAMPTON;
       CATHERINE HANEY; DESSERI HANSEN;
 3     MICHELLE HANSEN; MARIE
       HARBAUGH; BRYCE HARDER; DONELL
 4     HARDIN; DAMONT HARDNETT; ERIC
       HARDY; CHRISTIAN HARGROVE;
 5     DOMINICK HARGROVE; ALAJAH
       HARPER; ALEXIS HARPER; BRIGETTE
 6     HARPER; KAYLE HARPER; LAQUICHE
       HARRELL; ANTHONY HARRER; ALEXIS
 7     HARRIS; ANTIONE HARRIS; APRIL
       HARRIS; JADE HARRIS; JORDAN
 8     HARRIS; KIMBERLY HARRIS; LOGAN
       HARRIS; MELITA HARRIS; PATRICIA
 9     HARRIS; SANDRA HARRIS; SHARLESE
       HARRIS; SHAUNA HARRIS; THEREA
10     HARRIS; LISA HARRISON; ROBERT
       HARRISON; ELISHA HARRY; MIKE
11     HARSINI; GAYLE HART; KELLY HART;
       BRIAN HARVEY; CHRISTA HARVEY;
12     SARA HARVEY; MATTHEW
       HASEMEIER; MOHAMMED HASSAN;
13     HANNAH HATCH; DEBORAH HATLER;
       ALEX HATTEN; KAYLA HAVERKORN;
14     LISA HAWKER; ANDREW HAYDEN;
       SUZANNE HAYES; SANDRA
15     HAYHURST; JEANNIE HAZELL; MYLES
       HECHT; PAUL HEEMANN; ZYLO
16     HEFFERAN; CHRIS HEFNER; JUANITA
       HEIDELBURG; MICHAEL HEINTZ;
17     GRETCHEN HEINZ; RANDY HELSEL;
       ELIZABETH HEMPHILL; ANTHONY
18     HENDERSON; HEATHER HENDERSON;
       MICHELEA HENDERSON; TORRELL
19     HENDERSON; VANESSA HENDERSON;
       NOAH HENDRICKSON; CHANDRA
20     HENKE; YONEL HENRI; DEYSI
       HENRIQUEZ; HANCY F HENRY JR;
21     BREEAUNNA HENRY; MICHAEL
       HENRY; SALLIE HENRY; KONNOR
22     HEREDIA; CODY HERMANSON; REYNA
       HERNADEZ; NINA HERNANDES; SIXTA
23     LETICIA HERNANDEZ BLAS; JOCELYN
       HERNANDEZ GOMEZ; ALISA
24     HERNANDEZ; ATHENA HERNANDEZ;
       CATERINE HERNANDEZ; GABRIEL
25     HERNANDEZ; GEORGE HERNANDEZ;
       GUILLERMO HERNANDEZ; HECTOR
26     HERNANDEZ; JESSICS HERNANDEZ;
       JOSUE HERNÁNDEZ; MARLENA
27     HERNANDEZ; MAX HERNANDEZ;
       ROCHELLE HERNANDEZ; DAVID HERR;
28     BREANNA HERRERA; DARLENE
                                        17
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 1     HERRERA; FERDINAND HERRERA;
       JOEL HERRERA; MATTHEW HERRERA;
 2     MOISES HERRERA; PAUL HERRERA;
       DARRELL HERRON; ERFAN HETTINI;
 3     TONI HEUCHAN; AUTHER HEWITT;
       SHANTIANA HICKS ENGLISH; GARY
 4     HICKS; MATTHEW HICKS; JAUNET
       HICKSON; DAVID HIDALGO; ADRIAN
 5     HILK; ALICIA HILL; AMAENDA HILL;
       ANTHONY HILL; GREGORY HILL;
 6     RYAN HILL; SHANNEN HILL; TASHA
       HILL; BRITTANY HILLIARD; COREY
 7     HILSENBECK; JUSTIN HILTON; SOPHIA
       HIRANO; NIKKI HOARD; EDUARDO
 8     HOCHER; WALTER HOCHREIN; KORY
       HOCKER; ANDREW HOFFMAN; KEVIN
 9     HOFFMAN; ROBERT HOFFMAN;
       SHALINDA HOGAINS; KAMILAH
10     HOGAN; JUSTIN HOLAN; DARNELLE
       HOLCOMB; DANIELLE HOLLAND;
11     ELVIN HOLLAND; MICHAEL HOLLAND;
       PIERRE HOLLAND; TEMIA HOLLIDAY
12     ARCHIE; LAWRENCE HOLLIDAY;
       HOLLY HOLLINGSWORTH; BRANDON
13     HOLLIS; TERESA HOLLIS; LATISHA
       HOLLOWAY; BREANNA HOLMES;
14     BREANNA HOLMES; KEATON HOLTER-
       HAMILTON; MOHAMMAD MASSOUD
15     HOMAYOUN; SHAUIB HOMRAN;
       KENNETH HOOD; BRESHON HOOKER;
16     KENDRA HOPKINS; REQUEL HOPKINS;
       TINA HOPKINS; DAVID HOPTMAN;
17     JUNE HORCASITAS; IAN HORST; ERICK
       HORTA; GRANT HORTON; ISAJAH
18     HORTON; DANIELLE HOUK; JAMES
       HOUR; JOHN HOUSE; AMBER HOUSER;
19     JAMIE HOWARD; NICOLE HOWARD;
       NICOLE HOWARD; PAULA HOWARD;
20     PORSHA HOWARD; SHARON HOWARD;
       TED HOWARD; VAN HOWARD; JAMES
21     HOWELL; ALYSE HOY; RYAN HOY;
       HENRY HUANG; KAITLIN HUBBARD;
22     LETICE HUBBARD; TAYLOR HUBER;
       KENNETH HUERTA; ANDREW HUFF;
23     BRANDON HUGGINS; CARRIE
       HUGGINS; HOLLY HUGHES; MARTHA
24     HUGHES; TIFFANY HUGHES; MELISSA
       HUITRON; ALEXANDAR HULL-
25     RICHTER; KAYONE HUMPHREY;
       BRENT HUMPHREYS; BRIGITTE
26     HUMPHRIES; JASMINE HUNT; KAROL
       HUNT; CARITA HUNTER; CASSANDRA
27     HUNTER; RASHAWNN HUNTER; TINA
       HURSEY; RAMON HURST; JASMINE
28     HUSAK; MICHELLE HUSER; AHMAD
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 1     HUSSAIN; SABER HUSSAIN; ETHAN
       HUTCHINS; GRANT HUTCHINS; TONY
 2     HUTCHINSON; LORNA HUYCKE;
       HOANG HUYNH; MICHAEL HUYNH;
 3     THINH HUYNH; CHERI HYATT;
       FRANCES HYDER; MEEKER HYMES;
 4     GAYLAN HYSON; CARLOS IBARRA;
       ROXANNE IBARRA; PAULINE
 5     IBARRA/ALVARADO; HECTOR IBOA;
       FOWSI IBRAHIM; KHONGORZUL
 6     IDERKHANGAI; RENNET IGUNBOR;
       OBINNA IKERIONWU; STEPHANIE
 7     INCLAN; JAMIE INGLET; SHANNON
       INGRAM; EMILY INGRAO; SABRINA
 8     INOCENCIO; IVANIA ISASSI; DAVID
       ISRAEL; TIGRAN ISRAELYAN; MAGDI
 9     ISTAFANOS; JAY IVAN; JOANNE IVY;
       JOHNNIE IWABUCHI; RACHEAL
10     IYIOLA; RAQUEL JACHETTA; BONNIE
       JACKSON; BRIAN JACKSON; DESIRAY
11     JACKSON; DOMINIQUE JACKSON;
       GREGORY JACKSON; HEATHER
12     JACKSON; JOSHUA JACKSON; KAYLA
       JACKSON; SHANINE JACKSON;
13     TIFFANY JACKSON; VONCHELLE
       JACKSON; ALYSSA JACOBS; KRYSTA
14     JACOBSON; SHAYNA JAI; SALAZAR
       JAIME; BRANDIE JAMES; BRYSHA
15     JAMES; FRANC JAMES; CHRISTOPHER
       JAMISON; ANGELO JARAMILLO;
16     GABRIEL JARAMILLO; DOMECIA
       JASPER; BRANDON JAUREGUI; JACOB
17     JAUREGUI; JORDAN JAVAHERI; EGAL
       JAVANFARD; ARTHUR JAVIER;
18     RICHARD JEANJACQUES; RAMON
       JEFFERSON; STEVEN JEFFERSON;
19     CATHY JENKINS; GILBERT JENKINS;
       JAQUIERIA JENKINS; AMBER
20     JENNINGS; JESSE JERONIMO; CHEVON
       JEX; THOMAS JIA; SYED MUHAMMED
21     ALI JILANI; BRANDON JIMENEZ
       FLORES; GLADYS JIMENEZ; JAKE
22     JIMENEZ; JUAN JIMENEZ; MARIANA
       JIMENEZ; RAFAEL JIMENEZ;
23     ALEXANDER JO; GORDON JOE; LOUIE
       JOEL; SHONTAL JOHNSON; ALISHA
24     JOHNSON; AMANDA JOHNSON;
       ANGELA JOHNSON; ANTHONY
25     JOHNSON; ASHLEY JOHNSON;
       CHRISTA JOHNSON; DAMON JOHNSON;
26     DENISE JOHNSON; DUANE JOHNSON;
       ERIC JOHNSON; ERIK JOHNSON; ERIKA
27     JOHNSON; ILIANNA JOHNSON; JANINE
       JOHNSON; JARRELL JOHNSON; JAY
28     JOHNSON; JESSICA JOHNSON; JOHNNY
                                        19
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 1     JOHNSON; JORDEN JOHNSON;
       LASHONA JOHNSON; LAURA
 2     JOHNSON; LEKEISHA JOHNSON; LISA
       JOHNSON; MARCUS JOHNSON; MARIA
 3     JOHNSON; MARIAH JOHNSON; MARVIN
       JOHNSON; NIKOLI JOHNSON; NORMAN
 4     JOHNSON; REGINALD JOHNSON;
       ROSHAWN JOHNSON; SHAYLA
 5     JOHNSON; SONDRA JOHNSON; STEVEN
       BAIS - JOHNSON; SUSIEJEAN JOHNSON;
 6     THOMAS JOHNSON; TORI JOHNSON;
       TYLER JOHNSON; TROY JOHNSTON;
 7     ADDISON JONES; ALAINA JONES;
       ALLISON JONES; BRENDA JONES;
 8     CHAVONNE JONES; DANIEL JONES;
       DONALD JONES; ELLIS JONES;
 9     EMERALD JONES; FRANKLIN JONES;
       GERICA JONES; GILJANINE JONES;
10     JAIME JONES; JENNIFER JONES;
       JESSICA JONES; JOKI JONES; KAYLA
11     JONES; KEN JONES; LAHEAVEN JONES;
       MELISSA JONES; NOELL JONES;
12     PHAEDRA JONES; RICARDO JONES;
       ROCHEL JONES; ROCHELLE JONES;
13     TRACY JONES; ZAYDA JONES;
       ANGELIA JONES-JACKSON; DION
14     JORDAN; JAYLIN JORDAN; MARIO
       JORDAN; MYRESHA JORDAN; RENEE
15     JORDAN; NATALIE JORDON; HARRY
       JOSE; CHAD JOSEPHWILLIAMS;
16     ALEJANDRO JUAREZ; FRANCISCO
       JUAREZ; NORMA JUAREZ; RAHEEM
17     JUDD; MARK JULOYA; BRENDA JUNI;
       CALEB JUVERA; SUBARNA K C; DEBRA
18     KAESTNER; KRISTINE KAESTNER;
       DANIELLE KAHL; STEFANI KAIRAN;
19     NOELANI KAKATIN; JOSHUA KALIN;
       SHAYLA KAMENA; ELLEN KANG;
20     BALAJI KANGADHARAN; KYLE
       KAPPES; SHANKET KARKI; ANTHONY
21     KARRIEM; ELIZABETH KASPARIAN;
       JOSEPH KASSIS; PETER KATALARIS;
22     ROBERT KATHAN; SHILYN KAUFMAN;
       KEVIN KAUKER; RUPINDER KAUR;
23     QAISSE KAWYANI; GHAVAM KAZEMI;
       TIFFANY KEAHEY; KYLE KEAST;
24     ZENOBIA KEETON; MARY KELLER;
       ANGELLA KELLY; LAUREEN KELLY;
25     SARAH KELLY; JORDAN KEMP; LEROY
       KEMP; ERIC KENERLY; ALEXA
26     KENNEDY; DANISHA KENNEY; JAMES
       KENNY; LA KENSAVATH; MARCUS
27     KENT; PORTER KEVIN; ALICE KEYES;
       SANAZ KHADEMIDELJOO; ROSHNI
28     KHALASI; MUKHAMMADISMOIL
                                        20
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 1     KHAMIDOV; AHMAD KHAN; ALAMZEB
       KHAN; HARIS KHAN; MIR KHAN;
 2     MOHAMMED KHAN; NAVAZ KHAN;
       DARYUSH KHODADADI-MOBARAKEH;
 3     STACY KHOEUN; HASEEB
       KHUWAJAZADA; SAULAR KIANI;
 4     DENNIS KIEU; LINDA KILLINGBECK;
       JIYOUNG KIM; KISUNG KIM; MICHAEL
 5     KIM; SI HYUNG KIM; JAYLAN
       KIMBROUGH; CRAIG KING; DANIESHA
 6     KING; ERIC KING; TERIK KING;
       SOURIYA KINNAVONGSA; JUSTIN
 7     KINNEL; SEBASTJAN KINNEY; STEVEN
       KINSEY; TYLER KIRK; BRENDAN
 8     KIRKPATRICK-MCKEE; ETHAN KIRSH;
       SARAH KLAPHECK; KRISTIN KLAUS;
 9     ERICA KLEMASKE; WILLIAM KLEMME;
       REBECKAH KLEMP; NIKOLE
10     KLINKHAMER; HANA KLISTURIC;
       MAGEN KNIGHT; RACHEL KNOTT;
11     RASHIDA KNOX; JACQUELINE KO; JEFF
       KOHLSCHMIDT; KIMBERLY KOHN;
12     AMANDA KOLAR; KIMBERLY KOLE;
       COLLEEN KONOVAL; SARAH KORALY;
13     JULES KORMAN; CHRISTINE
       KOSMIDES; CALVIN KOSOVICH;
14     THOMAS KOWALSKI; AVO
       KOZUKARAYAN; MAXIM KRAFT;
15     TAMARA KRAKE; ELISHA
       KRANENBURG; NATALIIA
16     KRINITSYNA; SUMESH KUINKEL;
       LESLIE KUKUK; JULIA KUNG; SADA
17     KURDI; FREDIANTO KUSNADI;
       MICHAEL KWAO; LARRY KWONG;
18     MARIA KYLE; GEORGE
       KYRIAKOPOULOS; JIMMIE L STOVALL;
19     BERNARDO LABANSAT; ADAM
       LAFFERTY; JENNA LAFFERTY; ALLAN
20     LAGUATAN; JUSTIN LAIRD; NICOLE
       LAMAR; SHANNON LAMBERT;
21     MARIBELLE LANDAVAZO; KRISTINA
       LANDOLFI; JOHN LANDTROOP; DAWN
22     LANE; KEVIN LANE; MICHAEL LANG;
       KARA LAPERE; BRUNO LARA; MARY
23     LARRAGOITIY; BRYAN LARSON;
       BRENDON LASALLE; TRAVIS LASH;
24     IAN LASKY; RUDY LASTRA; SAMIRA
       LAVENDER; KRYSTLE LAW; SARAH
25     LAWES; TERRELL LAWRENCE;
       MELINDA LAWSON; DWIGHT LAY;
26     GYULA LAZAR; EBONY LAZARO;
       KRISTINE LE; PETER LE; PHUC LE;
27     THUY LE; ILAI LEBEL; MARISSA
       LEBEL; JONATHON LEBERT; CARLOS
28     LECHUGA; TIFFANY LEDERHOS;
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 1     CYNDI LEDET; LILLY LEDOUX-
       MADRIGAL; ANDY LEE; AYESHA LEE;
 2     DAVID LEE; HANA'ALOHA LEE; JAMIE
       LEE; JOHNIQUE LEE; JOHNSON LEE;
 3     KATY LEE; KIM LEE; RICHARD LEE;
       RYAN LEE; SANDRA LEE; WANDA LEE;
 4     HEATHER LEIGHTON; RICHARD LEIVA;
       JENNIFER LEMMON; MALA LEMNAH;
 5     KEVIN LENTZ; JESSICA LENZ; KAREN
       LEON; ANGELA LESLIE;
 6     CHARLEMAGNE LESPERANCE;
       KRISTINA LETBETTER; ALANNA
 7     LEUKUMA; DUSTIN LEVENTHAL;
       JAMENA LEVI; VALDANE LEVIAS;
 8     AMBER LEWIS; CAMERON LEWIS;
       JASHON LEWIS; JENNIFER LEWIS;
 9     SATIRA LEWIS; ALEXIS LEWKOWICZ;
       ALEX LEYVA; GLORIA LEYVA; SIYUN
10     LI; JASON LIEN; GILMAR EDUARDO
       LIMA; CHARLENE LIMEN;
11     CHRISTOPHER LIMON; JESSE LIMON;
       ANGIE LINDAHL; BRIAN LINDBERGH;
12     RICH LINDLEY; CHRISTIAN LINDO;
       EBONY LINDSEY; JENNIFER LINDSEY;
13     ANDREA LINQUI; CAMERON LIRA;
       BROOKE LITTLE; CASEY LITTLEJOHN;
14     LASHANAE LITTLES; TAYLOR
       LITTLETON; YONGXIAN LIU;
15     ABRAHAM LIZAOLA; CHRISTINA
       LIZARRAGA; RHONDA LOBRILLO;
16     JUAN LOCKETT; LASHANDRA
       LOCKETT; DOMINIQUE LOCKHART;
17     EARNEST LOCKHART; SHEILA LOCKS-
       LEE; WILLIAM LOEW; ADRIANA
18     LOFTON; LASHAWN LOGAN; MICHAEL
       LOGAN; MICHELLE LOGAN; MARY
19     LOGSDON; DARIEN LOHOF; GAVIN
       LOMBARDI; STEPHANIE LOMELI;
20     PAULA LONDOW; CHRISTINE LONG;
       LASHEINATE LONG; PERRY LONG;
21     CAROLYN LOPE; ANDREW LOPER;
       JOHN LOPER; TRACIELOPES LOPES;
22     EDUARDO LOPEZ JR; ADAM LOPEZ;
       ADRIANA LOPEZ; ANDRES LOPEZ;
23     BIANCA LOPEZ; ERIC LOPEZ;
       EZEQUIEL LOPEZ; FREDDY LOPEZ;
24     HAYDEN LOPEZ; JOEY LOPEZ;
       JONATHAN LOPEZ; MARIBEL LOPEZ;
25     MYRA LOPEZ; PEDRO LOPEZ; ROSA
       LOPEZ; RYAN LOPEZ; SANDY LOPEZ;
26     SAVANNAH LOPEZ; SIERRA LOPEZ;
       TAMMI LOPEZ; DESI LORA; NICK LOTT;
27     TAMYSHA LOTT; ANTHONY LOVATO;
       MARCELLA LOVELACE; JAMES
28     LOVETT; ALEX LOWDER-HIMMEL;
                                        22
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 1     BRIANAH LOWE; IMANI LOWE;
       CELESTE LOWELL; SHANNON LOWRY;
 2     JENNIE LOZANO; MARIO LOZANO;
       CAROL LOZON; SHEILA LUCAS;
 3     ROBERT LUCERO; SIM LUCIEN;
       CYNTHIA LUCK; STIINA LUEDTKE;
 4     BRANDON LUERA; CORRALES LUIS;
       ISMAEL LUJAN ROJAS; ANGELA LUNA;
 5     MIGUEL LUNA; RICARDO LUNA;
       RUBEN LUNA; STEVEN LUNDIN;
 6     SARAH LUNDYBOUDREAUX; ANA
       LUQUE; NICHOLAS LURYE; BIANCA
 7     LUSTER; GENE LUZALA; DAVID LY;
       KRISTIN LYBARGER; ALEXANDER
 8     MABINI; CHRISTOPHER MACDEVITT;
       JESSICA MACEDO; BARBARA
 9     MACFARLAND; WENDY MACHEN-
       WONG; CHRISTINA MACIAS; EDWIN
10     MACIAS; FIDEL MACIAS; SHARON
       MACIAS; JACOB MACIEL; GREGORY
11     MACK; KENDRICK MACK; BRIANNA
       MACKEY; NATALIE MADRIGAL;
12     TRACY MAFFIA; NATHAN MAGADIA;
       DIANA MAGALLON; ADRIENNE
13     MAGANA; BRADY MAGANA; CARLOS
       MAGANA; JAVIER MAGANA;
14     FLORENTINO MAGDALENO; JOVEN
       MAGOS; ROSHAN MAHABALI;
15     ABDELWAHID MAHBOULI; ROBIN
       MAHER; DAVID MAIER; SONIA MAIO;
16     BASEER MAJEED; ELIZABETH
       MALDONADO; NADEEM MALKI; JAMES
17     MALONE; TREVOR MALONE;
       LAWRENCE MALONEY; CHARLES
18     MANALANG; BAR MANDALEVY;
       SCOTT MANG; CELISSE MANIER;
19     TYLER MANISAY; SUSAN MANN; AMIR
       MANOCHEHRI; RAVEN MANRIQUEZ;
20     SIUNE MANSOORIAN; JAMES
       MANTSCH; MARIA MANZANO
21     SEGOVIA; SUZANNE MAPES; AYANNA
       MAPP; MIGUEL MARENCO; SANDRA
22     MARES; VERONICA MARES; HECTOR
       MARIANO; YESICA MARIN ROBLES;
23     JULIETTE MARIN; RADINE MARIN;
       ALEXANDER MARKEL; MICHAEL
24     MARKHAM; PRENESS MARKS; SETH
       MARKS; AMBER MARLEY; AIDAN
25     MARMION; MICHELE MAROTTA;
       CATHERINE MARPLE; CRAIG
26     MARQUEZ; AMBER MARSHALL;
       BETTYANN MARSHALL; COURTNEY
27     MARSHALL; SALYNA MARSHALL;
       VICTORIA MARTELLI; ANTHONY
28     MARTIN; CATRINA MARTIN; EDEL
                                        23
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 1     MARTIN; JAMAAL MARTIN; JEREMY
       MARTIN; JUDI MARTIN; KRISTHINE
 2     MARTIN; LENA MARTIN; MARIKA
       MARTIN; MARLIN MARTIN; MELISSA
 3     MARTIN; SAVANAH MARTIN; TIM
       MARTIN; ADRIANA MARTINEZ;
 4     ANDRES MARTINEZ; ANGIE
       MARTINEZ; ANTHONY MARTINEZ;
 5     BENNERITA MARTINEZ; BRENDA
       MARTINEZ; CHRISTOPHER MARTINEZ;
 6     EDGAR MARTINEZ; EDMUNDO
       MARTINEZ; ELI MARTINEZ; ERIKA
 7     MARTINEZ; ERIQ MARTINEZ; GABRIEL
       MARTINEZ; GABRIELA MARTINEZ;
 8     HIPOLITO MARTINEZ; ISAAC
       MARTINEZ; JESSICA MARTINEZ;
 9     JESSYCA MARTINEZ; JONATHAN
       MARTINEZ; JOSEPH MARTINEZ; JULIA
10     MARTINEZ; JULIO MARTINEZ; KARINA
       MARTINEZ; LOUIS MARTINEZ; MARCO
11     MARTINEZ; MARVIN MARTINEZ;
       MONICA MARTINEZ; PAUL MARTINEZ;
12     TAMIE MARTINEZ; VERONICA
       MARTÍNEZ; WINSTON MARTINEZ;
13     ISAIAH MARTINEZ-HILL; JESSICA
       MARTINEZ-MUELLER; LAURYN
14     MASANIAI; STEPHEN MASON; THOMAS
       MASON; ROBERT MASSIE; CORELL
15     MASTERS; LINDA MASTERS; GURMIT
       SINGH MASUTE; IGNACIO MATA;
16     OVIDIO MATEO; CTAIG MATHEWS;
       IEASHA MATHEWS; REGINALD
17     MATHIES; JASPER MATHISEN; MARK
       MATTA; REGINALD MATTHEWS;
18     RENEE MATTHEWS; SUSAN
       MATTHEWS; CLAIRE MATTIS; TAYLOR
19     MAUCH; MAURICE MAULDIN;
       LAQRESHA MAXWELL; SIERRA
20     MAXWELL; RACQUEL MAY; STEFANI
       MAY; THOMAS MAY; TISHA MAYER;
21     AARON MAYES; CHANZELL
       MAYFIELD; DEANNA MAYFIELD;
22     JEFFREY MAYFIELD; AMBER MAYS;
       REINHARD MAZARIEGOS; DEVON
23     MAZURE; BRIAN MCALEAVEY; SEAN
       MCALLISTER; SHONTE MCBRIDE;
24     GEORGE MCCALISTER; KALA
       MCCARTER-ROGERS; KENYON
25     MCCASTLE; ANGELIQUE MCCLEARY;
       BRANDON MCCLOSKEY; JONATHAN
26     MCCORMICK; ANDREA MCCOWAN;
       ADRIAN MCCOY; ANDRE MCCOY;
27     DAISHS MCCOY; DESIRAE MCCOY;
       MIKAYLA MCCOY; JACOB MCCOY-
28     BARBA; MONICA MCCULLOUGH;
                                        24
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 1     DEZOHN MCCULLUM; REGINA
       MCCULLUM; NICOLE MCCURRY;
 2     KENDRA MCDONALD; MICHAEL
       MCDONALD; JEFF MCDOWELL; TYLER
 3     MCFADDEN; SUZANNE MCGREER;
       GREGORY MCHENRY; MICHAEL
 4     MCINTYRE; MYLES MCKEE-OSIBODU;
       EGYPT MCKEITHEN; RYAN MCKENZIE;
 5     DORNETTA MCKINNEY; JODI
       MCKINNEY; MELISSA MCKINNEY;
 6     WILLIAM MCKINNEY; KEVIN
       MCKINNON; BYRON MCKNIGHT;
 7     ANASTASIA MCLELLAND; SHIRLEY
       MCLELLAND; ERIN MCLEOD;
 8     CATHERINE MCMAHON; KEVIN
       MCMANUS; TERI MCMICHAEL;
 9     MELINDA MCNAMEE; JALEN MCNEAL;
       HOWARD MCNEELY; KAMEELAH
10     MCNEELY; JESSICA MCPEEK; ZURI
       MCPHAIL; NICOLE MCQUEEN; RAVAA
11     MEADORS; ADRIAN MEDINA; AMANDA
       MEDINA; GREGORY MEDINA; JACOB
12     MEDINA; TINA MEDINA; WENDY
       MEJIA BARAHONA; SANTIAGO MEJIA;
13     LAURA MELENDEZ; ANTHONY
       MELENDREZ; PAULA MELER;
14     SAMANTHA MELTON; DAVID
       MENCHACA; JANICA MENDENHALL;
15     DANIEL MENDEZ; NADINE MENDEZ;
       ABRAHAM MENDOZA; ADRIANA
16     MENDOZA; ALONDRA MENDOZA;
       CECILIA SOFIA MENDOZA; CHRISTIAN
17     MENDOZA; EFRAIN MENDOZA;
       GLENDA MENDOZA; JOOVANA
18     MENDOZA; JOSUE A MENDOZA; LUIS
       MENDOZA; RUBEN MENDOZA;
19     SECILLIA MENDOZA; CONSTANCE
       MENEESE; AMOS MENSAH; JOSHUA
20     MENTZER; IHAB MERABET; CHRISTINA
       MERCADO; PATRICK MERCADO;
21     KAYLA MERCHANT; SHELLEY
       MEREDITH; DREW MERING; ZOE
22     MERINO; RHONDA MERRILL; JENNIFER
       MERRITT; BASEM MESSIH; MARIEL
23     MEYER; LUKE MEYERS; CHARLES
       MIDDLEBROOK; CURT MIECZKOWSKI;
24     MELODY MIHALIK; SAMIR MIKHAIL;
       CAMERON MILES; JAMEQUA MILES;
25     ANTONIO MILLAN; ALEXANDER
       MILLER; BRAIN MILLER; DANIEL
26     MILLER; DAVID MILLER; DAXTON
       MILLER; GEORGE MILLER; GREGG
27     MILLER; HEIDI MILLER; JALISA
       MILLER; KENNETH MILLER; ROBERT
28     MILLER; THOMAS MILLER;
                                        25
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 1     VERMYTTYA MILLER; YELILE MILLER;
       JONATHAN MILLIGAN; JERRY
 2     MILLINER; CHILOPIE MILLINGTON;
       ERICA MILLS; HEATHER MILLS;
 3     STEPHEN MILLS; DAMIEN MILTON;
       MADONNA MILTON; MARVETTE MIMS;
 4     JAMES MINCKS; BRYAN MINOR;
       KELLIE MINOR; MARLENE MINSTER;
 5     NICHOLE MINTZ; FELIPE MIRANDA;
       FERN MIRO; MARK MISOSHNIK;
 6     LAUREL MITCHELL; ROBERT
       MITCHELL; SCHINIQUA MITCHELL;
 7     SEAN MITCHELL; HENRY MIYOSHI;
       KIMBERLY MIZUTA; SIMIN MOADDAB
 8     ALIBEIGI; ANTOINE MOBLEY; MEESHA
       MOGHADDAM; HANEEF MOHAMMAD;
 9     FAHAD MOHAMMED; WILLIEPHINE
       MOHEAD; NIVETHAA MOHHAN;
10     BRYAN MOHN; SIA MOIWA; JOJO ACE
       MOJICA; SHAHIN MOKHTARI; CHRIS
11     MOLANO; DAVID MOLINA; RODOLFO
       MOLINA; RAMON MONCAYO; LENNY
12     MONDRAGON; CANDACE MONIZE;
       JAMES MONROE; DAWN MONTANEZ;
13     FARIN MONTANEZ; ELVIA MONTANO;
       FRANCESCA MONTENEGRO; ROBERTO
14     MONTERROSA; FANNY MONTES; JOSE
       MONTES; SPENCER MONTES; MIKE
15     MONTGOMERY; ARACELI MONTOYA;
       DAVID MONTOYA; JENNIFER
16     MONTOYA; KIMBERLY MONTOYA;
       RONNY MONTOYA; CARMELL MOORE;
17     DANEATRA MOORE; DANIELLE
       MOORE; DAWN MOORE; HUNTER
18     MOORE; JOSHUA MOORE; LARRY
       MOORE; MESHALON MOORE; TOM
19     MOORE; VICKIE MOORE; LILLIE
       MOORES; LEANDRO MORAIS; RAFAEL
20     MORAIS; CLARA MORALES; DEANNA
       MORALES; GUSTAVO MORALES;
21     MICHELLE MORALES; RONI MORALES;
       AZALIA MORAN; MICHELLE
22     MOREHOUSE; ERIC MORENO;
       PRECIOSA MORENO; VALENTE
23     MORENO; YESENIA MORENO; JESSICA
       MORENTIN; AMANDA MORGAN;
24     JASMINE MORGAN; SHYJERUAN
       MORGAN; CARLO MORIN; LORI
25     MORRIS WESTLEY; SHAUNTELL
       MORRIS; TRISTEN MORSE; EMILY
26     MOSQUEDA; HERMANIE MOTLEY;
       KEVIN MUGWAGWA; CHRISTINE
27     MULLER; GEORGINA MUNGUIA; JUAN
       MUNOZ NIEVES; JOE MUNOZ
28     VALDIVIA; ELSA MUNOZ; EVA
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 1     MUNOZ; SELINA MUNOZ; MARISSA
       MURCKO; ERIN MURPHY; EVELYN
 2     MURPHY; ROSEANNA MURPHY;
       SANAE MURRAY; KEVIN MURREN;
 3     KAYODE MUSTAPHA; GUNCHIN
       MYAGMARSAMBUU; JONATHON
 4     MYER; ANDREA MYERS; ROBERT
       MYERS; BRIAN MYNATT; BRADEN
 5     NAIL; ROBERT NAIMARK; JAMAL
       NAJIBI; CRISTIAN NALBANDIAN; JOHN
 6     NALTY; MANINDER NANHAR;
       FREDERIC NANMO; RACHEL NARVAEZ
 7     CANTU; NICHOLAS NATIVIDAD; JACOB
       NAVA; SAUL NAVA; WILLIAM
 8     NAVARRETE; ANASTASIA NAVARRO;
       DEVIN NAVARRO; ED NAVARRO;
 9     GUSTAVO NAVARRO; SARA
       NAVARRO; NISSA NAVONE; ISHMAM
10     NAWAR; SEAN NAYLOR; LIZA
       NAZARCHUK; ARVIN NAZARI; FARIS
11     NAZEEM; ALEXANDER NEAL; JAMES
       NEAL; SHERIKA NEAL; JOSIAS NECH;
12     TIFFANI NEELY; CHRISTOPHER NEIL;
       CANDACE NEIMAN; NICOLE NEISLER;
13     ALYSA NELSON; CRYSTAL NELSON;
       JOVANNAH NELSON; KANDIS NELSON;
14     TYLIA NELSON; EDWARD NEREY;
       MICHELLE NESBIT; GEORGES NESIM;
15     JEFFREY NEVELS; NOA NEVO; ALEX
       NEWBERG; DARREN NG; ZORANA
16     NGAI; BINH NGUYEN; CATDUNG
       NGUYEN; DANG NGUYEN; JAMES
17     NGUYEN; QUAN NGUYEN; TAM
       NGUYEN; TONY NGUYEN; TRAN
18     NHAN; FRANCESCA NHEM; MELANIE
       NICHOLS; PAIGE NICKISCH; ANTONIA
19     NIEBLA; JASON NIEBLAS; ANTHONY
       NIEDERBERGER JUAREZ; TANNER
20     NIEMANN; MARISA NIX; DANIELLE
       NOAH; JASON NOBLE; LOUIS NOBLE;
21     FRANCISCO NOGUER; HEIDI NOLAN;
       JEANETTE NOLAN; JOHN NOLAN;
22     JASON NORCROSS; TONY NORWOOD;
       WYNETTE NORWOOD; PATRICK
23     NUDANU; ALEJANDRO NUNEZ;
       CHRISTIAN NUNEZ; DAISY NUNEZ;
24     JAMEELAH NUNEZ; SAL NUNEZ;
       ROBERT NUNN; LESLIE NUSH; CHIOMA
25     NWABUFOH; BETHANY OBRYAN;
       ANDREW OCHOA; CARLOS OCHOA;
26     VERONICA OCHOA; MAHMOUD ODEH;
       YVONNE OGBOGU; STACEY OGLE;
27     ELIZABETH OGLESBY; JOSEPH
       OJERIAKHI; ALEX OKA; JIDEOFO
28     OKWUDIRI; MARCO OLARTE;
                                        27
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 1     CHANDRA OLAZABA; MANNY
       OLGUIN; MIGUEL OLID; JESUS
 2     OLIVARES; BRIAN OLIVER; TOSH
       OLIVERI-NELSON; PAUL OLLERTON;
 3     JOSE OLMOS; MICHAEL OLTZ; DANA
       OLVERA; JOSE OLVERA; PATRICK
 4     OMALLEY; STEPHEN OMONDI; RENE
       ONEAL; LATOSHA ONEIL; MADISON
 5     ONEIL; CHADWELL O'NEILL; MIRANDA
       OQUENDO; STANISLAV OREKHOV;
 6     ERNESTO ORNELAS; CRYSTAL ORONA;
       COURTENEY O'ROURKE; MERLE
 7     ORTEGA; CARLOS ORTIZ; CHRISTINA
       ORTIZ; GABRIEL ORTIZ; ROLANDO
 8     ORTIZ; ROBERTA OSAKO; OSCAR
       ESPIRITU; JOAQUIN OSORIO; JORGE
 9     OSORIO; VANESSA OSORIO; AMIRE
       OTHMAN; VANESSA OTIS-THOMAS;
10     MICHELE OTTO; RAYVON OWEN;
       CAROL OWENS; MARCUS OWENS;
11     NORRIS OWENS; RENEE OWENS;
       SHEILACY OWENS; AUBREY OXLEY;
12     BAIGALIMAA OYUNCHULUUN; YAIR
       PABLO; MICHELLE PACK; JENIFFER
13     PADDA; ADRIANA PADILLA;
       GABRIELLA PADILLA; SOFIA PADILLA;
14     ANDREW PAGANI; RONALD PALMER;
       TIMOTHY PALMORE; JOHN PANDZA;
15     JOHN PANGELINA; MARY PANTOJA;
       KYLE PARADEZA; BRYAN PAREDES;
16     LEONEL PAREDES; MARIA PAREDES;
       CRISTIE PARIS; SAM PARK; CLARISSA
17     PARKER; BRITTNEY PARKS;
       STEPHANIE PARMELY; BRANDON
18     PARRA; JULIAN PARRA; YESENIA
       PARRA; DAKOTA PARRISH; ADRIAN
19     PARTIDA; YANA PASELSKY; BHAVIN
       PATEL; SAHIL PATEL; LEROY
20     PATTERSON; RICKISA PATTERSON;
       DUJUANA PATTON; ERIC PAUL; GARY
21     PAULINO; STEVEN PAULINO; CHRIS
       PAVAO; JARROD PAVLAK; DARNELL
22     PAXTON; BRANDON PAYNE; SHANIKA
       PAYNE; RANDY PAZ; BENJAMIN
23     PEARLMAN; AMIRA PEARSON;
       KAITLIN PEARSON; TIANA PEARSON;
24     VICTORIA PEARSON; SUZANN
       PEDERSEN; JAIRO PEDROZA;
25     NATHANIEL PEDROZA; LIVIA PEEPLES;
       SARAH PEET; FAUSTINO PELAYO;
26     LAURA PELOQUIN; ROSA PENATE;
       CHRIS PENCZEK; DONALD
27     PENDLETON; JENNIFER PENDRAK;
       JULIA PENECALE; TERRANCE PENNY;
28     AIMEE PENOYER; KIERRE PEPPARS;
                                        28
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 1     LAURA PERAL; RONNIE PERALTA;
       MONIQUE PERANTONI; JOSEPH
 2     PERDOMO; KRISTI PERDUE; AARON
       PEREZ; ANGELA PEREZ; AUGUST
 3     PEREZ; CHRISTOPHER PEREZ;
       DAIHONA PEREZ; EDWARD PEREZ;
 4     ERICK PEREZ; KATIE PEREZ; MICHAEL
       PEREZ; VERONICA PEREZ; VICTORIA
 5     PEREZ; ADRIAN PERKINS; JERRY
       PERKINS; SAQUITA PERKINS;
 6     TRASHON PERKINS; JANAY PERKINS-
       PAYNE; PHILLIP PERRIN; BLAINE
 7     PERRY; MICHAEL PERRY; TOM PERRY;
       MALIK PERRYMAN; CHRISTOPHER
 8     PETERS; LAURA PETERS; LILY PETERS;
       MATTHEW PETERS; PROMISE PETERS;
 9     RICHARD PETERSEN; COLBY
       PETERSON; RANDALL PETERSON;
10     UNIQUE PETITE; KAY PETR; MAXIME
       PETROV; SHARLENE PETROVICH;
11     JORDAN PETTITT; RENITA PETTUS;
       ESTHER PFIRRMANN; HANG PHAM;
12     QUOC PHAM; JONATHAN PHAN;
       CAITLIN PHILLIPS; LAURA PHILLIPS;
13     ORLANDO PHILLIPS; PAMELA
       PHILLIPS; REGINALD PHILLIPS;
14     ERICKA PICAZO SOTO; CURTIS PIERCE;
       NOAH PIERPOINT; BRYAN PIERRE;
15     ROCHEALL PIERRE; CAMAREA
       PIERSON; ALEJANDRO PINA; EVA
16     PINEDA; CANDICE PINKHAM; ANA
       PINTADO; GREG PINTO; RITA PIPKINS;
17     LINDA PIQUE; SIMONE PIRTLE;
       NATHAN PITKIN; HAILEE PITSLEY;
18     ELIAS PIZARRO; VERONICA PLATAS;
       JERRY PLEDGER; MICHAEL
19     PLESNICHER; JOE PLUMMER;
       ANTHONY POBLETE; DESHAYA POE;
20     ASHLYNN POGGIO; LIPARIT
       POLADYAN; ANGELA POLK; DANIELLE
21     POLK; JANI POLK; BRITTANY POLO;
       SAMUEL POLSTON; DENNIS
22     POMAZANOV; CESAR PONCE;
       RAMONA PONCE; TEDDY POOL;
23     DONSANEKA POOLE; CAMERON
       PORRAS; ELIZABETH PORTELA;
24     KIMBERLY PORTER; TALEAH PORTER;
       WENDY PORTER; ANGELA PORTER-
25     RIGDON; JAMIE PORTILLO; ANGELINA
       POSTELL; MICHAEL POSTELL;
26     CYNTHIA POUNDS; JACARE POWE;
       ANTHONY POWELL; CHARLA POWELL;
27     JESSICA POWELL; KIM POWELL;
       FORREST POWERS; DEEPIKA PRASAD;
28     GESHNI PRASAD; ROSLIN PRASAD;
                                        29
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 1     DANA PRATHER; RYAN PRATT;
       CLAUDIA PRECIADO; DEBORAH
 2     PRESLEY-BRANDO; CHRISTIN PRICE;
       HETTIE PRICE; JAMONNIE PRICE; JOE
 3     PRICE; STEPHANIE PRICE; PAULINE
       PRIDGEON; MARISSA PRIETO;
 4     AUTUMN PRINCE; SHANNA PRINCEAU;
       NICHOLAS PRINSEN; ZAK PRIOLO;
 5     BRIAN PRITCHARD; JASON PROFETA;
       ALEXANDER PROKHOROV; DENNIS
 6     PROVIDO; KELAN PRUITT; KRISTIN
       PRUITT; CLARENCE PULLER; STEVEN
 7     PURCELL; DILRAJ PUREWAL; BRANDIE
       PURNELL; DANA PURVIS; J. MARIA
 8     PUTT; DAN QIAO; CHRISTINE QUALLS;
       EARL QUALS; ANDRAQUE QUINNINE;
 9     SOGHRA QURAISHY; AHMAD QUTAMI;
       MELINDA RABB; OCTAVIAN RADDLE;
10     DERE RADECKI; NICHOLAS
       RADONICH; KLIM RADOSTEV; XAVIER
11     RAFALOUSKI; ELI RAGLE; ABDULLAH
       RAHMANI; MICHAEL RAINS;
12     RAMAMOORTHY RAJA; WHITNEY
       RALEIGH; AYANNA RALSTON; ARVIND
13     RAMAMOORTHY; SHAHBANDARI
       RAMELLA; ERIKA RAMIREZ OROZCO;
14     DANIEL RAMIREZ; DARLENE
       RAMIREZ; ERIC RAMIREZ; FRANCISCO
15     RAMIREZ; JOSE RAMIREZ; LESLIE
       RAMIREZ; LOUIS RAMIREZ; TANI
16     RAMIREZ; VALERIE RAMIREZ;
       FRANCINE RAMOS; YAZMIN RAMOS;
17     AHCHERI RAMSAY; SEAN RANDALL;
       DINA RANDLE; LUTRICIA RANDOLPH;
18     TIFFANY RANKIN; HENRY
       RAPPAPORT; FATIMA RASCON; HAMID
19     RASHIDI; HASIB RASOOL; SOUNTHALY
       RATTANAPANYA; JASON RAVARRA;
20     ASHLEE RAY; ERIC RAY; HALEY RAY;
       KAREN RAY; SEAN RAY; WILLIE RAY;
21     MIKE RAYTER; DEREK REA; YOLONDA
       REDDICK; ANGELICA REDMAN;
22     ASHLEE REED; AUSTIN REED;
       DANIELLE REED; JAMES REED;
23     LAGUANNA REED; NATALIE REED;
       SAMANTHA REED; SEQUOYAH REED;
24     TORREY REED; WILLIAM REED;
       RAYMOND REEDER; MARIAM
25     REHMAN; ROSALINE REINERO; ROCKY
       RELPH; WELSI RENAUD; ANTHONY
26     RENDA; MIA RENDON; DEANNA
       RENFRO; ANGELA RENISON; ASHLEY
27     RENTERIA; STEPHANIE RENTERIA;
       AMIRREZA RESALI; JACK RESIDES;
28     CAROLINA REVOLLAR; MELISSA REX;
                                        30
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 1     ANTHONY REYES; BREANA REYES;
       DESIREE REYES; EVELIN REYES; GENA
 2     REYES; KARINA REYES; MARK REYES;
       REBEKAH REYES; TONY REYES;
 3     VICTORIA REYES; JONATHAN REYLES;
       BRYANT REYNA SANCHEZ; ANSON
 4     REYNOLDS; DOUGLAS REYNOLDS;
       JACOB REYNOLDS; JOSHUA
 5     REYNOLDS; BRANDON REZAI;
       MICHAEL RHODES; DANIEL RIBEIRO;
 6     APRIL RICE; COREY RICE; SHIRLEY
       RICE; ROY RICHARD; DAVIONNE
 7     RICHARDS; JULIA RICHARDS; SARAH
       RICHARDS; SAVONAH RICHARDS;
 8     TINA RICHARDS; JAMILO
       RICHARDSON; MATT RICHARDSON;
 9     SHANE RICHARDSON; THOMAS
       RICHARDSON; TRACIE RICHARDSON;
10     CHRISTOPHER RICHMOND-MATHIS;
       DOUG RICKARD; KIMBERLY RICKS-
11     SPONBERG; TARA RIDDLE; HEATHER
       RIDGILL; EZEQUIEL RIESGO; REBECCA
12     RIGGS; KUNTI RIGMADEN; KORIE
       RILEY; BARBARA RINCON; GREGORY
13     RINCON; VINCENT RINCON; ANA RIOS;
       DANIEL RIOS; LUIS ANTONIO RIOS;
14     MIGUEL RIOS; SERGIO RIOS; ANDREW
       RIPLEY; ALBERTA RIVAS; MONICA
15     RIVAS; GLORIA RIVERA BOYD; AMBER
       RIVERA; ANTHONY RIVERA; ERNESTO
16     RIVERA; GLORIMAR RIVERA;
       KIMBERLEE RIVERA; LUIS RIVERA;
17     NICOLE RIVERA; ZACHARY ROBBINS;
       APRIL ROBERTS; DRIE LYNN ROBERTS;
18     HASTEN ROBERTS; NATHAN ROBERTS;
       STEVEN ROBERTS; TRISHAUN
19     ROBERTS; ROMAN ROBERTSON SR.;
       SARAH ROBERTSON; TIANA
20     ROBERTSON; PORTIA JOURDAN;
       ANDREA ROBINSON; CALEB
21     ROBINSON; CHARLETTE ROBINSON;
       DONNA ROBINSON; DYLAN
22     ROBINSON; LATASHIA ROBINSON;
       LATEESHA ROBINSON; MEREDITH
23     ROBINSON; MICHAEL ROBINSON;
       JOSEPH ROBITAILLE; DAMIAN
24     ROBLEDO; JENNIFER ROBLES;
       NATHAN ROBOHM; LEONARDO
25     ALEJANDRO ROCHA GALVAN; HENRY
       ROCHEZ; JEFF RODAS; CHERI
26     RODGERS; MARK RODGERS; TIMMY
       RODGERS; ALDO RODRIGUEZ; BRYAN
27     RODRIGUEZ; DAVID RODRIGUEZ;
       ELIZABETH RODRIGUEZ; GEOVANNI
28     RODRIGUEZ; GILBERT RODRIGUEZ;
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 1     GILBERT RODRIGUEZ; MARIBEL
       RODRIGUEZ; NICOLE RODRIGUEZ;
 2     OMAR RODRIGUEZ; VERONICA
       RODRIGUEZ; WILSON RODRIGUEZ;
 3     YVETTE RODRIGUEZ; AMBER
       RODRIQUEZ; IAN RODRIQUEZ;
 4     KAMILLE ROESE; BYRON ROGAN;
       TYREE ROGAN; LYNDSAY ROGERS;
 5     SKYLAR ROGERS; SYLVIA ROGERS;
       TRACI ROGERS; ANGELA ROJAS;
 6     CESAR ROJAS; DESIREE ROLAND;
       ASHLEY ROLLICE; BRITTANY
 7     ROMANO; VINCENT ROMANOS;
       CHRISTOPHER ROMERO; LILIBETH
 8     ROMERO; LISA ROMERO; LUIS
       ROMERO; RENE ROMERO; TESSIE
 9     ROMERO; JOSE REFUGIO ROMO ARIAS;
       JOSEPH ROMO; ROBERT ROMO;
10     KATHRYN ROQUEMORE; CHAZ
       ROSALES; OLIVIA ROSE; JASON
11     ROSEN; MARTIN ROSENFELD;
       BENZELL ROSS; BRIAN ROSS;
12     JAMEELAH ROSS; SARAH ROSS; TERRY
       ROSS; ERICA ROTHSTEIN; JAMES
13     ROUNTREE; MARGARET ROWAN; SINA
       ROWGHANI; CRAIG ROWTHAM; JUSTIS
14     ROYSTER; BROOKE RUBERSON;
       ARCELLIA RUBIO; LOURDES RUBIO;
15     BETTINA RUFFALO; SHEWANDA
       RUFFUS; BRIANA RUGGERI; ALAN
16     RUIZ; ASHLY RUIZ; EFREN RUIZ;
       GABRIEL RUIZ; LUIS RUIZ; RAMONA
17     RUIZ; RIO RUIZ; SALVADOR RUIZ;
       CRYSTAL RUNNER; MICHAEL
18     RUNYAN; WILLIAM RUPERT; JOSEPH
       RUUZ; TANYA RYAN; NICHELE RYLES;
19     TRACY RYMENAMS; CYNTHIA RYMER;
       ROMAL SABER; NORMAN SADLER;
20     OSCAR SADOGUIO JR; ZOE SAENZ;
       TOUFOU SAEPHANH; ADAM SAFFIOTE;
21     C.J. SAGADIA; KAYLA SAGASTA;
       DENNIS SAICOCIE; MANUCHEKHR
22     SAIDOV; DANIEL SAINAS; MARISSA
       SAINZ; BOBACK SAJADPOUR;
23     GHOLAMHOSSEIN SAKI; ADDAM
       SAKY; MICHAELA SALAS; JANET
24     SALAZAR; JENNIFER SALAZAR;
       NICOLE SALAZAR; MICHAEL ANGELO
25     SALDAJENO; GERARDO SALDIVAR;
       ASSAD SALEH; SELENA SALGADO;
26     JESUS SALGUERO; MONIQUE SALINAS;
       ZACHARY SALLEE; ACAMIE SALTER;
27     LALEH SAMADI; MICHAEL SAMI;
       DANA SAMPLE; SCOTT SAMPLE;
28     BRANDEE SAMPLES; ANDRES
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 1     SANCHEZ; BRISSIA SANCHEZ; CELICIA
       SANCHEZ; CORINA SANCHEZ; DANIEL
 2     SANCHEZ; GABRIEL SANCHEZ;
       JACQUELINE SANCHEZ; MARLEN
 3     SANCHEZ; RAFAEL SANCHEZ;
       RAYMOND SANCHEZ; ROCKY
 4     SANCHEZ; SHAWNA SANDAU; BAILH
       SANDERS; CHANTELL SANDERS;
 5     CHRISTOPHER SANDERS; IRENE
       SANDERS; LISA SANDERS; WENDY
 6     SANDERS; JAIMIE SANDERSON;
       STEVEN SANDERSON; SAVIJOT
 7     SANDHAR; GURPREET SANDHUGALE;
       ANGEL SANDOVAL; DORA SANDOVAL;
 8     JEALENE SANDOVAL; WILLIAM
       SANDOVAL; YASMEEN SANDOVAL;
 9     HEATHER SANFORD; ZOEY SANFORD;
       ARTHUR SANTAMARIA; DANIEL
10     SANTANA; ALFREDO SANTILLAN;
       DAVINA SANTIVANEZ; JOHANNA
11     SANTOLALLA; CHRISTIAN SANTOS;
       FREDERICK SANTOS; GABRIEL
12     SANTOS; MANUEL SANTOS; MICHELLE
       SANTOS; OSCAR SANTOS; PRISCILA
13     SANTOS; RICHARD SANTOS; SHEENA
       SANTOS; DAVID SANTOYO; MONICA
14     SARABIA; TIM SARGIOUS; CHRISTIAN
       SARMIENTO; MISTY SARMIENTO;
15     NICHOLAS SARROCA; WESLEY SARTE;
       KRISTY SAULS; NATAVIA SAVAGE;
16     ROBIN SAVAGE; DIANA SAVALA
       THIBEAU; TINA SAVALA; LENA
17     SAVOEUN; MD SAYED; CAMERON
       SAYLER; NALANI SAYSOURIVONG;
18     DOMINIC SBICCA; KELSEA PIERCE;
       DERRICK SCALES; ANTHONY
19     SCAMALDO; JEFF SCAMMON;
       ADRINANNE SCARBOROUGH; JOHN
20     SCHAFFRAN; RANDI SCHEMENSKY;
       CHRIS SCHLENKER; KATHERINE
21     SCHMIDT; SCOTT SCHNEIDER; CALEB
       SCHOENFELD; JOHN SCHOENTHALER;
22     DUSTIN SCHRAMM; JACOB
       SCHREIBER; STARLENA SCHROEDER;
23     LEEAH SCHULTZ; MICHAEL
       SCHWEIGHARDT; AISHA SCOTT; CHE
24     SCOTT; CHERRISH SCOTT; JOSEPH
       SCOTT; LAKISHA SCOTT; MIRIYA
25     SCOTT; ONDREA SCOTT; TINA SCOTT;
       ANDREW SCOTT-JESTER; KEISHA
26     SEALS; FRANCESCA SEARS; DARLENE
       SEBALA; JASON SEGURA; LUCAS
27     SELIG; GEMMA SELINGER; JAKE
       SELLERS; FELICIA SEMEBENE; RYAN
28     SENSENIG; DAWN SEPULVEDA;
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 1     SOPHIA SEPULVEDA; DAVID SERNA;
       RAPHAEL SERNA; AUBREE SERRANO;
 2     JEANPAUL SETAREH; ANNA SETHMAN;
       BRYAN SEWALD; DARREN SEXTON;
 3     KORI SEXTON; ROYANNA SEXTON;
       ALEKSANDR SEYRANOV; JESSICA
 4     SHADD; ABDUL SHAIKH; HAMZA
       SHAKIR; RANDALL SHANKLAND;
 5     CHARLES SHANNON-WHITESIDE;
       AMIN SHARIFIAN ATTAR;
 6     CHRISTOPHER SHARP; CODY SHARPE;
       ASHLEY SHAW; ANTHONY SHEAHAN;
 7     GEOFFREY SHEETS; JOHN SHELBURNE;
       SHARLA SHELBY; JAHN SHELTON;
 8     SUDE SHEMSU; INEZ SHEPARD;
       JAMAUDRA SHEPHERD; TIA
 9     SHEPHERD; ANTHONY SHERIDAN;
       VIJAY SHETH; MACKENZIE SHIELDS;
10     WILL SHILLING; JEREMIAH SHIPP;
       STEPHANIE SHOALS; SHAHDON
11     SHOGA; FATEMEH SHOKRGOZAR
       KELIDBARI; DANIEL SHRIGLEY;
12     ULADZISLAU SHULHA; MIKE SHUPE;
       DAPHNE SHYANNE; MICHAEL SIANO;
13     RAYMOND SIDHU; JENNIFER SIERRA;
       GIBSON SILEW; ALDAIR SILVA;
14     ALEXUS SILVA; CLAUDIA SILVA;
       PHOEBE SILVA; SILVIA SILVAS;
15     ZACHARY SILVER; ALEXIS SIMENTAL;
       AKILA SIMMONS; KEVIN SIMMONS;
16     SHERRIE SIMMONS; STASEA SIMMONS;
       WARREN SIMMONS; AARON SIMON;
17     DEMI SIMON; ARGIN SIMONIAN;
       MARYUM SIMPKINS; JOSHUA
18     SIMPSON; SHATODDA SIMPSON;
       UNIQUE SIMPSON; WILLIAM SIMPSON;
19     KEITH SIMS; NICHOLAS SIMS; ROBERT
       SIMS; BENJAMIN SINGER; JAGPRIT
20     SINGH; MANDIP SINGH; MANSUKH
       SINGH; RODNEY SINGH; KATHERINE
21     SINKEWIZ; JAMES SINNOTT; DESIREE
       SISNEROS; AARON SIZEMORE;
22     SANDRA SKICKI; REANNE SLAMA;
       VINAY SLATHIA; LAKEL SLAUGHTER;
23     TAYLOR SLAVIN; REBECCA
       SLIGHTAM; LAUREN SLOAT; JESSE
24     SLOCUM; ALI SMADI; CERA SMART;
       JAN SMEJKAL; ADAM SMITH; ADRIAN
25     SMITH; ALTHEA SMITH; AMBER
       SMITH; ANGELA SMITH; ARLEAN
26     SMITH; ASHLEY SMITH; BRANDON
       SMITH; CHRISTINE SMITH; DANA
27     SMITH; DONNA SMITH; DORI SMITH;
       DOUGLAS SMITH; DU'PRAISEJA SMITH;
28     EISHA SMITH; EMILEE SMITH; EULA
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 1     SMITH; FLOZELL SMITH; HUNTER
       SMITH; JABARI SMITH; JALENA SMITH;
 2     JAMILA SMITH; JAYLAN SMITH;
       JEREMY SMITH; JONATHAN SMITH;
 3     JONATHAN SMITH; LACY SMITH;
       LAURENCE SMITH; JAHWAN RANEY;
 4     LISA SMITH; NATASHA SMITH;
       OCTAVIA SMITH; PAMELA SMITH;
 5     PATRICE SMITH; PORTIA SMITH;
       RAHAMON SMITH; ROXIANN SMITH;
 6     SABRINA SMITH; SHUANTA SMITH;
       TRINIECE SMITH; VANESSA SMITH;
 7     WYVON SMITH; JESSICA SMOLAK;
       DEREK SNARR; BENNIE SNEEDE;
 8     DEMISHA SNEEDE; DEAN SNELSON;
       EDUARD SNITSAR; DOMINIQUE
 9     SNOWDEN; FERNANDO SOARES;
       JENNIFER SOBREPENA; MELVIN
10     SOBREPENA; ZULEMA SOLIS; KELLY
       SOLOMON; MOSES SOLOMON;
11     LAMARR SONNY; JOEY SORCE;
       SHONIECE SORIANO; VIVIAN SORROW;
12     RICHARD SOSA; ALICIA SOTELO;
       CESAR SOTO; OLIVIA SOTO; RICARDO
13     SOTOVANDO; WALBENS SOUZA;
       HELENA SPARKES; CARLOS SPARKS;
14     RITA SPARKS; MICHAEL SPARR;
       SHERRI SPEARS; BRYAN SPELKER;
15     KAYLA SPENCER; MEOSHA SPENCER;
       OCTAVIA SPENCER; THOMAS
16     SPONBERG; MADHAV SRIVASTAVA;
       ZACKERIAH STACEY; CHANTAL
17     STAHL; ASHLEY STANFORD; CLYDE
       STANLEY; DAJAHNA STANLEY;
18     STEVEN STEADMAN; FORREST
       STEELE; KELLY STEELE; VYVON
19     STEELE; LAURIE STEELMAN; JANET
       STEGMAN; JEFFREY STEINBERG;
20     RUSSELL STEPHEN; NICTAYE
       STEPHENS; TONY STEPHENS; KIVA
21     STERIN-BRESCHI; SARA STERNER;
       CALEB STEVENS; TAMMY STEVENS;
22     ADARRIUS STEVENSON; KARLA
       STEVENSON; PATRICIA STEWART;
23     SHONNEL STEWART; LEANNA
       STICKEL; DEAN STIRRAT; DETRONA
24     STITH; MICHAEL STIVER; JESSICA
       STOBART; NATHAN STOCK; LEWIS
25     STOKES; TINA STOKES; EDWARD
       STOUT; MARION STOUTT; TAMARA
26     STOVALL; LISA STOVER; JOHN
       STRASZAK; AMIE STRATTON; ERICA
27     STRAUB; BRITTANY STRECKER;
       HANAH STUART; MELANIE STUBBS;
28     ELIZABETH STUVA; LORI STYX;
                                        35
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 1     OSCAR SUAREZ; SANDRA SUAREZ;
       SHERELLE SUAREZ; DAVID SUDDUTH;
 2     MARY SUGUITAN; BRITTANY
       SULLIVAN; ELISHA SULLIVAN;
 3     LEANNE SULLIVAN; SARA SULLIVAN;
       KIMBERLY SUMMERS; DONNA
 4     SUMPMAN; MICHAEL SUPNET; JULIAN
       SUTER; DEBORAH SUTHERLAND;
 5     NYSIA SUTTA-MGENI; SAUNDRA
       SUTTON; CLIFFORD SUVA; LEANNA
 6     SWAIN; RYAN SWAMI; LISA SWANSON;
       BRANDON SWARTZ; MATTHEW
 7     SWEARINGEN; PHONEXAY
       SYCHAREUN; PATRICIA SYDNOR;
 8     YOUSUF SYED; MARIYA SHAH SYEDA;
       CHRIS SYKES; CHRISTOPHER
 9     SZCZECH; ALANO T.ADRIANO; MARIA
       TAAMU; AHMAD TABBARAH;
10     ABENEZER TADESSE; SONIA
       TADEWOSYAN; AUDRA TAFOYA;
11     MASSINISSA TAIEB; ADOREE TAN; JUN
       TAN; ANDREW TAPIA; JUAN TAPIA;
12     RENATO TAPIA; AMY TARPLEY;
       DAYNA TARTT; DOROTHY TATE;
13     STEVEN TATE; KATHY TATICK;
       STEPHANIE TAVAREZ; SOLIMON
14     TAWFIQ; ASHIA TAYLOR; DERRICK
       TAYLOR; ERIC TAYLOR; ESTELLA
15     TAYLOR; IAN TAYLOR; LARRY
       TAYLOR; LATRISHA TAYLOR; LAURIE
16     TAYLOR; MALARIE TAYLOR; MICHAEL
       TAYLOR; SOVANY TEAM; KAYLA
17     TEIXEIRA; DAN TEJADA; PAUL PHILIP
       TEJEDOR; DULCE TELLEZ; ELIZABETH
18     TENNIAL; GUADALUPE TENORIO;
       PEDROS TEROGANESYAN; TAMMI
19     TERRELL MORRIS; MILAKAA TERRY;
       NARENA TERRY; TANGELA TERRY;
20     ROSHAN THANK; MASON THATCHER;
       JAMES THAYER; RYAN THIBERT;
21     MANJINGER THIND; ROBERT THOMAN;
       EVERY THOMAS CAMPBELL; ANDRE
22     THOMAS; ANDRE THOMAS; ANDREW
       THOMAS; BENJAMIN THOMAS;
23     BRENITA THOMAS; DAJANAE
       THOMAS; DAVID THOMAS; DIAMOND
24     THOMAS; JODI THOMAS; KYLONDRIA
       THOMAS; MALCOLM THOMAS;
25     MICHAEL THOMAS; MICHELINE
       THOMAS; PATRICIA THOMAS;
26     SHERINA THOMAS; STEPHANIE
       THOMAS; STEVEN THOMAS; BRANDON
27     THOMPSON; CHARISSA THOMPSON;
       CORNELL THOMPSON; COURTNEY
28     THOMPSON; KYOKO THOMPSON;
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 1     MICHAELLE THOMPSON; NANCY
       THOMPSON; RICHARD THOMPSON;
 2     SARAH THOMPSON; TAMIKA
       THOMPSON; HEATHER THORNTON;
 3     GREGORY TIFFITH; JON TIGER; GARY
       TILBURY; MIKAYLA TIMMONS;
 4     BRYANT TINAJERO; CANDICE
       TINSLEY; LORI TIRRI; DEANNA TIRY;
 5     BERNADETTE TITMAN; NATASHA
       TITSWORTH; ASHLEY TODD; THERESA
 6     TOGAFAU; KEONA TOGIA; INEZ
       TOLBERT; TOMMIE TOLER; ERIC
 7     TOLLE; ABE TOLLIVER III; LAUREN
       TOLLIVER-KING; DAVID TOLOSSA;
 8     NOUEL TOMA; JULIAN TONGOL;
       VANITA TOOMBS; CHRISTIAN
 9     TOROSSIAN; AILEEN TORRES; DAVID
       TORRES; ISIS TORRES; LINDA TORRES;
10     MIGUEL TORRES; SENORINA TORRES;
       STEVEN TORREZ; CHANEL
11     TOURGEMAN; FARAJI TOUSSANT;
       BENJAMIN TOVAR; BLAKE TOVEY;
12     KIM TOWERS; LYNN TOWNSEL;
       JARRETT TOWNSEND; GLENN
13     TRABANINO; CAMERON TRAMEL;
       JOYCE TRAMMEL; MYDUYEN TRAN;
14     SANG TRAN; TENNY TRAN; TOMMY
       TRANG; YSSA TRAORE; QUINN
15     TRAVERS; HARRISON TRAWNIK;
       ELLIOT TREGONING; SARAH
16     TRESVILLE; TIANA TRESVILLE;
       HEATHER TRIPP; LORI TROESTER;
17     BRIAN TROUSDALE; BRIAN TRUJEQUE;
       CRISTINA TRUJILLO; MARIO TRUJILLO;
18     QUAN TSANG; JAMAL TSOUKALAS;
       MICHAEL TSUCALAS; JULIAN TUBERA;
19     JOSEPH TUCKER; ADAM TUFONO;
       MIKE TUFU; BADRI TULSIRAM;
20     CHRISTINA TURCIOS; RONNY
       TURMAN; ARTHUR TURNER; AZIZA
21     TURNER; DALENE TURNER; DONYTHIA
       TURNER; EDDIE TURNER; ISSAC
22     TURNER; JACOB TURNER; JBARRIE
       TURNER; MONA TURNER; RICKY
23     TURNER; SHADEED TURNER; TAVARES
       TURNER; NELSON TUUFULI; CELIA
24     TYDINGCO; ANGELA UJAUGHELE; MD
       ULLAH; TAYLOR UNDERWOOD;
25     NATHAN UNG; BIPOP UPRETI; RYAN
       URBANO; JORDAN URBINA; ALAN
26     URIBE; STEPHEN URQUIDEZ; ISSACK
       VAID; RENATA VAINER; TONY VAIS;
27     WHITNEY VALCIN; DELINA VALDEZ;
       JAMIE VALDEZ; JOSEPH VALDEZ;
28     JOVAN VALDEZ; REYNALDO VALDEZ;
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 1     GUILLERMO VALDIVIA; ALBERTO
       VALENCIA; LYNETTE VALENCIA;
 2     TONY VALENCIA; STEVEN
       VALENCIANA; MARILYN VALENCIA-
 3     TAPIA; KENNETH VALERA; ABIGAIL
       VALERIO; EMMANUEL VALLEJO-
 4     ALVAREZ; LORRAINA VALSONIS;
       RUDY VAN ACKER; JOSHUA VAN
 5     DEVENTER; KRISTEN VAN DINE;
       SIRENA VAN HOOK; LONNIE VAN
 6     HORN; MARISSA VAN HOUTE;
       SEBASTIEN VAN PELT; STEVE
 7     VANCANTFORT; AMY VANCE; RYAN
       VANDENBURG; NALY VANG; YAW
 8     VANSCOY; JORGE VARELA; ADRIANA
       VARGAS; ALEXANDER VARGAS;
 9     ESTEBAN VARGAS; MARCELINO
       VARGAS; BREANNA VARGO; ANGEL
10     VASQUEZ; ANGELICA VASQUEZ;
       JACKLYN VASQUEZ; JUDITH
11     VASQUEZ; WILFREDO VASQUEZ;
       JEREMY VAZQUEZ; SELENE VAZQUEZ;
12     AURELIO VECCHIOLA; DAISY VEGA;
       ANTHONY VELASQUEZ; YOLANDA
13     VELASQUEZ; AURELIO VELAZQUEZ;
       RAUL VELAZQUEZ; DAVID VELEZ;
14     THERESA VELLONE; DARLENE VELOZ;
       PATRICE VENTRESCA; MARGARITA
15     VENTURA; EDWARD VERA; JOHNNY
       VERA; STEVE VERCHER; JUAN VIDAL;
16     ADRIAN VIDAURRE; CHRISTOPHER
       VILLA; LAURA VILLA; VICTOR VILLA;
17     DANECA VILLACORTA; WILSON
       VILLACORTE; MARTIN VILLAFUERTE;
18     MICHAEL VILLAR; GRACE VILLARDE;
       IRENE VILLASANO; CLAUDIA
19     VILLEGAS; RICKY VILLEGAS; TANYA
       VILLINES; WINONA VINCENT; JON
20     VINSON; EMILYN VIRAY; ADRIAN
       VIRGILIO; CHRISTAN VISPERAS; SARA
21     VIVO; ADAM VOLK; NICK VOLZ; PETER
       VON WIEGANDT; JUSTIN VOO;
22     STEPHANIE VOONG; YEVGEN
       VOSKOLEY; PETER VU; KARI
23     WADDELL; KAYLEE WADEMAN;
       DANIEL WAGENSELLER; DOSHA
24     WAGNER; GLORIA WAGNER; SARA
       WAGNER; KARTTIE WAHOFF; TIFFANY
25     WAITERS-MCCLINTON; ADMIRAL
       WALKER; ALLISSIA WALKER;
26     DARRELL WALKER; DEONTE WALKER;
       JOEL WALKER; JONIESHA WALKER;
27     KWANIUS WALKER; LISA WALKER;
       TENISHA WALKER; DEANNA
28     WALLACE; EDWARD WALLACE;
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 1     TERRA WALLACE; JORDAN WALLICK;
       SASHA WALLS SMITH; BERTRAN
 2     WALLS; LAUREN WALMAN; RYAN
       WALTERS; DARREN WALTON;
 3     KEIOSHA WALTON; NICOLL WALTON;
       SHENGWEI WANG; KENDA
 4     WANNEMAKER; JOSHUA WARD;
       LEANNA WARD; TIANA WARD;
 5     DANIELLE WARE; MARTIN WARE;
       SHAWN WARE; FELICIA WARNER;
 6     TODD WARNER; BRITTANY WARREN;
       SARAH WARREN; ANGELA
 7     WASHINGTON; CAMERON
       WASHINGTON; CHERESA
 8     WASHINGTON; JAZMINE
       WASHINGTON; RAYLYNN WASSON;
 9     ASHLEY WATCHER; IAN
       WATERHOUSE; CRYSTAL WATERS;
10     JILL WATERS; PATRICK WATERS;
       GLENN WATKINS; MICHAEL WATKINS;
11     JAMES WATSON III; ELIJAH WATSON;
       JORIM WATSON; EBONY WATTS;
12     SASHA WATTS; BERTHA WAULS;
       KRISTIN WEATHERBY; JAIME
13     WEAVER; BARRY WEBB; ERIC WEBB;
       NATALIE WEBB; MICHELLE WEEKS;
14     WANDA WEEKS; MELISSA WEGNER;
       PETER WEHRMEYER; ERICH
15     WEIDTMANN; CHRISTOPHER WEIL;
       KAYLA WEINREICH; NATHAN WEISS;
16     CURTIS WELCH; TONY WELCH; CURTIS
       WELLING; IVY WELLS; KAYLA WELLS;
17     UNIQUE WELLS; RYAN WELSHONSE;
       SHONDESS WESSON SR; ANDREW
18     WEST; ARON WEST; DANIEL WEST;
       ELIJAH WEST; JOEL WEST;
19     KAWAQUANA WEST; RICHARD WEST;
       ZACHARY WESTMORE; BRIAN
20     WESTMORELAND; CORAL WESTON;
       JACOB WETHERBEE; NICOLE
21     WEYBURN; KENDRICK WHEATON;
       RAESHELL WHISMAN; CHRIS
22     WHITCOMB; APONDO WHITE; BRIAN
       WHITE; CALLIE WHITE; CASSIDY
23     WHITE; DEVANTE WHITE; EDWIN
       WHITE; EMILIE WHITE; GREGORY
24     WHITE; JULIAN WHITE; KAYLA WHITE;
       NETTIE WHITE; SEDRIC WHITE; TASHA
25     WHITE; TERIAN WHITE; COURTNEY
       WHITFIELD; MICHAEL WHITFIELD;
26     TERRY WHITFIELD; MARISSA
       WHITING; ANTHONY WHITSEY; KEVIN
27     WICAL; MARCALETT WIDEMAN;
       INDIKA WIJESEKERA; DESIREE
28     WILBON; ADAM WILBORN; LASHAWN
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 1     WILBURN; DIAMOND WILDER; AARION
       WILEY; JAMES WILEY; TAHJ WILIAMS;
 2     TIFFINY WILKINS; WILLIAM WILKINS;
       HENRY WILLAUER; ROSA WILLIAMS
 3     JETER; DEREK WILLIAMS JR;
       AARONEKIA WILLIAMS; ALICIA
 4     WILLIAMS; ANFERNEE WILLIAMS;
       BRANDON WILLIAMS; CHANEL
 5     WILLIAMS; CHASTITY WILLIAMS;
       CHELSEY WILLIAMS; CYNTHIA
 6     WILLIAMS; DANYAEL WILLIAMS;
       DAVID WILLIAMS; DEANNDRA
 7     WILLIAMS; DENISE WILLIAMS;
       DENZELL WILLIAMS; DERRICK
 8     WILLIAMS; EMILY WILLIAMS; ERIC
       WILLIAMS; GARY WILLIAMS; GERALD
 9     WILLIAMS; JACOB WILLIAMS;
       JACQUELINE WILLIAMS; JAMILA
10     WILLIAMS; JAMILIA WILLIAMS;
       JORDIN WILLIAMS; JOSHCENIA
11     WILLIAMS; JULIUS WILLIAMS;
       KENDRA WILLIAMS; KENOV
12     WILLIAMS; KEVIN WILLIAMS; LA
       SHAWN WILLIAMS; LADONNA
13     WILLIAMS; LIGAYA WILLIAMS;
       MICHELLE WILLIAMS; NATASHA
14     WILLIAMS; PORTIA WILLIAMS; RANDY
       WILLIAMS; RONALD WILLIAMS;
15     SHARWANNA WILLIAMS; TAMICKA
       WILLIAMS; TATIANA WILLIAMS;
16     VERONICA WILLIAMS; VICTORIA
       WILLIAMS; MACKENZIE WILLIAMSON;
17     MARKUS WILLIAMSON; SEAN
       WILLIAMSON; BONNIE WILLIAMS-
18     TAYLOR; BLAKE WILLIFORD; MATT
       WILLIS; ANASTASIA WILLOUGHBY;
19     ALEXIS WILSON; CHERISE WILSON;
       CHRISTINA WILSON; CRISSY WILSON;
20     DAVID WILSON; ERIC WILSON;
       HEATHER WILSON; IRENE WILSON;
21     KHALI WILSON; MAIYA WILSON;
       MICHAEL WILSON; NICHOLAS
22     WILSON; REGINALD WILSON; TOKA
       WILSON; VASHAYLA WILSON;
23     WHITNEY WILSON; YMUNIQUE
       WILSON; KIRA WINDMUELLER;
24     SHANELLE WINDOM; JODIE
       WINKLEBLECH; HALEY WINN;
25     TAMIKA WINSLOW; LORI WISE; JAMES
       WISEMAN; DAVID WITCHER; TALIYAH
26     WITT; COREY WOJAHN; MAHLET
       WOLDEMICHAEL; JAY WONG; PAUL
27     WONG; STEVEN WONG; ANGELA
       WOOD; ERICA WOOD; JESSICA WOOD;
28     JOHNATHAN WOOD; MICHAEL WOOD;
                                        40
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 1     SAMMANTHA WOOD; AUGUSTA
       WOODARD; ASHLEY WOODBRIDGE;
 2     SPENCER WOODCOCK; CHYRAH
       WOODS; NICOLE WOODS; CASSANDRA
 3     WOODWARD; HEATHER WOOLEN;
       BINH WORLEY; SHANNA WORLEY;
 4     ASHLEY WRIGHT; BRIAN WRIGHT;
       D'AJANE WRIGHT; DEAN WRIGHT;
 5     MICHELLE WRIGHT; VINCENT
       WRIGHT; ZONOBIA WRIGHT; TIGER
 6     WU; LORENZO WUYSANG; MELANIE
       WYATT; DOMINIQUE WYNNE COOLEY;
 7     CHRISTOPHER WYRICK; SONDRA
       WYRICK; MICHELLE XIONG; CRANE
 8     XU; YIN KUM XUE; STEVEN
       YAMAGUCHI; JESSICA YANEZ; HEIJIN
 9     YANG; BATTSENGEL YANJMAA; CHRIS
       YANKE; ETIENNE YANSUNNU; JACOB
10     YARLETZ; DEVEN YASAY; AHMED
       YASEEN; VINCENT YATES;
11     CHRISTOPHER YBARRA YBARRA;
       CHRIS YODER; JOSEPH YOO; BRYAN
12     YOUNG; CHRISTOPHER YOUNG;
       GRENITA YOUNG; JIMMY YOUNG;
13     OLIVIA YOUNG; SAMANTHA YOUNG;
       SHONNTAE YOUNG; ROSALINA YSAIS;
14     RUTH ZAGARS; ANASTASIIA
       ZAGORUIKO; LAURIE ZALESKI;
15     TOMMIE ZAM; RUDOLPH ZAMARRIPA;
       MICHAEL ZAMBELLI; SAN JUANITA
16     ZAMORA-MEZA; BENNJI ZANABRIA;
       ANTHONY ZAPATA; ELIZABETH
17     ZAPATA; MARTIN ZARAGOZA; ROYCE
       ZARO; ANDREA ZAVALA; ANGELA
18     ZAVALA; ERIC ZAVALA; LUPE
       ZAVALA; ZAHIR ZEGGANE;
19     JACQUELINE ZENN; BRISA ZEPEDA;
       ANDREW ZERTUCHE; WEI ZHAO;
20     JOSHUA ZIELINSKI; JESSICA ZINZUN;
       DAVID ZIRKELBACH; KAMEEL ZREIK;
21     and REYNA ZUNIGA.

22

23                       Petitioners,
24           vs.
25
       DOORDASH, INC.,
26
                      Respondent.
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                                        41
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 1           Petitioners file this Petition for an Order compelling Respondent DoorDash, Inc. to

 2    arbitration as follows:

 3                                      NATURE OF THE PETITION

 4           1.      Petitioners are 3,997 DoorDash couriers (“Dashers”) who are attempting to arbitrate

 5    individual claims against DoorDash for misclassifying them as independent contractors instead of

 6    employees. Petitioners contend that in misclassifying them, DoorDash has violated the California

 7    Labor Code, Wage Order No. 9, California Labor Code § 226 (Wage Statement and Records

 8    Access), and Cal. Bus. & Prof. Code. § 17200 (Unfair and Unlawful Business Practices).

 9           2.      In order to begin making deliveries for DoorDash, each Petitioner was required to

10    sign a contract that contained a sweeping “Mutual Arbitration Provision.” No Petitioner recalls

11    opting out of that arbitration provision.

12           3.      The Mutual Arbitration Provision requires that the parties arbitrate any dispute

13    regarding a Dasher’s classification as an independent contractor. The provision also requires that

14    arbitration be administered by the American Arbitration Association (“AAA”) under AAA’s

15    Commercial Rules. Those Rules, in turn, authorize AAA to require that each party pay filing fees

16    before AAA will empanel an arbitrator and proceed with the parties’ arbitration. DoorDash’s

17    arbitration provision expressly requires that DoorDash pay a portion of the fees and costs necessary

18    to commence arbitration.

19           4.      On September 27, 2019, in accordance with the parties’ agreement, counsel for

20    Petitioners served an individual demand for arbitration on DoorDash and AAA on behalf of each

21    Petitioner. Each Petitioner promptly satisfied his or her filing-fee obligation.

22           5.      AAA determined that each Petitioner’s demand for arbitration met the requirements

23    under AAA’s rules to proceed with arbitration. Thus, pursuant to its rules, AAA imposed succesive

24    deadlines of October 24, 2019 and November 7, 2019 for DoorDash to pay its share of the filing

25    fees necessary to commence each Petitioner’s arbitration and empanel an arbitrator.

26           6.      DoorDash refused to comply with AAA’s deadlines. It did not pay the filing fees

27    necessary for a single Petitioner to proceed with arbitration.

28           7.      On November 8, 2019, AAA terminated Petitioners’ arbitrations due to DoorDash’s

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 1    refusal to satisfy its filing fee obligations.

 2            8.      Petitioners have filed this Petition to require DoorDash to abide by the arbitration

 3    agreement it drafted.

 4                                                     PARTIES

 5            9.      Petitioners are Dashers who have made deliveries for DoorDash in California.

 6    Details for each Petitioner are listed in Exhibit A.

 7            10.     Respondent DoorDash, Inc. is a Delaware corporation headquartered at 901 Market

 8    Street, Sixth Floor, San Francisco, California 94103.

 9                                       JURISDICTION AND VENUE

10            11.     This Court has jurisdiction over this action pursuant to California Code of Civil

11    Procedure section 1281.2.

12            12.     This Court has personal jurisdiction over DoorDash because DoorDash has its

13    headquarters and principal place of business in California.

14            13.     Venue is proper in this Court pursuant to California Code of Civil Procedure

15    sections 393, 395, 395.5, 1292, and 1292.2 because DoorDash is headquartered and conducts

16    business in San Francisco County, and many of the acts and omissions complained of occurred in

17    San Francisco County.

18                                                BACKGROUND

19            14.     DoorDash is an on-demand delivery service through which customers may order

20    food and other items from participating merchants for delivery. DoorDash pays Dashers to make

21    those deliveries.

22            15.     Petitioners are Dashers whom DoorDash has misclassified as independent

23    contractors rather than employees, in violation of state and local law.

24            16.     DoorDash executed an agreement with each Petioner requiring that DoorDash and

25    the Petitioner individually arbitrate any claim arising from the agreement, including a claim that

26    the Petitioner has been misclassified. See, e.g., Ex. B (DoorDash’s 2019 Independent Contractor

27    Agreement). The agreement further requires that the arbitration be administered by AAA under its

28    Commercial Arbitration Rules. See id.
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 1             17.    Under the Commercial Rules, “[t]he arbitrator shall interpret and apply the[] rules

 2    insofar as they relate to the arbitrator’s powers and duties.” Commercial Rule 8. Where no

 3    arbitrator is yet available, or where a rule does not involve the “arbitrator’s powers and duties,” the

 4    rules “shall be interpreted and applied by the AAA.” Id.1

 5             18.    Commercial Rule 56 further authorizes AAA to “require the parties to deposit in

 6    advance of any hearings such sums of money as it deems necessary to cover the expense of the

 7    arbitration, including the arbitrator’s fee.” Commercial Rule 56.

 8             19.    The Commercial Rules also state that AAA’s Employment Fee Schedule applies

 9    where, as here, workers bring claims asserting that they were misclassified as independent

10    contractors. Id. at 2 n.*. And the Employment Fee Schedule states that “[t]he employer or

11    company’s share of filing fees is due as soon as the employee or individual meets his or her filing

12    requirements.” Employment Fee Schedule at 2.2

13             20.    DoorDash has enforced its broad arbitration agreement to preclude couriers from

14    filing misclassification claims against it in court. See, e.g., Magana v. DoorDash, Inc., 343 F. Supp.

15    3d 891 (N.D. Cal. 2018) (compelling a Dasher to arbitrate misclassification claims); Mckay v.

16    DoorDash, Inc., No. 19-cv-04289-MMC, 2019 WL 5536199 (N.D. Cal. Oct. 25, 2019) (same).

17             21.    On September 27, 2019, in accordance with the parties’ agreement, counsel for

18    Petitioners served an individual demand for arbitration on DoorDash and AAA on behalf of each

19    Petitioner. Each Petitioner promptly satisfied his or her filing-fee obligation.

20             22.    AAA then determined that each Petitioner’s arbitration demand satisfied AAA’s

21    filing requirements.

22             23.    Applying its Commercial Rules and Employment Fee Schedule, AAA imposed a

23    deadline of October 24, 2019 for DoorDash to pay the filing fees it owed for AAA to empanel

24    arbitrators and proceed with Petitioners’ arbitrations. On DoorDash’s request, AAA extended

25    DoorDash’s deadline to pay filing fees until November 7, 2019.

26             24.    On October 28, 2019, DoorDash indicated that it would not pay the filing fees it

27    1
          Available at https://www.adr.org/sites/default/files/CommercialRules_Web_FINAL_1.pdf.
28    2
          Available at https://www.adr.org/sites/default/files/Employment_Fee_Schedule1Nov19.pdf.
                                               3
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 1    owed because, it argued, each Petitioner’s demand was “insufficient to launch arbitration under the

 2    DoorDash Independent Contractor Agreement, as well as AAA’s own rules.”

 3           25.     AAA rejected that argument and made “an administrative determination that the

 4    minimum filing requirements have been met by [Petitioners].” AAA thus set a final deadline of

 5    November 7, 2019 for DoorDash to pay the filing fees it owed.

 6           26.     DoorDash refused to comply with that deadline. It did not pay the fees for an

 7    arbitrator to be empaneled for a single Petitioner’s arbitration.

 8           27.     On November 8, 2019, AAA “administratively closed” Petitioners’ files because

 9    DoorDash “failed to submit the previously requested filing fees for [Petitioners’] individual

10    matters.”

11                                              CONCLUSION

12           28.     Each Petitioner and DoorDash entered into an agreement requiring them to arbitrate

13    the issue of whether that Petitioner is an independent contractor or an employee.

14           29.     DoorDash breached that agreement because it refused to comply with AAA’s

15    administrative determations regarding the filing fees it must pay under the agreement—fees AAA

16    requires before it will empanel arbitrators and begin Petitioners’ arbitrations.

17           30.     Until DoorDash complies with AAA’s administrative determinations, Petitioners’

18    arbitrations cannot commence. Petitioners are in limbo: Their arbitration agreements prevent them

19    from bringing their claims in court, but DoorDash refuses to arbitrate their claims under the terms

20    of the arbitration agreement.

21           31.     Accordingly, this Court should compel DoorDash to arbitrate under California Code

22    of Civil Procedure section 1281.2 and 9 U.S.C. § 4.

23           32.     Moreover, if the Court compels DoorDash to arbitrate on or after January 1, 2020,

24    the Court should order DoorDash to pay Petitioners’ attorney’s fees and costs related to the

25    arbitration and further pay Petitioners’ expenses, including attorney’s fees and costs, incurred by

26    Petitioners due to DoorDash’s failure to abide by its arbitration agreement. See S.B. 707, 2019–

27    2020 Reg. Sess., § 4 (Cal. 2019) (reciting the language Sections 1281.97(b)(2) and 1281.99 of the

28    California Code of Civil Procedure (effective January 1, 2020));
                                               4
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 1                                         PRAYER FOR RELIEF

 2    WHEREFORE, Petitioners respectfully request that this Court:

 3           33.     Enter an Order requiring that DoorDash arbitrate each Petitioner’s claims under the

 4    Mutual Arbitration Provision, including by paying the arbitration fees and costs AAA determines

 5    are necessary to empanel arbitrators and proceed with arbitrations.

 6           34.     Enter an Order requiring that DoorDash pay Petitioners’ attorney’s fees and costs

 7    related to the arbitration and further pay Petitioners’ expenses, including attorney’s fees and costs,

 8    incurred by Petitioners due to DoorDash’s failure to abide by its arbitration agreement, to the extent

 9    the Court compels DoorDash to arbitrate on or after January 1, 2020.

10
             Dated: November 19, 2019                       Respectfully submitted,
11

12

13                                                          Justin Griffin (#234675)
                                                              justingriffin@quinnemanuel.com
14                                                          QUINN EMANUEL URQUHART & SULLIVAN,
                                                            LLP
15                                                          865 S. Figueroa St., 10th Floor
                                                            Los Angeles, California 90017
16                                                          (213) 443-3100
17
                                                            Andrew Schapiro (pro hac vice forthcoming)
18                                                            andrewschapiro@quinnemanuel.com
                                                            QUINN EMANUEL URQUHART & SULLIVAN,
19                                                          LLP
                                                            191 N. Upper Wacker Dr., Suite 2700
20                                                          Chicago, IL 60606
21                                                          (312) 705-7472

22                                                          Travis Lenkner (pro hac vice forthcoming)
                                                              tdl@kellerlenkner.com
23                                                          KELLER LENKNER LLC
                                                            150 N. Riverside Plaza, Suite 4270
24
                                                            Chicago, Illinois 60606
25                                                          (312) 741-5220

26                                                          Warren Postman (pro hac vice forthcoming)
                                                             wdp@kellerlenkner.com
27                                                          KELLER LENKNER LLC
                                                            1300 I Street, N.W., Suite 400E
28
                                              5
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 1                                             Washington, D.C. 20005
                                               (202) 749-8334
 2

 3                                             Attorneys for Petitioners

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 1                               DECLARATION OF ASHLEY KELLER

 2           I, Ashley Keller, declare based on personal knowledge as follows:

 3           1.      I am a Partner at Keller Lenkner LLC, counsel for Petitioners in this matter.

 4           2.      I have personal knowledge of the facts stated herein, and if called upon as a witness,

 5    I could and would testify competently thereto.

 6           3.      This declaration is submitted in support of Petitioners’ Petition to Compel

 7    Arbitration.

 8           4.      On September 27, 2019, Keller Lenkner filed a demand for individual arbitration

 9    with AAA and DoorDash on behalf of each Petitioner, 3,997 demands in total. Attached as Exhibit

10    A is a true and correct list of Petitioners who filed a demand for individual arbitration with AAA

11    on September 27, 2019.

12           5.      DoorDash requires every courier (“Dasher”) to sign an agreement containing an

13    arbitration provision before that Dasher may begin making deliveries for DoorDash. Attached as

14    Exhibit B is a true and correct copy of that agreement printed on January 11, 2019.

15

16    I affirm that the foregoing is true under penalty of perjury under the laws of the United States.

17

18    Signed on November 19, 2019 in Chicago, Illinois

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20
                                                            Ashley Keller
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                                  DECLARATION OF ASHLEY KELLER
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               Exhibit
                 A
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First Name        Last Name               Client Address 1 City      Client Address 1 State
Ali               Abbas                   Pomona                     CA
Trevon            Abbasi                  Costa Mesa                 CA
Feryal            Abboodi                 Riverside                  CA
Jenin             Abdeljabbar             Los Angeles                CA
Basem Jamal       Abdelkhaleq             San Diego                  CA
Tevin             Abdessian               Glendale                   CA
Stephen           Abdou                   Corona                     CA
Bakir             Abduljabbar             Fair Oaks                  CA
Medina            Abdullah                Bakersfield                CA
Samuel            Abels                   Northridge                 CA
Sharareh          Abhari                  Sun City                   CA
Yerzhan           Abildin                 Irvine                     CA
Ashley            Abney                   Antioch                    CA
Terrell           Abrams                  San Leandro                CA
Sandra            Abundis                 Upland                     CA
Simon             Achvan                  Los Angeles                CA
Luis              Acosta                  Rancho Cucamonga           CA
Angela            Adams                   Pittsburg                  CA
Christopher       Adams                   Los Angeles                CA
Thomas            Adams                   Turlock                    CA
Tony              Adams                   Winnetka                   CA
Trevon            Adams                   Los Banos                  CA
Adesola           Adeogun                 Loma Linda                 CA
Ericson           Adinig                  San Diego                  CA
Andrew            Afia                    Diamond Bar                CA
Wilard            Agdeppa                 Carson                     CA
Lanita            Agee                    Fairfield                  CA
Ehda              Agha Mohyaldin          San Diego                  CA
Robert            Agozino                 Mission Viejo              CA
Aaron             Aguilar                 San Bernardino             CA
Amber             Aguilar                 Moreno Valley              CA
Jose              Aguilar                 San jose                   CA
Julie             Aguilar                 Sunnyvale                  CA
Stephanie         Aguilar                 Rancho Cucamonga           CA
Susana            Aguilar                 San Jose                   CA
Lizbeth           Agundez                 Hemet                      CA
Patrick           Ahern                   Daly City                  CA
Shahab            Ahmadpanah              Irvine                     CA
Filsun            Ahmed                   Long Beach                 CA
Meredith          Aimone                  San Diego                  CA
Pauline           Ajayi                   Santa Cruz                 CA
Aujhana           Akins                   Mountain House             CA
Donnetta          Akins                   Pomona                     CA
Mahmood           Al Ghazawi              Sacramento                 CA
Omer              Al Mashahedah           Citrus Heights             CA
Roman             Al                      Riverside                  CA
Lana              Alaniz                  Alhambra                   CA
Maria             Alarcon                 Rocklin                    CA
Omar              Alaya                   Sacramento                 CA
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Magdi             Albarty             Oakland                   CA
Muayad            Albazian            Antioch                   CA
Vanica            Albert              Antioch                   CA
Andrew            Albrecht            Corona                    CA
Maia              Albro               Rancho Cordova            CA
Elissa            Alcala              Van Nuys                  CA
Alexander         Alcaraz             Elk Grove                 CA
Steve             Alcazar             Cerritos                  CA
Christopher       Alejo               Ontario                   CA
Nehemias          Aleman              Turlock                   CA
Saul              Aleman              Monterey Park             CA
Jacob             Alesna              Daly City                 CA
Calondra          Alexander           Moreno Valley             CA
Jennifer          Alexander           Long Beach                CA
Joel              Alexander           Antioch                   CA
Kaylah            Alexander           San Jose                  CA
MARLA             ALEXANDER           San Diego                 CA
Rudolph           Alexander           Ontario                   CA
Roy               Alfajora            Redwood City              CA
Alex              Alfaras             Daly. City                CA
Denny             Alfaro              Sunnyvale                 CA
Elizabeth         Alfaro              Buena Park                CA
Ramon             Alfaro              Fresno                    CA
Shannon           Alfaro              Daly City                 CA
Amanda            Alfred              Redlands                  CA
Joseph            Alfresco            Oakland                   CA
Sam               Alhaddaden          Hawaiian Gardens          CA
Duaa              Alhajri             El Cajon                  CA
Mohammed          Alia                El Cerrito                CA
Bermudez          Alicia              Long Beach                CA
Irwin             Allen               Santa Ana                 CA
Michael           Allen               Sacramento                CA
Monique           Allen               Long Beach                CA
Renee             Allen               Carson                    CA
Timeka            Allen               Fontana                   CA
Alexandria        Allgood             San Jose                  CA
Melissa           Almaraz             Canoga Park               CA
Yousef            Almasri             South San Francisco       CA
Haydar            Almayalee           Irvine                    CA
Elizabeth         Almendarez          Upland                    CA
Ammar             Alshawosh           Pasadena                  CA
Diego             Altamirano          Moreno Valley             CA
Malcolm           Alugas              Oakland                   CA
Francisco         Alvarado            Milpitas                  CA
Victoria          Alvarado            Richmond                  CA
Adrian            Alvarez             Montebello                CA
Jean              Alvarez             Granada Hills             CA
Lilia             Alvarez             Nuevo                     CA
Marisela          Alvarez             Sunnyvale                 CA
Milly             Alvarez             Los Angeles               CA
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Michael          Alvarizares          El Centro                CA
Justin           Amador               Concord                  CA
Maryamaweet      Amare                Los Gatos                CA
Richard          Amaro                Dinuba                   CA
Ingrid           Amaya                El Monte                 CA
Nora             Americano            Santa Clara              CA
Rudy             Amesquita            Victorville              CA
Ahssanullah      Aminyar              San Leandro              CA
Josara           Ammann               Riverside                CA
Rachael          Amoah                Sacramento               CA
Francisco        Anaya                San Jose                 CA
Isaac            Anaya                Newark                   CA
Romualdo         Anaya                Reseda                   CA
Ashley           Anderson             Lompoc                   CA
Cashley          Anderson             Victorville              CA
Charles          Anderson             Rancho Cucamonga         CA
David            Anderson             Caruthers                CA
Desiree          Anderson             Stockton                 CA
Francis          Anderson             San Jose                 CA
John             Anderson             Merced                   CA
Jonathan         Anderson             Inglewood                CA
Julia            Anderson             Moreno Valley            CA
Kai              Anderson             Modesto                  CA
Michael          Anderson             Vallejo                  CA
Shawn            Anderson             Arleta                   CA
Victoria         Anderson             San jose                 CA
Yamilb           Anderson             Alta Loma                CA
Shayna           Anderson-schmidt     San Jose                 CA
Shawna           Andino               Folsom                   CA
Jared            Andrade              Citrus Heights           CA
Kevin            Andrade              Port Hueneme             CA
Robert           Andrade              San Diego                CA
Raphelle         Andrews              Oakland                  CA
Nadine           Anguiano             Visalia                  CA
Ricardo          Antillon             Jurupa Valley            CA
Masoud           Anwary               Laguna Niguel            CA
Annette          Apodaca              Winton                   CA
Antimony         Apodaca              Santa Rosa               CA
Arthur           Appling              Vallejo                  CA
Justin           Aquino               Buena park               CA
Edgar            Arambula             Torrance                 CA
Nicholas         Aranda               Castro Valley            CA
Jerrold          Arangorin            Hayward                  CA
Juan             Araujo               Modesto                  CA
Kaylee           Araujo               Chino                    CA
Pablo            Araujo               West Covina              CA
Melissa          Araya                Santa Clarita            CA
Eva              Arce                 Hayward                  CA
James            Arce                 Los Angeles              CA
Zakaria          Archane              Los Angeles              CA
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Vincent           Archie              Long beach                CA
Jan Coleen        Arcinas             Antioch                   CA
Kristi            Ard                 Sherman Oaks              CA
Melissa           Arellano            Azusa                     CA
Luis              Arenas              Long Beach                CA
Alicia            Arguello            Ca                        CA
Eduardo           Arias               Santa Clara               CA
James             Arlow               Upland                    CA
Manuel            Armenta             San Jose                  CA
Isaac             Armstrong           Oakland                   CA
Jeanette          Armstrong           Inglewood                 CA
Linda             Armstrong           Corona                    CA
Michael           Arnett              Downey                    CA
Corey             Arnold              Folsom                    CA
Calvin            Aromin              Fairfield                 CA
Dominic           Arreola             Norwalk                   CA
Daniela           Arrey               San Diego                 CA
Alfred            Arrington           Antelope                  CA
Steven            Artiga              Hawthorne                 CA
George            Artope              North Hollywood           CA
Miguel            Arvizo              San Diego                 CA
Gloria            Arzu                Los Angeles               CA
Aksel             Asadourian          Glendale                  CA
Dean              Asamura             Vista                     CA
Arlette           Ascenso             Sacramento                CA
Brian             Ashe                Santa Cruz                CA
Brianna           Ashley              Rancho Cordova            CA
roger             ashton              hayward                   CA
Michael           Asis                Rodeo                     CA
Muh Daryosh       Aslami              Baypoint                  CA
Timothy           Aslan               San Jose                  CA
Omar              Assaf               Mission Viejo             CA
Steven            Assef               San Deigo                 CA
Timona            Asuega              Lomita                    CA
Dion              Asuncion            Covina                    CA
Yordan            Atanasov            Santa Monica              CA
Roza              Atikyan             Montebello                CA
Alfred            Atkins              Bellflower                CA
Leandre           Atkins              Los Angeles               CA
Alex              Attrill             San Dimas                 CA
Natalie           Aubele              Rohnert Park              CA
Aidan             Austin              Agoura Hills              CA
Rasheeta          Austin              Moreno valley             CA
Christine         Avelar              San Bernardino            CA
Micah             Avery               Palmdale                  CA
Jesus             Aveytia             Sacramento                CA
Marissa           Avila Metz          Santa Cruz                CA
Dawn              Avila               Bell Gardens              CA
Jaron             Avila               San Jose                  CA
Monica            Avila               Manteca                   CA
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Emanoel           Avrahem                San Jose                  CA
Nasser            Awawda                 Elk Grove                 CA
Theo              Awdng                  Encino                    CA
William           Aydlette               Wildomar                  CA
Alessandro        Ayer                   Van Nuys                  CA
Jeriza            Ayson                  San Jose                  CA
Amir              Azari                  Laguna Niguel             CA
Melissa           Azevedo                Sacramento                CA
Navid             Azizi                  Gilroy                    CA
Paul              Azzolina               Baldwin Park              CA
Mohamed           Baaghil                San Ramon                 CA
Dominique         Baca                   Stockton                  CA
Brian             Bachar                 Ontario                   CA
Chad              Bachman                Santa Cruz                CA
Harmony           Bacon                  San Jose                  CA
Kathy             Bader                  Oceanside                 CA
Christian         Baez                   San Jose                  CA
Mamie             Bagby                  San Francisco             CA
Lena              Bagwell                San Leandro               CA
Javier            Bahamonde              Pitysburg                 CA
Edon              Bainvoll               Los Angeles               CA
Lawrence          Baisden Ii             Salinas                   CA
Laquann           Baker                  Pomona                    CA
Marvin            Baker                  Oakland                   CA
Medina            Baker                  Sacramento                CA
Scott             Baker                  Lakeside                  CA
Tommy             Baker                  Ontario                   CA
Tracy             Baker                  Modesto                   CA
Gagandeep         Bal                    Union City                CA
Kenneth           Balanon                Santa Clara               CA
Jesse             Baldain                Stockton                  CA
Rosario           Balderas               Azusa                     CA
Vicente           Balinton               Sacramento                CA
Jennifer          Ball                   San Bernardino            CA
Jordan            Ball                   Sacramento                CA
Chris             Ballard                Fresno                    CA
Dameonn           Ballard                Rohnert Park              CA
Glen              Balza                  Twenty Nine Palms         CA
Archana           Bandaru                Fremont                   CA
Jelani            Bandele                Inglewood                 CA
Julian            Banderas               Sacramento                CA
Gwendolyn         Banks                  Antioch                   CA
Kayla             Bankston               Burbank                   CA
Katharine         Bantigue               Van Nuys                  CA
Roberto           Baptista               Oceanside                 CA
Chrystle          Barajas                Temecula                  CA
Daniel            Barba Morales          San Jose                  CA
Marcos            Barba                  Los Angeles               CA
Alicia            Barbee                 Moreno Valley             CA
Michael           Barber                 Moreno valley             CA
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Michaela          Barber              Vallejo                   CA
Tanner            Barber              Los Angeles               CA
Carlos            Barbosa             San Diego                 CA
Peter             Bard                Riverside                 CA
Jessica           Barfield            Rancho Cucamonga          CA
Sonia             Barillas            Costa Mesa                CA
Briana            Barnes              Oakland                   CA
Katelynn          Barnes              Stockton                  CA
Steve             Barnes              Corona                    CA
Cameron           Barnett             Sacramento                CA
James             Barnette            San Diego                 CA
Trini             Baron               San Diego                 CA
Jesus             Barragan            Fresno                    CA
Cassandra         Barranco            Sacramento                CA
Enrique           Barrera             Lake Elsinore             CA
Gabriel           Barrera             Sacramento                CA
Monica            Barrera             Vallejo                   CA
Monica            Barrera             Riverside                 CA
Ja'monteyanna     Barrett             Vallejo                   CA
Ariana            Barrios             Santa Clara               CA
Rebecca           Barron              Stockton                  CA
Vanessa Kay       Barron              Mojave                    CA
Donald            Barry               Sherman Oaks              CA
Jeffrey           Bartnek             Vacaville                 CA
Isiah             Bartolome           Fresno                    CA
Treveon           Baskin              Los Angeles               CA
Mohan             Basnet              Burbank                   CA
Everett           Bass                Oakland                   CA
Otis              Bassett             Los Angeles               CA
Brooke            Bastiaans           Santa Clarita             CA
Jared             Bastian             Victorville               CA
Thalia            Batista             Antioch                   CA
Ariunsaikhan      Batkhuyag           Los Angeles               CA
Ryan              Batorick            Vista                     CA
Lauren            Battaglia           Campbell                  CA
Thomas            Battaglia           San Jose                  CA
Amrit             Batth               Ceres                     CA
Ajanai            Battle              San Diego                 CA
Cristina          Bautisa             San Jose                  CA
Cristian Merry    Bautista            Antioch                   CA
Steven            Bavin               Thousand oaks             CA
Derrick           Baxter              Oakley                    CA
Kimberly          Bayardo             Corona                    CA
Vertis            Bayne               Los Angeles               CA
Jason             Beadle              Rancho Santa margarita    CA
Johnny            Beard               San Jose                  CA
Christopher       Bearden             Modesto                   CA
Patricia          Beardsley           Martinez                  CA
Gariner           Beasley             Los Angeles               CA
Jonathan          Beasley             Livermore                 CA
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Regina             Beasley                Chula Vista                CA
Jenna              Beaton                 Carmichael                 CA
Rodrick            Beavers                Stockton                   CA
Luana              Beavers-deloach        Suisun                     CA
Karen              Beccar                 Glendale                   CA
Jeremiah           Beck                   Fontana                    CA
Zackary            Becker                 Los Angeles                CA
Danny              Bedford                Riverside                  CA
Tony               Bedi                   Newark                     CA
Benjamin           Beers                  Oceanside                  CA
Laurie             Behrend                Salinas                    CA
Daoud              Beituni                Westminster                CA
Mike               Belardes               San Jose                   CA
Anna               Beliel                 San Pablo                  CA
Brianne            Bell                   Torrance                   CA
Hunter             Bell                   Jurupa Valley              CA
Jared              Bell                   Roseville                  CA
Tanisha            Bell                   Stockton                   CA
Vineshia           Bell                   Hayward                    CA
Yvonne             Bell                   Elk Grove                  CA
Mouaadh            Bellal                 Union City                 CA
Connie             Bellmer                Fremont                    CA
Emmanuel           Bello                  Victorville                CA
Wendy              Belmont                Montclair                  CA
Sabrina            Belmontez              Fresno                     CA
Miguel             Beltran                Rialto                     CA
Hatem              Ben Miled              Valley Village             CA
Sarajane           Benassi                San Jose                   CA
Olivia             Benavides              Lakewood                   CA
Vahan              Bendian                Encino                     CA
Simone             Benech                 San Jose                   CA
Tashalla-lynn      Benford                Pleasant Hill              CA
Andrea             Bennett                Sacramento                 CA
Dominique          Bennett                Mill Valley                CA
Endira             Bennett                San Diego                  CA
Jacob              Bennett                Santa Barbara              CA
Marissa            Bennett                Rio Linda                  CA
Michael            Bennett                El Cajon                   CA
Sara               Benson                 Arcata                     CA
Andrei             Berg                   San Diego                  CA
James              Berg                   Antelope                   CA
Matthew            Berg                   Fairfield                  CA
Alayna             Bergman                Fresno                     CA
Flor               Bermudez               Anaheim                    CA
Dessa              Bernabe                Orange                     CA
Christian          Bernard                San Diego                  CA
Oscar De Jesus     Bernardino Flores      Santa Clara                CA
Scott              Bernave                Oceanside                  CA
Isha               Berry                  Oakland                    CA
Michael            Berry                  Palo Alto                  CA
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Richard           Berry                     Hemet                     CA
Samantha          Berry                     San Leandro               CA
Vincent           Berry                     San Francisco             CA
Richard           Berthil                   Rialto                    CA
Jack              Bessiere                  Pleasanton                CA
Seneca            Beverly                   Santa Barbara             CA
Ozone             Bhaguan                   Escondido                 CA
Muhammad          Bhutta                    Torrance                  CA
Jamee             Biadora                   Los Angeles               CA
Angela            Bibbs                     Fairfield                 CA
Michael           Bickham                   Rosamond                  CA
Tania             Bielecki                  Sacramento                CA
Lauren            Bigornia                  Sacramento                CA
Jonathan          Bird                      San Francisco             CA
Bobby             Birdi                     Tracy                     CA
Robin             Birdsong Vincent          Yuba City                 CA
Joseph            Birdsong                  Rocklin                   CA
Jesse             Biringer                  San Jose                  CA
Brett             Birmingham                Big pine                  CA
Arrick            Bischofberger             Newark                    CA
Cody              Bishop                    Carlsbad                  CA
Nichele           Bissett                   Sacramento                CA
Mirhad            Bjelevac                  San Jose                  CA
Samantha          Black                     Anderson                  CA
Theresa           Black                     Chico                     CA
Christanya        Blackman                  Hemet                     CA
Sandra            Blackmon                  Oakley                    CA
Kerry             Blackmore                 Richmond                  CA
Nichole           Blackwell                 Oakland                   CA
Stephen           Blake                     Carlsbad                  CA
Shauwn            Bland                     Santa Paula               CA
Troy              Blanton                   Westminster               CA
Janette           Blevins                   Seaside                   CA
Tanya             Blue                      Sonoma                    CA
Tatiana           Bluford                   San Francisco             CA
Emmett            Blunt                     Martinez                  CA
Jason             Blyston                   Aptos                     CA
Nicholas          Bober                     San Juan Capistrano       CA
Jakeh             Bode                      Vacaville                 CA
Alicia            Bodway                    Winton                    CA
Randy             Boeglin                   Rancho Cucamonga          CA
Nicholas          Boesch                    Escondido                 CA
Richard           Bogolub                   Alamo                     CA
Genevieve         Bohan                     North Highlands           CA
Rone              Boles                     94565                     CA
Roszonne          Bolton                    Ontario                   CA
Alexia            Bond                      Sacramento                CA
Barbara           Bonds                     San Jose                  CA
Audrey            Bongato                   Carson                    CA
Cintia            Bonifacio                 Oakland                   CA
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Carmena           Boone                   Mountain House            CA
Marcus            Boone                   Oxnard                    CA
Eric              Boothe                  Palm Springs              CA
Lashay            Boozer                  Hemet                     CA
Alejandro         Boquiren                Newark                    CA
Jasmyn            Borders                 Lincoln                   CA
Samantha          Borg                    Chino                     CA
Robert            Borjas                  Long Beach                CA
Alicia            Borrego                 Riverside                 CA
Camille           Borromeo                San Jose                  CA
Paul              Bosley-pittman          Stockton                  CA
Danielle          Bostic                  Fairfield                 CA
April             Bosworth                Redding                   CA
Josh              Botello                 Fontana                   CA
Cameron           Bothwell                Danville                  CA
Monet             Bounthon                Antioch                   CA
Nadra             Bourdi                  San Francisco             CA
Monika            Bowers                  Riverbank                 CA
Shaquisha         Bowers                  Granada Hills             CA
Theodore          Bowers                  Rancho Cordova            CA
Catherine         Boyd                    North Hollywood           CA
Christine         Boyd                    Pasadena                  CA
Jonathan          Boyd                    Colton                    CA
Erin              Boyer                   Costa Mesa                CA
Amanda            Boyett                  Huntington Beach          CA
John              Boyle                   Fallbrook                 CA
Robert            Boyle                   Valencia                  CA
Benjamin          Bradford                Roseville                 CA
Carlos            Bradford                Vacaville                 CA
Samantha          Bradford                Sacramento                CA
Angela            Bradley                 San Jose                  CA
Garrett           Bradley                 Long Beach                CA
Stevie            Bradley                 Ceres                     CA
Thomas            Brager                  Vacaville                 CA
Ja’sawn           Bragg                   Lancaster                 CA
William           Brajnikoff              San Francisco             CA
Rebekah           Branch                  Salinas                   CA
Yaquii            Branch                  Lynwood                   CA
Jonathan          Brannon                 Los Angeles               CA
Corey             Brantley                Irvine                    CA
Tamekia           Brantley                Antioch                   CA
Jodi              Braund                  Antelope                  CA
Georgina          Bravo                   Concord                   CA
Jaylen            Brent                   Whittier                  CA
Destiny           Brewer                  San Jacinto               CA
Brian             Brewster                Alta Lomax                CA
Naja              Bridgeforth             Pittsburg                 CA
Greg              Bridgewater             Elk Grove                 CA
Tawana            Bridgewater             Elk Grove                 CA
Victor            Briffa                  Tracy                     CA
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Justin            Briggs                  West Sacramento          CA
Anthony           Bright                  North Hollywood          CA
Detrick           Bright                  Pasadena                 CA
Monique           Brim                    Oakland                  CA
Tanisha           Brinkley                Los Angeles              CA
Rosa A            Briones                 Bakersfield              CA
Miyako            Brisker                 Stockton                 CA
Gerardo           Brito                   Anaheim                  CA
Ricardo           Brito-gonzalez          Van Nuys                 CA
Travis            Britton                 Modesto                  CA
Gayla             Brookins                Stockton                 CA
Latasha           Brooks                  Berkeley                 CA
Olivia            Brooks                  La Mesa                  CA
Paradice          Brooks                  Tracy                    CA
Sheria            Brooks                  Fairfield                CA
Tess              Browder                 San Pablo                CA
Henry             Brown Iii               Barstow                  CA
Barbara           Brown                   Los Angeles              CA
Britany           Brown                   Stockton                 CA
Bryson            Brown                   Encino                   CA
Charlotte         Brown                   Pomona                   CA
Cherele           Brown                   Sacramento               CA
Colleen           Brown                   Vallejo                  CA
Dominique         Brown                   Sacramento               CA
Donnasia          Brown                   Hawthorne                CA
Earl              Brown                   Vallejo                  CA
Elijah            Brown                   San Bernardino           CA
Harold            Brown                   Los Angeles              CA
Heather           Brown                   Fresno                   CA
Jarrett           Brown                   Sacramento               CA
Kenon             Brown                   Victorville              CA
Kimberly          Brown                   Suisun City              CA
Kristina          Brown                   Chico                    CA
Latoya            Brown                   Sacramento               CA
Lauren            Brown                   Moreno Valley            CA
Lora              Brown                   Vacaville                CA
Marcelles         Brown                   Oakland                  CA
Margaret          Brown                   San Diego                CA
Martez            Brown                   Costa Mesa               CA
Michael           Brown                   Orangevale               CA
Monique           Brown                   Inglewood                CA
Natalie           Brown                   Oakland                  CA
Niesha            Brown                   San Bernardino           CA
Robyn             Brown                   El Cajon                 CA
Rodney            Brown                   Redding                  CA
Sabrina           Brown                   Ontario                  CA
Steven            Brown                   Stockton                 CA
Tonisha           Brown                   Walnut Creek             CA
Aziza             Brumfield               Castro Valley            CA
Katie             Brunius                 Folsom                   CA
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Carlton           Brunner                 Inglewood                 CA
Duncan            Brunst                  Pacifica                  CA
Julia             Bryan                   Campbell                  CA
Teran             Bryan-howell            Redding                   CA
Jannet            Bryant                  Riverside                 CA
Kevin             Bryant                  Barstow                   CA
Kimbrielle        Bryant                  Vallejo                   CA
Laquisha          Bryant                  Hayward                   CA
Linda             Bryant                  Sacramento                CA
Odeirre           Bryant                  Los Angeles               CA
Shante            Bryant                  Murrieta                  CA
Gilberto          Buenrostro              Oakland                   CA
Ebone             Buggs                   Antioch                   CA
Michael           Bui                     Torrance                  CA
Vu                Bui                     Ontario                   CA
Elmer             Bungay                  San Jose                  CA
Gurgen            Buniatyan               Van Nuys                  CA
Marissa           Burgess                 Sacramento                CA
Allison           Burke                   Signal Hill               CA
Lauren            Burke                   Temecula                  CA
Anthony           Burks                   Oakland                   CA
Anitra            Burmen                  Vallejo                   CA
Bernadette        Burnias                 Ceres                     CA
Candice           Burns                   Pomona                    CA
Matthew           Burns                   Citrus Heights            CA
Terria            Bursey                  Los Angeles               CA
Coddie            Burton                  Los Angeles               CA
Jalisa            Burton                  Lancaster                 CA
Annie             Bushnell                Loomis                    CA
Steven            Bustamante              Anaheim                   CA
Aretta            Butler                  Los Angeles               CA
Marlow            Butler                  Stockton                  CA
Davion Byrd       Byrd                    Sacramento                CA
Robert            Byrd                    Elk Grove                 CA
Shawna            Byrd                    San Pablo                 CA
Christian         Cabanayan               Milpitas                  CA
Azeenith          Cabanero                Patterson                 CA
Jewel             Cabigas                 Pasadena                  CA
Bre               Cabin                   Torrance                  CA
Saul              Cabral                  Riverside                 CA
Tomas             Cabral                  San Jose                  CA
Abigali           Cabrera                 Sacramento                CA
Jorge             Caceres                 Loma Linda                CA
Chloe             Caldasso-smith          Bakersfield               CA
Jose              Caldera                 Salinas                   CA
Anthony           Calderon                los Angeles               CA
Earle             Calderon                Costa Mesa                CA
Michael           Calderon                North hollywood           CA
Jasmine           Caldwell                San Francisco             CA
Mia               Caldwell                Stockton                  CA
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Ricky              Caldwell             Riverside                 CA
Rocio              Calenda              San Diego                 CA
Kenneth            Calicdan             Corning                   CA
Tyler              Callahan             Vista                     CA
Karina             Callahand            Elk Grove                 CA
Cardell            Calloway             Lancaster                 CA
Jennifer           Calton               Elk Grove                 CA
John               Calucin              Union City                CA
Danica             Camagong             Ventura                   CA
Samantha           Camaioni             Santa Clarita             CA
Don                Camanag              Lakewood                  CA
Gabriel            Cambron              Campbell                  CA
Regina             Cameron              Napa                      CA
Ashley             Camillucci           Pleasanton                CA
Keyli              Campbell             Pinole                    CA
Kiemara            Campbell             Victorville               CA
Carol              Campo                Glendora                  CA
Athiane            Campos               Los Angeles               CA
Carolina           Campos               Oakland                   CA
Melina             Campos               Turlock                   CA
Arthur             Canales              Hacienda Heights          CA
Casey              Canales              South San Francisco       CA
Laura              Canas                San Rafael                CA
Oliver             Canbazoglu           Moraga                    CA
Jc                 Cannegieter          San Diego                 CA
Kierra             Cannon               Pomona                    CA
Sean               Cannon               Rowland Heights           CA
Carlos             Canton               Stockton                  CA
Frank              Cantoran             Santa Ana                 CA
Amanda             Cantrell             Los Angeles               CA
Kristy             Cantrell             Redding                   CA
Mark               Capaccio             San Francisco             CA
Chris              Capron               Citrus Heights            CA
Lashay             Caradine             Santa Clarita             CA
Greg               Caramella            Concord                   CA
John               Carandang            Hayward                   CA
Patrick            Cardea               Los Angeles               CA
Ryan               Cardenas             Castro Valley             CA
Christopher        Cardinelli           Martinez                  CA
Aaron              Cardoza              North Highlands           CA
Veronica           Cargill              Bakersfield               CA
Joseph             Carini               Long Beach                CA
Jessica            Carmona              Vacaville                 CA
Michelle           Carolan              Suisun                    CA
Jimmie             Carpenter            Palmdale                  CA
Ron                Carpenter            Antioch                   CA
Ryan               Carpenter            El Dorado Hills           CA
Samantha           Carpintero           Lake Forest               CA
Victoria           Carpio               San Jose                  CA
Cameron            Carr                 Sun valley                CA
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Carradine         Carr                 Chino Hills              CA
Jerry             Carr                 Tulare                   CA
La Quesha         Carr                 Vallejo                  CA
Roxanne           Carr                 Moreno Valley            CA
Vondetrick        Carr                 Los Angeles              CA
Cynthia           Carranza             Salinas                  CA
Jonathan          Carrasco             Milpitas                 CA
Matthew           Carrell              Moreno Valley            CA
Ryan              Carrethers           Pomona                   CA
Brandon           Carrier              Vallejo                  CA
Michael           Carrieri             Lawndale                 CA
Sandra            Carrieri             Lawndale                 CA
Lisa              Carrillo             Sacramento               CA
Jasmine           Carrion              Sacramento               CA
Nancy             Carrion              San Francisco            CA
Timothy           Carrizales           Bakersfield              CA
Steven            Carroll              Oakland                  CA
Rene              Carson               concord                  CA
Brandon           Carter               Stockton                 CA
Craig             Carter               Gardena                  CA
Nathanael         Carter               Ontario                  CA
Paul              Carter               Folsom                   CA
Ronnie            Carter               Sacramento               CA
Shawnice          Carter               Los Angeles              CA
Anthony           Carver               El Segundo               CA
Isabel            Casales              Discovery Bay            CA
Janell            Cascia               Stabton                  CA
Judy              Case                 Anaheim                  CA
Marshal           Case                 Chatsworth               CA
Kyle              Casey                Carlsbad                 CA
Andrew            Cash                 Lakeside                 CA
Arielle           Casillas             Long Beach               CA
Adriana           Cassell              San Jose                 CA
Emily             Castanon             Rancho Cucamonga         CA
Alexis            Castellanos          Hayward                  CA
Juancarlo         Castellanos          Richmond                 CA
Pete              Castellanos          El Monte                 CA
Terrence          Castille             Hemet                    CA
Carlos            Castillo             Moreno Valley            CA
Caroline          Castillo             Porter Ranch             CA
Leon              Castillo             San Bernardino           CA
Samuel            Castillo             Turlock                  CA
Monte             Caston               Santa Clara              CA
Daniel            Castro               Santa Maria              CA
Elyse             Castro               Gilroy                   CA
Evelyn            Castro               Farmersville             CA
Fernando          Castro               Chula Vista              CA
Jorge             Castro               Pittsburg                CA
Linda             Castro               Elkgrove                 CA
Maritza           Castro               Huntington Park          CA
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Monice            Castro                 Lomita                   CA
Lalita            Castro-kinh            N.hollywood              CA
Kellie            Catena                 Huntington Beach         CA
April             CAUDILLO               Rancho Cucamonga         CA
Angela            Caviness               North Highlands          CA
Jean              Cayabyab               Sacramento               CA
Reagan            Ceccarelli             Fresno                   CA
Miajoy            Cedeno                 Fairfield                CA
Jason             Celestial              Roseville                CA
Tamika            Centers                Oakland                  CA
Adrian            Cerda                  San Jose                 CA
Lucas             Cespedes               Manhattan Beach          CA
Luis              Chablé                 Palmdale                 CA
Kimberly          Chadwick               Lower Lake               CA
Brenda            Chairez                Fontana                  CA
Ebonee            Chambers               Vallejo                  CA
Kalia             Chambers               San Dimas                CA
Pesach            Chananiah              Los Angeles              CA
Zachariah         Chance                 Modesto                  CA
Gary              Chandler               Sacramento               CA
Jasmine           Chandra                Elk grove                CA
Ronald            Chandra                Modesto                  CA
Lynn              Chaney                 Pittsburg                CA
Darwin            Chang                  Torrance                 CA
Sheng-yang        Chang                  San Diego                CA
Allen             Channel                Fullerton                CA
Susie             Chanpheng              Redding                  CA
Serena            Chapman                Chino Hills              CA
Elizabeth         Chapman-arata          San Jose                 CA
Crystal           Chappel                Hayward                  CA
Drake             Chaput                 Yorba Linda              CA
Danielle          Charette               Baldwin Park             CA
Kaajal            Charitra               Fairfield                CA
Naomi             Charles                Santa Monica             CA
Jalen             Charleson              San Jose                 CA
Sergio            Chavez                 Merced                   CA
Tammi             Chavez                 Gardena                  CA
Andy              Chea                   San Diego                CA
Alisha            Cheeseboro             Lake Balboa              CA
Jin Guang         Chen                   Fremont                  CA
Sheila            Chenault               Burlingame               CA
Alexander         Cherenkov              Sacramento               CA
Judith            Chesser                El Dorado Hills          CA
Alvin             Chetty                 Sacramento               CA
Aaron             Cheung                 San Francisco            CA
Moeun             Chheang                Long Beach               CA
Jason             Chiang                 Temecula                 CA
Arinze            Chidom                 Riverside                CA
Rajay             Childs                 Manteca                  CA
Sheila            Childs                 San Diego                CA
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Sriteja            Chillarige             San Jose                  CA
Chikezie           Chima                  Huntington Beach          CA
Alexander          Chirishyan             Burbank                   CA
Jermaine           Chism                  APPLE VALLEY              CA
Krystal            Chitty                 Citrus heights            CA
Raymond            Cho                    Northridge                CA
John               Choe                   Los Angeles               CA
Lachia             Christian              Sacramento                CA
Samuel             Christian              Los Angeles               CA
Samantha           Christiansen           San Jose                  CA
Saiman             Chu                    temple city               CA
Aminmorn           Chuengmankong          van nuys                  CA
Ikem               Chukwudifu             South Pasadena            CA
Cameron            Chumbley               Los Angeles               CA
Richard            Chung                  Walnut                    CA
Linda              Cisco                  San Francisco             CA
Arturo             Cisneros               Palmdale                  CA
Ricardo            Cisneros               Chula Vista               CA
Bacongo            Cisse                  Oakland                   CA
Trisha             Claborn                Santa Maria               CA
Kimberly           Clark Burrell          Oakland                   CA
Conrad             Clark                  Orange                    CA
Joshua             Clark                  Campbell                  CA
Michael            Clark                  Rancho Santa Margarita    CA
Taneika            Clark                  Hawthorne                 CA
Tera               Clark                  Hayward                   CA
Virginia           Clark                  Stockton                  CA
Lester             Claros                 merced                    CA
Gian               Claudio                Carson                    CA
Rick               Clayton                Brentwood                 CA
Jessica            Clements               Victorville               CA
Karen              Clements               Sacramento                CA
Jovita             Clemons                Bakersfield               CA
Jeanrobert         Clervoix               San Francisco             CA
Christopher        Cleveland              San Francisco             CA
Elliot             Cleveland              Long Beach                CA
Jennifer           Clifton                Turlock                   CA
Mikaela            Cobb                   Davis                     CA
Christopher        Codilla                Tracy                     CA
Marcie             Coe                    Morgan Hill               CA
Danny              Coello                 Los Angeles               CA
Martin             Cohen                  Camarillo                 CA
Tanae              Colbert                Vallejo                   CA
Breanna            Coleman                Dixon                     CA
Destiny            Coleman                Long Beach                CA
Kristine           Coleman                Apple valley              CA
Lakesha            Coleman                Torrance                  CA
Zachary            Coleman                Placentia                 CA
Ashley             Colglazier             San Luis Obispo           CA
Angelo             Collier                Lancaster                 CA
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Amber              Collins               Simi Valley              CA
Simon              Collins               Sacramento               CA
Steve              Collins               Los Angeles              CA
Tanya              Collins               Santa Clara              CA
Tina               Collins               Oakley                   CA
Celia              Colon                 San Francisco            CA
Sandra             Combee                Vallejo                  CA
Christopher        Comly                 Turlock                  CA
Marvin             Conant                Hawthorne                CA
Alexis             Concannon             Rancho Cucamonga         CA
Clifford           Condello              El Cajon                 CA
Karriann           Conley                Stockton                 CA
Taylor             Conley                Los Angeles              CA
Ryan               Conn                  Tracy                    CA
Kodiak             Conrad                Menlo Park               CA
Miles              Conrad                Menlo Park               CA
Krishna            Constancio            Meridian                 CA
Alejandro          Contreras             Riverside                CA
Eddie              Contreras             North Hollywood          CA
Jennifer           Contreras             San Jose                 CA
Jorge              Contreras             San Jose                 CA
Rolando            Contreras             Hayward                  CA
Sharon             Contreras             Los Angeles              CA
Alex               Converse Sr           Oakland                  CA
Chase              Converse              Pleasanton               CA
Demesha            Conway                North Hollywood          CA
Jonathan           Conway                San Diego                CA
Malik              Conway                Los Angeles              CA
Taylor             Conyers               San Jose                 CA
Nicolas            Cook Leon             Oceanside                CA
Jacquez            Cook                  Modesto                  CA
Sandy              Cook                  San Diego                CA
Fernando           Cook-morales          Vista                    CA
Jon                Cooley                Chula Vista              CA
Apple              Cooper                San Diego                CA
Kelli              Cooper                Sacramento               CA
Michael            Cooper                North Highlands          CA
Tracy              Cooper                Citrus Heights           CA
Martin             Coppa Sr.             Pittsburg                CA
Anjelica           Corbett               Highland                 CA
Ronisha            Corbin                Moreno Valley            CA
Cassidy            Corboline             Folsom                   CA
Chris              Cordingley            Merced                   CA
Dana               Cordova               Santa Rosa               CA
John               Cordova               Covina                   CA
Lorena             Cordova               Belmont                  CA
Vanessa            Cordova               Milpitas                 CA
Cheryl             Corll                 Lodi                     CA
Mayra              Corona                Los Angeles              CA
Tina               Corona                Merced                   CA
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Sally             Coronado               Bell Gardens              CA
Daniel            Corpuz                 San Luis Obispo           CA
Nicolas           Corral                 Altadena                  CA
Edmundo           Correa                 Los Angeles               CA
Tessa             Correa                 Novato                    CA
Keith             Corsi                  Citrus Heights            CA
Mayra             Cortes                 Oceanside                 CA
Ramiro            Cortez Roman           Northridge                CA
Ellie             Cortez                 Concord                   CA
Feisal            Cortez                 Anaheim                   CA
Michael           Cortez                 Lancaster                 CA
Bianca            Cortinas               Adelanto                  CA
Sheliya           Cosby                  Antioch                   CA
Stephanie         Cosio                  Palmdale                  CA
Mark              Costello               Riverbank                 CA
Shari             Coston                 Antioch                   CA
Andrea            Cota                   Canyon Country            CA
Raymond           Cota                   Los Angeles               CA
Larry             Cotton jr              San Francisco             CA
Angela            Cotton                 Victorville               CA
Sandra            Courtney-sims          Pittsburg                 CA
Lashae            Cousin                 Manteca                   CA
Dorothy           Cousins                Las Vegas                 NV
Emma              Couvillion             Vacaville                 CA
Mario             Cox                    Richmond                  CA
Tasha             Cox                    Bakersfield               CA
Alexis            Cozzi                  Merced                    CA
DiiyMilea         Crafton                Los Angeles               CA
Iboete            Craig                  Los Angeles               CA
Lisa              Crain                  Long Beach                CA
Felicia           Crapia                 Moreno Valley             CA
Owen              Craver                 Redwood City              CA
Cabonia           Crawford               Moreno Valley             CA
Lekeitra          Crawford               Riverside                 CA
Jawara            Crichton               Pittsburg                 CA
Angela            Criswell               Fremont                   CA
Danielle          Crocker                Antelope                  CA
Chelsea           Croil                  Temecula                  CA
James             Cropper                Hemet                     CA
Ericka            Crosby                 San Bernardino            CA
Vanessa           Croteau                San Jose                  CA
Jasmine           Crouch                 Carlsbad                  CA
Desamona          Crowder                Fresno                    CA
Grayce            Crowder                Menifee                   CA
Brynn             Crowley                Martinez                  CA
Jason             Crowley                Los Angeles               CA
Wesley            Crum                   Burbank                   CA
Mercedes          Crumby                 Fairfield                 CA
Ana               Cruz                   Fresno                    CA
Dixie             Cruz                   Lancaster                 CA
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Jorge             Cruz                Sacramento               CA
Maria             Cruz                San Mateo                CA
Jennifer          Csiszar             Long Beach               CA
Manuel            Cuenca              San Mateo                CA
Melanie           Cui                 Victorville              CA
Shayne            Cui                 Los Angeles              CA
Ashlee            Cummings            Sacramento               CA
Aaron             Cumpton             Fresno                   CA
Maria             Cunanan             Hanford                  CA
Kareem            Cunningham          Vallejo                  CA
Terra             Cupp                Yuciapa                  CA
Brandon           Cuppoletti          Rohnert Park             CA
Tinisha           Curley              Los Angeles              CA
Dejana            Curry               Berkeley                 CA
William           Curry               Clovis                   CA
Latanya           Curtis              East Palo alto           CA
Stephanie         Curtis              Los Angeles              CA
Jamie             Czelusniak          Oakley                   CA
Joshua            Czupowski           Willits                  CA
Karen             Dadalt              Escalon                  CA
Diljot            Daisy               Rodeo                    CA
Alexander         Dale                San Rafael               CA
Caitlin           Dalton              Pittsburg                CA
Joia              Danai               Pacoima                  CA
Victor            Dandrade            Rancho Cordova           CA
Joseph            Dangler             Bakersfield              CA
Ebony             Daniels             Oakland                  CA
Emmitt            Daniels             Delano                   CA
Erika             Daniels             La                       CA
Kyesha            Daniels             San Jose                 CA
Michalay          Daniels             Los Angeles              CA
Lori              Danielson           Fresno                   CA
Daniel            Davidson            San Mateo                CA
Felipe            Rosas               Bakersfield              CA
Carolyn           Davio               Orange                   CA
Johnathan         Davis II            Los Angeles              CA
Jason             Davis Jr            Pittsburg                CA
Adam              Davis               Tarzana                  CA
Brielle           Davis               Culver City              CA
Cameron           Davis               Sacramento               CA
Chardaney         Davis               Sacramento               CA
Charrice          Davis               Los Angeles              CA
Christine         Davis               Rancho Cordova           CA
Christine         Davis               Tustin                   CA
Dana              Davis               Lake Elsinore            CA
Darren            Davis               Sacramento               CA
Dasia             Davis               Sacramento               CA
Donyea            Davis               San Diego                CA
Gabriella         Davis               Citrus Heights           CA
Jesse             Davis               Sacramento               CA
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Jonathan           Davis                   Hayward                   CA
Karri              Davis                   San Bernardino            CA
Lakiesha           Davis                   Fresno                    CA
Nathaniel          Davis                   Fontana                   CA
Ronnie             Davis                   Victorville               CA
Ryan               Davis                   Camarillo                 CA
Shaunda            Davis                   North Highlands           CA
Valerie            Davis                   Petaluma                  CA
Victoria           Davis                   Fairfield                 CA
Tadeh              Davtian                 Glendale                  CA
Guadalupe          De Alba                 Rialto                    CA
Cilia              De Araújo               Pacífica                  CA
Melissa            De Castro               Modesto                   CA
Robert L           De France Jr            Los Angeles               CA
Manuel             De Gonzalo              desert hot springs        CA
Lavved Daryll      De Guzman               Rowland Heights           CA
Robert             De La Cruz              San Diego                 CA
Marco              De La Luz               Palm Desert               CA
Marlon             De La Torre             West Covina               CA
Maybeth            De La Torre             La Habra                  CA
Freddie            De Leon                 Los Angeles               CA
Richard            De los reyes            san diego                 CA
Christina          De Paz                  Vacaville                 CA
Gregory            Dean                    Vallejo                   CA
Matthew            Dean                    Galt                      CA
Tangie             Deberry                 San Siego                 CA
Farid              Debit                   El Cerrito                CA
Nicholas           Debrito                 Soquel                    CA
Greta              Dedmon                  San Rafael                CA
Sharon             Deese                   Hawthorne                 CA
Joseph             Degirolamo              Oceanside                 CA
Ivan               Dejesus Je              Santa Clara               CA
Karen              Dekruif                 Ukiah                     CA
James carter       Del rosario             Modesto                   CA
Cynthia            Dela Cruz               Pittsburg                 CA
Rhyan              Dela Cruz               Milpitas                  CA
Michael            Delaney                 Sacramento                CA
Peter              Delatorre               Desert Hot Springs        CA
My                 Delbridge               Perris                    CA
Jennifer           Deleon                  Riverside                 CA
Nicholas           Deleon                  San Bernardino            CA
Mario              Delgado Jr              Palmdale                  CA
Christopher        Delgado                 Stockton                  CA
Pam                Delgado                 San Carlos                CA
Pedro              Delgado                 San Jose                  CA
Edeliza            Delos Santos            Oakley                    CA
Eric               Delrio                  San Jose                  CA
Kristine           Delrosario              Daly City                 CA
Elizabeth          Delucia Rogers          Thousand Oaks             CA
Benjamin           DeMers                  Concord                   CA
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Manuel            Dempsey                 North Highlands          CA
Livingston        Denegre-vaught          Anaheim                  CA
Jiahao            Deng                    San Leandro              CA
Kymberli          Dennett                 Napa                     CA
Jacqueline        Denton                  San Jose                 CA
Cynthia           Derita                  American Falls           ID
Ryan              Deschaine               Foster City              CA
Daniel            Desmond                 Martinez                 CA
Jayanth           Dev                     Cupertino                CA
Anthony James     Deview                  Beaumont                 CA
Cameron           Devore                  San Clemente             CA
Christine         DeVore                  Antioch                  CA
Lisa              Dewitt                  Los Angeles              CA
Ara               Deylan                  Morgan Hill              CA
Aris              Deylan                  Morgan Hill              CA
Gurjot Singh      Dhaliwal                Los Gatos                CA
Angi              Diamond                 Indio                    CA
Alvera            Dias                    Newsrk                   CA
Alejandro         Diaz                    Yuba City                CA
Alfredo           Diaz                    Alhambra                 CA
Alyssa            Diaz                    Gilroy                   CA
Eliana            Diaz                    Lancaster                CA
Joanne            Diaz                    Santa Barbara            CA
Luis              Diaz                    East palo alto           CA
Olivia            Diaz                    Fullerton                CA
Cassidy           Dick                    Sacramento               CA
Dylan             Dickerson               Yuba City                CA
James             Dickerson               Santa Ana                CA
Breanna           Dickinson               Gilroy                   CA
Brittany          Dickinson               Thousand Oaks            CA
Christopher       Diego                   Bakersfield              CA
Katie             Dieterly                Moreno Valley            CA
Jabulani          Dill                    Vallejo                  CA
Darbi             Dillon                  Vacaville                CA
Taylor            Dillon                  Morongo Valley           CA
Cherika           Dilworth                Lancaster                CA
Devontay          Dimery                  Pittsburg                CA
Irvin             Dina                    Fremont                  CA
Son               Dinh                    San Jose                 CA
Haley             Dipalma                 Rocklin                  CA
Kascima           Dirienzo                Long Beach               CA
William           Diskin                  Chico                    CA
Alex              Distefano               Redondo Beach            CA
Nicole            Dixon                   Modesto                  CA
Timothy           Dixon                   Sacramento               CA
Sam               Dluzak                  Riverside                CA
Jason             Doan                    Westminster              CA
Lesley            Doan                    Adelanto                 CA
Derek             Dodge                   North Hollywood          CA
Jennifer          Dokey                   Palm Desert              CA
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Michelle           Dominguez                 Stockton                 CA
Veronica           Dominguez                 Chino                    CA
William            Donaldson                 Sacramento               CA
Constantino        Dondiego                  Oxnard                   CA
Giao               Dong                      Anaheim                  CA
John               Doran                     Orinda                   CA
James              Dorantes                  Victorville              CA
Don                Doria                     Carson                   CA
Julie              Dormire                   Santa Rosa               CA
Shawn              Dormishian                Mountain View            CA
Yvonne             Dorsey                    Van Nuys                 CA
Aubrey             Douglas                   Sacramento               CA
Chris              Douglas                   Auburn                   CA
Kenneth            Douglas                   South Pasadena           CA
Taejane            Downs                     El Sobrante              CA
Paul               Doxie                     San Jose                 CA
Shaylynn           Doxie                     Sacramento               CA
Jodi               Draeger                   San Diego                CA
Tammy              Draper                    Yuccavalley              CA
Natasha            Drew                      Sacramento               CA
Yuriy              Drobenyuk                 Sacramento               CA
Johnathan          Duarte                    Moreno Valley            CA
Ryan               Ducusin                   Vallejo                  CA
Dominic            Dufour                    Venice                   CA
Brandon            Duncan                    Stockton                 CA
Mason              Duncan                    Murrieta                 CA
Kelly              Dunn                      Bakersfield              CA
Michael            Dunn                      Corona                   CA
Katarine           Dunning                   San Bernardino           CA
Nghia Nhan         Duong                     Newport Beach            CA
Demetrius          Dupree                    Hayward                  CA
Megan              Duran                     Fresno                   CA
Stephanie          Duran                     San Jose                 CA
Hunter             Durand                    San Francisco            CA
Ryan               Durell                    San Diego                CA
Shay               Durisseau                 Richmond                 CA
Kyle               Durnford                  Fair Oaks                CA
Stephann           Durr                      Oceanside                CA
Shobni             Dutt                      Fremont                  CA
Lauren             Each                      Anaheim                  CA
Shanall            Eaddy                     Sacramento               CA
Jajuan             Earl                      Elk Grove                CA
Christopher        Earl-rockefeller          Hayward                  CA
Lesly              Earnest                   Modesto                  CA
Janice             Eason                     Sacramento               CA
Shantelle          Easter                    Compton                  CA
Ryan               Eaton                     Hollister                CA
Destiny            Echols                    Ventura                  CA
Alex               Eck                       Los Angeles              CA
Cassandra          Edilloran                 San Diego                CA
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Sherry            Edlund              Bellflower                CA
Violet            Edmunds             Bay Point                 CA
Brandan           Edwards             San Jose                  CA
Cedric            Edwards             Santa Clara               CA
Matthew           Edwards             Lancaster                 CA
Taja              Edwards             Los Angeles               CA
Vanessa           Edwards             El Cajon                  CA
Igor              Efimov              Los Angeles               CA
Tatiana           Efimova             Sunnyvale                 CA
Ethan             Eich                San Francisco             CA
David             Eisenbart           Anaheim                   CA
Robin             Eisman              San Juan Capistrano       CA
Akram             Eissa               San Bernardino            CA
La’rhonda         Elam                Chatsworth                CA
Misty             Elder               Orangevale                CA
Bianca            Eleazar             Martinez                  CA
Emmanuel          Elendu              Stockton                  CA
Raafat            Elhenawy            Orange                    CA
Demetrius         Elkins              Los Angeles               CA
Destiny           Ellingberg          Sacramento                CA
Lakita            Elliott             Long Beach                CA
Christian         Ellis               Fontana                   CA
Derrick           Ellis               Palm Desert               CA
Jacob             Ellis               Oceanside                 CA
Kimberly          Ellis               Azusa                     CA
Ahmed             Elmehey             Claremont                 CA
Ahmed             Elsharkawy          Anaheim                   CA
Heather           Elvin               San Diego                 CA
Paul              Elzie               Los Angelesis             CA
Jerell            Encalade            Marina                    CA
Casaundra         Endres              Sacramento                CA
Michelle          Engebretson         Yucca Valley              CA
Samantha          England             Lebec                     CA
Victoria          England             Roseville                 CA
Randy             Englekirk           Encinitas                 CA
Veronica          Erazo               Carmichael                CA
David             Erickson            El Cajon                  CA
Lawrence          Erispe              Cupertino                 CA
Angelica          Escamilla           Tracy                     CA
Amanda            Escobar             Buttonwillow              CA
Giovanni          Escobar             Reseda                    CA
Lorena            Escobar             Palmdale                  CA
Nancy             Escobar             Panorama City             CA
Robert            Escobar             Covina                    CA
Jessica           Escobedo            Tracy                     CA
Bianca            Escorcio            Hayward                   CA
Masoomeh          Eshraghinomandan    Laguna Hills              CA
Beshoy            Eskarous            Pleasanton                CA
Micaela           Esparza             Garden Grove              CA
Ralph             Esparza             Fresno                    CA
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Erika              Espericueta          San Jose                 CA
Julio              Espino               Glendale                 CA
Alina              Espinosa             Riverside                CA
Frank              Espinoza             Moreno Valley            CA
Josephina          Espinoza             Ontario                  CA
Neptaly            Espinoza             Compton                  CA
Rodrigo            Espinoza             Downey                   CA
Lauren             Esquer               Dixon                    CA
Mayra              Esquivel             Sacramento               CA
Bob                Estefani             Santa Ana                CA
Javier             Estrada              Gardena                  CA
Julisa             Estrada              San Jose                 CA
Linda              Estrada              Danville                 CA
Selena             Estrada              San Bernardino           CA
Mele               Eteaki               Patterson                CA
Sasha              Ethridge             Lemon grove              CA
Brandi             Eubank               Moreno Valley            CA
Michael            Eubank               Los Angeles              CA
Irma               Eubanks              Vallejo                  CA
Hyomi              Eum                  Los Angeles              CA
Kairo              Evans                Oakland                  CA
Kimberly           Evans                Yucaipa                  CA
Michelle           Evans                Los Angeles              CA
Nicole             Evans                Citrus Heights           CA
Tim                Evans                Los Angeles              CA
Thomas             Evanssaine           Los Angeles              CA
James              Ewing                Los Angeles              CA
Sarah              Ewing                Union City               CA
Michelle           Faciones             Vista                    CA
Emily              Fahey                Napa                     CA
Kariem             Fahmy                Laguna Niguel            CA
Anthony            Fairbanks            San Jose                 CA
Vanessa            Falcao               Hawthorne                CA
Richard            Falcon               San Bernardino           CA
Coleton            Falke                Lake Forest              CA
Leticia            Falla                Bakersfield              CA
James              Farag                Rancho Cucamonga         CA
Zakiya             Fard                 Mcclellan                CA
Magdy              Farid                Manteca                  CA
Stephanie          Farin                Marin City               CA
Dustan             Farr                 San Diego                CA
Fiona              Farrell              Chico                    CA
Khamille           Farris               Palmdale                 CA
Arvin              Farzanegan           Concord                  CA
Kaveh              Fata                 Aptos                    CA
Farzad             Fazel                Tracy                    CA
Rachel             Fedden               Anaheim                  CA
Evelle             Fejeran              Temecula                 CA
Rhonda             Felix                Sacramento               CA
Edson              Fernandes            San Diego                CA
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Joseph             Fernandes                Escalon                  CA
Cameron            Fernandez                Huntington Beach         CA
Dario              Fernandez                San Francisco            CA
Dexter             Fernandez                Pittsburg                CA
Faro               Fernandez                San Bruno                CA
Gabriel            Fernandez                San Jose                 CA
Jennifer           Fernandez                Redwood City             CA
Mike               Fernandez                Victorville              CA
Taisa              Fernandez                Buena Park               CA
Maria              Ferrer                   Bakersfield              CA
Jassica            Fetuu                    Antioch                  CA
Amber              Fields                   Inglewood                CA
Donyae             Fields                   Compton                  CA
Leatricia          Fields                   Compton                  CA
Tomica             Fields                   Los Angeles              CA
Torrin             Fields                   Long Beach               CA
Christopher        Figueroa                 Fremont                  CA
Maximo             Filippini                Chula Vista              CA
Audra              Fillion-albert           Lodi                     CA
Silas              Finch                    Galt                     CA
Joseph             Fincher                  Roseville                CA
Shawna             Fink                     Winton                   CA
Tiffany            Finney                   Sacramento               CA
Jessica            Fisher                   Fresno                   CA
Wakeeia            Fitzgerald               Fresno                   CA
Brianna            Fleming                  Los Angeles              CA
Atley              Flenner                  Concord                  CA
Cheryl             Fletcher Zarich          La Mesa                  CA
Nalani             Flint                    Huntington Beach         CA
Russell            Flisk                    Rancho Cucamonga         CA
Alexis             Flores                   San Jose                 CA
Amanda             Flores                   Claremont                CA
Ben                Flores                   Visalia                  CA
Edgar              Flores                   Chatsworth               CA
Edgar              Flores                   Ontario                  CA
Gloria             Flores                   Palmdale                 CA
Jacob              Flores                   Stockton                 CA
Liuis              Flores                   Fontana                  CA
Marissa            Flores                   San Jose                 CA
Matthew            Flores                   Nutrients                CA
Paola              Flores                   Sacramento               CA
Randy              Flores                   Costa Mesa               CA
Roger              Flores                   El Monte                 CA
Sonya              Flores                   Santa Maria              CA
Stephan            Flores                   Lodi                     CA
Shea               Floresespindola          Stockton                 CA
Maximum            Flournoy                 Sacramento               CA
Ludlow             Flower Iv                Burbank                  CA
Alissa             Floyd                    Oakland                  CA
Jenise             Floyd                    Sacramento               CA
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Ruddie             Floyd                 Los Angeles              CA
Jeremy             Fodor                 San Bernardino           CA
Maia               Foelsch               Palo Alto                CA
Jaclyn             Fogle                 La Mesa                  CA
Tuesday            Foman                 Union City               CA
Adrian             Fonda                 Milpitas                 CA
Brittney           Fonseca               San Jose                 CA
Sheila             Fonseca               Sacramento               CA
Andrea             Foppiano              Patterson                CA
Connor             Forbes                Temecula                 CA
Onteiro            Ford                  Los Angeles              CA
Steven             Ford                  Torrance                 CA
Star               Foreman               Long Beach               CA
Tina               Forte                 Victorville              CA
Antoine            Foster                Imperial Beach           CA
Mike               Foster                Hesperia                 CA
Yousef             Fotovat               Canoga Park              CA
August             Foucault              Folsom                   CA
Amber              Fowler                Clovis                   CA
Devyn              Fowler                Los Angeles              CA
Ashley             Frame                 Sacramento               CA
Surinity           Francis               Ontario                  CA
Yvonna             Francis               Fresno                   CA
Ramon              Franco Jr             Watsonville              CA
Geddy              Franco                Pacifica                 CA
Joseph             Franco                Aromas                   CA
Chris              Franklin              Victorville              CA
Shetara            Franklin              Los Angeles              CA
Janae              Frazier               Hercules                 CA
Tierra             Frazier               Long Beach               CA
Renee              Fredericksen          Sacramento               CA
Alicia             Freeman               Pinole                   CA
Samuel             Freeman               Toluca Lake              CA
Rickelle           Freeny                Sacramento               CA
Calvin             Freer                 Chico                    CA
Rashad             French                San Jose                 CA
Alexis             Frias                 Petaluma                 CA
Kaitlyn            Frith                 Concord                  CA
Alec               Frost                 Santa Barbara            CA
Amir               Frozano               San Diego                CA
Sheryl             Fry                   Santa Cruz               CA
Robert             Frye                  San Franci               CA
Christina          Fuchs                 Los Angeles              CA
Jed                Fuchs                 North Hollywood          CA
Bernardo           Fuentes               Pacifica                 CA
Mark               Fuentes               Daly city                CA
Clarissa           Fuller                Modesto                  CA
Michael            Fuller                Agoura Hills             CA
Allyssia           Funicellio            Rancho Cordova           CA
Lashanta           Furnace               Whittier                 CA
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Tyler             Furusho              Sunnyvale                 CA
Wade              Fussner              Indio                     CA
Mariana           G Leal               San Rafael                CA
Sonia             G Mccormack          Santa Maria               CA
Walid             Gad                  Daly City                 CA
Arjun             Gadkari              San Jose                  CA
Brianna           Gaeta                Fresno                    CA
Hector            Gagliardi            El Monte                  CA
Lisa              Gailey               Sacramento                CA
Briana            Gaines               Rodeo                     CA
Michael           Gaither              Gilroy                    CA
Troy              Gala                 Aliso Viejo               CA
Jessica           Galdamez             Antioch                   CA
Kaitlin           Gale                 Temecula                  CA
Stephanie         Galicia              Carson                    CA
Eliana            Galindo              Sanger                    CA
Melody            Galizadeh            Los Angeles               CA
Hayley            Gallagher            Bakersfield               CA
Sean Michael      Gallagher            Calabasa                  CA
Richard           Gallardo             Hawthorne                 CA
Sonia             Gallegos             Hayward                   CA
Irma              Gallo                Torrance                  CA
Bryan             Galvan               San Jose                  CA
Heather           Galvan               Antelope                  CA
Munkhbold         Ganbold              Los Angeles               CA
Rena              Gant                 Fresno                    CA
Antonique         Gantt                Elk Grove                 CA
Alisa             Garber               Modesto                   CA
alexander         garcia               hayward                   CA
Alondra           Garcia               Longbeach                 CA
Amado             Garcia               Richmond                  CA
Cristina          Garcia               San Jose                  CA
Daniel            Garcia               Hayward                   CA
Efrain            Garcia               San ysidro                CA
George            Garcia               Pasadena                  CA
Issac             Garcia               Adelanto                  CA
Jimmy-eugene      Garcia               Sunnyvale                 CA
John              Garcia               San Jose                  CA
Jonathan          Garcia               Irvine                    CA
Luis              Garcia               Anaheim                   CA
Makaela           Garcia               Oxnard                    CA
Marc              Garcia               Victorville               CA
Marcus            Garcia               Gilroy                    CA
Melanie           Garcia               Auburn                    CA
Melody            Garcia               Lake Elsinore             CA
Natalia           Garcia               Redwood City              CA
Rocio             Garcia               San Jose                  CA
Samuel            Garcia               El Monte                  CA
Saul              Garcia               Los Angeles               CA
Vasti             Garcia               Fresno                    CA
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Victoria           Garcia                Merced                   CA
Yvonne             Garcia                Highland                 CA
Zeida              Garcia                Hemet                    CA
Alex               Garcia-robles         Ripon                    CA
Christopher        Gardner               Canyon Country           CA
David              Gardner               monrovia                 CA
Kimberly           Garner Jones          Sacramento               CA
Kashina            Garner                San Francisco            CA
Jennifer           Garnica               Gilroy                   CA
Erick              Garrett               Sacramento               CA
Savannah           Gary                  Los Angeles              CA
Brittney           Garza                 Bakersfield              CA
Mitchell           Gaskey                El Cajon                 CA
Nickolas           Gates                 Citrus Heights           CA
Robin              Gates                 Elverta                  CA
Nailah             Gatewood              Suisun                   CA
Ronald             Gatewood              Emeryville               CA
Ginny              Gaucher               Rancho Cordova           CA
Chiranjibi         Gautam                Winnetka                 CA
Gilbert            Gaw                   Playa Del Rey            CA
Marcus             Gay                   Milpitas                 CA
Tanya              Gaylor                Torrance                 CA
Kari               Gaylord               Lomita                   CA
Nathan             Gaytan                San Jose                 CA
Marissa            Gazcon                Modesto                  CA
Asgedom            Gebre                 West Hollywood           CA
Caleb              Gebrewold             Los Angeles              CA
Alex               George                Los Angeles              CA
Cherelle           Gerrald               Los Angeles              CA
Cole               Gerson                Newport Beach            CA
Alexander          Gettlin               Los Angeles              CA
Ghiass             Ghauss                Dublin                   CA
Shahin             Ghaziaskar            Laguna Beach             CA
Hossein            Ghazipour             San Jose                 CA
Samila             Ghomeshi              Oceanside                CA
Ashley             Gibbs                 Los Angeles              CA
Donald             Giddings              Valley Valley            CA
Julian             Gigolasanvansan       San Jose                 CA
Ryan               Giguere               Hemet                    CA
Alicia             Gilbert               Richmond                 CA
Kailani            Gilbuena              Seaside                  CA
Owen               Gilchrist             Oceanside                CA
Brenda             Giles                 Bakersfield              CA
Daniel             Gil-fernandez         San Jose                 CA
Ashlyn             Gilkey                Stockton                 CA
Kristy             Gill                  Reseda                   CA
Michelle           Gill                  Tracy                    CA
Megan              Gillette-mccarthy     Walnut Creek             CA
Gary               Gilroy                San Jose                 CA
Patricia           Gimlen                Carmichael               CA
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Lisa               Giordanelli        Benicia                   CA
Tayron             Giovani            Los Angeles               CA
Jasmin             Gipolan            Carlsbad                  CA
Miani              Giron              Los Angeles               CA
Nicholas           Gizdich            Watsonville               CA
Samantha           Gjerde             Redondo Beach             CA
Viviana            Glapa              San Marcos                CA
Charlotte          Glass              Fairfield                 CA
Jorge              Godinez            Ventura                   CA
Allan              Godoy              Sacramento                CA
Jessica            Godoy              San Diego                 CA
Bennett            Goertz             Cupertino                 CA
Martin             Goes               Reseda                    CA
Gregory            Goff               Altadena                  CA
Kevin              Golchin            Santa Clarita             CA
Andrew             Goldenberg         Rsm                       CA
Sheyla             Gomez Lessiur      Gilroy                    CA
Alma               Gomez Marquez      Suisun City               CA
Cornelio           Gomez              National City             CA
Daniel             Gomez              San Jose                  CA
Daniel             Gomez              Ojai                      CA
Deidra             Gomez              Brentwood                 CA
Federico           Gomez              Murrieta                  CA
Gilberto           Gomez              San ysidro                CA
Mercedes           Gomez              Laughlin                  NV
Nicole             Gomez              Chula Vista               CA
Raul               Gomez              South San Francisco       CA
Victor             Gomez              Hayward                   CA
Sonya              Goncharenko        Pico Rivera               CA
Shawn              Gonez              Fresno                    CA
Aaron              Gonzales           Moreno Valley             CA
Gregorio           Gonzales           Colton                    CA
Jessica            Gonzales           Modesto                   CA
Joe                Gonzales           Fresno                    CA
Robert             Gonzales           Norwalk                   CA
Andres             Gonzalez           Pasadena                  CA
Bryan              Gonzalez           Millbrae                  CA
Cesar              Gonzalez           Bell Gardens              CA
Christian          Gonzalez           Monterey Park             CA
Cynthia            Gonzalez           Fairfield                 CA
David              Gonzalez           Indio                     CA
Delanna            Gonzalez           Riverbank                 CA
Diana              Gonzalez           Palmdale                  CA
Enrique            Gonzalez           Los Angeles               CA
Francisco          Gonzalez           San Jose                  CA
Gerald             Gonzalez           Moreno Valley             CA
Hector             Gonzalez           Cathedral City            CA
Isabel             Gonzalez           San Diego                 CA
Israel             Gonzalez           Pomona                    CA
Jacob              Gonzalez           Santa Ana                 CA
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Marcelo           Gonzalez                Sacramento               CA
Mariacruz         Gonzalez                Riverside                CA
Mauro             Gonzalez                Cudahy                   CA
Megan             Gonzalez                Livermore                CA
Monserrat         Gonzalez                Carson                   CA
Paul              Gonzalez                Santa Rosa               CA
Caitlyn           Gonzalez-sainz          San Diego                CA
Nicole            Goodan                  Downey                   CA
Shahin            Goodarzi                Los Angeles              CA
casey             goodman                 Rio Linda                CA
Denise            Gordon                  Culver City              CA
Sabrina           Gordon                  Lincoln                  CA
Timothy           Gordon                  Vallejo                  CA
Daniel            Gorman                  Kelseyville              CA
Marianne          Gorsich                 San Diego                CA
Elizabeth         Gosa                    Sacramento               CA
Guy               Gottlieb                Los Angeles              CA
Conor             Goulart                 San Jose                 CA
Jordan            Govorko                 Newport Beach            CA
Seena             Gowa                    Woodland Hills           CA
Nick              Graff                   San Francisco            CA
Haylee            Graham                  Spring Valley            CA
Lyle              Graham                  Los Angeles              CA
Erik              Granados                Fairfield                CA
Billy             Grandy                  Los Angeles              CA
Andrew            Granillo                San Marcos               CA
Devin             Grant                   Sacramento               CA
Lanesha           Grant                   Oakland                  CA
Anthony           Gray                    West Covina              CA
Bobby             Gray                    Bakersfield              CA
Tyrone            Gray                    La                       CA
Vanessa           Gray                    Modesto                  CA
Xaudia            Gray                    Oakland                  CA
Justin            Graze                   East Palo Alto           CA
Kimberly          Greaney                 Manteca                  CA
Brandon           Greco                   Danville                 CA
Tina              Greco                   San Francisco            CA
Adam              Green                   Glendale                 CA
Dante             Green                   Lancaster                CA
James             Green                   Los Angeles              CA
Aja               Greene                  Fremont                  CA
Andre             Greene                  Corona                   CA
Danielle          Greene                  Hawthorne                CA
Layla             Greene                  Calexico                 CA
Yavaunne          Greenwood               Suisun City              CA
Melina            Gregorio                La                       CA
Amandeep          Grewal                  Oakdale                  CA
Gulal             Grewal                  San Jose                 CA
Latasha           Grider                  Alameda                  CA
Lanora            Griffin                 Turlock                  CA
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Kaneisha          Grim                   Los Angeles              CA
Jasmine           Grisby                 Suisun City              CA
William           Griswold               Pomona                   CA
Wesley            Grizzelle              Salida                   CA
Benjamin          Grove                  Santa Cruz               CA
Stephanie         Grover                 Ca                       CA
Adam              Gruber                 Redwood city             CA
Jeannie           Grummitt               Summerland               CA
Aryn              Grusin                 Oceanside                CA
Aaron             Guardado               Upland                   CA
Ellen             Gudino                 Anaheim                  CA
Shane             Guenther               Auburn                   CA
Irene             Guerra                 Oxnard                   CA
Isaac             Guerrero               Montclair                CA
Jason             Guerrero               Fontana                  CA
Kevin             Guild                  Lancaster                CA
Daniela           Guillen                West Covina              CA
Gilberto          Guillen                El Centro                CA
Rick              Guillen                Oxnard                   CA
Jake              Guinn                  Union City               CA
Rebecca           Gullett                Oakland                  CA
Dushawn           Gulley                 Pinole                   CA
David             Gulliford              El Cajon                 CA
Andrew            Gulmatico              Corona                   CA
Shameeka          Gultry                 Inglewood                CA
YiQuan            Guo                    San Francisco            CA
Rajesh            Gupta                  Brentwood                CA
Kumar             Gurung                 Sonoma                   CA
Anais             Gutierrez              San Marcos               CA
Antonio           Gutierrez              Santa Rosa               CA
Christian         Gutierrez              La Habra                 CA
Elijah            Gutierrez              Yuba city                CA
Jorge             Gutierrez              San Jose                 CA
Jose              Gutierrez              Hawiian Gardens          CA
Mateo             Gutierrez              Antioch                  CA
Omar              Gutierrez              Chino Hills              CA
Ricky             Gutierrez              La Palma                 CA
Rosario A         Gutiérrez              Amaheim                  CA
Jesse             Gutterman              Tarzana                  CA
Martha            Guttierrez             Fresno                   CA
Emiliano          Guzman                 San Jose                 CA
Mark              Guzman                 Fresno                   CA
Rigoberto         Guzman                 Downey                   CA
Stephanie         Guzman-ferran          Hemet                    CA
Austin            Ha                     Rowland heights          CA
Dat               Ha                     Sunnyvale                CA
Jashawnah         Ha                     Hesperia                 CA
Thuhan            Ha                     Stockton                 CA
Alexus            Hadnot                 Rialto                   CA
Irlanda           Hadnot                 Milpitas                 CA
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Charles           Hafron                  Poway                    CA
Kim               Hagel                   Petaluma                 CA
Laura             Haggins                 Menlo Park               CA
Dylan             Haight                  Concord                  CA
Robin             Haley                   Richmond                 CA
Dyllan            Hall                    Lakewood                 CA
Laura             Hall                    Lake Forest              CA
Martin            Hall                    Woodland Hills           CA
Ryan              Hall                    Riverside                CA
Rossana           Hallum-johnson          Hayward                  CA
Andrew            Ham                     Carlsbad                 CA
Katelynn          Hambley                 Lake Elsinore            CA
Jennifer          Hamen                   Oceanside                CA
Ahmad Samim       Hamid                   Bakersfield              CA
dominic           Hamilton                compton                  CA
Latarsha          Hamilton                La                       CA
Tiffanh           Hamilton                Vacaville                CA
Trevor            Hamilton                Fair Oaks                CA
Matthew           Hammar                  Riverside                CA
Latoya            Hammonds                Hemet                    CA
David             Hammonjr                Pittsburgh               CA
Jeremy            Hamon                   Citrus Heights           CA
Joshua            Hampton                 Stockton                 CA
Catherine         Haney                   Hesperia                 CA
Desseri           Hansen                  Apple Valley             CA
Michelle          Hansen                  Mountain View            CA
Marie             Harbaugh                Chatsworth               CA
Bryce             Harder                  Sacramento               CA
Donell            Hardin                  Richmond                 CA
Damont            Hardnett                San Jose                 CA
Eric              Hardy                   San Mateo                CA
Christian         Hargrove                Rancho Cordova           CA
Dominick          Hargrove                Fairfield                CA
Alajah            Harper                  Victorville              CA
Alexis            Harper                  Riverside                CA
Brigette          Harper                  Santa Monica             CA
Kayle             Harper                  Simi Valley              CA
Laquiche          Harrell                 Fairfield                CA
Anthony           Harrer                  Livermore                CA
Alexis            Harris                  Antioch                  CA
Antione           Harris                  Hayward                  CA
April             Harris                  Los Angeles              CA
Jade              Harris                  Elk Grove                CA
Jordan            Harris                  West Sacramento          CA
Kimberly          Harris                  Vallejo                  CA
Logan             Harris                  Sacramento               CA
Melita            Harris                  Buena Park               CA
Patricia          Harris                  Long Beach               CA
Sandra            Harris                  Sacramento               CA
Sharlese          Harris                  Vallejo                  CA
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Shauna              Harris              Hawthorne                CA
Therea              Harris              Pasadena                 CA
Lisa                Harrison            San Dimas                CA
Robert              Harrison            Ventura                  CA
Elisha              Harry               Long Beach               CA
Mike                Harsini             Torrance                 CA
Gayle               Hart                San Francisco            CA
Kelly               Hart                San Diego                CA
Brian               Harvey              Irvine                   CA
Christa             Harvey              Roseville                CA
Sara                Harvey              Citrus Heights           CA
Matthew             Hasemeier           Valley Village           CA
Mohammed            Hassan              Los Angeles              CA
Hannah              Hatch               Morenovalley             CA
Deborah             Hatler              Sacramento               CA
Alex                Hatten              Stockton                 CA
Kayla               Haverkorn           Upland                   CA
Lisa                Hawker              Vallejo                  CA
Andrew              Hayden              La Crescenta             CA
Suzanne             Hayes               Fresno                   CA
Sandra              Hayhurst            Norwalk                  CA
Jeannie             Hazell              Hemet                    CA
Myles               Hecht               Oakland                  CA
Paul                Heemann             Newport Beach            CA
Zylo                Hefferan            Bakersfield              CA
Chris               Hefner              San Francisco            CA
Juanita             Heidelburg          Dublin                   CA
Michael             Heintz              Redondo Beach            CA
Gretchen            Heinz               Stockton                 CA
Randy               Helsel              Sacramento               CA
Elizabeth           Hemphill            Yuba city                CA
Anthony             Henderson           Los Angeles              CA
Heather             Henderson           Santa Clara              CA
Michelea            Henderson           Hayward                  CA
Torrell             Henderson           Richmond                 CA
Vanessa             Henderson           San Diego                CA
Noah                Hendrickson         Oceanside                CA
Chandra             Henke               Riverbank                CA
Yonel               Henri               Fresno                   CA
Deysi               Henriquez           Los Angeles              CA
Hancy F             Henry Jr            Inglewood                CA
Breeaunna           Henry               Inglewood                CA
Michael             Henry               San Jose                 CA
Sallie              Henry               San Jacinto              CA
Konnor              Heredia             Antioch                  CA
Cody                Hermanson           Newport Beach            CA
Reyna               Hernadez            San Jose                 CA
Nina                Hernandes           Hayward                  CA
Sixta Leticia       Hernandez Blas      Oceanside                CA
Jocelyn             Hernandez Gomez     San Jose                 CA
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Alisa              Hernandez              Rialto                    CA
Athena             Hernandez              Ontario                   CA
Caterine           Hernandez              San Pedro                 CA
Gabriel            Hernandez              Inglewood                 CA
George             Hernandez              San Jose                  CA
Guillermo          Hernandez              Santa Ana                 CA
Hector             Hernandez              Ontario                   CA
Jessics            Hernandez              Covina                    CA
Josue              Hernández              Hayward                   CA
Marlena            Hernandez              Victorville               CA
max                hernandez              Oakland                   CA
Rochelle           Hernandez              Carlsbad                  CA
David              Herr                   Byron                     CA
Breanna            Herrera                Redding                   CA
Darlene            Herrera                Whittier                  CA
Ferdinand          Herrera                Vallejo                   CA
Joel               Herrera                South San Francisco       CA
Matthew            Herrera                Brea                      CA
Moises             Herrera                San jacinto               CA
Paul               Herrera                North Hollywood           CA
Darrell            Herron                 Citrus Heights            CA
Erfan              Hettini                Paso Robles               CA
Toni               Heuchan                Long Beach                CA
Auther             Hewitt                 Richmond                  CA
Shantiana          Hicks English          Ontario                   CA
Gary               Hicks                  Sacramento                CA
Matthew            Hicks                  Oakland                   CA
Jaunet             Hickson                Los Angeles               CA
David              Hidalgo                Los Angeles               CA
Adrian             Hilk                   Santa Ana                 CA
Alicia             Hill                   Union City                CA
Amaenda            Hill                   Antioch                   CA
Anthony            Hill                   Colton                    CA
Gregory            Hill                   Bellflower                CA
Ryan               Hill                   Sacramento                CA
Shannen            Hill                   Los Angeles               CA
Tasha              Hill                   Sacramento                CA
Brittany           Hilliard               Los Angeles               CA
Corey              Hilsenbeck             Sacramento                CA
Justin             Hilton                 Murrieta                  CA
Sophia             Hirano                 Alameda                   CA
Nikki              Hoard                  SHERMAN OAKS              CA
Eduardo            Hocher                 Gardena                   CA
Walter             Hochrein               San Diego                 CA
Kory               Hocker                 Pittsburg                 CA
Andrew             Hoffman                N Hollywood               CA
Kevin              Hoffman                Orange                    CA
Robert             Hoffman                North Highlands           CA
Shalinda           Hogains                Palmdale                  CA
Kamilah            Hogan                  Antelope                  CA
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Justin             Holan                    Norwalk                  CA
Darnelle           Holcomb                  Ceres                    CA
Danielle           Holland                  Suisun City              CA
Elvin              Holland                  Fresno                   CA
Michael            Holland                  San Diego                CA
Pierre             Holland                  Sacramento               CA
Temia              Holliday Archie          Vallejo                  CA
Lawrence           Holliday                 Sacramento               CA
Holly              Hollingsworth            Fresno                   CA
Brandon            Hollis                   Atwater                  CA
Teresa             Hollis                   Santa Barbara            CA
Latisha            Holloway                 Sacramento               CA
Breanna            Holmes                   Oceanside                CA
Breanna            Holmes                   Merced                   CA
Keaton             Holter-hamilton          Oakland                  CA
Mohammad Massoud   Homayoun                 Yuba City                CA
Shauib             Homran                   Oakland                  CA
Kenneth            Hood                     Carson                   CA
Breshon            Hooker                   Stockton                 CA
Kendra             Hopkins                  Sacramento               CA
Requel             Hopkins                  Sacramento               CA
Tina               Hopkins                  Carmichael               CA
David              Hoptman                  Los Angeles              CA
June               Horcasitas               San Lorenzo              CA
Ian                Horst                    Vista                    CA
Erick              Horta                    Fontana                  CA
Grant              Horton                   Folsom                   CA
Isajah             Horton                   Pomona                   CA
Danielle           Houk                     Bakersfield              CA
James              Hour                     Stockton                 CA
John               House                    San Diego                CA
Amber              Houser                   Live Oak                 CA
Jamie              Howard                   Sacramento               CA
Nicole             Howard                   Elk Grove                CA
Nicole             Howard                   Inglewood                CA
Paula              Howard                   Los Angeles              CA
Porsha             Howard                   Los Angeles              CA
Sharon             Howard                   Orangevale               CA
Ted                Howard                   Fullerton                CA
Van                Howard                   Clovis                   CA
James              Howell                   San Jose                 CA
Alyse              Hoy                      Elk Grove                CA
Ryan               Hoy                      Pauma Valley             CA
Henry              Huang                    San Francisco            CA
Kaitlin            Hubbard                  Valley Center            CA
Letice             Hubbard                  Carmichael               CA
Taylor             Huber                    San Jose                 CA
Kenneth            Huerta                   Carson                   CA
Andrew             Huff                     Lake Elsinore            CA
Brandon            Huggins                  Huntington Beach         CA
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Carrie            Huggins                  Fresno                   CA
Holly             Hughes                   Pomona                   CA
Martha            Hughes                   Los Angeles              CA
Tiffany           Hughes                   Vallejo                  CA
Melissa           Huitron                  Fair Oaks                CA
Alexandar         Hull-richter             Crestline                CA
Kayone            Humphrey                 Sacramento               CA
Brent             Humphreys                Turlock                  CA
Brigitte          Humphries                Los Angeles              CA
Jasmine           Hunt                     Rancho Cordova           CA
Karol             Hunt                     Sacramento               CA
Carita            Hunter                   Pleasanton               CA
Cassandra         Hunter                   Castro Valley            CA
Rashawnn          Hunter                   San Bernardino           CA
Tina              Hursey                   Olivehurst               CA
Ramon             Hurst                    Bellflower               CA
Jasmine           Husak                    El Dorado                CA
Michelle          Huser                    Roseville                CA
Ahmad             Hussain                  Elk Grove                CA
Saber             Hussain                  Fremont                  CA
Ethan             Hutchins                 Castro Valley            CA
Grant             Hutchins                 Redwood City             CA
Tony              Hutchinson               Sacramento               CA
Lorna             Huycke                   Oxnard                   CA
Hoang             Huynh                    San Jose                 CA
Michael           Huynh                    Garden Grove             CA
Thinh             Huynh                    San Jose                 CA
Cheri             Hyatt                    Beaumont                 CA
Frances           Hyder                    Orange                   CA
Meeker            Hymes                    Moreno Valley            CA
Gaylan            Hyson                    Merced                   CA
Carlos            Ibarra                   Redondo beach            CA
Roxanne           Ibarra                   San José                 CA
Pauline           Ibarra/alvarado          Stockton                 CA
Hector            Iboa                     Morgan Hill              CA
Fowsi             Ibrahim                  Lemon Grove              CA
Khongorzul        Iderkhangai              Walnut Creek             CA
Rennet            Igunbor                  Los Angeles              CA
Obinna            Ikerionwu                Long Beach               CA
Stephanie         Inclan                   Fontana                  CA
Jamie             Inglet                   Fresno                   CA
Shannon           Ingram                   Lancaster                CA
Emily             Ingrao                   Garden Grove             CA
Sabrina           Inocencio                Tracy                    CA
Ivania            Isassi                   Palmdale                 CA
David             Israel                   Shasta Lake              CA
Tigran            Israelyan                Glendale                 CA
Magdi             Istafanos                Bakersfield              CA
Jay               Ivan                     Anaheim                  CA
Joanne            Ivy                      Pomona                   CA
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Johnnie             Iwabuchi                Temple City              CA
Racheal             Iyiola                  Bellflower               CA
Raquel              Jachetta                Elk Grove                CA
Bonnie              Jackson                 Rancho Cucamonga         CA
Brian               Jackson                 Palmdale                 CA
Desiray             Jackson                 Compton                  CA
Dominique           Jackson                 Riverside                CA
Gregory             Jackson                 Los Angeles              CA
Heather             Jackson                 Chatsworth               CA
Joshua              Jackson                 Riverside                CA
Kayla               Jackson                 Stanton                  CA
Shanine             Jackson                 El Segundo               CA
Tiffany             Jackson                 San Pablo                CA
Vonchelle           Jackson                 Victorville              CA
Alyssa              Jacobs                  Fullertion               CA
Krysta              Jacobson                Turlock                  CA
Shayna              Jai                     Oceanside                CA
Salazar             Jaime                   Arcssdia                 CA
Brandie             James                   San Jose                 CA
Brysha              James                   Oakland                  CA
Franc               James                   Marysville               CA
Christopher         Jamison                 Garden Grove             CA
Angelo              Jaramillo               Brentwood                CA
Gabriel             Jaramillo               Turlock                  CA
Domecia             Jasper                  Oakland                  CA
Brandon             Jauregui                Saugus                   CA
Jacob               Jauregui                Carmichael               CA
Jordan              Javaheri                Beverly Hills            CA
Egal                Javanfard               Los Angeles              CA
Arthur              Javier                  Santa Clara              CA
Richard             Jeanjacques             Tarzana                  CA
Ramon               Jefferson               Los Angeles              CA
Steven              Jefferson               Berkeley                 CA
Cathy               Jenkins                 Alameda                  CA
Gilbert             Jenkins                 Temecula                 CA
Jaquieria           Jenkins                 Hesperia                 CA
Amber               Jennings                Anaheim                  CA
Jesse               Jeronimo                West Covina              CA
Chevon              Jex                     Ontario                  CA
Thomas              Jia                     San Jose                 CA
Syed Muhammed Ali   Jilani                  San Diego                CA
Brandon             Jimenez Flores          San Jose                 CA
Gladys              Jimenez                 Oceanside                CA
Jake                Jimenez                 San francisco            CA
Juan                Jimenez                 Greenfield               CA
Mariana             Jimenez                 Panorama City            CA
Rafael              Jimenez                 Pittsburg                CA
Alexander           Jo                      Walnut                   CA
Gordon              Joe                     Lake Elsinore            CA
Louie               Joel                    San Jose                 CA
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Shontal            Johnson                 Walnut                   CA
Alisha             Johnson                 Sacramento               CA
Amanda             Johnson                 Long Beach               CA
Angela             Johnson                 Rancho Cucamonga         CA
Anthony            Johnson                 Long Beach               CA
Ashley             Johnson                 El Cerrito               CA
Christa            Johnson                 Sacramento               CA
Damon              Johnson                 San Pedro                CA
Denise             Johnson                 Rocklin                  CA
Duane              Johnson                 Los Angeles              CA
Eric               Johnson                 Antioch                  CA
Erik               Johnson                 Altadena                 CA
Erika              Johnson                 San Francisco            CA
Ilianna            Johnson                 San Bernardino           CA
Janine             Johnson                 Wheatland                CA
Jarrell            Johnson                 Vallejo                  CA
Jay                Johnson                 Stockton                 CA
Jessica            Johnson                 Antioch                  CA
Johnny             Johnson                 Bakersfield              CA
Jorden             Johnson                 Rancho Cucamonga         CA
Lashona            Johnson                 Torrance                 CA
Laura              Johnson                 Pittsburg                CA
Lekeisha           Johnson                 Long Beach               CA
Lisa               Johnson                 Pittsburg                CA
Marcus             Johnson                 Sacramento               CA
Maria              Johnson                 Vallejo                  CA
Mariah             Johnson                 Santa Rosa               CA
Marvin             Johnson                 Sacramento               CA
Nikoli             Johnson                 Santa Clara              CA
Norman             Johnson                 Valley Village           CA
Reginald           Johnson                 Long Beach               CA
Roshawn            Johnson                 Oakland                  CA
Shayla             Johnson                 Los Angeles              CA
Sondra             Johnson                 Hayward                  CA
Steven             Bais - Johnson          Chico                    CA
Susiejean          Johnson                 La Mesa                  CA
Thomas             Johnson                 Clayton                  CA
Tori               Johnson                 Lake Forest              CA
Tyler              Johnson                 Grand Terrace            CA
Troy               Johnston                Hayward                  CA
Addison            Jones                   Campbell                 CA
Alaina             Jones                   Rancho Cordova           CA
Allison            Jones                   Oakland                  CA
Brenda             Jones                   Hayward                  CA
Chavonne           Jones                   Fremont                  CA
Daniel             Jones                   Hidden Hills             CA
Donald             Jones                   Hayward                  CA
Ellis              Jones                   Chula Vista              CA
Emerald            Jones                   Vallejo                  CA
Franklin           Jones                   Lancaster                CA
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Gerica             Jones                   Stockton                 CA
Giljanine          Jones                   Sacramento               CA
Jaime              Jones                   Inglewood                CA
Jennifer           Jones                   Los Angeles              CA
Jessica            Jones                   Rialto                   CA
Joki               Jones                   Sacramento               CA
kayla              jones                   Stockton                 CA
Ken                Jones                   Los Angeles              CA
Laheaven           Jones                   Los Angeles              CA
Melissa            Jones                   Sacramento               CA
Noell              Jones                   Fairfield                CA
Phaedra            Jones                   Stockton                 CA
Ricardo            Jones                   Los Angeles              CA
Rochel             Jones                   Vallejo                  CA
Rochelle           Jones                   Moreno Valley            CA
Tracy              Jones                   Stanton                  CA
Zayda              Jones                   Hemet                    CA
Angelia            Jones-jackson           North Highlands          CA
Dion               Jordan                  Sacramento               CA
Jaylin             Jordan                  Vacaville                CA
Mario              Jordan                  Sylmar                   CA
Myresha            Jordan                  Corona                   CA
Renee              Jordan                  Long Beach               CA
Natalie            Jordon                  Inglewood                CA
Harry              Jose                    Canyon Country           CA
Chad               Josephwilliams          Mentone                  CA
Alejandro          Juarez                  San Jose                 CA
Francisco          Juarez                  Merced                   CA
Norma              Juarez                  Pomona                   CA
Raheem             Judd                    San Diego                CA
Mark               Juloya                  Chino Hills              CA
Brenda             Juni                    San Jose                 CA
Caleb              Juvera                  Modesto                  CA
Subarna            KC                      Sunnyvale                CA
Debra              Kaestner                Redding                  CA
Kristine           Kaestner                Antelope                 CA
Danielle           Kahl                    Los Angeles              CA
Stefani            Kairan                  Cerritos                 CA
Noelani            Kakatin                 Anaheim                  CA
Joshua             Kalin                   Torrance                 CA
Shayla             Kamena                  Fontana                  CA
Ellen              Kang                    Rancho Cucamonga         CA
Balaji             Kangadharan             Sunnyvale                CA
Kyle               Kappes                  San Diego                CA
Shanket            Karki                   Richmond                 CA
Anthony            Karriem                 san jose                 CA
Elizabeth          Kasparian               Hacienda Heights         CA
Joseph             Kassis                  Vacaville                CA
Peter              Katalaris               Glendale                 CA
Robert             Kathan                  Livermore                CA
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Shilyn            Kaufman               Huntington Beach         CA
Kevin             Kauker                Reseda                   CA
Rupinder          Kaur                  Santa Clara              CA
Qaisse            Kawyani               Clovis                   CA
Ghavam            Kazemi                San Jose                 CA
Tiffany           Keahey                San Andreas              CA
Kyle              Keast                 Chico                    CA
Zenobia           Keeton                Suisun City              CA
Mary              Keller                Victorville              CA
Angella           Kelly                 Antioch                  CA
Laureen           Kelly                 San Diego                CA
Sarah             Kelly                 Concord                  CA
Jordan            kemp                  Santa Ana                CA
Leroy             Kemp                  Sacramento               CA
Eric              Kenerly               Sacramento               CA
Alexa             Kennedy               Lafayette                CA
Danisha           Kenney                Sacramento               CA
James             Kenny                 Carlsbad                 CA
La                Kensavath             Fresno                   CA
Marcus            Kent                  San Pedro                CA
Porter            Kevin                 North Hollywood          CA
Alice             Keyes                 San Ramon                CA
Sanaz             Khademideljoo         San Diego                CA
Roshni            Khalasi               Sacramento               CA
Mukhammadismoil   Khamidov              San Francisco            CA
Ahmad             Khan                  Union City               CA
Alamzeb           Khan                  Santa Clara              CA
Haris             Khan                  Santa Clara              CA
Mir               Khan                  Richmond                 CA
Mohammed          Khan                  Manteca                  CA
Navaz             Khan                  Stockton                 CA
Daryush           Khodadadi-Mobarakeh   Campbell                 CA
Stacy             Khoeun                Stockton                 CA
Haseeb            Khuwajazada           Fremont                  CA
Saular            Kiani                 Westlake Village         CA
Dennis            Kieu                  Garden Grove             CA
Linda             Killingbeck           Sacramento               CA
Jiyoung           Kim                   Irvine                   CA
Kisung            Kim                   Irvine                   CA
Michael           Kim                   Los Angeles              CA
Si hyung          Kim                   Fullerton                CA
Jaylan            Kimbrough             Long Beach               CA
Craig             King                  Hayward                  CA
Daniesha          King                  Fairfield                CA
Eric              King                  Antioch                  CA
Terik             King                  Glendora                 CA
Souriya           Kinnavongsa           Sacramento               CA
Justin            Kinnel                Santa Ana                CA
Sebastjan         Kinney                San Clemente             CA
Steven            Kinsey                Eureka                   CA
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Tyler              Kirk                  Bakersfield              CA
Brendan            Kirkpatrick-McKee     Van Nuys                 CA
Ethan              Kirsh                 Newbury Park             CA
Sarah              Klapheck              Sacramento               CA
Kristin            Klaus                 Escondido                CA
Erica              Klemaske              San Diego                CA
William            Klemme                Monte Rio                CA
Rebeckah           Klemp                 Vacaville                CA
Nikole             Klinkhamer            San Diego                CA
Hana               Klisturic             San Jose                 CA
Magen              Knight                Patterson                CA
Rachel             Knott                 Manteca                  CA
Rashida            Knox                  East Palo Alto           CA
Jacqueline         Ko                    San Bruno                CA
Jeff               Kohlschmidt           Gileta                   CA
Kimberly           Kohn                  Westminster              CA
Amanda             Kolar                 Sacramento               CA
Kimberly           Kole                  Fresno                   CA
Colleen            Konoval               San Jacinto              CA
Sarah              Koraly                Thousand Oaks            CA
Jules              Korman                Piedmont                 CA
Christine          Kosmides              Oakland                  CA
Calvin             Kosovich              Los Angeles              CA
Thomas             Kowalski              Sacramento               CA
Avo                Kozukarayan           Tujunga                  CA
Maxim              Kraft                 Rocklin                  CA
Tamara             Krake                 Elk Grove                CA
Elisha             Kranenburg            Sacramento               CA
Nataliia           Krinitsyna            Los Angeles              CA
Sumesh             Kuinkel               San Mateo                CA
Leslie             Kukuk                 CONCORD                  CA
Julia              Kung                  Roseville                CA
Sada               Kurdi                 Burlingame               CA
Fredianto          Kusnadi               San Gabriel              CA
Michael            Kwao                  Canoga Park              CA
Larry              Kwong                 Marina                   CA
Maria              Kyle                  Chowchilla               CA
George             Kyriakopoulos         Gilroy                   CA
Jimmie             L Stovall             La                       CA
Bernardo           Labansat              Rosemead                 CA
Adam               Lafferty              Modesto                  CA
Jenna              Lafferty              Redlands                 CA
Allan              Laguatan              La Jolla                 CA
Justin             Laird                 Riverside                CA
Nicole             Lamar                 Vacaville                CA
Shannon            Lambert               Stockton                 CA
Maribelle          Landavazo             Modesto                  CA
Kristina           Landolfi              Sscrsmento               CA
John               Landtroop             Carlsbad                 CA
Dawn               Lane                  Apple Valley             CA
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Kevin              Lane                 Elk Grove                CA
Michael            Lang                 Oakland                  CA
Kara               Lapere               Dana Point               CA
Bruno              Lara                 San Pablo                CA
Mary               Larragoitiy          Redlands                 CA
Bryan              Larson               Santee                   CA
Brendon            Lasalle              Huntington Beach         CA
travis             lash                 Chico                    CA
Ian                Lasky                Riverside                CA
Rudy               Lastra               Westminster              CA
Samira             Lavender             San Pablo                CA
Krystle            Law                  Antioch                  CA
Sarah              Lawes                Los Angeles              CA
Terrell            Lawrence             Los Angeles              CA
Melinda            Lawson               Bakersfield              CA
Dwight             Lay                  Wilmington               CA
Gyula              Lazar                San Mateo                CA
Ebony              Lazaro               Vacaville                CA
Kristine           Le                   Milpitas                 CA
Peter              Le                   Baldwin Park             CA
Phuc               Le                   Sacramento               CA
Thuy               Le                   Santa Ana                CA
Ilai               Lebel                Sherman Oaks             CA
Marissa            Lebel                Lodi                     CA
Jonathon           LeBert               Fremont                  CA
Carlos             Lechuga              La                       CA
Tiffany            Lederhos             Upland                   CA
Cyndi              Ledet                Chico                    CA
Lilly              Ledoux-madrigal      Palmdale                 CA
Andy               Lee                  Anaheim                  CA
Ayesha             Lee                  Richmond                 CA
David              Lee                  Moreno Valley            CA
Hana'aloha         Lee                  Dublin                   CA
Jamie              Lee                  Buena Park               CA
Johnique           Lee                  Vallejo                  CA
Johnson            Lee                  Newport Beach            CA
Katy               Lee                  San Francisco            CA
Kim                Lee                  Oakland                  CA
Richard            Lee                  Pittsburg                CA
Ryan               Lee                  Ontario                  CA
Sandra             Lee                  Menifee                  CA
Wanda              Lee                  Elk Grove                CA
Heather            Leighton             Yuba City                CA
richard            leiva                pomona                   CA
Jennifer           Lemmon               San Jose                 CA
Mala               Lemnah               Santa Clarita            CA
Kevin              Lentz                Redlands                 CA
Jessica            Lenz                 Los Angeles              CA
Karen              Leon                 Moreno Valley            CA
Angela             Leslie               Riverside                CA
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charlemagne        lesperance          oceanside                CA
Kristina           Letbetter           Atascadero               CA
Alanna             Leukuma             Van nuys                 CA
Dustin             Leventhal           Santa Ana                CA
Jamena             Levi                Stockton                 CA
Valdane            Levias              Lakewood                 CA
Amber              Lewis               Modesto                  CA
Cameron            Lewis               Oakland                  CA
Jashon             Lewis               Rocklin                  CA
Jennifer           Lewis               Fullerton                CA
Satira             Lewis               Moreno Valley            CA
Alexis             Lewkowicz           Citrus Heights           CA
Alex               Leyva               Pasadena                 CA
Gloria             Leyva               Sacramento               CA
Siyun              Li                  Walnut                   CA
Jason              Lien                San Jose                 CA
Gilmar Eduardo     Lima                Union City               CA
Charlene           Limen               Anaheim                  CA
Christopher        Limon               El Sobrante              CA
Jesse              Limon               Ion                      CA
Angie              Lindahl             Atascadero               CA
Brian              Lindbergh           Los Angeles              CA
Rich               Lindley             Santee                   CA
Christian          Lindo               San Jose                 CA
Ebony              Lindsey             San Jose                 CA
Jennifer           Lindsey             Fairfield                CA
Andrea             Linqui              Elk Grove                CA
Cameron            Lira                Los Gatos                CA
Brooke             Little              Elk Grove                CA
Casey              Littlejohn          Oceanside                CA
Lashanae           Littles             Riverside                CA
Taylor             Littleton           Woodland                 CA
Yongxian           Liu                 Daly City                CA
Abraham            Lizaola             Rohnert Park             CA
Christina          Lizarraga           North Hollywood          CA
Rhonda             Lobrillo            Sandiego                 CA
Juan               Lockett             Campbell                 CA
Lashandra          Lockett             Oakland                  CA
Dominique          Lockhart            North Hollywood          CA
Earnest            Lockhart            Oakland                  CA
Sheila             Locks-Lee           Lancaster                CA
William            loew                la Puente                CA
Adriana            Lofton              Pittsburg                CA
Lashawn            Logan               Antioch                  CA
Michael            Logan               Modesto                  CA
Michelle           Logan               San Jose                 CA
Mary               Logsdon             Pescadero                CA
Darien             Lohof               Nipomo                   CA
Gavin              Lombardi            Menlo Park               CA
Stephanie          Lomeli              San Diego                CA
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Paula              Londow                 Sacramento               CA
Christine          Long                   Modesto                  CA
Lasheinate         Long                   Inglewood                CA
Perry              Long                   Modesto                  CA
Carolyn            Lope                   Concord                  CA
Andrew             Loper                  Rancho Cordova           CA
John               Loper                  Roseville                CA
tracielopes        lopes                  fremont                  CA
Eduardo            Lopez Jr               Whittier                 CA
Adam               Lopez                  Orange                   CA
Adriana            Lopez                  Los Angeles              CA
Andres             Lopez                  East Palo Alto           CA
Bianca             Lopez                  Moreno Valley            CA
Eric               Lopez                  Fremont                  CA
Ezequiel           Lopez                  Fullerton                CA
Freddy             Lopez                  Elk Grove                CA
Hayden             Lopez                  Orange                   CA
Joey               Lopez                  Modesto                  CA
Jonathan           Lopez                  Oceanside                CA
Maribel            Lopez                  Empire                   CA
Myra               Lopez                  San Bernardino           CA
Pedro              Lopez                  Menifee                  CA
Rosa               Lopez                  San Jose                 CA
Ryan               Lopez                  San Jose                 CA
Sandy              Lopez                  Commerce                 CA
Savannah           Lopez                  Lancaster                CA
Sierra             Lopez                  San Jose                 CA
Tammi              Lopez                  Modesto                  CA
Desi               Lora                   Grand Terrace            CA
Nick               Lott                   Redding                  CA
Tamysha            Lott                   Vallejo                  CA
Anthony            Lovato                 Stockton                 CA
Marcella           Lovelace               Santa Clara              CA
James              Lovett                 Hemet                    CA
Alex               Lowder-himmel          Burbank                  CA
Brianah            Lowe                   Sacramento               CA
Imani              Lowe                   Sacramento               CA
Celeste            Lowell                 Boulder Creek            CA
Shannon            Lowry                  Pleasant Hill            CA
Jennie             Lozano                 Fallbrook                CA
Mario              Lozano                 Arcadia                  CA
Carol              Lozon                  San Carlos               CA
Sheila             Lucas                  Sacramento               CA
Robert             Lucero                 Bellflower               CA
Sim                Lucien                 San Diego                CA
Cynthia            Luck                   Modesto                  CA
Stiina             Luedtke                La mesa                  CA
Brandon            Luera                  Mountain View            CA
Corrales           Luis                   Downey                   CA
Ismael             Lujan Rojas            Corona                   CA
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Angela             Luna                Los Angeles              CA
Miguel             Luna                Dublin                   CA
Ricardo            Luna                Jurupa Valley            CA
Ruben              Luna                South Gate               CA
Steven             Lundin              Torrance                 CA
Sarah              Lundyboudreaux      Chula Vista              CA
Ana                Luque               Los Ángeles              CA
Nicholas           Lurye               San Bruno                CA
Bianca             Luster              San Pablo                CA
Gene               Luzala              Santa Monica             CA
David              Ly                  Riverbank                CA
Kristin            Lybarger            Spring Valley            CA
Alexander          Mabini              La Puente                CA
Christopher        Macdevitt           Los Angeles              CA
Jessica            Macedo              Modesto                  CA
Barbara            Macfarland          Berkeley                 CA
Wendy              Machen-wong         Dublin                   CA
Christina          Macias              Santa Rosa               CA
Edwin              Macias              Bakersfield              CA
Fidel              Macias              Mission Hills            CA
Sharon             Macias              Rancho Cordova           CA
Jacob              Maciel              Orange                   CA
Gregory            Mack                Elk grove                CA
Kendrick           Mack                San Francisco            CA
Brianna            Mackey              Vista                    CA
Natalie            Madrigal            Bloomington              CA
Tracy              Maffia              Santa Rosa               CA
Nathan             Magadia             Hercules                 CA
Diana              Magallon            Paso Robles              CA
Adrienne           Magana              Fontana                  CA
Brady              Magana              West Covina              CA
Carlos             Magana              Fontana                  CA
Javier             Magana              Goleta                   CA
Florentino         Magdaleno           Huntington Beach         CA
Joven              Magos               Rancho Santa Margarita   CA
Roshan             Mahabali            Tracy                    CA
Abdelwahid         Mahbouli            Daly City                CA
Robin              Maher               Buena Park               CA
David              Maier               Highland                 CA
Sonia              Maio                Van Nuys                 CA
Baseer             Majeed              Hayward                  CA
Elizabeth          Maldonado           San Dimas                CA
Nadeem             Malki               Rowland Heights          CA
James              Malone              Spring Valley            CA
Trevor             Malone              Citrus Heights           CA
Lawrence           Maloney             Los Angeles              CA
Charles            Manalang            Concord                  CA
Bar                Mandalevy           Encino                   CA
Scott              Mang                Diamond Bar              CA
Celisse            Manier              Oakland                  CA
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Tyler              Manisay             Milpitas                 CA
Susan              Mann                Lake Elsinore            CA
Amir               Manochehri          North Hollywood          CA
Raven              Manriquez           Covina                   CA
Siune              Mansoorian          Tujunga                  CA
James              Mantsch             Fair Oaks                CA
Maria              Manzano Segovia     Palm desert              CA
Suzanne            Mapes               Colton                   CA
Ayanna             Mapp                Bakersfield              CA
Miguel             Marenco             Los Angeles              CA
Sandra             Mares               Castro Valley            CA
Veronica           Mares               Santa Rosa               CA
Hector             Mariano             West Covina              CA
Yesica             Marin Robles        Santa Ana                CA
Juliette           Marin               Freedom                  CA
Radine             Marin               Anaheim                  CA
Alexander          Markel              San Diego                CA
Michael            Markham             San Leandro              CA
Preness            Marks               Bellflower               CA
Seth               Marks               Woodland Hills           CA
Amber              Marley              manteca                  CA
Aidan              Marmion             Aliso Viejo              CA
Michele            Marotta             Studio City              CA
Catherine          Marple              San Diego                CA
Craig              Marquez             Bellflower               CA
Amber              Marshall            Upland                   CA
Bettyann           Marshall            Sacramento               CA
Courtney           Marshall            Vacaville                CA
Salyna             Marshall            San Jose                 CA
Victoria           Martelli            San Bernardino           CA
Anthony            Martin              El Cajon                 CA
Catrina            Martin              San Francisco            CA
Edel               Martin              Carson                   CA
Jamaal             Martin              Fresno                   CA
Jeremy             Martin              Stockton                 CA
Judi               Martin              Rancho Cucamonga         CA
Kristhine          Martin              El Cajon                 CA
Lena               Martin              Clovis                   CA
Marika             Martin              Elk Grove                CA
Marlin             Martin              Suisun City              CA
Melissa            Martin              San Leandro              CA
Savanah            Martin              Rocklin                  CA
Tim                Martin              Spring Valley            CA
Adriana            Martinez            Pico Rivera              CA
Andres             Martinez            Lennnox                  CA
Angie              Martinez            Simi Valley              CA
Anthony            Martinez            Montclair                CA
Bennerita          Martinez            Manteca                  CA
Brenda             Martinez            Anaheim                  CA
Christopher        Martinez            Santa Barbara            CA
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Edgar              Martinez             San Jacinto              CA
Edmundo            Martinez             San Jose                 CA
Eli                Martinez             Vista                    CA
Erika              Martinez             Fowler                   CA
Eriq               Martinez             Sacramento               CA
Gabriel            Martinez             Sacramento               CA
Gabriela           Martinez             Anaheim                  CA
Hipolito           Martinez             Vista                    CA
Isaac              Martinez             Castro Valley            CA
Jessica            Martinez             Oakley                   CA
Jessyca            Martinez             Ceres                    CA
Jonathan           Martinez             Oceanside                CA
Joseph             Martinez             Orange                   CA
Julia              Martinez             Riverside                CA
Julio              Martinez             Van Nuys                 CA
Karina             Martinez             Modesto                  CA
Louis              Martinez             Pasadena                 CA
Marco              Martinez             Los Angeles              CA
Marvin             Martinez             Daly City                CA
Monica             Martinez             Highland                 CA
Paul               Martinez             Whittier                 CA
Tamie              Martinez             Moreno Valley            CA
Veronica           Martínez             Manteca                  CA
Winston            Martinez             Sacramento               CA
Isaiah             Martinez-hill        Daly City                CA
Jessica            Martinez-mueller     Modesto                  CA
Lauryn             Masaniai             Long Beach               CA
Stephen            Mason                Vallejo                  CA
Thomas             Mason                El sobrante              CA
Robert             Massie               Fresno                   CA
Corell             Masters              Santa Rosa               CA
Linda              Masters              Lancaster                CA
Gurmit Singh       Masute               Canoga Park              CA
Ignacio            Mata                 Long Beach               CA
Ovidio             Mateo                Los Angeles              CA
Ctaig              Mathews              Canyon Country           CA
Ieasha             Mathews              Sanfrancisco             CA
Reginald           Mathies              Los Angeles              CA
Jasper             Mathisen             Walnut Creek             CA
Mark               Matta                Chino                    CA
Reginald           Matthews             Upland                   CA
Renee              Matthews             Stockton                 CA
Susan              Matthews             Rialto                   CA
Claire             Mattis               Los Angeles              cA
Taylor             Mauch                Petaluma                 CA
Maurice            Mauldin              Sacramento               CA
Laqresha           Maxwell              San Francisco            CA
Sierra             Maxwell              Upland                   CA
Racquel            May                  Porter Ranch             CA
Stefani            May                  San Jose                 CA
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Thomas             May                      Alamo                     CA
Tisha              Mayer                    Lodi                      CA
Aaron              Mayes                    Chatsworth                CA
Chanzell           Mayfield                 Moreno Valley             CA
Deanna             Mayfield                 Hayward                   CA
Jeffrey            Mayfield                 Sacramento                CA
Amber              Mays                     merced                    CA
Reinhard           Mazariegos               Los Angeles               CA
Devon              Mazure                   Anaheim Hills             CA
Brian              Mcaleavey                Fresno                    CA
Sean               Mcallister               Gardena                   CA
Shonte             Mcbride                  Chino                     CA
George             Mccalister               Modesto                   CA
Kala               Mccarter-rogers          Alhambra                  CA
Kenyon             Mccastle                 Sacramento                CA
Angelique          Mccleary                 Carlsbad                  CA
Brandon            Mccloskey                Vacaville                 CA
Jonathan           Mccormick                Chula vista               CA
Andrea             Mccowan                  Citrus Heights            CA
Adrian             Mccoy                    Stockton                  CA
Andre              McCoy                    Pittsburgh                CA
Daishs             Mccoy                    Menifee                   CA
Desirae            Mccoy                    Hawthorne                 CA
Mikayla            Mccoy                    Galt                      CA
Jacob              Mccoy-barba              Clovis                    CA
Monica             Mccullough               Santa Ana                 CA
Dezohn             Mccullum                 Oakley                    CA
Regina             Mccullum                 Long Beach                CA
Nicole             Mccurry                  Morgan Hill               CA
Kendra             Mcdonald                 Sherman Oaks              CA
Michael            Mcdonald                 Westlake Village          CA
Jeff               Mcdowell                 Reseda                    CA
Tyler              Mcfadden                 San Luis Obispo           CA
Suzanne            Mcgreer                  Fairfield                 CA
Gregory            Mchenry                  Modesto                   CA
Michael            Mcintyre                 Glendora                  CA
Myles              Mckee-osibodu            Corona                    CA
Egypt              Mckeithen                Van Nuys                  CA
Ryan               Mckenzie                 San Jose                  CA
Dornetta           Mckinney                 Sacramento                CA
Jodi               Mckinney                 San Diego                 CA
Melissa            Mckinney                 Elk Grove                 CA
William            Mckinney                 Chula Vista               CA
Kevin              Mckinnon                 San Jose                  CA
Byron              Mcknight                 Los Angeles               CA
Anastasia          McLelland                Riverside                 CA
Shirley            Mclelland                Vista                     CA
Erin               Mcleod                   Walnut Creek              CA
Catherine          Mcmahon                  Long Beach                CA
Kevin              Mcmanus                  Gilroy                    CA
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Teri                Mcmichael               Fresno                   CA
Melinda             Mcnamee                 Santa Maria              CA
Jalen               Mcneal                  Manteca                  CA
Howard              Mcneely                 Sacramento               CA
Kameelah            Mcneely                 Ceres                    CA
Jessica             Mcpeek                  Antioch                  CA
Zuri                Mcphail                 Fremont                  CA
Nicole              McQueen                 Citrus Heights           CA
Ravaa               Meadors                 Fremont                  CA
Adrian              Medina                  Tulare                   CA
Amanda              Medina                  Monterey Park            CA
Gregory             Medina                  San Bernardino           CA
Jacob               Medina                  Vista                    CA
Tina                Medina                  Camarillo                CA
Wendy               Mejia Barahona          Wilmington               CA
Santiago            Mejia                   Duarte                   CA
Laura               Melendez                Santa Ana                CA
Anthony             Melendrez               Pasadena                 CA
Paula               Meler                   Ripon                    CA
Samantha            Melton                  Wildomar                 CA
David               Menchaca                San Jose                 CA
Janica              Mendenhall              Visalia                  CA
Daniel              Mendez                  Bell                     CA
Nadine              Mendez                  Ontario                  CA
Abraham             Mendoza                 Atwater                  CA
Adriana             Mendoza                 Livermore                CA
Alondra             Mendoza                 Fontana                  CA
Cecilia Sofia       Mendoza                 Carson                   CA
Christian           Mendoza                 Oceanside                CA
Efrain              Mendoza                 San Jose                 CA
Glenda              Mendoza                 Vallejo                  CA
Joovana             Mendoza                 Redwood City             CA
Josue A             Mendoza                 San Jose                 CA
Luis                Mendoza                 Los Angeles              CA
Ruben               Mendoza                 Solana Beach             CA
Secillia            Mendoza                 San Jose                 CA
Constance           Meneese                 San Francisco            CA
Amos                Mensah                  San Bernardino           CA
Joshua              Mentzer                 Temecula                 CA
Ihab                Merabet                 Concord                  CA
Christina           Mercado                 Merced                   CA
Patrick             Mercado                 Rancho Cucamonga         CA
Kayla               Merchant                Castro Valley            CA
Shelley             Meredith                Sacramento               CA
Drew                Mering                  Sacramento               CA
Zoe                 Merino                  Rocklin                  CA
Rhonda              Merrill                 Sacramento               CA
Jennifer            Merritt                 Pinole                   CA
Basem               Messih                  Ca                       CA
Mariel              Meyer                   Simi Valley              CA
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Luke              Meyers               Murrieta                 CA
Charles           Middlebrook          Sacramento               CA
Curt              Mieczkowski          Clayton                  CA
Melody            Mihalik              San Jose                 CA
Samir             Mikhail              Moreno Valley            CA
Cameron           Miles                Orange                   CA
Jamequa           Miles                Stockton                 CA
Antonio           Millan               Oceanside                CA
Alexander         Miller               Carlsbad                 CA
Brain             Miller               Sacramento               CA
Daniel            Miller               San Diego                CA
David             Miller               Banning                  CA
Daxton            Miller               Santa Maria              CA
George            Miller               Lathrop                  CA
Gregg             Miller               Los Angeles              CA
Heidi             Miller               Tustin                   CA
Jalisa            Miller               Union city               CA
Kenneth           Miller               Gardena                  CA
Robert            Miller               Rancho Cordova           CA
Thomas            Miller               San Jacinto              CA
Vermyttya         Miller               Santa Clarita            CA
Yelile            Miller               Carlsbad                 CA
Jonathan          Milligan             San Diego                CA
Jerry             Milliner             Los Angeles              CA
Chilopie          Millington           Hayward                  CA
Erica             Mills                Wildomar                 CA
Heather           Mills                San Pedro                CA
Stephen           Mills                Modesto                  CA
Damien            Milton               Citrus Heights           CA
Madonna           Milton               Fresno                   CA
Marvette          Mims                 Los angeles              CA
James             Mincks               Bakersfield              CA
Bryan             Minor                Los Angeles              CA
Kellie            Minor                Oakley                   CA
Marlene           Minster              Camarillo                CA
Nichole           Mintz                Camarillo                CA
Felipe            Miranda              mountain view            CA
Fern              Miro                 Costa Mesa               CA
Mark              Misoshnik            Berkeley                 CA
Laurel            Mitchell             Tracy                    CA
Robert            Mitchell             Pasadena                 CA
Schiniqua         Mitchell             Lancaster                CA
Sean              Mitchell             Oxnards                  CA
Henry             Miyoshi              Oakland                  CA
Kimberly          Mizuta               Tulare                   CA
Simin             Moaddab Alibeigi     Alamo                    CA
Antoine           Mobley               Los Angeles              CA
Meesha            Moghaddam            Winchester               CA
Haneef            Mohammad             Stockton                 CA
Fahad             Mohammed             Los Angeles              CA
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Williephine        Mohead              Victorville               CA
Nivethaa           Mohhan              Sacrament                 CA
Bryan              Mohn                La Mesa                   CA
Sia                Moiwa               San Jose                  CA
Jojo Ace           Mojica              daly city                 CA
Shahin             Mokhtari            Bakersfield               CA
Chris              Molano              Hayward                   CA
David              Molina              Temecula                  CA
Rodolfo            Molina              Pacoima                   CA
Ramon              Moncayo             San Jose                  CA
Lenny              Mondragon           San Dimas                 CA
Candace            Monize              San Clemente              CA
James              Monroe              Chico                     CA
Dawn               Montanez            El Monte                  CA
Farin              Montanez            Fresno                    CA
Elvia              Montano             Laguna Hills              CA
Francesca          Montenegro          Sacramento                CA
Roberto            Monterrosa          Palmdale                  CA
Fanny              Montes              Millbrae                  CA
Jose               Montes              los angeles               CA
Spencer            Montes              Colton                    CA
Mike               Montgomery          Redwood city              CA
Araceli            Montoya             Canoga Park               CA
David              Montoya             Bakersfield               CA
Jennifer           Montoya             Manteca                   CA
Kimberly           Montoya             San Pedro                 CA
Ronny              Montoya             Anaheim                   CA
Carmell            Moore               Stockton                  CA
Daneatra           Moore               Riverside                 CA
Danielle           Moore               Sacramento                CA
Dawn               Moore               Granada Hills             CA
Hunter             Moore               Fresno                    CA
Joshua             Moore               San Francisco             CA
Larry              Moore               Los Angeles               CA
MeShalon           Moore               Santa Barbara             CA
Tom                Moore               Sacramento                CA
Vickie             Moore               Sacramento                CA
Lillie             Moores              Stockton                  CA
Leandro            Morais              South San Francisco       CA
Rafael             Morais              Venice                    CA
Clara              Morales             South San Francisco       CA
Deanna             Morales             Tracy                     CA
Gustavo            Morales             Los Angeles               CA
Michelle           Morales             North Hollywood           CA
Roni               Morales             north hollywood           CA
Azalia             Moran               Highland                  CA
Michelle           Morehouse           Merced                    CA
Eric               Moreno              Sutter Creek              CA
Preciosa           Moreno              La Mesa                   CA
Valente            Moreno              Baldwin Park              CA
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Yesenia            Moreno              San Jose                 CA
Jessica            Morentin            Colton                   CA
Amanda             Morgan              Oceanside                CA
Jasmine            Morgan              Irvine                   CA
Shyjeruan          Morgan              Sacramento               CA
Carlo              Morin               Atwater                  CA
Lori               Morris Westley      Modesto                  CA
Shauntell          Morris              San Diego                CA
Tristen            Morse               Tulare                   CA
Emily              Mosqueda            Clovis                   CA
Hermanie           Motley              San Jose                 CA
Kevin              Mugwagwa            Campbell                 CA
Christine          Muller              9am                      CA
Georgina           Munguia             Chula Vista              CA
Juan               Munoz Nieves        Redding                  CA
Joe                Munoz Valdivia      Hemet                    CA
Elsa               Munoz               Riverside                CA
Eva                Munoz               Los Angeles!             CA
Selina             Munoz               Turlock                  CA
Marissa            Murcko              Rancho Murieta           CA
Erin               Murphy              Tujunga                  CA
Evelyn             Murphy              Garden Grove             CA
Roseanna           Murphy              Fresno                   CA
Sanae              Murray              Compton                  CA
Kevin              Murren              Bay Point                CA
Kayode             Mustapha            Los Angeles              CA
Gunchin            Myagmarsambuu       Oakland                  CA
Jonathon           Myer                Campbell                 CA
Andrea             Myers               Grass Valley             CA
Robert             Myers               Berkeley                 CA
Brian              Mynatt              Antioch                  CA
Braden             Nail                Hemet                    CA
Robert             Naimark             San Luis Obispo          CA
Jamal              Najibi              Dublin                   CA
Cristian           Nalbandian          Arcadia                  CA
John               Nalty               San Jose                 CA
Maninder           Nanhar              Suisun                   CA
Frederic           Nanmo               Wilmington               CA
Rachel             Narvaez Cantu       Bakersfield              CA
Nicholas           Natividad           Rancho Cucamonga         CA
Jacob              Nava                Whittier                 CA
Saul               Nava                Newbury Park             CA
William            Navarrete           Brentwood                CA
Anastasia          Navarro             Los Angeles              CA
Devin              Navarro             Hayward                  CA
Ed                 Navarro             Sun Valley               CA
Gustavo            Navarro             Lake Elsinore            CA
Sara               Navarro             San Jose                 CA
Nissa              Navone              Columbia                 CA
Ishmam             Nawar               Santa Clara              CA
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Sean               Naylor                San Marcos               CA
Liza               Nazarchuk             North Highlands          CA
Arvin              Nazari                Glendale                 CA
Faris              Nazeem                Elk Grove                CA
Alexander          Neal                  Fullerton                CA
James              Neal                  Victorville              CA
Sherika            Neal                  Inglewood                CA
Josias             Nech                  San Bernardino           CA
Tiffani            Neely                 Sacramento               CA
Christopher        Neil                  San Diego                CA
Candace            Neiman                Hemet                    CA
Nicole             Neisler               Sacramento               CA
Alysa              Nelson                Simi Valley              CA
Crystal            Nelson                Rancho Cordova           CA
Jovannah           Nelson                Vallejo                  CA
Kandis             Nelson                Santa Rosa               CA
Tylia              Nelson                Turlock                  CA
Edward             Nerey                 Beaumont                 CA
Michelle           Nesbit                Sacramento               CA
Georges            Nesim                 Los Angeles              CA
Jeffrey            Nevels                Long Beach               CA
Noa                Nevo                  Cupertino                CA
Alex               Newberg               Woodland Hills           CA
Darren             Ng                    Alameda                  CA
Zorana             Ngai                  Torrance                 CA
Binh               Nguyen                San Jose                 CA
Catdung            Nguyen                San Jose                 CA
Dang               Nguyen                Winchester               CA
James              Nguyen                San Jose                 CA
Quan               Nguyen                Westminster              CA
Tam                Nguyen                Huntington Beach         CA
Tony               Nguyen                San Jose                 CA
Tran               Nhan                  Milpitas                 CA
Francesca          Nhem                  Buena Park               CA
Melanie            Nichols               San Jose                 CA
Paige              Nickisch              Long Beach               CA
Antonia            Niebla                Salinas                  CA
Jason              Nieblas               Los Angeles              CA
Anthony            Niederberger Juarez   Burbank                  CA
Tanner             Niemann               Whittier                 CA
Marisa             Nix                   Chino                    CA
Danielle           Noah                  Los Angeles              CA
Jason              Noble                 California City          CA
Louis              Noble                 Lodi                     CA
Francisco          Noguer                Culver city              CA
Heidi              Nolan                 San jacinto              CA
Jeanette           Nolan                 Sacramento               CA
John               Nolan                 Simi Valley              CA
Jason              Norcross              Riverside                CA
Tony               Norwood               Oakland                  CA
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Wynette           Norwood                 Glendale                 CA
Patrick           Nudanu                  El Cerrito               CA
Alejandro         Nunez                   Rialto                   CA
Christian         Nunez                   Paramount                CA
Daisy             Nunez                   Garden Grove             CA
Jameelah          Nunez                   San Jose                 CA
Sal               Nunez                   Perris                   CA
Robert            Nunn                    Los Angeles              CA
Leslie            Nush                    Merced                   CA
Chioma            Nwabufoh                West Covina              CA
Bethany           Obryan                  North Highlands          CA
Andrew            Ochoa                   Anaheim                  CA
Carlos            Ochoa                   Hemet                    CA
Veronica          Ochoa                   Ceres                    CA
Mahmoud           Odeh                    Turlock                  CA
Yvonne            Ogbogu                  Riverside                CA
Stacey            Ogle                    Modesto                  CA
Elizabeth         Oglesby                 Rancho Cordova           CA
Joseph            Ojeriakhi               Los Angeles              CA
Alex              Oka                     Bay Point                CA
Jideofo           Okwudiri                Stockton                 CA
Marco             Olarte                  Bakersfield              CA
Chandra           Olazaba                 Ontario                  CA
Manny             Olguin                  Milpitas                 CA
Miguel            Olid                    Bell                     CA
Jesus             Olivares                Redwood City             CA
Brian             Oliver                  Canoga Park              CA
Tosh              Oliveri-nelson          Nevada City              CA
Paul              Ollerton                Concord                  CA
Jose              Olmos                   Orange                   CA
Michael           Oltz                    Vacaville                CA
Dana              Olvera                  Stockton                 CA
Jose              Olvera                  Corona                   CA
Patrick           OMalley                 Atascadero               CA
Stephen           Omondi                  Tracy                    CA
Rene              Oneal                   Union City               CA
Latosha           Oneil                   Sacramento               CA
Madison           Oneil                   Lincoln                  CA
Chadwell          O'Neill                 San Diego                CA
Miranda           Oquendo                 Diamond Bar              CA
Stanislav         Orekhov                 San Jose                 CA
Ernesto           Ornelas                 Los Angeles              CA
Crystal           Orona                   Alhambra                 CA
Courteney         O'rourke                Temecula                 CA
Merle             Ortega                  Burbank                  CA
Carlos            Ortiz                   Gilroy                   CA
Christina         Ortiz                   San Francisco            CA
Gabriel           Ortiz                   Fremont                  CA
Rolando           Ortiz                   Gilroy                   CA
Roberta           Osako                   Sacramento               CA
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Oscar              Espiritu             Los Angeles              CA
Joaquin            Osorio               Dana Point               CA
Jorge              Osorio               Lynwood                  CA
Vanessa            Osorio               Chino Hills              CA
Amire              Othman               San Jose                 CA
Vanessa            Otis-thomas          Lemon Grove              CA
Michele            Otto                 Stockton                 CA
Rayvon             Owen                 North Hollywood          CA
Carol              Owens                Sacramento               CA
Marcus             Owens                Santa Monica             CA
Norris             Owens                Sonoma                   CA
Renee              Owens                Oakley                   CA
Sheilacy           Owens                Hayward                  CA
Aubrey             Oxley                Fullerton                CA
Baigalimaa         Oyunchuluun          Walnut Creek             CA
Yair               Pablo                Whittier                 CA
Michelle           Pack                 Camarillo                CA
Jeniffer           Padda                Van Nuys                 CA
Adriana            Padilla              Stockton                 CA
Gabriella          Padilla              Turlock                  CA
Sofia              Padilla              San Jose                 CA
Andrew             Pagani               Pomona                   CA
Ronald             Palmer               Fairfield                CA
Timothy            Palmore              Long Beach               CA
John               Pandza               San Diego                CA
John               Pangelina            Oakland                  CA
Mary               Pantoja              Redding                  CA
Kyle               Paradeza             Menifee                  CA
Bryan              Paredes              Norwalk                  CA
Leonel             Paredes              San Jose                 CA
Maria              Paredes              Azusa                    CA
Cristie            Paris                Auburn                   CA
Sam                Park                 Harbor City              CA
Clarissa           Parker               Palmdale                 CA
Brittney           Parks                Van Nuys                 CA
Stephanie          Parmely              Rancho Cordova           CA
Brandon            Parra                Lake Elsinore            CA
Julian             Parra                Whittier                 CA
Yesenia            Parra                Chino Hills              CA
Dakota             Parrish              Garden Grove             CA
Adrian             Partida              Paso Robles              CA
Yana               Paselsky             Bay Point                CA
Bhavin             Patel                San Diego                CA
Sahil              Patel                Pleasanton               CA
Leroy              Patterson            Riverside                CA
Rickisa            Patterson            Vacaville                CA
Dujuana            Patton               Sacramento               CA
Eric               Paul                 Thousand Oaks            CA
Gary               Paulino              North Highlands          CA
Steven             Paulino              Napa                     CA
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Chris              Pavao                  Manteca                  CA
Jarrod             Pavlak                 Ontario                  CA
Darnell            Paxton                 Oakland                  CA
Brandon            Payne                  Los Angeles              CA
Shanika            Payne                  Oakland                  CA
Randy              Paz                    Los Angeles              CA
Benjamin           Pearlman               Sacramento               CA
Amira              Pearson                Los Angeles              CA
Kaitlin            Pearson                Palmdale                 CA
Tiana              Pearson                Carson                   CA
Victoria           Pearson                Lancaster                CA
Suzann             Pedersen               Atascadero               CA
Jairo              Pedroza                San Jose, Ca 95126       CA
Nathaniel          Pedroza                Santa Monica             CA
Livia              Peeples                Isla Vista               CA
Sarah              Peet                   Ventura                  CA
Faustino           Pelayo                 san diego                CA
Laura              Peloquin               Antelope                 CA
Rosa               Penate                 Palmdale                 CA
Chris              Penczek                Escondido                CA
Donald             Pendleton              Roseville                CA
Jennifer           Pendrak                Redding                  CA
Julia              Penecale               San Diego                CA
Terrance           Penny                  San Leandro              CA
Aimee              penoyer                Atwater                  CA
Kierre             Peppars                Antioch                  CA
Laura              Peral                  Modesto                  CA
Ronnie             Peralta                Chino                    CA
Monique            Perantoni              Riverside                CA
Joseph             Perdomo                Rancho Cucamonga         CA
Kristi             Perdue                 Tracy                    CA
Aaron              Perez                  Ontario                  CA
Angela             Perez                  Duarte                   CA
August             Perez                  Rohnert Park             CA
Christopher        Perez                  Riverbank                CA
Daihona            Perez                  Moreno Valley            CA
Edward             Perez                  San Jose                 CA
Erick              Perez                  San Mateo                CA
Katie              Perez                  Lodi                     CA
Michael            Perez                  North Hollywood          CA
Veronica           Perez                  Gilroy                   CA
Victoria           Perez                  Castro Valley            CA
Adrian             Perkins                Oakland                  CA
Jerry              Perkins                Hawthorne                CA
Saquita            Perkins                Long Beach               CA
Trashon            Perkins                Los Angeles              CA
Janay              Perkins-payne          Oklahoma City            OK
Phillip            Perrin                 San Bernardino           CA
Blaine             Perry                  Vallejo                  CA
Michael            Perry                  Livermore                CA
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Tom                Perry                Milpitas                 CA
Malik              Perryman             Sacramento               CA
Christopher        Peters               Ventura                  CA
Laura              Peters               Pleasanton               CA
Lily               Peters               Watsonville              CA
Matthew            Peters               Benicia                  CA
Promise            Peters               Elk Grove                CA
Richard            Petersen             Sacramento               CA
Colby              Peterson             Ladera Ranch             CA
Randall            Peterson             Long Beach               CA
Unique             Petite               Sacramento               CA
Kay                Petr                 Moreno Valley            CA
Maxime             Petrov               Anaheim                  CA
Sharlene           Petrovich            Vista                    CA
Jordan             Pettitt              Rancho Cucamonga         CA
Renita             Pettus               Los Angeles              CA
Esther             Pfirrmann            Suisun City              CA
Hang               Pham                 Los Angeles              CA
Quoc               Pham                 Laguna Hold              CA
Jonathan           Phan                 Huntington Beach         CA
Caitlin            Phillips             Folsom                   CA
Laura              Phillips             Sun Valley               CA
Orlando            Phillips             Antioch                  CA
Pamela             Phillips             Grass Valley             CA
Reginald           Phillips             Anahiem                  CA
Ericka             Picazo Soto          Sacramento               CA
Curtis             Pierce               San diego                CA
Noah               Pierpoint            Riverside                CA
Bryan              Pierre               San Pablo                CA
Rocheall           Pierre               Antioch                  CA
Camarea            Pierson              Bellflower               CA
Alejandro          Pina                 Riverside                CA
Eva                Pineda               Fresno                   CA
Candice            Pinkham              San Bernardino           CA
Ana                Pintado              Menifee                  CA
Greg               Pinto                Lake Elsinore            CA
Rita               Pipkins              San Bruno                CA
Linda              Pique                El Cajon                 CA
Simone             Pirtle               Compton                  CA
Nathan             Pitkin               Lancaster                CA
Hailee             Pitsley              Riverside                CA
Elias              Pizarro              Riverside                CA
Veronica           Platas               San Jacinto              CA
Jerry              Pledger              San Jose                 CA
Michael            Plesnicher           Greenwood                CA
Joe                Plummer              Lomita                   CA
Anthony            Poblete              San Diego                CA
Deshaya            Poe                  Vallejo                  CA
Ashlynn            Poggio               Stockton                 CA
Liparit            Poladyan             Fresno                   CA
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Angela            Polk                    San Diego                CA
Danielle          Polk                    Inglewood                CA
Jani              Polk                    Napa                     CA
Brittany          Polo                    Oceanside                CA
Samuel            Polston                 Whittier                 CA
Dennis            Pomazanov               Pacheco                  CA
Cesar             Ponce                   Moreno Valley            CA
Ramona            Ponce                   Visalia                  CA
Teddy             Pool                    Fresno                   CA
Donsaneka         Poole                   Los Angeles              CA
Cameron           Porras                  Manteca                  CA
Elizabeth         Portela                 Pasadena                 CA
Kimberly          Porter                  Antioch                  CA
Taleah            Porter                  San Pablo                CA
Wendy             Porter                  Oakland                  CA
Angela            Porter-rigdon           Rancho Cordova           CA
Jamie             Portillo                Sacramento               CA
Angelina          Postell                 Daly city                CA
Michael           Postell                 Daly City                CA
Cynthia           Pounds                  Adelanto                 CA
Jacare            Powe                    Palmdale                 CA
Anthony           Powell                  Hayward                  CA
Charla            Powell                  Vallejo                  CA
Jessica           Powell                  Oakland                  CA
Kim               Powell                  Placerville              CA
Forrest           Powers                  Mtn View                 CA
Deepika           Prasad                  Modesto                  CA
Geshni            Prasad                  Sacramento               CA
Roslin            Prasad                  Pittsburg                CA
Dana              Prather                 Anderson                 CA
Ryan              Pratt                   Newport Beach            CA
Claudia           Preciado                Santa María              CA
Deborah           Presley-brando          Encino                   CA
Christin          Price                   Covina                   CA
Hettie            Price                   Long Beach               CA
Jamonnie          Price                   Richmond                 CA
Joe               Price                   Sacramento               CA
Stephanie         Price                   Lancaster                CA
Pauline           Pridgeon                Oakland                  CA
Marissa           Prieto                  San Jose                 CA
Autumn            Prince                  Antelope                 CA
Shanna            Princeau                Sunnyvale                CA
Nicholas          Prinsen                 Redding                  CA
Zak               Priolo                  Mission viejo            CA
Brian             Pritchard               Napa                     CA
Jason             Profeta                 Morgan Hill              CA
Alexander         Prokhorov               Campbell                 CA
Dennis            Provido                 Carson                   CA
Kelan             Pruitt                  Lancaster                CA
Kristin           Pruitt                  Sacramento               CA
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Clarence          Puller                  Eureka                   CA
Steven            Purcell                 Redwood City             CA
Dilraj            Purewal                 Yuba City                CA
Brandie           Purnell                 Ontario                  CA
Dana              Purvis                  Chula Vista              CA
J. Maria          Putt                    Los Angeles              CA
Dan               Qiao                    Santa Monica             CA
Christine         Qualls                  Los Banos                CA
Earl              Quals                   Chatsworth               CA
Andraque          Quinnine                Elk Grove                CA
Soghra            Quraishy                Hayward                  CA
Ahmad             Qutami                  Fresno                   CA
Melinda           Rabb                    Ontario                  CA
Octavian          Raddle                  Campbell                 CA
Dere              Radecki                 San Marcos               CA
Nicholas          Radonich                Lafayette                CA
Klim              Radostev                Fremont                  CA
Xavier            Rafalouski              Folsom                   CA
Eli               Ragle                   San Jose                 CA
Abdullah          Rahmani                 North Highlands          CA
Michael           Rains                   Sylmar                   CA
Ramamoorthy       Raja                    Union City               CA
Whitney           Raleigh                 Chino Hills              CA
Ayanna            Ralston                 Roseville                CA
Arvind            Ramamoorthy             Union City               CA
Shahbandari       Ramella                 Burbank                  CA
Erika             Ramirez Orozco          Concord                  CA
Daniel            Ramirez                 Vallejo                  CA
Darlene           Ramirez                 Salinas                  CA
Eric              Ramirez                 Oxnard                   CA
Francisco         Ramirez                 East Palo alto           CA
Jose              Ramirez                 Temecula                 CA
Leslie            Ramirez                 Los Angeles              CA
Louis             Ramirez                 San Jose                 CA
Tani              Ramirez                 Los Angeles              CA
Valerie           Ramirez                 Fresno                   CA
Francine          Ramos                   Los Angels               CA
Yazmin            Ramos                   Los Angeles              CA
Ahcheri           Ramsay                  San Diego                CA
Sean              Randall                 Walnut Creek             CA
Dina              Randle                  Rancho Cucamonga         CA
Lutricia          Randolph                Pittsburg                CA
Tiffany           Rankin                  Sausalito                CA
Henry             Rappaport               San Marcos               CA
Fatima            Rascon                  Oakland                  CA
Hamid             Rashidi                 Sacramento               CA
Hasib             Rasool                  Winnetka                 CA
Sounthaly         Rattanapanya            San Jose                 CA
Jason             Ravarra                 San Diego                CA
Ashlee            Ray                     San jose                 CA
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Eric               Ray                    Marysville               CA
Haley              Ray                    Capitola                 CA
Karen              Ray                    Inglewood                CA
Sean               Ray                    Pasadena                 CA
Willie             Ray                    Oakland                  CA
Mike               Rayter                 Granada Hills            CA
Derek              Rea                    Fresno                   CA
Yolonda            Reddick                Huntington Park          CA
Angelica           Redman                 Sacramento               CA
Ashlee             Reed                   Pittsburgh               CA
Austin             Reed                   Lakeside                 CA
Danielle           Reed                   Victorville              CA
James              Reed                   Vacaville                CA
Laguanna           Reed                   Oakland                  CA
Natalie            Reed                   Sacramento               CA
Samantha           Reed                   San Jose                 CA
Sequoyah           Reed                   Oakland                  CA
Torrey             Reed                   Moreno Valley            CA
William            Reed                   Long Beach               CA
Raymond            Reeder                 Oceanside                CA
Mariam             Rehman                 Culver City              CA
Rosaline           Reinero                Merced                   CA
Rocky              Relph                  San diego                CA
Welsi              Renaud                 Stockton                 CA
Anthony            Renda                  San Lorenzo              CA
Mia                Rendon                 San Bernardino           CA
Deanna             Renfro                 Modesto                  CA
Angela             Renison                Antelope                 CA
Ashley             Renteria               Ontario                  CA
Stephanie          Renteria               Covina                   CA
Amirreza           Resali                 Huntington Beach         CA
Jack               Resides                San Diego                CA
Carolina           Revollar               Spring Valley            CA
Melissa            Rex                    Newport Beach            CA
Anthony            Reyes                  Buena Park               CA
Breana             Reyes                  Menifee                  CA
Desiree            Reyes                  Palmdale                 CA
Evelin             Reyes                  Indio                    CA
Gena               Reyes                  Fresno                   CA
Karina             Reyes                  Beaumont                 CA
Mark               Reyes                  Hacienda Heights         CA
Rebekah            Reyes                  Davis                    CA
Tony               Reyes                  Bakersfield              CA
Victoria           Reyes                  Fontana                  CA
Jonathan           Reyles                 San Jose                 CA
Bryant             Reyna Sanchez          East Palo Alto           CA
Anson              Reynolds               Long Beach               CA
Douglas            Reynolds               Roseville                CA
Jacob              Reynolds               Hercules                 CA
Joshua             Reynolds               Stockton                 CA
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Brandon            Rezai               Ventura                  CA
Michael            Rhodes              Cardiff                  CA
Daniel             Ribeiro             Los Angeles              CA
April              Rice                Sacramento               CA
Corey              Rice                Hemet                    CA
Shirley            Rice                Lancaster                CA
Roy                Richard             Oakland                  CA
Davionne           Richards            Lodi                     CA
Julia              Richards            San Marcos               CA
Sarah              Richards            Concord                  CA
Savonah            Richards            La Mesa                  CA
Tina               Richards            Stockton                 CA
Jamilo             Richardson          Oakland                  CA
Matt               Richardson          Lodi                     CA
Shane              Richardson          Citrus Heights           CA
Thomas             Richardson          Oakland                  CA
Tracie             Richardson          Inglewood                CA
Christopher        Richmond-mathis     Christopher              CA
Doug               Rickard             Upland                   CA
Kimberly           Ricks-Sponberg      Costa Mesa               CA
Tara               Riddle              Modesto                  CA
Heather            Ridgill             Fullerton                CA
Ezequiel           Riesgo              Whittier                 CA
Rebecca            Riggs               Chico                    CA
Kunti              Rigmaden            Sacramento               CA
Korie              Riley               Dublin                   CA
Barbara            Rincon              Montclair                CA
Gregory            Rincon              Whittier                 CA
Vincent            Rincon              Sacramento               CA
Ana                Rios                Santa Clara              CA
Daniel             Rios                Fallbrook                CA
Luis Antonio       Rios                Modesto                  CA
Miguel             Rios                San Diego                CA
Sergio             Rios                Fullerton                CA
Andrew             Ripley              Santa Rosa               CA
Alberta            Rivas               Huntington park          CA
Monica             Rivas               Littlerock               CA
Gloria             Rivera Boyd         Stockton                 CA
Amber              Rivera              San Jose                 CA
Anthony            Rivera              Lancaster                CA
Ernesto            Rivera              Fullerton                CA
Glorimar           Rivera              Bell Gardens             CA
Kimberlee          Rivera              San Jose                 CA
Luis               Rivera              San Diego                CA
Nicole             Rivera              Oxnard                   CA
Zachary            Robbins             Norco                    CA
April              Roberts             Fresno                   CA
Drie Lynn          Roberts             Isla Vista               CA
Hasten             Roberts             Riverside                CA
Nathan             Roberts             Lincoln                  CA
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Steven               Roberts                Paradise                 CA
Trishaun             Roberts                San Jose                 CA
Roman                Robertson Sr.          East Palo Alto           CA
Sarah                Robertson              Visalia                  CA
Tiana                Robertson              Fresno                   CA
Portia               Jourdan                Fresno                   CA
Andrea               Robinson               Tulare                   CA
Caleb                Robinson               Moraga                   CA
Charlette            Robinson               Fairfield                CA
Donna                Robinson               Stockton                 CA
Dylan                Robinson               Oakland                  CA
Latashia             Robinson               San Bernardino           CA
Lateesha             Robinson               Gardena                  CA
Meredith             Robinson               Stockton                 CA
Michael              Robinson               El Cajon                 CA
Joseph               Robitaille             Hemet                    CA
Damian               Robledo                San Jose                 CA
Jennifer             Robles                 Monterey Park            CA
Nathan               Robohm                 Roseville                CA
Leonardo Alejandro   Rocha Galvan           San jose                 CA
Henry                Rochez                 LOS ANGELES              CA
Jeff                 Rodas                  Anaheim                  CA
Cheri                Rodgers                Chico                    CA
Mark                 Rodgers                Hawthorne                CA
Timmy                Rodgers                Rancho Cordova           CA
Aldo                 Rodriguez              Simi Valley              CA
Bryan                Rodriguez              La puente                CA
David                Rodriguez              Montebello               CA
Elizabeth            Rodriguez              Turlock                  CA
Geovanni             Rodriguez              San Jose                 CA
Gilbert              Rodriguez              Rosemead                 CA
Gilbert              Rodriguez              Ontario                  CA
Maribel              Rodriguez              Atwater                  CA
Nicole               Rodriguez              Oakland                  CA
Omar                 Rodriguez              San Pedro                CA
Veronica             Rodriguez              Ontario                  CA
Wilson               Rodriguez              Tustin                   CA
Yvette               Rodriguez              San Leandro              CA
Amber                Rodriquez              Orangevale               CA
Ian                  Rodriquez              Sunnyvale                CA
Kamille              Roese                  Riverside                CA
Byron                Rogan                  Los Angeles              CA
Tyree                Rogan                  Inglewood                CA
Lyndsay              Rogers                 Victorville              CA
Skylar               Rogers                 Palm Desert              CA
Sylvia               Rogers                 Sacramento               CA
Traci                Rogers                 San Francisco            CA
Angela               Rojas                  Colton                   CA
Cesar                Rojas                  San Jose                 CA
Desiree              Roland                 Hemet                    CA
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Ashley             Rollice             Chino Hills              CA
Brittany           Romano              Rocklin                  CA
Vincent            Romanos             Torrance                 CA
Christopher        Romero              Orange                   CA
Lilibeth           Romero              La Puente                CA
Lisa               Romero              San Francisco            CA
Luis               Romero              Huntington Beach         CA
Rene               Romero              San Diego                CA
Tessie             Romero              El Cajon                 CA
Jose Refugio       Romo Arias          Riverside                CA
Joseph             Romo                Chula Vista              CA
Robert             Romo                San Pedro                CA
Kathryn            Roquemore           Los Angeles              CA
Chaz               Rosales             Novato                   CA
Olivia             Rose                Norwalk                  CA
Jason              Rosen               Los Angeles              CA
Martin             Rosenfeld           Sacramento               CA
Benzell            Ross                San Bernardino           CA
Brian              Ross                Paramount                CA
Jameelah           Ross                Culver City              CA
Sarah              Ross                Merced                   CA
Terry              Ross                Downey                   CA
Erica              Rothstein           Modesto                  CA
James              Rountree            Sacrameto                CA
Margaret           Rowan               Concord                  CA
Sina               Rowghani            Los Angeles              CA
Craig              Rowtham             Fontana                  CA
Justis             Royster             Sacramento               CA
Brooke             Ruberson            Fontana                  CA
Arcellia           Rubio               Vista                    CA
Lourdes            Rubio               Temecula                 CA
Bettina            Ruffalo             El Sobrante              CA
Shewanda           Ruffus              Bakersfield              CA
Briana             Ruggeri             Canoga Park              CA
Alan               Ruiz                Fairfield                CA
Ashly              Ruiz                Hemet                    CA
Efren              Ruiz                Carmichael               CA
Gabriel            Ruiz                Simi Valley              CA
Luis               Ruiz                Whittier                 CA
Ramona             Ruiz                San Jose                 CA
Rio                Ruiz                Fairfield                CA
Salvador           Ruiz                Lynwood                  CA
Crystal            Runner              Sacramento               CA
Michael            Runyan              San Francisco            CA
William            Rupert              Port Hueneme             CA
Joseph             Ruuz                Pittsburg                CA
Tanya              Ryan                Van Nuys                 CA
Nichele            Ryles               Union City               CA
Tracy              Rymenams            Fullerton                CA
Cynthia            Rymer               S Lake Tahoe             CA
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Romal              Saber                Modesto                  CA
Norman             Sadler               Antioch                  CA
Oscar              Sadoguio Jr          Union City               CA
Zoe                Saenz                Clovis                   CA
Toufou             Saephanh             Anderson                 CA
Adam               Saffiote             Carlsbad                 CA
C.j.               Sagadia              Los Angeles              CA
Kayla              Sagasta              Ontario                  CA
Dennis             Saicocie             Sacramento               CA
Manuchekhr         Saidov               Torrance                 CA
Daniel             Sainas               Moreno Valley            CA
Marissa            Sainz                San Jose                 CA
Boback             Sajadpour            Bakersfield              CA
Gholamhossein      Saki                 Laguna Niguel            CA
Addam              Saky                 San Mateo                CA
Michaela           Salas                Tracy                    CA
Janet              Salazar              Canoga park              CA
Jennifer           Salazar              Corona                   CA
Nicole             Salazar              San Bernardino           CA
Michael Angelo     Saldajeno            San Francisco            CA
Gerardo            Saldivar             Stockton                 CA
Assad              Saleh                Hayward                  CA
Selena             Salgado              San Francisco            CA
Jesus              Salguero             Los Angeles              CA
Monique            Salinas              San Bruno                CA
Zachary            Sallee               Stockton                 CA
Acamie             Salter               Los Angeles              CA
Laleh              Samadi               Walnut Creek             CA
Michael            Sami                 Orinda                   CA
Dana               Sample               Valencia                 CA
Scott              Sample               San Jose                 CA
Brandee            Samples              Cerritos                 CA
Andres             Sanchez              Watsonville              CA
Brissia            Sanchez              Sunnyvale                CA
Celicia            Sanchez              Sacramento               CA
Corina             Sanchez              Salida                   CA
Daniel             Sanchez              Los Angeles              CA
Gabriel            Sanchez              Fresno                   CA
Jacqueline         Sanchez              San Bernardino           CA
Marlen             Sanchez              San Jose                 CA
Rafael             Sanchez              Culver City              CA
Raymond            Sanchez              Rosamond                 CA
Rocky              Sanchez              Vallejo                  CA
Shawna             Sandau               Rohnert Park             CA
Bailh              Sanders              Murrieta                 CA
Chantell           Sanders              Sacramento               CA
Christopher        Sanders              Inglewood                CA
Irene              Sanders              San Diego                CA
Lisa               Sanders              Antioch                  CA
Wendy              Sanders              Oakland                  CA
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Jaimie            Sanderson               La Quinta                CA
Steven            Sanderson               Bakersfield              CA
Savijot           Sandhar                 Atwater                  CA
Gurpreet          Sandhugale              Vacaville                CA
Angel             Sandoval                Yuba City                CA
Dora              Sandoval                San Jose                 CA
Jealene           Sandoval                Glendale                 CA
William           Sandoval                La Habra                 CA
Yasmeen           Sandoval                Escondido                CA
Heather           Sanford                 Rancho Cordova           CA
Zoey              Sanford                 Los Angeles              CA
arthur            santamaria              temecula                 CA
Daniel            Santana                 Fontana                  CA
Alfredo           Santillan               Norwalk                  CA
Davina            Santivanez              Modesto                  CA
Johanna           Santolalla              North Hills              CA
Christian         Santos                  Fairfield                CA
Frederick         Santos                  Sunnyvale                CA
Gabriel           Santos                  West Covina              CA
Manuel            Santos                  Huntington Beach         CA
Michelle          Santos                  Daly City                CA
Oscar             Santos                  Salinas                  CA
Priscila          Santos                  Lathrop                  CA
Richard           Santos                  San Jose                 CA
Sheena            Santos                  Sacramento               CA
David             Santoyo                 Stockton                 CA
Monica            Sarabia                 Indio                    CA
Tim               Sargious                Lake Forest              CA
Christian         Sarmiento               Brisbane                 CA
Misty             Sarmiento               Lake Elsinore            CA
Nicholas          Sarroca                 Anaheim                  CA
Wesley            Sarte                   San Jose                 CA
Kristy            Sauls                   Fresno                   CA
Natavia           Savage                  Oakland                  CA
Robin             Savage                  Ladera Ranch             CA
Diana             Savala Thibeau          West Sacramento          CA
Tina              Savala                  San Jose                 CA
Lena              Savoeun                 Bakersfield              CA
Md                Sayed                   North Hollywood          CA
Cameron           Sayler                  San Clemente             CA
Nalani            Saysourivong            Elk Grove                CA
Dominic           Sbicca                  Duarte                   CA
Kelsea            Pierce                  San Pablo                CA
Derrick           Scales                  Windsor Hills            CA
Anthony           Scamaldo                Woodland Hills           CA
Jeff              Scammon                 Roseville                CA
Adrinanne         Scarborough             Vacaville                CA
John              Schaffran               Salida                   CA
Randi             Schemensky              Oceanside                CA
Chris             Schlenker               Riverside                CA
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Katherine          Schmidt              San Jose                 CA
Scott              Schneider            Daggett                  CA
Caleb              Schoenfeld           Sacramento               CA
John               Schoenthaler         Portola Valley           CA
Dustin             Schramm              Pomona                   CA
Jacob              Schreiber            Pleasanton               CA
Starlena           Schroeder            Citrus Heights           CA
Leeah              Schultz              Pleasant Hill            CA
Michael            Schweighardt         La Puente                CA
Aisha              Scott                Hayward                  CA
Che                Scott                Hayward                  CA
Cherrish           Scott                Stockton                 CA
Joseph             Scott                San Pablo                CA
Lakisha            Scott                Stockton                 CA
Miriya             Scott                Riverside                CA
Ondrea             Scott                San Diego                CA
Tina               Scott                Temecula                 CA
Andrew             Scott-jester         San Ramon                CA
Keisha             Seals                San Jose                 CA
Francesca          Sears                San Diego                CA
Darlene            Sebala               Corona                   CA
Jason              Segura               Lompoc                   CA
Lucas              Selig                Cameron Park             CA
Gemma              Selinger             Oakley                   CA
Jake               Sellers              San Jose                 CA
Felicia            Semebene             Hawthrone                CA
Ryan               Sensenig             Pasadena                 CA
Dawn               Sepulveda            San Pablo                CA
Sophia             Sepulveda            Chula Vista              CA
David              Serna                Cathedral City           CA
Raphael            Serna                Duarte                   CA
Aubree             Serrano              Hayward                  CA
Jeanpaul           Setareh              Chatsworth               CA
Anna               Sethman              Citrus Heights           CA
Bryan              Sewald               Fair Oaks                CA
Darren             Sexton               Ripon                    CA
Kori               Sexton               Oceanside                CA
Royanna            Sexton               Oakland                  CA
Aleksandr          Seyranov             Glendale                 CA
Jessica            Shadd                Citrus Heights           CA
Abdul              Shaikh               Redlands                 CA
Hamza              Shakir               San Jose                 CA
Randall            Shankland            Rancho Cordova           CA
Charles            Shannon-whiteside    Rialto                   CA
Amin               Sharifian Attar      Anaheim                  CA
Christopher        Sharp                Los Angeles              CA
Cody               Sharpe               Oakley                   CA
Ashley             Shaw                 Modesto                  CA
Anthony            Sheahan              Moreno Valley            CA
Geoffrey           Sheets               San Jose                 CA
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John               Shelburne              Orange                   CA
Sharla             Shelby                 altadena                 CA
Jahn               Shelton                Stockton                 CA
Sude               Shemsu                 San Jose                 CA
Inez               Shepard                Lodi                     CA
Jamaudra           Shepherd               Oakland                  CA
Tia                Shepherd               Oakland                  CA
Anthony            Sheridan               Palmdale                 CA
Vijay              Sheth                  Rancho Palos Verdes      CA
Mackenzie          Shields                Fullerton                CA
Will               Shilling               Lomita                   CA
Jeremiah           Shipp                  Oakland                  CA
Stephanie          Shoals                 R2                       CA
Shahdon            Shoga                  Irvine                   CA
Fatemeh            Shokrgozar Kelidbari   Valencia                 CA
Daniel             Shrigley               Livermore                CA
Uladzislau         Shulha                 Fremont                  CA
Mike               Shupe                  Chico                    CA
Daphne             Shyanne                San Jose                 CA
Michael            Siano                  Redlands                 CA
Raymond            Sidhu                  Carmichael               CA
Jennifer           Sierra                 Tracy                    CA
Gibson             Silew                  Turlock                  CA
Aldair             Silva                  Gardena                  CA
Alexus             Silva                  Los angeles              CA
Claudia            Silva                  Atascadero               CA
Phoebe             Silva                  Los Angeles              CA
Silvia             Silvas                 Hemet                    CA
Zachary            Silver                 Oakland                  CA
Alexis             Simental               Oxnard                   CA
Akila              Simmons                Rialto                   CA
Kevin              Simmons                San Deigo                CA
Sherrie            Simmons                Vallejo                  CA
Stasea             Simmons                Stockton                 CA
Warren             Simmons                Aptos                    CA
Aaron              Simon                  Los Angeles              CA
Demi               Simon                  Castro Valley            CA
Argin              Simonian               Glendale                 CA
Maryum             Simpkins               Oakland                  CA
Joshua             Simpson                Los Angeles              CA
Shatodda           Simpson                Los Angeles              CA
unique             simpson                Compton                  CA
William            Simpson                Arcata                   CA
Keith              Sims                   Los Angeles              CA
Nicholas           Sims                   Manteca                  CA
Robert             Sims                   San Jacinto              CA
Benjamin           Singer                 Rancho Santa Fe          CA
Jagprit            Singh                  Manteca                  CA
Mandip             Singh                  El Sobrante              CA
Mansukh            Singh                  San Jose                 CA
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Rodney             Singh              San Francisco            CA
Katherine          Sinkewiz           Vacaville                CA
James              Sinnott            Pine Grove               CA
Desiree            Sisneros           Lakewood                 CA
Aaron              Sizemore           Hacienda Heights         CA
Sandra             Skicki             Redding                  CA
Reanne             Slama              Turlock                  CA
Vinay              Slathia            Concord                  CA
Lakel              Slaughter          Oakland                  CA
Taylor             Slavin             Mira Loma                CA
Rebecca            Slightam           Discovery Bay            CA
Lauren             Sloat              Eastvale                 CA
Jesse              Slocum             Pittsburg                CA
Ali                Smadi              Spring Valley            CA
Cera               Smart              Stockton                 CA
Jan                Smejkal            Los Angeles              CA
Adam               Smith              San Jose                 CA
Adrian             Smith              Oceanside                CA
Althea             Smith              Stockton                 CA
Amber              Smith              Patterson                CA
Angela             Smith              San Jose                 CA
Arlean             Smith              San Pedro                CA
Ashley             Smith              Compton                  CA
Brandon            Smith              Fair Oaks                CA
Christine          Smith              Yuba City                CA
Dana               Smith              Oakland                  CA
Donna              Smith              Mv                       CA
Dori               Smith              Hayward                  CA
Douglas            Smith              North Hollywood          CA
Du'praiseja        Smith              Oakley                   CA
Eisha              Smith              Richmond                 CA
Emilee             Smith              Manteca                  CA
Eula               Smith              Daly City                CA
Flozell            Smith              Roseville                CA
Hunter             Smith              Los Angeles              CA
Jabari             Smith              Vacaville                CA
Jalena             Smith              Richmond                 CA
Jamila             Smith              Salida                   CA
Jaylan             Smith              Tracy                    CA
Jeremy             Smith              Calimesa                 CA
Jonathan           Smith              San Jose                 CA
Jonathan           Smith              Napa                     CA
Lacy               Smith              Santa Rosa               CA
Laurence           Smith              Los angeles              CA
Jahwan             Raney              Antioch                  CA
Lisa               Smith              Livermore                CA
Natasha            Smith              Oakland                  CA
Octavia            Smith              Sacramento               CA
Pamela             Smith              Sacramento               CA
Patrice            Smith              Norwalk                  CA
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Portia            Smith               Oakland                  CA
Rahamon           Smith               Oakland                  CA
Roxiann           Smith               Ceres                    CA
Sabrina           Smith               Encinitas                CA
Shuanta           Smith               Palmdale                 CA
Triniece          Smith               Oakland                  CA
Vanessa           Smith               Daly City                CA
Wyvon             Smith               Rancho Cucamonga         CA
Jessica           Smolak              Moreno Valley            CA
Derek             Snarr               San Francisco            CA
Bennie            Sneede              Stockton                 CA
Demisha           Sneede              Stockton                 CA
Dean              Snelson             Sacramento               CA
Eduard            Snitsar             Modesto                  CA
Dominique         Snowden             Richmond                 CA
Fernando          Soares              North Hollywood          CA
Jennifer          Sobrepena           Gardena                  CA
Melvin            Sobrepena           Sacramento               CA
Zulema            Solis               Oxnard                   CA
Kelly             Solomon             Newark                   CA
Moses             Solomon             Fontana                  CA
Lamarr            Sonny               San Bernardino           CA
Joey              Sorce               Los Angeles              CA
Shoniece          Soriano             Antioch                  CA
Vivian            Sorrow              Ranchio Cucamonga        CA
Richard           Sosa                Salinas                  CA
Alicia            Sotelo              Milpitas                 CA
Cesar             Soto                Maywood                  CA
Olivia            Soto                Whittier                 CA
Ricardo           Sotovando           San Mateo                CA
Walbens           Souza               Los Angeles              CA
Helena            Sparkes             Sacramento               CA
Carlos            Sparks              Los Angeles              CA
Rita              Sparks              Buena Park               CA
Michael           Sparr               San Jose                 CA
Sherri            Spears              Richmond                 CA
Bryan             Spelker             Hacienda Heights         CA
Kayla             Spencer             Hayward                  CA
Meosha            Spencer             Sacramento               CA
Octavia           Spencer             Oakland                  CA
Thomas            Sponberg            Costa Mesa               CA
Madhav            Srivastava          San Jose                 CA
Zackeriah         Stacey              Irvine                   CA
Chantal           Stahl               Corona                   CA
Ashley            Stanford            Redding                  CA
Clyde             Stanley             Fresno                   CA
Dajahna           Stanley             San Leandro              CA
Steven            Steadman            Glendale                 CA
Forrest           Steele              Concord                  CA
Kelly             Steele              San Ramon                CA
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Vyvon              Steele                  Rialto                   CA
Laurie             Steelman                Rio Vista                CA
Janet              Stegman                 Grass Valley             CA
Jeffrey            Steinberg               Canoga Park              CA
Russell            Stephen                 Sacramento               CA
Nictaye            Stephens                Los Angeles              CA
Tony               Stephens                Long Beach               CA
Kiva               Sterin-breschi          West Hollywood           CA
Sara               Sterner                 Rancho Cordova           CA
Caleb              Stevens                 Los Angeles              CA
Tammy              Stevens                 Long beach               CA
Adarrius           Stevenson               Fresno                   CA
Karla              Stevenson               Rio Linda                CA
Patricia           Stewart                 Oakland                  CA
Shonnel            Stewart                 Sacramento               CA
Leanna             stickel                 San Diego                CA
Dean               Stirrat                 Petaluma                 CA
Detrona            Stith                   San Ramon                CA
Michael            Stiver                  Upland                   CA
Jessica            Stobart                 North Hollywood          CA
Nathan             Stock                   Huntington Beach         CA
Lewis              Stokes                  Carson                   CA
Tina               Stokes                  Long beach               CA
Edward             Stout                   Modesto                  CA
Marion             Stoutt                  Modesto                  CA
Tamara             Stovall                 Colton                   CA
Lisa               Stover                  Long Beach               CA
John               Straszak                Lompoc                   CA
Amie               Stratton                Santa Cruz               CA
Erica              Straub                  Lake Forest              CA
Brittany           Strecker                Port Hueneme             CA
Hanah              Stuart                  Folsom                   CA
Melanie            Stubbs                  Corona                   CA
Elizabeth          Stuva                   Chico                    CA
Lori               Styx                    Stockton                 CA
Oscar              Suarez                  Los Angeles              CA
Sandra             Suarez                  Modesto                  CA
Sherelle           Suarez                  Diamond Bar              CA
David              Sudduth                 Tracy                    CA
Mary               Suguitan                West Covina              CA
Brittany           Sullivan                West Sacramento          CA
Elisha             Sullivan                Sacramento               CA
Leanne             Sullivan                Menifee                  CA
Sara               Sullivan                Van Nuys                 CA
Kimberly           Summers                 Fairfield                CA
Donna              SUMPMAN                 Garden Grove             CA
Michael            Supnet                  San Diego                CA
Julian             Suter                   Walnut Creek             CA
Deborah            Sutherland              Gardena                  CA
Nysia              Sutta-mgeni             Los Angeles              CA
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Saundra           Sutton                San Diego                 CA
Clifford          Suva                  Costa Mesa                CA
Leanna            Swain                 Santa Maria               CA
Ryan              Swami                 Hayward                   CA
Lisa              Swanson               Antioch                   CA
Brandon           Swartz                Lodi                      CA
Matthew           Swearingen            El Cajon                  CA
Phonexay          Sychareun             Diamond Bar               CA
Patricia          Sydnor                Vacavile                  CA
Yousuf            Syed                  Torrance                  CA
Mariya Shah       Syeda                 Fremont                   CA
Chris             Sykes                 Los Angeles               CA
Christopher       Szczech               Santa Rosa                CA
Alano             T.Adriano             Long Beach                CA
Maria             Taamu                 Mcclellan                 CA
Ahmad             Tabbarah              Los Angeles               CA
Abenezer          Tadesse               Santa Monica              CA
Sonia             Tadewosyan            North Hills               CA
Audra             Tafoya                Colusa                    CA
Massinissa        Taieb                 Richmond                  CA
Adoree            Tan                   Stockton                  CA
Jun               Tan                   Elk Grove                 CA
Andrew            Tapia                 San Jose                  CA
Juan              Tapia                 Rodeo                     CA
Renato            Tapia                 Sacramento                CA
Amy               Tarpley               Citrus Heights            CA
Dayna             Tartt                 Glendale                  CA
Dorothy           Tate                  Carson                    CA
Steven            Tate                  Lompoc                    CA
Kathy             Tatick                Lompoc                    CA
Stephanie         Tavarez               Palmdale                  CA
Solimon           Tawfiq                Irvine                    CA
Ashia             Taylor                Stockton                  CA
Derrick           Taylor                Corona                    CA
Eric              Taylor                Modesto                   CA
Estella           Taylor                Los Angeles               CA
Ian               Taylor                Corona                    CA
Larry             Taylor                Carson                    CA
Latrisha          Taylor                Lathrop                   CA
Laurie            Taylor                Hayward                   CA
Malarie           Taylor                Fontana                   CA
Michael           Taylor                San Diego                 CA
Sovany            team                  Sanger                    CA
Kayla             Teixeira              Watsonville               CA
Dan               Tejada                Chino hills               CA
Paul Philip       Tejedor               Lincoln                   CA
Dulce             Tellez                Lancaster                 CA
Elizabeth         Tennial               Sacramento                CA
Guadalupe         Tenorio               Chino                     CA
Pedros            Teroganesyan          Porter Ranch              CA
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Tammi             Terrell Morris      Ontario                  CA
Milakaa           Terry               San Jose                 CA
Narena            Terry               Vallejo                  CA
Tangela           Terry               Los Angeles              CA
Roshan            Thank               Torrance                 CA
Mason             Thatcher            Newark                   CA
james             thayer              Anaheim                  CA
Ryan              Thibert             Rancho Santa Margarita   CA
Manjinger         Thind               Santa Clara              CA
Robert            Thoman              Lemon Grove              CA
Every             Thomas Campbell     Los Angeles              CA
Andre             Thomas              Chino Hills              CA
Andre             Thomas              Rialto                   CA
Andrew            Thomas              North Highlands          CA
Benjamin          Thomas              Long Beach               CA
Brenita           Thomas              Fairfield                CA
Dajanae           Thomas              San Lorenzo              CA
David             Thomas              Concord                  CA
Diamond           Thomas              Newark                   CA
Jodi              Thomas              San Diego                CA
Kylondria         Thomas              Vallejo                  CA
Malcolm           Thomas              San Francisco            CA
Michael           Thomas              Los Angeles              CA
Micheline         Thomas              Lauderhill               FL
Patricia          Thomas              Antioch                  CA
Sherina           Thomas              Fairfield                CA
Stephanie         Thomas              San Francisco            CA
Steven            Thomas              Moreno Valley            CA
Brandon           Thompson            los angeles              CA
Charissa          Thompson            Carmichael               CA
Cornell           Thompson            Perris                   CA
Courtney          Thompson            Huntington Beach         CA
Kyoko             Thompson            Los Angeles              CA
Michaelle         Thompson            Los Angeles              CA
Nancy             Thompson            Bonita                   CA
Richard           Thompson            Huntington Beach         CA
Sarah             Thompson            Torrance                 CA
Tamika            Thompson            Long beach               CA
Heather           Thornton            Fairfield                CA
Gregory           Tiffith             Upland                   CA
Jon               Tiger               Cupertino                CA
Gary              Tilbury             Milpitas                 CA
Mikayla           Timmons             Buellton                 CA
Bryant            Tinajero            Mountain View            CA
Candice           Tinsley             El Cerrito               CA
Lori              Tirri               San Jose                 CA
Deanna            Tiry                Modesto                  CA
Bernadette        Titman              Carmichael               CA
Natasha           Titsworth           Salida                   CA
Ashley            Todd                Pacific                  CA
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Theresa            Togafau                San Francisco            CA
Keona              Togia                  Sacramento               CA
Inez               Tolbert                Oakland                  CA
Tommie             Toler                  El Sobrante              CA
Eric               Tolle                  Sacramento               CA
Abe                Tolliver Iii           Sunnyvale                CA
Lauren             Tolliver-king          Pittsburg                CA
David              Tolossa                Corona                   CA
Nouel              Toma                   San Jose                 CA
Julian             Tongol                 Concord                  CA
Vanita             Toombs                 Bakersfield              CA
Christian          Torossian              Fresno                   CA
Aileen             Torres                 Canoga Park              CA
David              Torres                 Rialto                   CA
Isis               Torres                 Los Angeles              CA
Linda              Torres                 Applevalle               CA
Miguel             Torres                 San Jose                 CA
Senorina           Torres                 Littlerock               CA
Steven             Torrez                 Camarillo                CA
Chanel             Tourgeman              Victorville              CA
Faraji             Toussant               Fontana                  CA
Benjamin           tovar                  concord                  CA
Blake              Tovey                  La Mirada                CA
Kim                Towers                 Oakland                  CA
Lynn               Townsel                Inglewood                CA
Jarrett            Townsend               Carnichael               CA
Glenn              Trabanino              Hayward                  CA
Cameron            Tramel                 Orangevale               CA
Joyce              Trammel                Pittsburg                CA
Myduyen            Tran                   Sacraments               CA
Sang               Tran                   Anaheim                  CA
Tenny              Tran                   San Jose                 CA
Tommy              Trang                  Monterey Park            CA
Yssa               Traore                 San Jose                 CA
Quinn              Travers                Temecula                 CA
Harrison           Trawnik                Rancho Cucamonga         CA
Elliot             Tregoning              Fremont                  CA
Sarah              Tresville              Moreno Valley            CA
Tiana              Tresville              Corona                   CA
Heather            Tripp                  Sacramento               CA
Lori               Troester               Costa Mesa               CA
Brian              Trousdale              Berkeley                 CA
Brian              Trujeque               Los Angeles              CA
Cristina           Trujillo               Daly City                CA
Mario              Trujillo               West Covina              CA
Quan               Tsang                  Walnut                   CA
Jamal              Tsoukalas              Los Angeles              CA
Michael            Tsucalas               Lomita                   CA
Julian             Tubera                 Ceres                    CA
Joseph             Tucker                 San Gabrieil             CA
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Adam              Tufono                   Aliso Viejo              CA
Mike              Tufu                     Sacramento               CA
Badri             Tulsiram                 Los Angeles              CA
Christina         Turcios                  Salinas                  CA
Ronny             Turman                   Stockton                 CA
Arthur            Turner                   Sacramento               CA
Aziza             Turner                   Santa Monica             CA
Dalene            Turner                   San Jose                 CA
Donythia          Turner                   Stockton                 CA
Eddie             Turner                   Oakland                  CA
Issac             Turner                   San Jose                 CA
Jacob             Turner                   Murrieta                 CA
Jbarrie           Turner                   Stockton                 CA
Mona              Turner                   Hemet                    CA
Ricky             Turner                   San Francisco            CA
Shadeed           Turner                   Oakland                  CA
Tavares           Turner                   Rio vista                CA
Nelson            Tuufuli                  Long Beach               CA
Celia             Tydingco                 Fairfield                CA
Angela            Ujaughele                Long Beach               CA
Md                Ullah                    Pittsburg                CA
Taylor            Underwood                Atwater                  CA
Nathan            Ung                      Oakland                  CA
Bipop             Upreti                   San Pablo                CA
Ryan              Urbano                   Vallejo                  CA
Jordan            Urbina                   Fallbrook                CA
Alan              Uribe                    Palmdale                 CA
Stephen           Urquidez                 Lancaster                CA
Issack            Vaid                     Los Angeles              CA
Renata            Vainer                   San Diego                CA
Tony              Vais                     Cameron Park             CA
Whitney           Valcin                   LOS ANGELES              CA
Delina            Valdez                   Salinas                  CA
Jamie             Valdez                   Fresno                   CA
Joseph            Valdez                   San Diego                CA
Jovan             Valdez                   Santa Ana                CA
Reynaldo          Valdez                   Fullerton                CA
Guillermo         Valdivia                 Hawthorne                CA
Alberto           Valencia                 La Puente                CA
Lynette           Valencia                 Valencia                 CA
Tony              Valencia                 Sacramento               CA
Steven            Valenciana               Fullerton                CA
Marilyn           Valencia-tapia           Manteca                  CA
Kenneth           Valera                   Northridge               CA
Abigail           Valerio                  Palmdale                 CA
Emmanuel          Vallejo-alvarez          Sacramento               CA
Lorraina          Valsonis                 Lancaster                CA
Rudy              Van Acker                Rocklin                  CA
Joshua            Van Deventer             Richmond                 CA
Kristen           Van Dine                 Huntington Beach         CA
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Sirena             Van Hook             Vacaville                CA
Lonnie             Van Horn             Anaheim                  CA
Marissa            Van houte            Clovis                   CA
Sebastien          Van Pelt             Oceanside                CA
Steve              Vancantfort          Pittsburg                CA
Amy                Vance                San Diego                CA
Ryan               Vandenburg           Huntington Beach         CA
Naly               Vang                 Sacramento               CA
Yaw                Vanscoy              Beverly Hills            CA
Jorge              Varela               San Jose                 CA
Adriana            Vargas               Stockton                 CA
Alexander          Vargas               Foster City              CA
Esteban            Vargas               Chino                    CA
Marcelino          vargas               Palmdale                 CA
Breanna            Vargo                Carmichael               CA
Angel              Vasquez              Orange                   CA
Angelica           Vasquez              Vista                    CA
Jacklyn            Vasquez              Norco                    CA
Judith             Vasquez              Oxnard                   CA
Wilfredo           Vasquez              Hawthorne                CA
Jeremy             Vazquez              Baldwin Park             CA
Selene             Vazquez              South San Francisco      CA
Aurelio            Vecchiola            West Hollywood           CA
Daisy              Vega                 Los Angeles              CA
Anthony            Velasquez            Vacaville                CA
Yolanda            Velasquez            91730                    CA
Aurelio            Velazquez            San Diego                CA
Raul               Velazquez            Riverside                CA
David              Velez                Lawndale                 CA
Theresa            Vellone              Sacramento               CA
Darlene            Veloz                Ceres                    CA
Patrice            Ventresca            Mountain View            CA
Margarita          Ventura              Vallejo                  CA
Edward             Vera                 San Diego                CA
Johnny             Vera                 Sacramento               CA
Steve              Vercher              Murrieta                 CA
Juan               Vidal                Los Angeles              CA
Adrian             Vidaurre             San Jose                 CA
Christopher        Villa                West covina              CA
Laura              Villa                Hollister                CA
Victor             Villa                Hollister                CA
Daneca             Villacorta           San Diego                CA
Wilson             Villacorte           Oxnard                   CA
Martin             Villafuerte          Rancho Santa Margarita   CA
Michael            Villar               Valley Glen              CA
Grace              Villarde             Vallejo                  CA
Irene              Villasano            Los Angeles              CA
Claudia            Villegas             San Bernardino           CA
Ricky              Villegas             San Jose                 CA
Tanya              Villines             Fresno                   CA
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Winona             Vincent               Visalia                  CA
Jon                Vinson                Oakland                  CA
Emilyn             Viray                 Tracy                    CA
Adrian             Virgilio              Mentone                  CA
Christan           Visperas              Walnut Creek             CA
Sara               Vivo                  San Jose                 CA
Adam               Volk                  Sebastopol               CA
Nick               Volz                  Atwater                  CA
Peter              Von Wiegandt          Sf                       CA
Justin             Voo                   El Dorado Hills          CA
Stephanie          Voong                 Fremont                  CA
Yevgen             Voskoley              San Jose                 CA
Peter              Vu                    San Jose                 CA
Kari               Waddell               North Highlands          CA
Kaylee             Wademan               San Jose                 CA
Daniel             Wagenseller           Riverside                CA
Dosha              Wagner                Riverside                CA
Gloria             Wagner                El Sobrante              CA
Sara               Wagner                Napa                     CA
Karttie            Wahoff                Riverside                CA
Tiffany            Waiters-mcclinton     Stockton                 CA
Admiral            Walker                Los Angeles              CA
Allissia           Walker                Lancaster                CA
Darrell            Walker                Gardena                  CA
Deonte             Walker                Los Angeles              CA
Joel               Walker                Compton                  CA
Joniesha           Walker                Stockton                 CA
Kwanius            Walker                Manteca                  CA
Lisa               Walker                El Cerrito               CA
Tenisha            Walker                Oceanside                CA
Deanna             Wallace               San Jose                 CA
Edward             Wallace               Buena Park               CA
Terra              Wallace               Clovis                   CA
Jordan             Wallick               Huntington Beach         CA
sasha              walls smith           perris                   CA
Bertran            Walls                 Rancho Cucamonga         CA
Lauren             Walman                Rosemead                 CA
Ryan               Walters               San Jose                 CA
Darren             Walton                Inglewood                CA
Keiosha            Walton                Lancaster                CA
Nicoll             Walton                Sacramento               CA
Shengwei           Wang                  San Jose                 CA
Kenda              Wannemaker            Sacramento               CA
Joshua             Ward                  Fullerton                CA
LeAnna             Ward                  Sacramento               CA
Tiana              Ward                  Vacaville                CA
Danielle           Ware                  Concord                  CA
Martin             Ware                  Hacienda Heights         CA
Shawn              Ware                  Stockton                 CA
Felicia            Warner                Moreno Valley            CA
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Todd               Warner              Salinas                   CA
Brittany           Warren              San jose                  CA
Sarah              Warren              Tustin                    CA
Angela             Washington          Gardena                   CA
Cameron            Washington          Brentwood                 CA
Cheresa            Washington          Vallejo                   CA
Jazmine            Washington          Antioch                   CA
Raylynn            Wasson              Fairfield                 CA
Ashley             Watcher             San Dimas                 CA
Ian                Waterhouse          Sunnyvale                 CA
Crystal            Waters              Bay Point                 CA
Jill               Waters              Oceanside                 CA
Patrick            Waters              San Leandro               CA
Glenn              Watkins             Sacramento                CA
Michael            Watkins             Los Angeles               CA
James              Watson Iii          Encino                    CA
Elijah             Watson              San Francisco             CA
Jorim              Watson              Placentia                 CA
Ebony              Watts               Glendora                  CA
Sasha              Watts               Bay Point                 CA
Bertha             Wauls               Long Beach                CA
Kristin            Weatherby           Sacramento                CA
Jaime              Weaver              San Leandro               CA
Barry              Webb                San Diego                 CA
Eric               Webb                Fair Oaks                 CA
Natalie            Webb                Emeryville                CA
Michelle           Weeks               San Jose                  CA
Wanda              Weeks               Modesto                   CA
Melissa            Wegner              Roseville                 CA
Peter              Wehrmeyer           Sunnyvale                 CA
Erich              Weidtmann           Cypress                   CA
Christopher        Weil                Sacramento                CA
Kayla              Weinreich           Newark                    CA
Nathan             Weiss               Chula Vista               CA
Curtis             Welch               Long Beach                CA
Tony               Welch               San Francisco             CA
Curtis             Welling             Claremont                 CA
Ivy                Wells               Los Angeles               CA
Kayla              Wells               Pittsburgh                CA
Unique             Wells               Berkeley                  CA
Ryan               Welshonse           Ceree                     CA
Shondess           Wesson Sr           Twentynine Palms          CA
Andrew             West                Clovis                    CA
Aron               West                Stockton                  CA
Daniel             West                Temecula                  CA
Elijah             West                San Jose                  CA
Joel               West                Bakersfield               CA
Kawaquana          West                Victorville               CA
Richard            West                Elk Grove                 CA
Zachary            Westmore            Van Nuys, Los angeles     CA
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Brian             Westmoreland            Los angeles              CA
Coral             Weston                  Morgan Hill              CA
Jacob             Wetherbee               San Mateo                CA
Nicole            Weyburn                 Modesto                  CA
Kendrick          Wheaton                 Compton                  CA
Raeshell          Whisman                 Palmdale                 CA
Chris             Whitcomb                Anaheim                  CA
Apondo            White                   Oakland                  CA
Brian             White                   Reseda                   CA
Callie            White                   Carmichael               CA
Cassidy           White                   Ripon                    CA
Devante           White                   Vallejo                  CA
Edwin             White                   Hayward                  CA
Emilie            White                   Rancho Cucamonga         CA
Gregory           White                   Stockton                 CA
Julian            White                   Murrieta                 CA
Kayla             White                   Brentwood                CA
Nettie            White                   San Jose                 CA
Sedric            White                   Riverside                CA
Tasha             White                   Palm springs             CA
Terian            White                   Los Angeles              CA
Courtney          Whitfield               Coarsegold               CA
Michael           Whitfield               Sacramento               CA
Terry             Whitfield               Inglewood                CA
Marissa           Whiting                 Sacramento               CA
Anthony           Whitsey                 Vallejo                  CA
Kevin             Wical                   Santa Cruz               CA
Marcalett         Wideman                 Los Angeles              CA
Indika            Wijesekera              Anaheim                  CA
Desiree           Wilbon                  Antelope                 CA
Adam              Wilborn                 Thermal                  CA
Lashawn           Wilburn                 Lake Elsinore            CA
Diamond           Wilder                  Hayward                  CA
Aarion            Wiley                   Lynwood                  CA
James             Wiley                   Stockton                 CA
Tahj              Wiliams                 Riverside                CA
Tiffiny           Wilkins                 Compton                  CA
William           Wilkins                 Inglewood                CA
Henry             Willauer                Woodland Hills           CA
Rosa              Williams Jeter          Stockton                 CA
Derek             Williams jr             Sacramento               CA
Aaronekia         Williams                Oakland                  CA
Alicia            Williams                Northridge               CA
Anfernee          Williams                Sacramento               CA
Brandon           Williams                Richmond                 CA
Chanel            Williams                San Pablo                CA
Chastity          Williams                Oakland                  CA
chelsey           williams                Vallejo                  CA
Cynthia           Williams                Vallejo                  CA
Danyael           Williams                Vallejo                  CA
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David              Williams                 Canoga Park              CA
Deanndra           Williams                 San Jose                 CA
Denise             Williams                 Ceres                    CA
Denzell            Williams                 Oakland                  CA
Derrick            Williams                 Los Angeles              CA
Emily              Williams                 Hawthorne                CA
Eric               Williams                 Bakersfield              CA
Gary               Williams                 Rancho Cordova           CA
Gerald             Williams                 Long Beach               CA
Jacob              Williams                 Placentia                CA
Jacqueline         Williams                 Fairfield                CA
Jamila             Williams                 La Mesa                  CA
Jamilia            Williams                 Oakalnd                  CA
Jordin             Williams                 Suisun                   CA
Joshcenia          Williams                 Oakland                  CA
Julius             Williams                 San Diego                CA
Kendra             Williams                 Richmond                 CA
Kenov              Williams                 Ramona                   CA
Kevin              Williams                 Elk Grove                CA
La Shawn           Williams                 Pittsburg                CA
Ladonna            Williams                 Vallejo                  CA
Ligaya             Williams                 Los Angeles              CA
Michelle           Williams                 Highland                 CA
Natasha            Williams                 Oakland                  CA
Portia             Williams                 Rancho Cucamonga         CA
Randy              Williams                 El Cajon                 CA
Ronald             Williams                 Fremont                  CA
Sharwanna          Williams                 Sacramento               CA
Tamicka            Williams                 Long Beach               CA
Tatiana            Williams                 Los Angeles              CA
Veronica           Williams                 Oakland                  CA
Victoria           Williams                 Merced                   CA
Mackenzie          Williamson               North Hollywood          CA
Markus             Williamson               Lake Elsinore            CA
Sean               Williamson               American Canyon          CA
Bonnie             Williams-taylor          Los Angeles              CA
Blake              Williford                Los Angeles              CA
Matt               Willis                   Loomis                   CA
Anastasia          Willoughby               Antioch                  CA
Alexis             Wilson                   Lancaster                CA
Cherise            Wilson                   San Jose                 CA
Christina          Wilson                   San Francisco            CA
Crissy             Wilson                   Concord                  CA
David              Wilson                   Sacramento               CA
Eric               Wilson                   Rodeo                    CA
Heather            Wilson                   Modesto                  CA
Irene              Wilson                   La Habra                 CA
Khali              Wilson                   Los Angeles              CA
Maiya              Wilson                   San Francisco            CA
Michael            Wilson                   La Habra                 CA
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Nicholas           Wilson                Upland                   CA
Reginald           Wilson                El monte                 CA
Toka               Wilson                Turlock                  CA
Vashayla           Wilson                Stockton                 CA
Whitney            Wilson                Temecula                 CA
Ymunique           Wilson                Carson                   CA
Kira               Windmueller           Manteca                  CA
Shanelle           Windom                Antioch                  CA
Jodie              Winkleblech           Manteca                  CA
Haley              Winn                  Redondo Beach            CA
Tamika             Winslow               Fairfield                CA
Lori               Wise                  Lodi                     CA
James              Wiseman               Concord                  CA
David              Witcher               South Lake Tahoe         CA
Taliyah            Witt                  Livermore                CA
Corey              Wojahn                Winchester               CA
Mahlet             Woldemichael          San Jose                 CA
Jay                Wong                  Alhambra                 CA
Paul               Wong                  San Diego                CA
Steven             Wong                  Elk Grove                CA
Angela             Wood                  San Diego                CA
Erica              Wood                  Palo alto                CA
Jessica            Wood                  San Dimas                CA
Johnathan          Wood                  Anaheim                  CA
Michael            Wood                  Chandler                 AZ
Sammantha          Wood                  Clovis                   CA
Augusta            Woodard               Oakland                  CA
Ashley             Woodbridge            Lake Elsinore            CA
Spencer            Woodcock              San Francisco            CA
Chyrah             Woods                 Patterson                CA
Nicole             Woods                 Tracy                    CA
Cassandra          Woodward              Bakersfield              CA
Heather            Woolen                Rio Linda                CA
Binh               Worley                Sacramento               CA
Shanna             Worley                Riverbank                CA
Ashley             Wright                Stockton                 CA
Brian              Wright                Riverside                CA
D'ajane            Wright                Oakland                  CA
Dean               Wright                Monrovia                 CA
Michelle           Wright                San Diego                CA
Vincent            Wright                Long Beach               CA
Zonobia            Wright                Mountain View            CA
Tiger              Wu                    Fremont                  CA
Lorenzo            Wuysang               inglewood                CA
Melanie            Wyatt                 Fresno                   CA
Dominique          Wynne Cooley          Hesperia                 CA
Christopher        Wyrick                San Jose                 CA
Sondra             Wyrick                Antioch                  CA
Michelle           Xiong                 Fresno                   CA
Crane              Xu                    Rohnert Park             CA
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Yin Kum              Xue                  Fremont                   CA
Steven               Yamaguchi            San Jose                  CA
Jessica              Yanez                Modesto                   CA
Heijin               Yang                 Fresno                    CA
Battsengel           Yanjmaa              Los Angeles               CA
Chris                Yanke                Van Nuys                  CA
Etienne              Yansunnu             Desert Hot Spring         CA
Jacob                Yarletz              Carmichael                CA
Deven                Yasay                Fremont                   CA
Ahmed                Yaseen               Sacramento                CA
Vincent              Yates                Pittsburg                 CA
Christopher Ybarra   Ybarra               Lancaster                 CA
Chris                Yoder                Cupertino                 CA
Joseph               Yoo                  Beaumont                  CA
Bryan                Young                Corona                    CA
Christopher          Young                Fontana                   CA
Grenita              Young                Oakley                    CA
Jimmy                Young                Modesto                   CA
Olivia               Young                Atascadero                CA
Samantha             Young                Livermore                 CA
Shonntae             Young                Apple Valley              CA
Rosalina             Ysais                Moreno Valley             CA
Ruth                 Zagars               Palmdale                  CA
Anastasiia           Zagoruiko            North Highlands           CA
Laurie               Zaleski              long beach                CA
Tommie               Zam                  San Diego                 CA
Rudolph              Zamarripa            Bakersfield               CA
Michael              Zambelli             Riverview                 FL
San Juanita          Zamora-meza          Salinas                   CA
Bennji               Zanabria             Pittsburg                 CA
Anthony              Zapata               San Bernardino            CA
Elizabeth            Zapata               Santa Fe Springs          CA
Martin               Zaragoza             Merced                    CA
Royce                Zaro                 Plymouth                  CA
Andrea               Zavala               Mountain view             CA
Angela               Zavala               Los Angeles               CA
Eric                 Zavala               La Habra                  CA
Lupe                 Zavala               San Jose                  CA
Zahir                Zeggane              Walnut Creek              CA
Jacqueline           Zenn                 Vallejo                   CA
Brisa                Zepeda               San Jose                  CA
Andrew               Zertuche             Riverside                 CA
Wei                  Zhao                 San Lorenzo               CA
Joshua               Zielinski            Livermore                 CA
Jessica              Zinzun               Perris                    CA
David                Zirkelbach           Fullerton                 CA
Kameel               Zreik                Camarillo                 CA
Reyna                Zuniga               San Jose                  CA
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                  INDEPENDENT CONTRACTOR AGREEMENT
   This Agreement ("Agreement") is made and entered into by and between you, the undersigned contractor
   ("CONTRACTOR"), an independent contractor engaged in the business of performing the delivery services
   contemplated by this Agreement, and DoorDash, Inc. ("DOORDASH" or "COMPANY"). CONTRACTOR may enter this
   Agreement either as an individual or as a corporate entity. This Agreement will become effective on the date it is
   accepted regardless of whether you are eligible to, or ever do, perform any Contracted Services.

   IMPORTANT: PLEASE REVIEW THIS AGREEMENT CAREFULLY. IN PARTICULAR, PLEASE REVIEW THE MUTUAL
   ARBITRATION PROVISION IN SECTION XI, AS IT REQUIRES THE PARTIES (UNLESS YOU OPT OUT OF
   ARBITRATION AS PROVIDED BELOW) TO RESOLVE DISPUTES ON AN INDIVIDUAL BASIS, TO THE FULLEST
   EXTENT PERMITTED BY LAW, THROUGH FINAL AND BINDING ARBITRATION. BY ACCEPTING THIS
   AGREEMENT, YOU ACKNOWLEDGE THAT YOU HAVE READ AND UNDERSTOOD ALL OF THE TERMS,
   INCLUDING SECTION XI, AND HAVE TAKEN THE TIME AND SOUGHT ANY ASSISTANCE NEEDED TO
   COMPREHEND THE CONSEQUENCES OF ACCEPTING THIS AGREEMENT.

   THE PARTIES
   DOORDASH is a company that provides an online marketplace connection using web-based technology that
   connects contractors, restaurants and/or other businesses, and consumers ("DOORDASH platform" or "platform").
   DOORDASH's software permits registered users to place orders for food and/or other goods from various
   restaurants and businesses. Once such orders are made, DOORDASH software notiﬁes contractors that a delivery
   opportunity is available and the DOORDASH software facilitates completion of the delivery. DOORDASH is not a
   restaurant, food delivery service, or food preparation business.

   CONTRACTOR is an independent provider of delivery services, authorized to conduct the delivery services
   contemplated by this Agreement in the geographic location(s) in which CONTRACTOR operates. CONTRACTOR
   possesses all equipment and personnel necessary to perform the delivery services contemplated by this Agreement
   in accordance with applicable laws. CONTRACTOR desires to enter into this Agreement for the right to receive
   delivery opportunities made available through DOORDASH'S platform. CONTRACTOR understands and expressly
   agrees that he/she is not an employee of DOORDASH or any restaurant, other business or consumer and that
   he/she is providing delivery services on behalf of him/herself and his/her business, not on behalf of DOORDASH.
   CONTRACTOR understands (i) he/she is free to select those times he/she wishes to be available on the platform to
   receive delivery opportunities; (ii) he/she is free to accept or reject the opportunities transmitted through the
   DOORDASH platform by consumers, and can make such decisions to maximize his/her opportunity to proﬁt; and (iii)
   he/she has the sole right to control the manner in which deliveries are performed and the means by which those
   deliveries are completed.

   In consideration of the above, as well as the mutual promises described herein, DOORDASH and CONTRACTOR
   (collectively "the parties") agree as follows:

   I. PURPOSE OF THE AGREEMENT
         1. This Agreement governs the relationship between DOORDASH and CONTRACTOR, and establishes the
            parties' respective rights and obligations. In exchange for the promises contained in this Agreement,
            CONTRACTOR shall have the right and obligation to perform the "Contracted Services" as deﬁned herein.
            However, nothing in this Agreement requires CONTRACTOR to perform any particular volume of Contracted
            Services during the term of this Agreement, and nothing in this Agreement shall guarantee CONTRACTOR
            any particular volume of business for any particular time period.
         2. CONTRACTOR shall have no obligation to accept or perform any particular "Delivery Opportunity" (as that
            term is deﬁned herein) offered by DOORDASH. However, once a Delivery Opportunity is accepted,

https://www.doordash.com/dasher/us/ica/                                                                                 1/10
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            CONTRACTOR shall be contractually bound to complete the Contracted Services in accordance with all
            consumer speciﬁcations and the terms laid out in this Agreement,

   II. CONTRACTOR'S OPERATIONS
         1. CONTRACTOR represents that he/she operates an independently established enterprise that provides
            delivery services, and that he/she satisﬁes all legal requirements necessary to perform the services
            contemplated by this Agreement. As an independent contractor/enterprise, CONTRACTOR shall be solely
            responsible for determining how to operate his/her business and how to perform the Contracted Services.
         2. CONTRACTOR agrees to fully perform the Contracted Services in a timely, eﬃcient, safe, and lawful manner.
            DOORDASH shall have no right to, and shall not, control the manner, method or means CONTRACTOR uses to
            perform the Contracted Services. Instead, CONTRACTOR shall be solely responsible for determining the most
            effective, eﬃcient, and safe manner to perform the Contracted Services, including determining the manner of
            pickup, delivery, and route selection.
         3. As an independent business enterprise, CONTRACTOR retains the right to perform services (whether delivery
            services or other services) for others and to hold him/herself out to the general public as a separately
            established business. The parties recognize that they are or may be engaged in similar arrangements with
            others and nothing in this Agreement shall prevent CONTRACTOR or DOORDASH from doing business with
            others. DOORDASH does not have the right to restrict CONTRACTOR from performing services for other
            businesses, customers or consumers at any time, even if such business directly competes with DOORDASH,
            and even during the time CONTRACTOR is logged into the DOORDASH platform. CONTRACTOR’s right to
            compete with DOORDASH, or perform services for business that compete with DOORDASH, will survive even
            after termination of this Agreement.
         4. CONTRACTOR is not required to purchase, lease, or rent any products, equipment or services from
            DOORDASH as a condition of doing business with DOORDASH or entering into this Agreement.
         5. CONTRACTOR agrees to immediately notify DOORDASH in writing at www.doordash.com/help/ if
            CONTRACTOR's right to control the manner or method he/she uses to perform services differs from the terms
            contemplated in this Section.

   III. CONTRACTED SERVICES
         1. From time to time, the DOORDASH platform will notify CONTRACTOR of the opportunity to complete
            deliveries from restaurants or other businesses to consumers in accordance with orders placed by consumers
            through the DOORDASH platform (each of these is referred to as a "Delivery Opportunity"). For each Delivery
            Opportunity accepted by CONTRACTOR ("Contracted Service"), CONTRACTOR agrees to retrieve the orders
            from restaurants or other businesses, ensure the order was accurately ﬁlled, and deliver the order to
            consumers in a safe and timely fashion. CONTRACTOR understands and agrees that the parameters of each
            Contracted Service are established by the consumer, not DOORDASH, and represent the end result desired,
            not the means by which CONTRACTOR is to accomplish the result. CONTRACTOR has the right to cancel,
            from time to time, a Contracted Service when, in the exercise of CONTRACTOR's reasonable discretion and
            business judgment, it is appropriate to do so. Notwithstanding the foregoing, CONTRACTOR agrees to
            maintain both a customer rating and a completion rate found here (http://doordash.squarespace.com/local-
            markets) as of the date this Agreement becomes effective. Failure to satisfy this obligation constitutes a
            material breach of this Agreement, and DOORDASH shall have the right to terminate this Agreement and/or
            deactivate CONTRACTOR'S account.
         2. CONTRACTOR acknowledges that DOORDASH has discretion as to which, if any, Delivery Opportunity to
            offer, just as CONTRACTOR has the discretion whether and to what extent to accept any Delivery Opportunity.
         3. CONTRACTOR acknowledges that CONTRACTOR is engaged in CONTRACTOR’s own business, separate and
            apart from DOORDASH’S business, which is to provide an online marketplace connection using web-based
            technology that connects contractors, restaurants and/or other businesses, and consumers.


https://www.doordash.com/dasher/us/ica/                                                                               2/10
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         4. CONTRACTOR authorizes DOORDASH, during the course of a Contracted Service, to communicate with
            CONTRACTOR, consumer, and/or restaurant or other business to assist CONTRACTOR, to the extent
            permitted by CONTRACTOR, in facilitating deliveries. However, under no circumstances shall DOORDASH be
            authorized to control the manner or means by which CONTRACTOR performs delivery services. This includes,
            but is not limited to, the following:
                    DOORDASH does not require any speciﬁc type, or quality, of CONTRACTOR’s choice of transportation.
                    CONTRACTOR does not have a supervisor or any individual at DOORDASH to whom they report.
                    CONTRACTOR is not required to use any signage or other designation of DOORDASH on his or her
                    vehicle or person at any point in their use of the platform to perform the Contracted Services.
                    DOORDASH has no control over CONTRACTOR’s personal appearance
                    CONTRACTOR does not receive regular performance evaluations by DOORDASH
         5. CONTRACTOR may use whatever payment method he/she chooses to purchase items to be delivered to
            consumers, including, but not limited to CONTRACTOR's personal credit or debit card, cash or a prepaid card.
            CONTRACTOR may use, for CONTRACTOR's convenience, the prepaid card solely for purchasing items to be
            delivered to consumers. If CONTRACTOR chooses to use his/her personal credit or debit card or cash,
            CONTRACTOR shall invoice DOORDASH on a weekly basis and DOORDASH agrees to pay all invoices within
            10 days of receipt.
         6. In the event CONTRACTOR fails to fully perform any Contracted Service (a "Service Failure") due to
            CONTRACTOR's action or omission, CONTRACTOR shall forfeit all or part of the agreed upon fee for that
            service. If CONTRACTOR disputes responsibility for a Service Failure, the dispute shall be resolved pursuant
            to the "Payment Disputes" provision below.
         7. CONTRACTOR agrees to immediately notify DOORDASH in writing by submitting a Support inquiry through
            https://help.doordash.com/consumers/s/contactsupport if CONTRACTOR's services or scope of work differ in
            any way from what is contemplated in this Section.

   IV. RELATIONSHIP OF PARTIES
         1. The parties acknowledge and agree that this Agreement is between two co-equal, independent business
            enterprises that are separately owned and operated. The parties intend this Agreement to create the
            relationship of principal and independent contractor and not that of employer and employee. The parties are
            not employees, agents, joint venturers, or partners of each other for any purpose. Neither party shall have the
            right to bind the other by contract or otherwise except as speciﬁcally provided in this Agreement.
         2. DOORDASH shall not have the right to, and shall not, control the manner or the method of accomplishing
            Contracted Services to be performed by CONTRACTOR. The parties acknowledge and agree that those
            provisions of the Agreement reserving ultimate authority in DOORDASH have been inserted solely for the
            safety of consumers and other CONTRACTORS using the DOORDASH platform or to achieve compliance with
            federal, state, or local laws, regulations, and interpretations thereof.
         3. DOORDASH shall report all payments made to CONTRACTOR on a calendar year basis using an appropriate
            IRS Form 1099, if the volume of payments to CONTRACTOR qualify. CONTRACTOR agrees to report all such
            payments and any cash gratuities to the appropriate federal, state and local taxing authorities.

   V. PAYMENT FOR SERVICES
         1. Unless notiﬁed otherwise by DOORDASH in writing or except as provided herein, CONTRACTOR will receive
            payment per accurate Contracted Service completed in an amount consistent with the publicly provided pay
            model, which you can view here (http://doordash.squarespace.com/local-markets). From time to time,
            DOORDASH may offer opportunities for CONTRACTOR to earn more money for performing Contracted
            Services at speciﬁed times or in speciﬁed locations. Nothing prevents the parties from negotiating a different
            rate of pay, and CONTRACTOR is free to accept or deny any such opportunities to earn different rates of pay.
         2. DOORDASH's online credit card software may permit consumers to add a gratuity to be paid to
            CONTRACTOR, and consumers can also pay a gratuity to CONTRACTOR in cash. CONTRACTOR shall retain
https://www.doordash.com/dasher/us/ica/                                                                                      3/10
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            100% of any gratuity paid by the consumer, whether by cash or credit card. DOORDASH acknowledges it has
            no right to interfere with the amount of gratuity given by the consumer to the CONTRACTOR.
         3. DOORDASH will process payments made by consumers and transmit to CONTRACTOR. Payments for all
            deliveries completed in a given week will be transferred via direct deposit on no less than a weekly basis
            unless it notiﬁes CONTRACTOR otherwise in writing.
         4. Notwithstanding the terms of Section V(1) – (3), fulﬁllment orders placed directly with merchants rather than
            through the App or doordash.com ("Fulﬁllment Orders") may be subject to a different payment model. The
            current pay schedules offered for Fulﬁllment Orders in the relevant markets are reﬂected here
            (https://doordash.squarespace.com/doordash-drive/). Nothing prevents the parties from negotiating a different
            rate of pay for a Fulﬁllment Order, and the CONTRACTOR is free to accept or reject Fulﬁllment Order
            opportunities. As with all Delivery Opportunities, CONTRACTOR shall retain 100% of any gratuity paid by the
            consumer for a Fulﬁllment Order. DoorDash's software may not always include an option to add gratuity for
            Fulﬁllment Orders; however, consumers can pay a gratuity to CONTRACTOR in cash.
         5. From time to time, DOORDASH may offer various Dasher promotions or referral programs. CONTRACTOR
            agrees that he or she will not manipulate or abuse the referral programs or Dasher promotions by, among
            other things: (a) tampering with the location feature on his or her mobile phone; (b) collecting incentive or
            promotional pay when not eligible to receive such pay under relevant policies; or, (c) creating multiple Dasher
            or consumer accounts. CONTRACTOR understands that engaging in this type of manipulation or abuse
            constitutes a material breach of this Agreement and may lead to deactivation of his or her account.

   VI. PAYMENT DISPUTES
         1. CONTRACTOR's Failure: In the event there is a Service Failure, CONTRACTOR shall not be entitled to
            payment as described above (as determined in DOORDASH's reasonable discretion). Any withholding of
            payment shall be based upon proof provided by the consumer, restaurant or other business, CONTRACTOR,
            and any other party with information relevant to the dispute. DOORDASH shall make the initial determination
            as to whether a Service Failure was the result of CONTRACTOR's action/omission. CONTRACTOR shall have
            the right to challenge DOORDASH's determination through any legal means contemplated by this Agreement;
            however, CONTRACTOR shall notify DOORDASH in writing at www.doordash.com/help/ of the challenge and
            provide DOORDASH the opportunity to resolve the dispute. CONTRACTOR should include any documents or
            other information in support of his/her challenge.
         2. DOORDASH's Failure: In the event DOORDASH fails to remit payment in a timely or accurate manner,
            CONTRACTOR shall have the right to seek proper payment by any legal means contemplated by this
            Agreement and, should CONTRACTOR prevail, shall be entitled to recover reasonable costs incurred in
            pursuing proper payment, provided, however, CONTRACTOR shall ﬁrst inform DOORDASH in writing at
            www.doordash.com/help/ of the failure and provide a reasonable opportunity to cure it.

   EQUIPMENT AND EXPENSES
         1. CONTRACTOR represents that he/she has or can lawfully acquire all equipment, including vehicles and food
            hot bags ("Equipment") necessary for performing contracted services, and CONTRACTOR is solely
            responsible for ensuring that the vehicle used conforms to all vehicle laws pertaining to safety, equipment,
            inspection, and operational capability.
         2. CONTRACTOR agrees that he/she is responsible for all costs and expenses arising from CONTRACTOR's
            performance of Contracted Services, including, but not limited to, costs related to CONTRACTOR's Personnel
            (deﬁned below) and Equipment. Except as otherwise required by law, CONTRACTOR assumes all risk of
            damage or loss to its Equipment.

   VIII. PERSONNEL
            1. In order to perform any Contracted Services, CONTRACTOR must, for the safety of consumers on the
               DOORDASH platform, pass a background check administered by a third-party vendor, subject to
https://www.doordash.com/dasher/us/ica/                                                                                    4/10
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            CONTRACTOR's lawful consent. CONTRACTOR is not required to perform any Contracted Services
            personally, but may, to the extent permitted by law and subject to the terms of this Agreement, hire or engage
            others (as employees or subcontractors of CONTRACTOR) to perform all or some of the Contracted Services,
            provided any such employees or subcontractors meet all the requirements applicable to CONTRACTOR
            including, but not limited to, the background check requirements that CONTRACTOR must meet in order to
            perform Contracted Services. To the extent CONTRACTOR furnishes his/her own employees or
            subcontractors (collectively "Personnel"), CONTRACTOR shall be solely responsible for the direction and
            control of the Personnel it uses to perform all Contracted Services.
         2. CONTRACTOR assumes full and sole responsibility for the payment of all amounts due to his/her
            Personnel for work performed in relation to this Agreement, including all wages, beneﬁts and expenses, if
            any, and for all required state and federal income tax withholdings, unemployment insurance
            contributions, and social security taxes as to CONTRACTOR and all Personnel employed by
            CONTRACTOR in the performance of Contracted Services under this Agreement. DOORDASH shall have
            no responsibility for any wages, beneﬁts, expenses, or other payments due CONTRACTOR's Personnel,
            nor for income tax withholding, social security, unemployment insurance contributions, or other payroll
            taxes relating to CONTRACTOR or his/her Personnel. Neither CONTRACTOR nor his/her Personnel shall
            receive any wages, including vacation pay or holiday pay, from DOORDASH, nor shall they participate in
            or receive any other beneﬁts, if any, available to DOORDASH's employees.
         3. Unless mandated by law, DOORDASH shall have no authority to withhold state or federal income taxes,
            social security taxes, unemployment insurance taxes/contributions, or any other local, state or federal tax
            on behalf of CONTRACTOR or his/her Personnel.
         4. CONTRACTOR and his/her Personnel shall not be required to wear a uniform or other clothing of any type
            bearing DOORDASH's name or logo.
         5. If CONTRACTOR uses the services of any Personnel to perform the Contracted Services, CONTRACTOR's
            Personnel must satisfy and comply with all of the terms of this Agreement, which CONTRACTOR must make
            enforceable by written agreement between CONTRACTOR and such Personnel. A copy of such written
            agreement must be provided to DOORDASH at least 7 days in advance of such Personnel performing the
            Contracted Services. The parties acknowledge that the sole purpose of this requirement is to ensure
            CONTRACTOR's compliance with the terms of this Agreement.

   IX. INSURANCE
         1. CONTRACTOR agrees, as a condition of doing business with DOORDASH, that during the term of this
            Agreement, CONTRACTOR will maintain current insurance, in amounts and of types required by law to
            provide the Contracted Services, at his/her own expense. CONTRACTOR acknowledges that failure to secure
            or maintain satisfactory insurance coverage shall be deemed a material breach of this Agreement and shall
            result in the termination of the Agreement and the loss of CONTRACTOR's right to receive Delivery
            Opportunities.
         2. NOTIFICATION OF COVERAGE: CONTRACTOR agrees to deliver to DOORDASH, upon request, current
            certiﬁcates of insurance as proof of coverage. CONTRACTOR agrees to provide updated certiﬁcates each
            time CONTRACTOR purchases, renews, or alters CONTRACTOR's insurance coverage. CONTRACTOR agrees
            to give DOORDASH at least thirty (30) days' prior written notice before cancellation of any insurance policy
            required by this Agreement.
         3. WORKERS' COMPENSATION/OCCUPATIONAL ACCIDENT INSURANCE: CONTRACTOR agrees that
            CONTRACTOR will not be eligible for workers' compensation beneﬁts through DOORDASH, and instead, will
            be responsible for providing CONTRACTOR's own workers' compensation insurance or occupational accident
            insurance, if permitted by law.

   X. INDEMNITY

https://www.doordash.com/dasher/us/ica/                                                                                  5/10
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         1. DOORDASH agrees to indemnify, protect and hold harmless CONTRACTOR from any and all claims,
            demands, damages, suits, losses, liabilities and causes of action arising directly from DOORDASH's actions
            arranging and offering the Contracted Services to CONTRACTOR.
         2. CONTRACTOR agrees to indemnify, protect and hold harmless DOORDASH, including all parent, subsidiary
            and/or aﬃliated companies, as well as its and their past and present successors, assigns, oﬃcers, owners,
            directors, agents, representatives, attorneys, and employees, from any and all claims, demands, damages,
            suits, losses, liabilities and causes of action arising directly or indirectly from, as a result of or in connection
            with, the actions of CONTRACTOR and/or his/her Personnel arising from the performance of delivery services
            under this Agreement, including personal injury or death to any person (including to CONTRACTOR and/or
            his/her Personnel), as well as any liability arising from CONTRACTOR's failure to comply with the terms of this
            Agreement. CONTRACTOR's obligations hereunder shall include the cost of defense, including attorneys'
            fees, as well as the payment of any ﬁnal judgment rendered against or settlement agreed upon by
            DOORDASH or its parent, subsidiary and/or aﬃliated companies.
         3. CONTRACTOR agrees to indemnify, protect and hold harmless DOORDASH, including all parent, subsidiary,
            and/or aﬃliated companies, as well as its and their past and present successors, assigns, oﬃcers, owners,
            directors, agents, representatives, attorneys, and employees, from any and all tax liabilities and
            responsibilities for payment of all federal, state and local taxes, including, but not limited to all payroll taxes,
            self-employment taxes, workers compensation premiums, and any contributions imposed or required under
            federal, state and local laws, with respect to CONTRACTOR and CONTRACTOR's Personnel.
         4. CONTRACTOR shall be responsible for, indemnify and hold harmless DOORDASH, including all parent,
            subsidiary, and/or aﬃliated companies, as well as its and their past and present successors, assigns, oﬃcers,
            owners, directors, agents, representatives, attorneys, and employees, from all costs of CONTRACTOR's
            business, including, but not limited to, the expense and responsibility for any and all applicable insurance,
            local, state or federal licenses, permits, taxes, and assessments of any and all regulatory agencies, boards or
            municipalities.

   XI. MUTUAL ARBITRATION PROVISION
            1. CONTRACTOR and DOORDASH mutually agree to this arbitration agreement, which is governed by the
               Federal Arbitration Act (9 U.S.C. §§ 1-16) ("FAA") and shall apply to any and all claims arising out of or relating to
               this Agreement, CONTRACTOR's classiﬁcation as an independent contractor, CONTRACTOR's provision of
               Contracted Services to consumers, the payments received by CONTRACTOR for providing services to
               consumers, the termination of this Agreement, and all other aspects of CONTRACTOR's relationship with
               DOORDASH, past, present or future, whether arising under federal, state or local statutory and/or common
               law, including without limitation harassment, discrimination or retaliation claims and claims arising under or
               related to the Civil Rights Act of 1964 (or its state or local equivalents), Americans With Disabilities Act (or its
               state or local equivalents), Age Discrimination in Employment Act (or its state or local equivalents), Family
               Medical Leave Act (or its state or local equivalents), Federal Credit Reporting Act (or its state or local
               equivalents), Telephone Consumer Protection Act (or its state or local equivalents), or Fair Labor Standards
               Act (or its state or local equivalents), state and local wage and hour laws, state and local statutes or
               regulations addressing the same or similar subject matters, and all other federal, state or local claims arising
               out of or relating to CONTRACTOR's relationship or the termination of that relationship with DOORDASH. The
               parties expressly agree that this Agreement shall be governed by the FAA even in the event CONTRACTOR
               and/or DOORDASH are otherwise exempted from the FAA. Any disputes in this regard shall be resolved
               exclusively by an arbitrator. In the event, but only in the event, the arbitrator determines the FAA does not
               apply, the state law governing arbitration agreements in the state in which the CONTRACTOR operates shall
               apply.

         2. If either CONTRACTOR or DOORDASH wishes to initiate arbitration, the initiating party must notify the other
            party in writing via certiﬁed mail, return receipt requested, or hand delivery within the applicable statute of

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            limitations period. This demand for arbitration must include (1) the name and address of the party seeking
            arbitration, (2) a statement of the legal and factual basis of the claim, and (3) a description of the remedy
            sought. Any demand for arbitration by CONTRACTOR must be delivered to General Counsel, 901 Market
            Street, 6th Floor, San Francisco, California 94103.
         3. Arbitration Class Action Waiver. CONTRACTOR and DOORDASH mutually agree that by entering into this
            agreement to arbitrate, both waive their right to have any dispute or claim brought, heard or arbitrated as, or
            to participate in, a class action, collective action and/or representative action—including but not limited to
            actions brought pursuant to the Private Attorney General Act (“PAGA”), California Labor Code section 2699 et
            seq., and any request seeking a public injunction—and an arbitrator shall not have any authority to hear or
            arbitrate any class, collective or representative action, or to award relief to anyone but the individual in
            arbitration ("Arbitration Class Action Waiver"). Notwithstanding any other clause contained in this Agreement
            or the AAA Rules, as deﬁned below, any claim that all or part of this Arbitration Class Action Waiver is
            unenforceable, unconscionable, void or voidable may be determined only by a court of competent jurisdiction
            and not by an arbitrator. In any case in which (1) the dispute is ﬁled as a class, collective, or representative
            action and (2) there is a ﬁnal judicial determination that all or part of the Arbitration Class Action Waiver is
            unenforceable, the class, collective and/or representative action to that extent must be litigated in a civil court
            of competent jurisdiction, but the portion of the Arbitration Class Action Waiver that is enforceable shall be
            enforced in arbitration. Notwithstanding any other clause contained in this Agreement or the AAA Rules, as
            deﬁned below, any claim that all or part of this Arbitration Class Action Waiver is unenforceable,
            unconscionable, void or voidable may be determined only by a court of competent jurisdiction and not by an
            arbitrator. All other disputes with respect to whether this Mutual Arbitration Provision is unenforceable,
            unconscionable, applicable, valid, void or voidable shall be determined exclusively by an arbitrator, and not by
            any court.
         4. CONTRACTOR agrees and acknowledges that entering into this arbitration agreement does not change
            CONTRACTOR's status as an independent contractor in fact and in law, that CONTRACTOR is not an
            employee of DOORDASH or its customers and that any disputes in this regard shall be subject to arbitration
            as provided in this agreement.
         5. Any arbitration shall be governed by the American Arbitration Association Commercial Arbitration Rules ("AAA
            Rules"), except as follows:
                 a. The arbitration shall be heard by one arbitrator selected in accordance with the AAA Rules. The
                     Arbitrator shall be an attorney with experience in the law underlying the dispute.
                 b. If the parties cannot otherwise agree on a location for the arbitration, the arbitration shall take place
                     within 45 miles of CONTRACTOR's residence as of the effective date of this Agreement.
                 c. Unless applicable law provides otherwise, in the event that DOORDASH and CONTRACTOR have
                     agreed to this Mutual Arbitration Provision, DOORDASH and CONTRACTOR shall equally share ﬁling
                     fees and other similar and usual administrative costs, as are common to both court and administrative
                     proceedings. DOORDASH shall pay any costs uniquely associated with arbitration, such as payment of
                     the costs of AAA and the Arbitrator, as well as room rental.
                 d. The Arbitrator may issue orders (including subpoenas to third parties) allowing the parties to conduct
                     discovery suﬃcient to allow each party to prepare that party's claims and/or defenses, taking into
                     consideration that arbitration is designed to be a speedy and eﬃcient method for resolving disputes.
                 e. Except as provided in the Arbitration Class Action Waiver, the Arbitrator may award all remedies to
                     which a party is entitled under applicable law and which would otherwise be available in a court of law,
                     but shall not be empowered to award any remedies that would not have been available in a court of
                     law for the claims presented in arbitration. The Arbitrator shall apply the state or federal substantive
                     law, or both, as is applicable.
                  f. The Arbitrator may hear motions to dismiss and/or motions for summary judgment and will apply the
                     standards of the Federal Rules of Civil Procedure governing such motions.
                 g. The Arbitrator's decision or award shall be in writing with ﬁndings of fact and conclusions of law.
https://www.doordash.com/dasher/us/ica/                                                                                       7/10
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                  h. The Arbitrator may issue orders to protect the conﬁdentiality of proprietary information, trade secrets,
                      or other sensitive information. Subject to the discretion of the Arbitrator or agreement of the parties,
                      any person having a direct interest in the arbitration may attend the arbitration hearing. The Arbitrator
                      may exclude any non-party from any part of the hearing.
                   i. Either CONTRACTOR or DOORDASH may apply to a court of competent jurisdiction for temporary or
                      preliminary injunctive relief on the ground that without such relief the arbitration provided in this
                      paragraph may be rendered ineffectual.

         6. Nothing in this Mutual Arbitration Provision prevents you from making a report to or ﬁling a claim or charge
            with the Equal Employment Opportunity Commission, U.S. Department of Labor, U.S. Securities and Exchange
            Commission, National Labor Relations Board, or Oﬃce of Federal Contract Compliance Programs. Nothing in
            this Mutual Arbitration Provision prevents the investigation by a government agency of any report, claim or
            charge otherwise covered by this Mutual Arbitration Provision. This Mutual Arbitration Provision also does not
            prevent federal administrative agencies from adjudicating claims and awarding remedies based on those
            claims, even if the claims would otherwise be covered by this Mutual Arbitration Provision. Nothing in this
            Mutual Arbitration Provision prevents or excuses a party from satisfying any conditions precedent and/or
            exhausting administrative remedies under applicable law before bringing a claim in arbitration. DOORDASH
            will not retaliate against CONTRACTOR for ﬁling a claim with an administrative agency or for exercising rights
            (individually or in concert with others) under Section 7 of the National Labor Relations Act. Disputes between
            the parties that may not be subject to predispute arbitration agreement, including as provided by an Act of
            Congress or lawful, enforceable Executive Order, are excluded from the coverage of this Mutual Arbitration
            Provision.
         7. The AAA Rules may be found at www.adr.org or by searching for "AAA Commercial Arbitration Rules" using a
            service such as www.google.com or www.bing.com or by asking DOORDASH's General Counsel to provide a
            copy.
         8. CONTRACTOR's Right to Opt Out of Arbitration Provision. Arbitration is not a mandatory condition of
            CONTRACTOR's contractual relationship with DOORDASH, and therefore CONTRACTOR may submit a
            statement notifying DOORDASH that CONTRACTOR wishes to opt out and not be subject to this MUTUAL
            ARBITRATION PROVISION. In order to opt out, CONTRACTOR must notify DOORDASH in writing of
            CONTRACTOR's intention to opt out by sending a letter, by First Class Mail, to DoorDash, Inc., 901 Market
            Street, Suite 600, San Francisco, CA, 94131. Any attempt to opt out by email will be ineffective. The letter must
            state CONTRACTOR's intention to opt out. In order to be effective, CONTRACTOR's opt out letter must be
            postmarked within 30 days of the effective date of this Agreement. The letter must be signed by
            CONTRACTOR himself/herself, and not by any agent or representative of CONTRACTOR. The letter may opt
            out, at most, only one CONTRACTOR, and letters that purport to opt out multiple CONTRACTORS will not be
            effective as to any. No CONTRACTOR (or his or her agent or representative) may effectuate an opt out on
            behalf of other CONTRACTORS. If CONTRACTOR opts out as provided in this paragraph, CONTRACTOR will
            not be subject to any adverse action from DOORDASH as a consequence of that decision and he/she may
            pursue available legal remedies without regard to this Mutual Arbitration Provision. If CONTRACTOR does not
            opt out within 30 days of the effective date of this Agreement, CONTRACTOR and DOORDASH shall be
            deemed to have agreed to this Mutual Arbitration Provision. CONTRACTOR has the right to consult with
            counsel of CONTRACTOR's choice concerning this Mutual Arbitration Provision (or any other provision of this
            Agreement.
         9. This Mutual Arbitration Provision is the full and complete agreement relating to the formal resolution of
            disputes covered by this Mutual Arbitration Provision. In the event any portion of this Mutual Arbitration
            Provision is deemed unenforceable, the remainder of this Mutual Arbitration Provision will be enforceable.
            The award issued by the Arbitrator may be entered in any court of competent jurisdiction.

   XII. LITIGATION CLASS ACTION WAIVER

https://www.doordash.com/dasher/us/ica/                                                                                           8/10
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            1. To the extent allowed by applicable law, separate and apart from the Mutual Arbitration Provision found in
               Section XI, CONTRACTOR agrees that any proceeding to litigate in court any dispute arising out of or relating
               to this Agreement, whether because CONTRACTOR opted out of the Arbitration Provision or any other
               reason, will be conducted solely on an individual basis, and CONTRACTOR agrees not to seek to have any
               controversy, claim or dispute heard as a class action, a representative action, a collective action, a private
               attorney-general action, or in any proceeding in which CONTRACTOR acts or proposes to act in a
               representative capacity (“Litigation Class Action Waiver”). CONTRACTOR further agrees that no proceeding
               will be joined, consolidated, or combined with another proceeding, without the prior written consent of all
               parties to any such proceeding. If a court of competent jurisdiction determines that all or part of this Litigation
               Class Action Waiver is unenforceable, unconscionable, void or voidable, the remainder of this Agreement
               shall remain in full force and effect.

   XIII. TERMINATION OF AGREEMENT
         1. CONTRACTOR may terminate this Agreement upon seven (7) days written notice. DOORDASH may terminate
            this Agreement and deactivate CONTRACTOR’S Dasher account only for the reasons set forth in the
            DOORDASH Deactivation Policy (http://www.doordash.com/deactivationpolicy), or for a material breach of this
            Agreement. Notwithstanding any other provision in this Agreement, DoorDash reserves the right to modify
            the Deactivation Policy if, in DoorDash’s good faith and reasonable discretion, it is necessary to do so for the
            safe and/or effective operation of the DoorDash platform. DOORDASH shall provide notice of any such
            changes to CONTRACTOR via e-mail. Changes to the Deactivation Policy shall be effective and binding on the
            parties upon CONTRACTOR’s continued use of the DOORDASH platform following DOORDASH’s e-mail
            notice of such modiﬁcations. Nothing will prevent CONTRACTOR from attempting to negotiate an exemption
            from any modiﬁcation to the Deactivation Policy.
         2. CONTRACTOR's and DOORDASH's obligations and rights arising under the Mutual Arbitration Provision of this
            Agreement shall survive termination of this Agreement. Notwithstanding any other provision in this
            Agreement, the Deactivation Policy is subject to change; such changes shall be effective and binding on the
            parties upon DOORDASH’S provision of notice to CONTRACTOR via e-mail.

   XIV. ENTIRE AGREEMENT, TRANSFERABILITY, AND WAIVER
         1. This Agreement shall constitute the entire agreement and understanding between the parties with respect to
            the subject matter of this Agreement and shall not be modiﬁed, altered, changed or amended in any respect,
            unless in writing and signed by both parties. Before accepting any modiﬁcations, alterations, changes or
            amendments, CONTRACTOR shall have the right to discuss any proposed changes with DOORDASH and
            consider whether to continue his/her contractual relationship with DOORDASH. This Agreement supersedes
            any prior contract between the parties. To the extent DOORDASH's consumer facing Terms and Conditions
            Agreement (or updated consumer facing Terms and Conditions Agreement, if applicable) is inconsistent or
            conﬂicts with this Agreement, this Agreement controls. However, the decision to opt-out of the Mutual
            Arbitration Provision in this Agreement does not affect the enforceability of any arbitration agreement in the
            consumer facing Terms and Conditions Agreement to which Contractor may be bound (and vice versa). This
            Agreement may not be assigned by either party without written consent of the other and shall be binding
            upon the parties hereto, including their heirs and successors, provided, however, that DOORDASH may assign
            its rights and obligations under this Agreement to an aﬃliate of DOORDASH or any successor(s) to its
            business and/or purchaser of substantially all of its stock or assets. References in this Agreement to
            DOORDASH shall be deemed to include such successor(s).
         2. The failure of DOORDASH or CONTRACTOR in any instance to insist upon a strict performance of the terms of
            this Agreement or to exercise any option herein, shall not be construed as a waiver or relinquishment of such
            term or option and such term or option shall continue in full force and effect.

   XV. MISCELLANEOUS
https://www.doordash.com/dasher/us/ica/                                                                                              9/10
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         1. CAPTIONS: Captions appearing in this Agreement are for convenience only and do not in any way limit,
            amplify, modify, or otherwise affect the terms and provisions of this Agreement.
         2. SEVERABILITY Clause: Except as speciﬁcally provided in Section XI, if any part of this Agreement is declared
            unlawful or unenforceable, the remainder of this Agreement shall remain in full force and effect.
         3. GOVERNING LAW: Except for the Mutual Arbitration Provision above, which is governed by the Federal
            Arbitration Act, the choice of law for interpretation of this Agreement, and the right of the parties hereunder,
            as well as substantive interpretation of claims asserted pursuant to Section XI, shall be the rules of law of the
            state in which CONTRACTOR performs the majority of the services covered by this Agreement.
         4. NOTICE AND OPPORTUNITY TO CURE: CONTRACTOR agrees to notify DOORDASH in writing at
            https://www.doordash.com/help/ (https://www.doordash.com/help/) of any breach or perceived breach of this
            Agreement, of any claim arising out of or related to this Agreement, or of any claim that CONTRACTOR's
            services or scope of work differ in any way from what is contemplated in this Agreement, including but not
            limited to the terms in Sections II (Contractor's Operations) and III (Contractor's Services), or if the relationship
            of the parties differs from the terms contemplated in Section IV (Relationship of Parties).
         5. PRIVACY POLICY: CONTRACTOR represents and warrants that he or she has reviewed and understands
            DOORDASH'S Dasher Privacy Statement, which can be found here
            (http://www.doordash.com/dasherprivacypolicy). By using the Dasher Services, you consent to all actions
            taken by DOORDASH with respect to your information in accordance with the Dasher Privacy Statement.

                                                                                                             /s/Cody Aughney
                                                 Cody Aughney, authorized representative for DoorDash, Inc.
   About (/about/) • Blog (http://blog.doordash.com) • Careers (/careers/) • Terms (/terms/) • Privacy (/privacy/) •
   Accessibility (/accessibility/) • Delivery Locations (/food-delivery/) • Help & Support (/support/) • Become a Merchant
   (/merchant/apply/) • Become a Dasher (/driver/apply/)

    
     (http://twitter.com/doordash) 
                                     (http://facebook.com/doordash) 
                                                                      (http://instagram.com/doordash)
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              EXHIBIT D
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                                                                                                                                       CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                    Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                         Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                      harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ–Administrative Mandamus                        Election Contest
         Other Professional Malpractice                  Writ–Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                         Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                             Claim
Employment                                                   Review                                          Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
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                                                                                                                                                    Registered   326 Solutions, Inc.
                                                                                                                                                               Agent
                                                                                                                                                      Corporate Mailing Address
                                                                                                                                                      1701 Directors Blvd.
                                                                                                                                                      Suite 300
                                                                                                                                                      Austin, TX 78744
                                                                                                                                                      Phone: (888) 705-RASi (7274)



                                                SERVICE OF PROCESS RECEIPT
11/19/2019
Erin Anderegg
                                                                                                                      NOTICE OF CONFIDENTIALITY
DoorDash, Inc.
                                                                                                                      This notice and the information it contains are
901 Market Street, Suite 600                                                                                          intended to be a confidential communication only to
San Francisco, CA 94103 USA                                                                                           the individual and/or entity to whom it is addressed.
                                                                                                                      If you have received this notice in error, immediately
                                                                                                                      call our SOP Department at (888) 705-7274.


RE: DoorDash, Inc.

This receipt is to inform you that Registered Agent Solutions, Inc. has received a Service of Process on behalf of the
above-referenced entity as your registered agent and is hereby forwarding the attached document(s) for your immediate
review. A summary of the service is shown below; however, it is important that you review the attached document(s) in
their entirety for complete and detailed information.
For additional information and instruction, contact the document issuer: QUINN, EMANUEL, URQUHART & SULLIVAN,
                                                                          LLP

   SERVICE INFORMATION                                                                                   RASi REFERENCE INFORMATION
   Service Date:                        11/19/2019                                                       Service No.:                         0122429
   Service Time:                        3:56 pm pst                                                      RASi Office:                         California
   Service Method:                      Process Server                                                   Rec. Int. Id.:                       JGK

   CASE INFORMATION                                                                                      ANSWER / APPEARANCE INFORMATION
   Case Number:                         CPF-19-516930                  30 days           (Be sure to review the document(s)
                                                                                         for any required response dates)
   File Date:                           11/19/2019
   Jurisdiction:                        SUPERIOR COURT OF CALIFORNIA, SAN FRANCISCO COUNTY
   Case Title:                          CHRISTINE BOYD, ET AL., VS. DOORDASH, INC.

   AGENCY / PLAINTIFF INFORMATION
   Firm/Issuing Agent:                  QUINN, EMANUEL, URQUHART & SULLIVAN, LLP
   Attorney/Contact:                    JUSTIN C. GRIFFIN
   Location:                            California
   Telephone No.:                       213-443-3000

   DOCUMENT(S) RECEIVED & ATTACHED
   Complaint
   Summons
   Exhibits included



   ADDITIONAL NOTES




   Questions or Comments... Should you have any questions or need additional assistance, please contact the SOP Department at (888) 705-7274.
   You have been notified of this Service of Process by Insta-SOP Delivery, a secure email transmission. The transmitted documents have also been uploaded to your Corpliance account. RASi
   offers additional methods of notification including Telephone Notification and FedEx Delivery. If you would like to update your account's notification preferences, please log into your Corpliance
   account at www.rasi.com.


                                                                          Thank you for your continued business!
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               EXHIBIT F
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12   Attorneys for Petitioners

13
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
14
                                 FOR THE COUNTY OF SAN FRANCISCO
15
                                                  )
16   CHRISTINE BOYD, et al.,                      ) Case No. CPF-19-516930
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                                                  )
                                                     MOTION FOR A TEMPORARY
18                  Petitioners,                  ) RESTRAINING ORDER AND ORDER
                                                  ) TO SHOW CAUSE
19          vs.                                   )
                                                  )
20   DOORDASH, INC.,                              )
21                                                )
                                                  )
22                  Respondent.                   )
                                                  )
23                                                )
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                       MOTION FOR A TEMPORARY RESTRAINING ORDER
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 1     TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2             PLEASE TAKE NOTICE that on November 21, 2019, at 11:00 in Department 302 of the

 3     above-entitled Court located at 400 McAllister St, San Francisco, CA 94102. Petitioners will, and

 4     hereby do, apply ex parte to the Court, under California Code of Civil Procedure § 527 and

 5     California Rules of Court 3.1200 et seq., for a temporary restraining order enjoining Respondent

 6     DoorDash, Inc. (“DoorDash”) and its counsel from sending revised arbitration agreements directly

 7     to Petitioners in an attempt to alter or eliminate the rights Petitioners are pursuing in this action and

 8     in circumvention of Petitioners’ counsel, and an order to show cause why the Court should not enter

 9     a preliminary injunction ordering the same.

10             Petitioners have been pursuing misclassification claims against DoorDash for months. Each

11     Petitioner and DoorDash entered into an arbitration agreement requiring that such claims be

12     brought in individual arbitration administered by the American Arbitration Association (“AAA”).

13     Pursuant to that agreement, Petitioners filed demands for individual arbitration before AAA. After

14     AAA issued administrative determinations that DoorDash disliked, DoorDash refused to proceed

15     with those arbitrations, thereby breaching its agreement with Petitioners. Knowing that Petitioners

16     would petition to compel arbitration and seek specific performance under the AAA agreement,

17     DoorDash’s counsel developed a plan to send revised arbitration agreements directly to

18     Petitioners—intentionally circumventing Petitioners’ counsel—that purport to release Petitioners’

19     breach-of-contract claims and impose an inferior procedure for pursuing arbitration. In so doing,

20     DoorDash’s inside and outside counsel have violated California Rule of Professional Conduct 4.2,

21     and DoorDash has violated the covenant of good faith and fair dealing that accompanies its

22     agreement to arbitrate with Petitioners. Because DoorDash and its counsel are using the DoorDash

23     app to force Petitioners to accept the new agreement, on pain of no longer being able to work for

24     DoorDash, more Petitioners are being coerced each day into singing a legal agreement that purports

25     to prejudice their rights in this action. To prevent further harm, this Court should enjoin DoorDash

26     from continuing to force Petitioners and other Dashers represented by Petitioners’ counsel to sign

27     the new agreements.

28

                           MOTION FOR A TEMPORARY RESTRAINING ORDER
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 1          Petitioners gave notice of this ex parte application to DoorDash’s counsel before 10:00 a.m.

 2 on November 20, 2019. DoorDash is represented by Joshua Lipshutz and Michael Holecek of

 3 Gibson, Dunn, & Crutcher.          Mr. Lipshutz’s address is 1050 Connecticut Avenue, N.W.,

 4 Washington, DC 20036-5306, his phone number is 202.955.8217, and his email address is

 5 jlipshutz@gibsondunn.com. Mr. Holecek’s address is 333 South Grand Avenue, Los Angeles, CA

 6 90071-3197,       his    phone   number      is    213.229.7018,    and     his   email   address    is

 7 mholecek@gibsondunn.com. DoorDash’s counsel responded to Petitioners’ notice and indicated

 8 that they represented DoorDash in this matter, but did not indicate whether they opposed this

 9 application. This motion is based on this notice of motion, the attached memorandum of points and

10 authorities, the declarations of Ashley Keller, Christine Boyd, and Justin Griffin, all records on file

11 with this Court, and such other and further oral and written arguments as may be presented at, or

12 prior to, the hearing on this matter.

13
            Dated: November 19, 2019                 Respectfully submitted,
14

15
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                           MOTION FOR A TEMPORARY RESTRAINING ORDER
                                      CASE NO. CPF-19-516930
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 3                                   Attorneys for Petitioners
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 1
                          MEMORANDUM OF POINTS AND AUTHORITIES
 2
     I.       INTRODUCTION
 3
              For years, DoorDash, Inc. has required its couriers to sign an agreement providing that
 4
     disputes be brought in individual arbitration administered by the American Arbitration
 5
     Association. The contract expressly incorporates AAA rules, which in turn authorize AAA to
 6
     make administrative rulings. Petitioners are DoorDash couriers (“Dashers”) who have been
 7
     pursuing misclassification claims against DoorDash since at least August 2019.1 Each Petitioner
 8
     signed the arbitration agreement, and each Petitioner filed a demand for individual arbitration
 9
     before AAA. But when DoorDash disliked AAA’s administrative determinations, its counsel
10
     drafted and DoorDash sent a legal agreement directly to Petitioners, without the involvement of
11
     Petitioners’ counsel, that purports to eliminate Petitioners’ rights to arbitrate before AAA.
12
              Petitioners’ counsel learned of this conduct last week, but it is now clear that the new
13
     agreement was part of a strategy masterminded by DoorDash’s in-house and outside counsel.
14
     While DoorDash stonewalled AAA, its lawyers collaborated with an alternative forum to write
15
     new rules that make it far harder for Petitioners to pursue their claims. Under those rules,
16
     defendants can force almost all claimants to wait while a tiny fraction of claims are arbitrated.
17
     Even after this so-called “bellwether” process, claimants have no assurance that they will ever
18
     receive arbitration of their disputes.
19
              DoorDash’s attorneys moved quickly to force their new rules on Petitioners. On November
20
     8, 2019, AAA administratively closed Petitioners’ files so Petitioners could seek judicial relief
21
     through a motion to compel arbitration. The very next day—a Saturday—DoorDash attorneys
22
     directed their client to start requiring Petitioners to sign a new agreement as a condition of
23
     continuing to work for DoorDash. The new agreement purports to eliminate Petitioners’ right to
24
     proceed with claims before AAA—the very right Petitioners have been pursuing for months and
25
          1
26        Petitioners do not bring any federal claims. Different DoorDash drivers represented by
   Petitioners’ counsel who did bring federal claims in arbitration are pursuing remedies against
27 DoorDash in federal court. See Abernathy v. DoorDash, Inc., 19-cv-07545 (N.D. Cal). The
   Abernathy court set a hearing on the drivers’ TRO motion for Monday, November 25.
28

                        MOTION FOR A TEMPORARY RESTRAINING ORDER
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 1 seek to vindicate in this action—and replace that right with the inferior, tailor-made-for-DoorDash

 2 arbitration process. Although DoorDash’s lawyers knew that Petitioners were represented by

 3 counsel, they circumvented Petitioners’ counsel when issuing the agreement; DoorDash sent it to

 4 Petitioners directly and required them to sign it or lose their ability to work for DoorDash.

 5           Because some Petitioners have not worked for DoorDash since November 9, they have not
 6 yet been forced to sign the new agreement. But with every day that goes by, additional Petitioners

 7 will log on to the DoorDash app, and DoorDash will tell them that to continue earning a living,

 8 they must sign an agreement that purports to release their rights in this action.

 9           The actions of DoorDash and its attorneys violate California Rule of Professional Conduct
10 4.2. They are a breach of the covenant of good faith and fair dealing that accompanies all contracts.

11 And they constitute unlawful retaliation. This Court should enjoin DoorDash’s counsel’s unlawful

12 communications with represented parties. The Court should freeze the status quo and order

13 DoorDash and its counsel to stop forcing Petitioners to sign new agreements pending a decision

14 on the permissibility of DoorDash’s conduct by an arbitrator. At a bare minimum, the Court should

15 issue a temporary injunction prohibiting DoorDash and its counsel from forcing Petitioners to sign

16 new agreements until this Court decides Petitioners’ pending Motion to Compel Arbitration.

17 II.       BACKGROUND2
18           A.     Each Petitioner and DoorDash Agreed to                     Arbitrate    Petitioners’
                    Misclassification Claims Individually Before AAA.
19
             Since at least 2014, DoorDash has required Dashers to sign a contract containing a “Mutual
20
     Arbitration Provision” before making any delivery for the company. See Magana v. DoorDash,
21
     Inc., 343 F. Supp. 891, 895 (N.D. Cal. 2018). Although DoorDash has revised its contract over
22
     the years, it has left the arbitration clause almost entirely untouched. Compare Keller Decl., Ex. B
23
     (DoorDash’s 2019 AAA Agreement) with id., Ex. C (DoorDash’s 2016 AAA Agreement). The
24
     arbitration clause expressly covers claims arising out of a Dasher’s “classification as an
25

26
27
         2
           Petitioners’ Motion to Compel Arbitration contains additional details of Petitioners’ attempts
     to arbitrate their claims and DoorDash’s refusal to do so.
28
                                             2
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 1 independent contractor,” id., Ex. B § XI.1, and it requires individual arbitration, see id. § XI.3

 2 (providing that the parties “waive their right to have any dispute or claim brought, heard or

 3 arbitrated as, or to participate in, a class action, collective action and/or representative action”). It

 4 also provides that a Dasher may “apply to a court of competent jurisdiction for temporary or

 5 preliminary injunctive relief on the ground that without such relief the arbitration provided in this

 6 paragraph may be rendered ineffectual.” Id. § XI.5.i. Each Petitioner signed the DoorDash

 7 contract, agreeing to the Mutual Arbitration Provision. Keller Decl. ¶ 4.

 8            The arbitration clause provides that each Petitioner’s arbitration “shall be governed by the
 9 [AAA’s] Commercial Arbitration Rules.” Id., Ex. B § XI.5. Those rules state that “[w]hen parties

10 agree to arbitrate under [the Commercial Rules] . . . they thereby authorize the AAA to administer

11 the arbitration.” Commercial Rule 2.3 The rules allow AAA to “require the parties to deposit in

12 advance of any hearings such sums of money as it deems necessary to cover the expense of the

13 arbitration, including the arbitrator’s fee.” Commercial Rule 56.

14            B.     DoorDash Delays, and Then Derails Petitioners’ AAA Arbitrations.
15            On September 27, 2019, Petitioners’ counsel filed individual demands for arbitration
16 before AAA on behalf of each Petitioner. AAA determined that each demand met AAA’s filing

17 requirements, and it imposed a deadline of October 24, 2019 for DoorDash to pay the filing fees

18 necessary for AAA to empanel an arbitrator for each Petitioner’s action. See Keller Decl. ¶ 6;
19 Commercial Rule 56; AAA Employment Fee Schedule at 2. AAA had recently determined, in

20 conjunction with prior demands filed by counsel for Petitioners, that because each claimant filed

21 an individual demand—as required by DoorDash’s arbitration agreement—DoorDash was

22 obligated to pay a filing fee for each claimant. Keller Decl., Ex. J. DoorDash had objected, arguing

23 that it was unreasonable for AAA to require a separate fee for each individual arbitration; that

24 AAA should have forced the claimants to stage their arbitrations; and that AAA should have

25 collected a filing fee only for those arbitrations that would proceed immediately. Id., Ex. I.       But
26 AAA overruled those objections, recognizing that once a claimant meets his or her filing
27
        3
            Available at https://www.adr.org/sites/default/files/CommercialRules_Web_FINAL_1.pdf.
28
                                              3
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 1 requirements for individual arbitration, the Commercial Rules do not permit the respondent to

 2 delay commencement of arbitration. Keller Decl., Ex. J. Further, the applicable fee schedule

 3 requires DoorDash to submit a separate fee for each arbitration. Id., Ex. I.

 4          After stalling AAA’s administrative process as long as possible, DoorDash refused to
 5 proceed with arbitration. DoorDash told AAA that it would not pay the fees it owed because it

 6 had identified “significant deficiencies with claimants’ filings.” Id., Ex. G. DoorDash did not

 7 describe any of the purported “deficiencies.” See id. Nor did it identify a single Petitioner whom

 8 it could not locate in its records. See id. With DoorDash unwilling to proceed with Petitioners’

 9 arbitrations, AAA emailed DoorDash and Petitioners’ counsel on November 8, 2019, confirmed

10 that DoorDash had not paid the fees necessary to empanel arbitrators, and stated that it had

11 “administratively closed [Petitioners’] files.” Id., Ex. H. Only later did it become clear that

12 DoorDash never intended to abide by the agreement it forced Petitioners to sign.

13          C.     DoorDash Sends a New Arbitration Agreement Directly to Petitioners That
                   Purports to Change the Terms of Arbitration.
14
            While DoorDash’s attorneys were stalling AAA’s payment deadlines, it appears they also
15
     were executing a plan for DoorDash to avoid complying with the terms of its own arbitration
16
     agreement. Counsel and DoorDash implemented that plan on Saturday, November 9—the day
17
     after AAA administratively closed Petitioners’ files.    As DoorDash’s outside counsel later
18
     admitted, Id., Ex. L, DoorDash began imposing a new arbitration agreement on its couriers who
19
     reported for work by logging into the DoorDash app. The new agreement purports to “supersede[]
20
     any prior contract between the parties.” Id., Ex. M § XIV. Based on the admission of DoorDash’s
21
     counsel, it appears that every DoorDash courier, including Petitioners, must sign the new
22
     agreement in order to make deliveries for DoorDash. See Id., Ex. L. Some Petitioners already
23
     received the new agreement, while Petitioners who have not attempted to make a DoorDash
24
     delivery since November 9th have not. Id. ¶ 19.
25
            The new agreement grants DoorDash the administrative relief that AAA has already
26
     denied. Like the AAA agreement Petitioners invoked to arbitrate their claims, the new agreement
27
     requires both Petitioners and DoorDash to waive their right to resolve disputes through “a class
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 1 action, collective action and/or representative action.” Keller Decl., Ex. M XI.3. But the

 2 arbitration procedures imposed by the new agreement are anything but individual.

 3          The agreement provides for arbitration governed by the “Administered Arbitration Rules”
 4 of the International Institute for Conflict Prevention & Resolution (“CPR”). Id. § XI.5. The

 5 agreement further provides that “when applicable,” arbitrations shall be governed by the CPR’s

 6 “Employment-Related Mass-Claims Protocol,” which was announced three days before DoorDash

 7 incorporated it into the new agreement.4 That Protocol, in turn, would force most Petitioners

 8 covered by the agreement to delay their arbitration demands for years. The protocol purportedly

 9 applies when, as happened here, “greater than 30 individual employment-related arbitration claims

10 of a nearly identical nature are . . . filed . . . against the same Respondent(s) in close proximity one

11 to another.” Id., Ex. N at 2. In such a case, the CPR will randomly select ten “test” arbitrations to

12 proceed, while the remaining claimants’ arbitrations are indefinitely stayed. Id. at 2-4. After

13 those ten test arbitrations are completed, purportedly within 120 days, the parties—including

14 claimants who have not yet begun arbitration—must mediate their claims for an additional 90 days.

15 See id. at 4. Only then, nearly a year after filing their demands for individual arbitration, may

16 claimants potentially proceed with their individual arbitrations if the mediation is unsuccessful.

17 See id. at 4. Those arbitrations “shall proceed in a sequence determined by CPR, which sequence

18 shall in part turn on the timing of these notifications and on any other factors necessary for the
19 efficient and orderly arbitration of the remaining claims.” Id. at 4. CPR lists only 60 arbitrators

20 as part of its employment panel. Id., Ex. O. Thus, if every arbitrator was able to decide 10 of

21 Petitioners’ arbitrations per year in addition to their normal case load, hundreds of claimants would

22 not have a right to begin arbitration until four years from now.

23          Put simply, the new arbitration agreement purports to eliminate the legal right to proceed
24 with arbitration before AAA, which Petitioners invoked months ago and seek to enforce in this

25 action, and to replace it with an inferior process.         Under DoorDash’s long-standing AAA
26
       4
         See CPR Launches New Mass Claims Protocol and Procedure (Nov. 6, 2019),
27 https://www.cpradr.org/news-publications/press-releases/2019-11-06-cpr-launches-new-mass-
   claims-protocol-and-procedure.
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 1 arbitration agreement, which DoorDash has repeatedly used to force Dashers to arbitrate

 2 misclassification claims, see Magana, 343 F. Supp. 3d at 891, each Petitioner has the right to

 3 pursue individual arbitration promptly. The new agreement purports to force Petitioners into a

 4 collective proceeding. Of the 3,997 Petitioners, only ten could even begin arbitration in the next

 5 220 days. Moreover, the new agreement purports to release DoorDash from the consequences of

 6 breaching its AAA arbitration agreement—i.e., to release the very claims being litigated in the

 7 motion to compel—by “superseding” that agreement.

 8          DoorDash’s counsel did not notify Petitioners’ counsel that it was sending Petitioners the
 9 new agreement, despite exchanging several emails and participating in a phone call with

10 Petitioners’ counsel in the week before DoorDash issued the new agreement. Keller Decl. ¶ 18.

11 DoorDash did not provide Petitioners’ counsel the opportunity to discuss the new agreement with

12 Petitioners, despite knowing that Petitioners were planning to compel arbitration under the very

13 agreement DoorDash’s new agreement purports to supersede. Id. And when Petitioners’ counsel

14 raised the issue with one of DoorDash’s outside counsel, Joshua S. Lipshutz, he claimed that the

15 new agreement was issued to Petitioners “in the ordinary course of business” and that “none of the

16 changes to the IC Agreement are about the subject of [Petitioners’ counsel’s] representation” of

17 Petitioners. Id., Ex. L.

18          Unsurprisingly, Petitioners and other Dashers represented by Petitioners’ counsel are
19 confused and concerned about the new agreement. As illustrated by the declaration of Petitioner

20 Christine Boyd, DoorDash is forcing the new agreement on Dashers in a way that leaves them no

21 actual choice, let alone an informed choice, regarding whether to agree to it. DoorDash confronted

22 Ms. Boyd with the new agreement when she signed into work on or around November 11, 2019:

23          [B]efore I could begin making deliveries, DoorDash presented me with its new
            terms and agreement. It would not let me proceed until I accepted its terms. I
24          thought that the new agreement was merely an update to the app. I did not realize
            that this agreement contained new provisions that could affect my ongoing case
25          against DoorDash. The App does not give drivers a lot of time to sign on. That
            day, I had put myself on pause. When I went back to the App, I only had about five
26          to ten minutes to sign in. If I did not do it within that time period, I would be kicked
            off the App for the day, and I would not have been able to make any deliveries.
27
            Because of the timing pressure, I did not have a lot of time to look at the agreement.
28          The update caught me at a time where, if I did not sign quickly, I would lose the

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 1          hours that I signed up to work. I do not recall receiving any other information about
            this new agreement ahead of the time that I was scheduled to work, which would
 2          have allowed me to read the agreement more thoroughly.
 3 Boyd. Decl. ¶¶ 8-10.

 4 III.     ARGUMENT
 5          California courts consider “two interrelated factors” in deciding whether or not to issue a
 6 temporary restraining order: (1) the likelihood that the plaintiff or petitioner will prevail on the

 7 merits and (2) the interim harm that the petitioners are likely to sustain if the restraining order were

 8 denied as compared to the harm the defendant is likely to suffer if the order were issues. Church

 9 of Christ in Hollywood v. Superior Court, 99 Cal. App. 4th 1244, 1257 (2002). These two

10 showings operate on a sliding scale: a greater likelihood of success on the merits requires a lesser

11 showing of harm to petitioners. Id.

12          A.      Petitioners Are Likely to Prevail on the Merits.
13                  1.      Requiring Petitioners to Sign a New Agreement Prejudicing Their
                            Claims in This Action Is a Grave Violation of the Rules of Professional
14                          Conduct.
15          By orchestrating a new agreement that purports to materially alter Petitioners’ arbitration
16 rights, counsel for DoorDash violated ethical rules that prohibit them from communicating with

17 represented parties. That counsel used their client as a conduit is irrelevant; the ethical rules do

18 not permit violations of professional conduct by proxy.
19          California Rule of Professional Conduct 4.2(a) forbids any attorney to “communicate
20 directly or indirectly about the subject of the representation with a person the lawyer knows to be

21 represented by another lawyer in the matter.” Moreover, under Rule 8.4, “[i]t is professional

22 misconduct for a lawyer to . . . violate these rules or the State Bar Act, knowingly assist, solicit, or

23 induce another to do so, or do so through the acts of another” (emphasis added). Because these

24 rules prohibit an attorney from “indirectly” communicating with a represented party—including

25 by using their client as a conduit—an attorney is prohibited from “drafting documents,

26 correspondence, or other written materials” that will be delivered to a represented party. San
27 Francisco Unified Sch. Dist. ex rel. Contreras v. First Student, Inc., 213 Cal. App. 4th 1212, 1235

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 1 (2013). A classic example of “overreaching” under this rule is the attorney “assisting the client in

 2 securing from the represented person an enforceable obligation . . . without the opportunity to seek

 3 the advice of counsel.” ABA Formal Op. 11-461. That is exactly the case here.

 4          The material provisions of the arbitration agreement have not changed for years, including
 5 designating AAA as the arbitral forum. Compare Keller Decl., Ex. C § XI (2016 agreement), with

 6 id., Ex. B § XI (2019 agreement). After Petitioners and other similarly situated Dashers filed

 7 arbitration demands under these provisions, DoorDash’s counsel raised an array of objections,

 8 including that the AAA’s filing fees were unreasonable, that DoorDash wanted most of the

 9 arbitrations to be delayed indefinitely while only a few proceeded, and that the arbitration demands

10 were deficient. See id., Ex. I. AAA overruled those objections. See id., Ex. J. But DoorDash was

11 determined to get what it wanted, notwithstanding its contractual obligation to abide by AAA

12 administrative determinations. So it wrote its objectives into a new arbitration clause and the day

13 after AAA closed Petitioners’ demands due to DoorDash’s failure to pay the fees, see id., Ex. H,

14 DoorDash issued the materially altered arbitration provisions directly to Petitioners, see id., Ex. L.

15          The new agreement shifts arbitration administration from AAA to the CPR and further
16 incorporates by reference the CPR’s “Employment-Related Mass Claims Protocol.” See Id., Ex. M

17 § XI., Ex. N. That protocol, in turn, would require that all but ten Petitioners’ arbitrations be stayed

18 indefinitely. See id. CPR publicly announced the protocol on November 6, 2019. DoorDash
19 began sending its new agreement to Dashers just three days later. That timing, combined with the

20 protocol’s content, suggest that DoorDash’s counsel was at least aware of the protocol before it

21 was public, if not an active participant in its drafting.

22          Similarly concerning, DoorDash’s counsel arranged to roll out the new agreement on a
23 Saturday, the day after AAA administratively closed Petitioners’ files. In this context—when

24 DoorDash changed its arbitral forum for the first time in years, to rules that it prefers given that it

25 faces thousands of demands for individual arbitration, on the day after AAA administratively

26 closed thousands of individual demand files because DoorDash refused to pay the required filing
27 fees—it is implausible in the extreme to suggest that the legal strategy regarding how to alter

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 1 DoorDash’s arbitration process was conceived and executed by a non-lawyer. Given those facts,

 2 Petitioners easily carry their burden to demonstrate a likely violation of Rule 4.2(a). Petitioners

 3 are confident that discovery will show that the strategy behind altering DoorDash’s arbitration

 4 agreement—including sending the new agreement directly to represented parties—originated with,

 5 and was masterminded by, DoorDash’s in-house and outside lawyers.

 6          Indeed, when Petitioners’ counsel reminded DoorDash’s counsel of their ethical duties
 7 under Rule 4.2(a), see id., Ex. K, DoorDash’s outside counsel did not deny that he or his colleagues

 8 orchestrated the legal strategy embodied in the new agreements. Rather, he claimed that such

 9 involvement was permitted because it was “in the ordinary course” and supposedly did not relate

10 to a matter in which Petitioners were represented by counsel. Id., Ex. L. That argument blinks

11 reality and was rejected in a case where the very same outside counsel represented a defendant

12 who was sanctioned for the very same misconduct. In O'Connor v. Uber Technologies, Inc., Uber

13 initiated a similar rollout to all its drivers of an updated contractor agreement that purported to

14 change the arbitration forum and impose an onerous opt-out provision. 2013 WL 6407583, at *4

15 (N.D. Cal. Dec. 6, 2013). The court denied Uber’s “business communication” argument, noting

16 that there was “a distinct possibility that the arbitration provision and class waiver imposed by

17 Uber was motivated at least in part by the pendency of class action lawsuits which preceded the

18 new Licensing Agreement.” Id.5 Such cause for suspicion is self-evident here as well.
19          O’Connor fits in a long line of cases chastising, enjoining, and even sanctioning defendants
20 for doing precisely what DoorDash has done here: Directly communicating with individuals it

21 knows are participating in an ongoing action against it, to impair their ability to pursue that action.

22 That line is exemplified by Cobell v. Norton, 212 F.R.D. 14, 17 (D.D.C. 2002). In Cobell, class

23 plaintiffs moved for a preliminary injunction barring the defendant from sending “statements of

24

25
        5
         One of DoorDash’s outside counsel, Joshua S. Lipshutz of Gibson, Dunn & Crutcher LLP,
   also represented Uber in O’Connor. Although Mr. Lipshutz appears to have joined the matter after
26 Uber was sanctioned for its improper communications, he signed multiple briefs that litigated the
   sanctions issue on appeal. O’Connor, N.D. Cal., Case No. 14-16078, Reply, pp. 12-15, ECF No.
27 38; id., Supplemental Brief, pp. 33-34, ECF No. 96; Mohamed v. Uber Technologies, Inc., et al.,
   9th Cir., Case No. 15-16178, Mot. Stay, p. 5, n.6, ECF No. 14.
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 1 account” to class members that would effectively extinguish those class members’ right to relief

 2 if they did not object to the statement within sixty days. Id. at 17. Given the statement’s effect on

 3 the class members’ right to relief, the court noted that it was “difficult . . . to imagine a form of

 4 communication that would relate more directly to the claims involved in this litigation.” Id. The

 5 court thus granted the preliminary injunction, holding that it was “improper” to “send[] notices to

 6 individual class members that have the effect of extinguishing the rights of those class members

 7 without first seeking the approval of this Court.” Id. at 19.

 8          The Cobell court further referred the defendant’s counsel to the district court’s disciplinary
 9 panel to determine whether counsel violated that court’s version of Rule 4.2. Id. at 20. The

10 defendant argued, that counsel did not violate the rule because the communications were made “in

11 the ordinary course of business.” Id. at 22. The court held, however, that the communications at

12 issue were not ordinary because they “fundamentally alter[ed] the class members’ ability to enjoy

13 the benefits of any relief that the Court might order,” and that they were “improper . . .

14 communications ‘about the subject matter of the representation.’” Id. The court barred the

15 defendant from contacting class members about the litigation without court approval. Id. at 24.

16          Numerous cases are in accord. See, e.g., Camp v. Alexander, 300 F.R.D. 617, 625–27
17 (N.D. Cal. 2014) (invalidating declarations obtained by the defendant from putative class members

18 via a letter “discourag[ing] participation in the collective action”); Wright v. Adventures Rolling
19 Cross Country, Inc., No. 12-0982-EMC, 2012 WL 2239797, at *5 (N.D. Cal. June 15, 2012)

20 (enjoining defendants from communicating with potential class members after the defendants

21 emailed members threatening consequences if they participated in the suit). These cases reflect

22 the premise that courts have the authority to treat absent class members as represented parties who

23 are participating, at least in some sense, in the ongoing action. That in turn renders communication

24 with absent class members subject to the ethical requirements of Rule 4.2 and its equivalents.

25 Here, each Petitioner has signed an individual engagement agreement retaining counsel, it follows

26 a fortiori that this Court has inherent authority to prohibit counsel and DoorDash’s improper
27 communications to Petitioners.

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 1                  2.      Petitioners Are Likely to Demonstrate in Arbitration That DoorDash’s
                            Attempt to Change the Arbitration Agreement is Unlawful.
 2
            DoorDash’s conduct in frustrating and delaying arbitration under the AAA agreement and
 3
     then forcing Petitioners to agree to eliminate their right to arbitrate before AAA (1) violates the
 4
     implied covenant of good faith and fair dealing and (2) constitutes unlawful retaliation against
 5
     Petitioners for filing claims under the California Labor Code. While these issues present disputes
 6
     between the parties that are committed to an arbitrator, see Keller Decl., Ex. B § XI.3, the parties’
 7
     arbitration agreement and California Code of Civil Procedure § 527 empower this Court to grant
 8
     injunctive relief to preserve the status quo pending a resolution of these disputes by an arbitrator.
 9
     See id. § XI.5.i. When these legal issues ultimately are decided, Petitioners are likely to prevail.
10
                            (a)     DoorDash’s Attempt to Force Petitioners to Give Up Their
11                                  Dispute-Resolution Rights After They Invoked Them Violates the
                                    Covenant of Good Faith and Fair Dealing.
12
            The implied covenant of good faith and fair dealing underlies agreements to arbitrate just
13
     as it is part of all other contracts. Serpa v. California Sur. Investigations, Inc., 215 Cal. App. 4th
14
     695, 706 (2013). Establishing a breach of the covenant of good faith and fair dealing requires
15
     showing: (1) a contract; (2) the plaintiff fulfilled their obligations; (3) any conditions precedent to
16
     the defendant's performance occurred; (4) the defendant unfairly interfered with the plaintiff's
17
     rights to receive the benefits of the contract; and (5) the plaintiff was harmed by the defendant's
18
     conduct. In re Yahoo! Inc. Customer Data Sec. Breach Litig., No. 16-MD-02752-LHK, 2017 WL
19
     3727318, at *48 (N.D. Cal. 2017). Each of those elements is satisfied here.
20
             DoorDash and each Petitioner each entered into a contract that mutually obligated them to
21
     resolve any disputes through arbitration at AAA.          See Keller Decl., Ex. B § XI (“Mutual
22
     Arbitration Provision”).     The Mutual Arbitration Provision laid out the procedures for the
23
     resolution of disputes—did so before those disputes arose—and required the parties to submit
24
     disputes for administration by AAA, which would collect fees and appoint an arbitrator to provide
25
     “a speedy and efficient method for resolving disputes.” Id. § XI.5.d.
26
            As AAA determined in an administrative ruling that must be accepted as controlling here,
27
     Petitioners complied with their obligations under the agreement by filing individual arbitration
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 1 demands with the AAA and satisfying their filing-fee obligations. See id. ¶ 6. DoorDash unfairly

 2 interfered with Petitioners’ rights to receive the benefits of the contract by DoorDash refusing to

 3 pay the required fees. See id., Ex. I. Instead, DoorDash negotiated an extension of its filing-fee

 4 deadline at AAA, id. Ex. E, while working in the background to undermine Petitioners’ right to

 5 have their claims heard before AAA. DoorDash’s request for an extension “to provide DoorDash

 6 sufficient time to identify any claimants and obtain the necessary approvals for large payments,”

 7 id., was nothing more than a stall tactic while it worked with another arbitration company—CPR—

 8 to implement rules that DoorDash liked more. That became clear when, on a Saturday, one day

 9 after AAA “administratively closed” Petitioners’ files due to DoorDash’s failure to pay the filing

10 fees necessary to commence their arbitrations, id., Ex. H, DoorDash released a new arbitration

11 agreement to Petitioners and thousands of other drivers it knows are represented by Petitioners’

12 counsel that swapped out the AAA for CPR. Id., Ex. L.

13          This attempted bait-and-switch is contrary to the very premise of the Mutual Arbitration
14 Provision, which binds DoorDash to comply with its procedures once they are invoked just as it

15 binds Petitioners. Indeed, a California court has specifically held that the covenant of good faith

16 and fair dealing prohibits a defendant from unilaterally modifying an arbitration agreement after a

17 party brings claims under that agreement. See Peleg v. Neiman Marcus Group, Inc., 140 Cal. Rptr.

18 3d 38 (2012). In Peleg, plaintiffs challenged the enforceability of an arbitration agreement on the
19 ground that it allowed an employer to make unilateral modifications to an arbitration agreement

20 that would apply retroactively to claims that had already accrued. Id. at 43–44. The court held

21 that a defendants’ ability to unilaterally modify an arbitration agreement is “impliedly restricted

22 by the covenant [of good faith and fair dealing] so that changes do not apply” to “claims, [already]

23 accrued or known.” The Peleg court identified the exact issue that DoorDash’s conduct presents

24 here: Were employers able to manipulate their arbitration agreements at will, “the employer could

25 amend the contract in anticipation of a specific claim, altering the arbitration process to the

26 employee’s detriment and making it more likely the employer would prevail. The employer could
27 also terminate the arbitration contract altogether, opting for a judicial forum if that seemed

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 1 beneficial to the company.”6 Id. at 42; see also Salgado v. Carrows Restaurants, Inc., 33 Cal.

 2 App. 5th 356, 362–63 (2019) (suggesting that an arbitration agreement sent to a represented party

 3 could be void and remanding to trial court for fact finding).

 4          Nor can DoorDash argue that, because it requires each driver to hit “I Accept” on the dasher
 5 app before the driver can begin making deliveries, its revised agreement is not the type of unilateral

 6 modification at issue in Peleg. The agreement is presented in a take-it-or-leave-it fashion, and

 7 drivers do not have the ability to continue working while they consult an attorney. Given that

 8 drivers need to work and make a living, many accept the terms out of necessity, not informed

 9 consent. Further, on DoorDash’s theory, DoorDash could repeat this same cycle the minute CPR

10 makes a ruling DoorDash dislikes—halting all proceedings and rolling out a new arbitration

11 agreement with a new arbitration forum. That is the opposite of good faith.

12                         (b)     DoorDash’s Attempt to Deprive Petitioners of Their Right to AAA
                                   Arbitration Because They Filed Claims Under the Labor Code
13                                 Constitutes Unlawful Retaliation.
14          DoorDash’s conduct also constitutes unlawful retaliation under the California Labor Code.
15 Labor Code § 98.6(a) provides that “[a] person shall not discharge an employee or in any manner

16 discriminate, retaliate, or take any adverse action against any employee or applicant for

17 employment because the employee or applicant engaged in any conduct delineated in this chapter.”

18 Labor Code § 98.6(b)(1) further provides that “[a]ny employee who is . . . subjected to an adverse
19 action . . . in the terms and conditions of his or her employment because the employee” filed claims

20 under the Labor Code “shall be entitled to reinstatement and reimbursement for lost wages and

21 work benefits caused by those acts of the employer.”

22          Counsel is not aware of another defendant that has been so audacious as to strip an
23 employee’s right to arbitrate in response to the employee’s having filed an arbitration. As a result,

24 there is no precedent that addresses the implications of such conduct under Labor Code § 98.6.

25
     6
26   Though the Peleg court’s holding ultimately was based on Texas law, courts have relied on Peleg
   to reach the same conclusion under California law. See Peng v. First Republic Bank, 219 Cal.
27 App. 4th 1462, 1473–74 (2013); Serpa, 215 Cal. App. 4th at 706; Moua v. Optum Servs., Inc., 320
   F. Supp. 3d 1109, 1114 (C.D. Cal. 2018).
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 1 Nevertheless, DoorDash’s actions were self-evidently an “adverse action[s],” and a change to the

 2 “terms and conditions” of employment that was taken as a direct result of Petitioners’ filing claims

 3 under the Labor Code. The right to proceed with arbitration promptly before AAA rather than

 4 being required to wait years to proceed with arbitration before CPR clearly is one of the important

 5 “terms and conditions” of Petitioners’ employment with DoorDash. By purporting to strip

 6 Petitioners of that right because Petitioners filed claims against DoorDash, DoorDash engaged in

 7 precisely the sort of conduct that is regulated by the anti-retaliation provision.

 8          Moreover, DoorDash specifically intended its unlawful retaliation to ensure that “the
 9 arbitration provided in [the Mutual Arbitration Provision will] be rendered ineffectual.” Keller

10 Decl. Ex. B, § XI.5.i. Accordingly, under the plain terms of Labor Code § 98.6 and the Mutual

11 Arbitration Provision, Petitioners are entitled to a preliminary injunction to preserve their rights to

12 AAA arbitration while they pursue a permanent remedies, see § 98.6(b)(3), in arbitration.

13          B.      Petitioners Will Be Irreparably Injured Absent a TRO.
14          With each passing day, DoorDash presents its unlawfully revised agreement to more
15 Petitioners without the involvement of their counsel, and it requires them to sign the agreement if

16 they want to keep working for DoorDash. Petitioners’ counsel has reminded DoorDash’s counsel

17 that “Doordash attorneys may propose material changes to DoorDash’s agreement to our clients

18 only through us.” Keller Decl., Ex. K. But DoorDash’s counsel has insisted that Petitioners “will
19 receive the same communications from DoorDash as all other Dashers,” despite the fact that they

20 are represented by counsel.         Id. Without court intervention, DoorDash will continue to
21 communicate directly with parties the company’s counsel knows are represented.

22          Circumvention of the right to counsel is an irreparable injury per se—as illustrated by the
23 decisions described above, courts that identify improper communications sent to represented

24 parties enjoin the improper communications without further analysis. See supra at 7-10. It is no

25 answer for DoorDash to argue that its and its counsel’s unethical and unlawful conduct may

26 continue until Petitioners explain how their counsel would advise them and how that advice would
27 affect their conduct.       Requiring that showing would violate the right to attorney-client
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 1 communication that Rule 4.2 is meant to protect, by forcing Petitioners’ counsel to disclose how

 2 they would advise their clients. Petitioners have a right to receive the advice of their counsel at

 3 the same time they receive a legal document drafted by DoorDash’s attorneys that purports to

 4 prejudice their claims in this action.

 5          C.      DoorDash Will Suffer No Injury from a Short Delay.
 6          DoorDash will not suffer any legitimate injury if this Court grants injunctive relief.
 7 DoorDash claims it updated its arbitration agreement in the ordinary course of business. Keller

 8 Decl., Ex. L. If that is true, and if the agreement is not meant to undermine Petitioners’ claims or

 9 this pending motion to compel, then DoorDash will face no real harm in waiting to present revised

10 arbitration terms to Petitioners and other drivers represented by counsel for the short period of time

11 needed for arbitrators to resolve on a permanent basis whether they are in fact permitted to do so—

12 or, at a minimum, the period of time needed for this Court to decide Petitioners’ motion to compel.

13          Any suggestion by DoorDash that it will suffer harm in the event of temporary injunctive
14 relief would show only that DoorDash believes its new arbitration agreement puts DoorDash in a

15 materially better position vis-à-vis Petitioners’ claims. Although DoorDash of course has a

16 pecuniary interest in circumventing Petitioners’ counsel in order to undermine Petitioners’ ability

17 to vindicate their rights, that interest is not a legitimate one. To the contrary, DoorDash’s apparent

18 urgency in sending a revised arbitration agreement to Petitioners—and forcing them to accept it as
19 a condition of continuing to work—only underscores DoorDash’s true motivations and the

20 impropriety of its and its counsel’s actions.

21 IV.      CONCLUSION
22          For the foregoing reasons, this Court should issue a temporary injunction ordering
23 DoorDash and its counsel to stop forcing Petitioners to sign new arbitration agreements pending a

24 decision on the permissibility of that conduct by an arbitrator, and an order to show cause why a

25 preliminary injunction ordering the same should not issue. At a bare minimum, the Court should

26 issue a temporary injunction prohibiting DoorDash and its counsel from forcing Petitioners to sign
27 new agreements until this Court decides Petitioners’ pending Motion to Compel Arbitration.

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                                            15
                       MOTION FOR A TEMPORARY RESTRAINING ORDER
                                  CASE NO. CPF-19-516930
 Case 3:19-cv-07646-WHA     Document 1-1   Filed 11/20/19     Page 202 of 326




 1       Dated: November 19, 2019          Respectfully submitted,
 2

 3                                         Justin Griffin (#234675)
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 4                                         QUINN EMANUEL URQUHART & SULLIVAN, LLP
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 9                                         Chicago, IL 60606
                                           (312) 705-7472
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11                                           tdl@kellerlenkner.com
                                           KELLER LENKNER LLC
12                                         150 N. Riverside Plaza, Suite 4270
                                           Chicago, Illinois 60606
13                                         (312) 741-5220

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15                                         KELLER LENKNER LLC
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16                                         Washington, D.C. 20005
                                           (202) 749-8334
17
                                           Attorneys for Petitioners
18
19

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                  MOTION FOR A TEMPORARY RESTRAINING ORDER
                             CASE NO. CPF-19-516930
     Case 3:19-cv-07646-WHA           Document 1-1    Filed 11/20/19   Page 203 of 326



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13     Attorneys for Petitioners

14                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

15                                 FOR THE COUNTY OF SAN FRANCISCO
16                                                   )
       CHRISTINE BOYD, et al.,                       ) Case No. CPF-19-516930
17
                                                     )
18                                                   ) DECLARATION OF ASHLEY KELLER
                      Petitioners,                   ) IN SUPPORT OF PETITIONERS’
19                                                   ) MOTION FOR A TEMPORARY
              vs.                                    ) RESTRAINING ORDER AND ORDER
20                                                   ) TO SHOW CAUSE
21     DOORDASH, INC.,                               )
                                                     )
22                                                   )
                      Respondent.                    )
23                                                   )
                                                     )
24

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                                     DECLARATION OF ASHLEY KELLER
                                         CASE NO. CPF-19-516930
     Case 3:19-cv-07646-WHA           Document 1-1         Filed 11/20/19     Page 204 of 326



 1                                 DECLARATION OF ASHLEY KELLER

 2              I, Ashley Keller, declare based on personal knowledge as follows:

 3              1.     I am a Partner at Keller Lenkner LLC, counsel for Petitioners in this matter.

 4              2.     I have personal knowledge of the facts stated herein, and if called upon as a witness,

 5     I could and would testify competently thereto.

 6              3.     This declaration is submitted in support of Petitioners’ Motion For A Temporary

 7     Restraining Order.

 8              4.     Upon retaining Keller Lenkner, each Petitioner was prompted to sign a declaration

 9     stating that he or she has worked as a DoorDash courier and does not recall opting out of the

10     arbitration provision contained in his or her contract with DoorDash. Attached as Exhibit A is a

11     true and correct copy of one Petitioner’s declaration.

12              5.     On September 27, 2019, Keller Lenkner filed a demand for individual arbitration on

13     behalf of each Petitioner against DoorDash. In accordance with the arbitration agreement each

14     Petitioner had signed, Petitioners’ demands sought arbitration administered by the American

15     Arbitration Association (“AAA”). Attached as Exhibit B is a true and correct copy of that

16     agreement. Attached as Exhibit C is a true and correct copy of the version of DoorDash’s

17     arbitration agreement that was operative in 2016.

18              6.     On October 3, 2019, AAA sent an email to DoorDash’s counsel (i) confirming that

19     each Petitioner’s demand met AAA’s filing requirements, and (ii) setting October 24, 2019, as the

20     deadline for DoorDash to pay the filing fees necessary to empanel arbitrators and commence

21     Petitioners’ arbitrations. Attached as Exhibit D is a true and correct copy of that email.

22              7.     On October 16, 2019, DoorDash requested a two-week extension of AAA’s

23     payment deadline so it could review each “arbitration demand, analyze its compliance with

24     DoorDash’s arbitration agreement, and research company records to try to identify the [Petitioners]

25     who are purportedly asserting claims.” Attached as Exhibit E is a true and correct copy of that

26     email.

27              8.     That same day, Keller Lenkner sent an email to AAA opposing DoorDash’s request

28     for a two-week extension. Attached as Exhibit F is a true and correct copy of that email.

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 1            9.      AAA granted DoorDash an extension to November 7, 2019.

 2            10.     On the evening of October 28, 2019, DoorDash sent an email to AAA stating that it

 3     would not pay the filing fees that AAA had determined were necessary to proceed with Petitioners’

 4     arbitrations. Attached as Exhibit G is a true and correct copy of that email.

 5            11.     On November 8, 2019, AAA sent an email to the parties’ counsel (i) confirming that

 6     DoorDash had failed to pay the fees required to proceed with Petitioners’ arbitrations, and

 7     (ii) stating that AAA had “administratively closed [Petitioners’] files” due to DoorDash’s lack of

 8     payment. Attached as Exhibit H is a true and correct copy of AAA’s November 8, 2019 email.

 9            12.     Before filing Petitioners’ demands, on July 2, 2019, Keller Lenkner had filed

10     demands for individual arbitration on behalf of 250 DoorDash couriers against DoorDash, invoking

11     the same agreement requiring AAA arbitration.

12            13.     In response to those demands, on August 14, 2019, DoorDash’s outside counsel sent

13     an email to AAA (i) objecting that the Dashers’ arbitration demands would “impos[e] unnecessary

14     and excessive upfront costs,” and (ii) requesting that AAA apply a “separate fee schedule for group

15     filings,” under which DoorDash would proceed with the Dashers’ arbitrations over time, rather than

16     simultaneously as required by AAA’s rules. Attached as Exhibit I is a true and correct copy of that

17     August 14, 2019 email.

18            14.     On August 16, 2019, AAA sent an email to the parties rejecting DoorDash’s request

19     for a payment plan, and confirming that DoorDash owed filing fees for each Dasher’s arbitration

20     in accordance with AAA’s rules. Attached as Exhibit J is a true and correct copy of AAA’s August

21     16, 2019 email.

22            15.     On November 13, 2019, Keller Lenkner became aware that DoorDash may be

23     issuing a revised arbitration agreement to couriers who it knew were represented by Keller Lenkner

24     and were pursuing arbitration against it.

25            16.     That same day Keller Lenkner sent an email to DoorDash’s outside counsel

26     reminding them of their obligations under California Rule of Professional Conduct 4.2(a). Attached

27     as Exhibit K is a true and correct copy of that email.

28            17.     On November 14, 2019, DoorDash’s outside counsel confirmed, via email, that

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 1     DoorDash had issued the revised arbitration agreement beginning on November 9, 2019. Attached

 2     as Exhibit L is a true and correct copy of that email.

 3             18.     Before November 14, 2019, DoorDash had not notified Keller Lenkner that it was

 4     sending Keller Lenkner’s clients a revised agreement, despite DoorDash’s outside counsel having

 5     exchanged several emails and participated in a phone discussion with Keller Lenkner over the

 6     previous week.

 7             19.     Based on Keller Lenkner’s representation of thousands of DoorDash couriers, I

 8     know that a significant number of couriers work for DoorDash only sporadically. Accordingly, out

 9     of the 4,000 Petitioners in this action, it is virtually certain that a meaningful number of Petitioners

10     have not made a delivery for DoorDash since November 11, 2019, but will attempt to do so in the

11     weeks to come.

12             20.      Attached as Exhibit M is a true and correct copy of DoorDash’s revised arbitration

13     agreement.

14             21.     Attached as Exhibit N is the “Employment-Related Mass-Claims Protocol”

15     referenced in that agreement.

16             22.     Attached as Exhibit O is the list of arbitrators on the International Institute for

17     Conflict Prevention & Resolution’s (“CPR’s”) “employment panel.”                Keller Lenkner’s staff

18     generated the exhibit by (i) logging into CPR’s website at https://www.cpradr.org/neutrals/find-a-

19     neutral, (ii) selecting the filters shown in the exhibit, (iii) copying the data generated by the website

20     into the exhibit, and (iv) numbering the arbitrators in the exhibit for clarity.

21

22     I affirm that the foregoing is true under penalty of perjury under the laws of the United States.

23

24     Signed on November 19, 2019 in Chicago, Illinois

25

26
                                                                _______________        _
27                                                              Ashley Keller

28

                                     DECLARATION OF ASLEY KELLER
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               Exhibit
                 A
DocuSign Envelope ID: 7AB6CEF6-552F-466B-9B90-FAE553091194
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         

                 _________________________________________________________________________
             7. | This
                  arbitration.
                        declaration is an important document that will allow us to establish that you have retained |
                                                                                                                     |
                |
                | Keller Lenkner LLC and Troxel Law, LLP to represent you in bring claims against DoorDash. |
                | Please read carefully to affirm that the following is correct and then initial and sign to confirm |
                | that you affirm these facts under penalty of perjury.
                |_________________________________________________________________________||



                 Witness Statement of Christine Boyd
             I, Christine Boyd, provide the following witness statement:


             1. I am over 18 years of age.

             2. I have personal knowledge of the facts in this witness statement. And my testimony on
                examination under oath about these facts would be the same as this witness statement.


             3. I currently reside at:

                     Street Address:

                     City: Pasadena                                 State: California                  Zip: 91109


             4. I have worked for DoorDash for approximately 28 months.


             5. I have retained Keller Lenkner LLC to pursue claims against DoorDash on my behalf.

             6. I do not recall opting out of arbitration.



                     I affirm that these facts are true under penalty of perjury under the law of the United
                     States.

             Date ________________________
                   7/19/2019               Signature                _______________________________________




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                Exhibit
                  B
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                                                                            CONTRACTOR    Page 210 of 326


                  INDEPENDENT CONTRACTOR AGREEMENT
   This Agreement ("Agreement") is made and entered into by and between you, the undersigned contractor
   ("CONTRACTOR"), an independent contractor engaged in the business of performing the delivery services
   contemplated by this Agreement, and DoorDash, Inc. ("DOORDASH" or "COMPANY"). CONTRACTOR may enter this
   Agreement either as an individual or as a corporate entity. This Agreement will become effective on the date it is
   accepted regardless of whether you are eligible to, or ever do, perform any Contracted Services.

   IMPORTANT: PLEASE REVIEW THIS AGREEMENT CAREFULLY. IN PARTICULAR, PLEASE REVIEW THE MUTUAL
   ARBITRATION PROVISION IN SECTION XI, AS IT REQUIRES THE PARTIES (UNLESS YOU OPT OUT OF
   ARBITRATION AS PROVIDED BELOW) TO RESOLVE DISPUTES ON AN INDIVIDUAL BASIS, TO THE FULLEST
   EXTENT PERMITTED BY LAW, THROUGH FINAL AND BINDING ARBITRATION. BY ACCEPTING THIS
   AGREEMENT, YOU ACKNOWLEDGE THAT YOU HAVE READ AND UNDERSTOOD ALL OF THE TERMS,
   INCLUDING SECTION XI, AND HAVE TAKEN THE TIME AND SOUGHT ANY ASSISTANCE NEEDED TO
   COMPREHEND THE CONSEQUENCES OF ACCEPTING THIS AGREEMENT.

   THE PARTIES
   DOORDASH is a company that provides an online marketplace connection using web-based technology that
   connects contractors, restaurants and/or other businesses, and consumers ("DOORDASH platform" or "platform").
   DOORDASH's software permits registered users to place orders for food and/or other goods from various
   restaurants and businesses. Once such orders are made, DOORDASH software notiﬁes contractors that a delivery
   opportunity is available and the DOORDASH software facilitates completion of the delivery. DOORDASH is not a
   restaurant, food delivery service, or food preparation business.

   CONTRACTOR is an independent provider of delivery services, authorized to conduct the delivery services
   contemplated by this Agreement in the geographic location(s) in which CONTRACTOR operates. CONTRACTOR
   possesses all equipment and personnel necessary to perform the delivery services contemplated by this Agreement
   in accordance with applicable laws. CONTRACTOR desires to enter into this Agreement for the right to receive
   delivery opportunities made available through DOORDASH'S platform. CONTRACTOR understands and expressly
   agrees that he/she is not an employee of DOORDASH or any restaurant, other business or consumer and that
   he/she is providing delivery services on behalf of him/herself and his/her business, not on behalf of DOORDASH.
   CONTRACTOR understands (i) he/she is free to select those times he/she wishes to be available on the platform to
   receive delivery opportunities; (ii) he/she is free to accept or reject the opportunities transmitted through the
   DOORDASH platform by consumers, and can make such decisions to maximize his/her opportunity to proﬁt; and (iii)
   he/she has the sole right to control the manner in which deliveries are performed and the means by which those
   deliveries are completed.

   In consideration of the above, as well as the mutual promises described herein, DOORDASH and CONTRACTOR
   (collectively "the parties") agree as follows:

   I. PURPOSE OF THE AGREEMENT
         1. This Agreement governs the relationship between DOORDASH and CONTRACTOR, and establishes the
            parties' respective rights and obligations. In exchange for the promises contained in this Agreement,
            CONTRACTOR shall have the right and obligation to perform the "Contracted Services" as deﬁned herein.
            However, nothing in this Agreement requires CONTRACTOR to perform any particular volume of Contracted
            Services during the term of this Agreement, and nothing in this Agreement shall guarantee CONTRACTOR
            any particular volume of business for any particular time period.
         2. CONTRACTOR shall have no obligation to accept or perform any particular "Delivery Opportunity" (as that
            term is deﬁned herein) offered by DOORDASH. However, once a Delivery Opportunity is accepted,

https://www.doordash.com/dasher/us/ica/                                                                                 1/10
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            CONTRACTOR shall be contractually bound to complete the Contracted Services in accordance with all
            consumer speciﬁcations and the terms laid out in this Agreement,

   II. CONTRACTOR'S OPERATIONS
         1. CONTRACTOR represents that he/she operates an independently established enterprise that provides
            delivery services, and that he/she satisﬁes all legal requirements necessary to perform the services
            contemplated by this Agreement. As an independent contractor/enterprise, CONTRACTOR shall be solely
            responsible for determining how to operate his/her business and how to perform the Contracted Services.
         2. CONTRACTOR agrees to fully perform the Contracted Services in a timely, eﬃcient, safe, and lawful manner.
            DOORDASH shall have no right to, and shall not, control the manner, method or means CONTRACTOR uses to
            perform the Contracted Services. Instead, CONTRACTOR shall be solely responsible for determining the most
            effective, eﬃcient, and safe manner to perform the Contracted Services, including determining the manner of
            pickup, delivery, and route selection.
         3. As an independent business enterprise, CONTRACTOR retains the right to perform services (whether delivery
            services or other services) for others and to hold him/herself out to the general public as a separately
            established business. The parties recognize that they are or may be engaged in similar arrangements with
            others and nothing in this Agreement shall prevent CONTRACTOR or DOORDASH from doing business with
            others. DOORDASH does not have the right to restrict CONTRACTOR from performing services for other
            businesses, customers or consumers at any time, even if such business directly competes with DOORDASH,
            and even during the time CONTRACTOR is logged into the DOORDASH platform. CONTRACTOR’s right to
            compete with DOORDASH, or perform services for business that compete with DOORDASH, will survive even
            after termination of this Agreement.
         4. CONTRACTOR is not required to purchase, lease, or rent any products, equipment or services from
            DOORDASH as a condition of doing business with DOORDASH or entering into this Agreement.
         5. CONTRACTOR agrees to immediately notify DOORDASH in writing at www.doordash.com/help/ if
            CONTRACTOR's right to control the manner or method he/she uses to perform services differs from the terms
            contemplated in this Section.

   III. CONTRACTED SERVICES
         1. From time to time, the DOORDASH platform will notify CONTRACTOR of the opportunity to complete
            deliveries from restaurants or other businesses to consumers in accordance with orders placed by consumers
            through the DOORDASH platform (each of these is referred to as a "Delivery Opportunity"). For each Delivery
            Opportunity accepted by CONTRACTOR ("Contracted Service"), CONTRACTOR agrees to retrieve the orders
            from restaurants or other businesses, ensure the order was accurately ﬁlled, and deliver the order to
            consumers in a safe and timely fashion. CONTRACTOR understands and agrees that the parameters of each
            Contracted Service are established by the consumer, not DOORDASH, and represent the end result desired,
            not the means by which CONTRACTOR is to accomplish the result. CONTRACTOR has the right to cancel,
            from time to time, a Contracted Service when, in the exercise of CONTRACTOR's reasonable discretion and
            business judgment, it is appropriate to do so. Notwithstanding the foregoing, CONTRACTOR agrees to
            maintain both a customer rating and a completion rate found here (http://doordash.squarespace.com/local-
            markets) as of the date this Agreement becomes effective. Failure to satisfy this obligation constitutes a
            material breach of this Agreement, and DOORDASH shall have the right to terminate this Agreement and/or
            deactivate CONTRACTOR'S account.
         2. CONTRACTOR acknowledges that DOORDASH has discretion as to which, if any, Delivery Opportunity to
            offer, just as CONTRACTOR has the discretion whether and to what extent to accept any Delivery Opportunity.
         3. CONTRACTOR acknowledges that CONTRACTOR is engaged in CONTRACTOR’s own business, separate and
            apart from DOORDASH’S business, which is to provide an online marketplace connection using web-based
            technology that connects contractors, restaurants and/or other businesses, and consumers.


https://www.doordash.com/dasher/us/ica/                                                                               2/10
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         4. CONTRACTOR authorizes DOORDASH, during the course of a Contracted Service, to communicate with
            CONTRACTOR, consumer, and/or restaurant or other business to assist CONTRACTOR, to the extent
            permitted by CONTRACTOR, in facilitating deliveries. However, under no circumstances shall DOORDASH be
            authorized to control the manner or means by which CONTRACTOR performs delivery services. This includes,
            but is not limited to, the following:
                    DOORDASH does not require any speciﬁc type, or quality, of CONTRACTOR’s choice of transportation.
                    CONTRACTOR does not have a supervisor or any individual at DOORDASH to whom they report.
                    CONTRACTOR is not required to use any signage or other designation of DOORDASH on his or her
                    vehicle or person at any point in their use of the platform to perform the Contracted Services.
                    DOORDASH has no control over CONTRACTOR’s personal appearance
                    CONTRACTOR does not receive regular performance evaluations by DOORDASH
         5. CONTRACTOR may use whatever payment method he/she chooses to purchase items to be delivered to
            consumers, including, but not limited to CONTRACTOR's personal credit or debit card, cash or a prepaid card.
            CONTRACTOR may use, for CONTRACTOR's convenience, the prepaid card solely for purchasing items to be
            delivered to consumers. If CONTRACTOR chooses to use his/her personal credit or debit card or cash,
            CONTRACTOR shall invoice DOORDASH on a weekly basis and DOORDASH agrees to pay all invoices within
            10 days of receipt.
         6. In the event CONTRACTOR fails to fully perform any Contracted Service (a "Service Failure") due to
            CONTRACTOR's action or omission, CONTRACTOR shall forfeit all or part of the agreed upon fee for that
            service. If CONTRACTOR disputes responsibility for a Service Failure, the dispute shall be resolved pursuant
            to the "Payment Disputes" provision below.
         7. CONTRACTOR agrees to immediately notify DOORDASH in writing by submitting a Support inquiry through
            https://help.doordash.com/consumers/s/contactsupport if CONTRACTOR's services or scope of work differ in
            any way from what is contemplated in this Section.

   IV. RELATIONSHIP OF PARTIES
         1. The parties acknowledge and agree that this Agreement is between two co-equal, independent business
            enterprises that are separately owned and operated. The parties intend this Agreement to create the
            relationship of principal and independent contractor and not that of employer and employee. The parties are
            not employees, agents, joint venturers, or partners of each other for any purpose. Neither party shall have the
            right to bind the other by contract or otherwise except as speciﬁcally provided in this Agreement.
         2. DOORDASH shall not have the right to, and shall not, control the manner or the method of accomplishing
            Contracted Services to be performed by CONTRACTOR. The parties acknowledge and agree that those
            provisions of the Agreement reserving ultimate authority in DOORDASH have been inserted solely for the
            safety of consumers and other CONTRACTORS using the DOORDASH platform or to achieve compliance with
            federal, state, or local laws, regulations, and interpretations thereof.
         3. DOORDASH shall report all payments made to CONTRACTOR on a calendar year basis using an appropriate
            IRS Form 1099, if the volume of payments to CONTRACTOR qualify. CONTRACTOR agrees to report all such
            payments and any cash gratuities to the appropriate federal, state and local taxing authorities.

   V. PAYMENT FOR SERVICES
         1. Unless notiﬁed otherwise by DOORDASH in writing or except as provided herein, CONTRACTOR will receive
            payment per accurate Contracted Service completed in an amount consistent with the publicly provided pay
            model, which you can view here (http://doordash.squarespace.com/local-markets). From time to time,
            DOORDASH may offer opportunities for CONTRACTOR to earn more money for performing Contracted
            Services at speciﬁed times or in speciﬁed locations. Nothing prevents the parties from negotiating a different
            rate of pay, and CONTRACTOR is free to accept or deny any such opportunities to earn different rates of pay.
         2. DOORDASH's online credit card software may permit consumers to add a gratuity to be paid to
            CONTRACTOR, and consumers can also pay a gratuity to CONTRACTOR in cash. CONTRACTOR shall retain
https://www.doordash.com/dasher/us/ica/                                                                                      3/10
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            100% of any gratuity paid by the consumer, whether by cash or credit card. DOORDASH acknowledges it has
            no right to interfere with the amount of gratuity given by the consumer to the CONTRACTOR.
         3. DOORDASH will process payments made by consumers and transmit to CONTRACTOR. Payments for all
            deliveries completed in a given week will be transferred via direct deposit on no less than a weekly basis
            unless it notiﬁes CONTRACTOR otherwise in writing.
         4. Notwithstanding the terms of Section V(1) – (3), fulﬁllment orders placed directly with merchants rather than
            through the App or doordash.com ("Fulﬁllment Orders") may be subject to a different payment model. The
            current pay schedules offered for Fulﬁllment Orders in the relevant markets are reﬂected here
            (https://doordash.squarespace.com/doordash-drive/). Nothing prevents the parties from negotiating a different
            rate of pay for a Fulﬁllment Order, and the CONTRACTOR is free to accept or reject Fulﬁllment Order
            opportunities. As with all Delivery Opportunities, CONTRACTOR shall retain 100% of any gratuity paid by the
            consumer for a Fulﬁllment Order. DoorDash's software may not always include an option to add gratuity for
            Fulﬁllment Orders; however, consumers can pay a gratuity to CONTRACTOR in cash.
         5. From time to time, DOORDASH may offer various Dasher promotions or referral programs. CONTRACTOR
            agrees that he or she will not manipulate or abuse the referral programs or Dasher promotions by, among
            other things: (a) tampering with the location feature on his or her mobile phone; (b) collecting incentive or
            promotional pay when not eligible to receive such pay under relevant policies; or, (c) creating multiple Dasher
            or consumer accounts. CONTRACTOR understands that engaging in this type of manipulation or abuse
            constitutes a material breach of this Agreement and may lead to deactivation of his or her account.

   VI. PAYMENT DISPUTES
         1. CONTRACTOR's Failure: In the event there is a Service Failure, CONTRACTOR shall not be entitled to
            payment as described above (as determined in DOORDASH's reasonable discretion). Any withholding of
            payment shall be based upon proof provided by the consumer, restaurant or other business, CONTRACTOR,
            and any other party with information relevant to the dispute. DOORDASH shall make the initial determination
            as to whether a Service Failure was the result of CONTRACTOR's action/omission. CONTRACTOR shall have
            the right to challenge DOORDASH's determination through any legal means contemplated by this Agreement;
            however, CONTRACTOR shall notify DOORDASH in writing at www.doordash.com/help/ of the challenge and
            provide DOORDASH the opportunity to resolve the dispute. CONTRACTOR should include any documents or
            other information in support of his/her challenge.
         2. DOORDASH's Failure: In the event DOORDASH fails to remit payment in a timely or accurate manner,
            CONTRACTOR shall have the right to seek proper payment by any legal means contemplated by this
            Agreement and, should CONTRACTOR prevail, shall be entitled to recover reasonable costs incurred in
            pursuing proper payment, provided, however, CONTRACTOR shall ﬁrst inform DOORDASH in writing at
            www.doordash.com/help/ of the failure and provide a reasonable opportunity to cure it.

   EQUIPMENT AND EXPENSES
         1. CONTRACTOR represents that he/she has or can lawfully acquire all equipment, including vehicles and food
            hot bags ("Equipment") necessary for performing contracted services, and CONTRACTOR is solely
            responsible for ensuring that the vehicle used conforms to all vehicle laws pertaining to safety, equipment,
            inspection, and operational capability.
         2. CONTRACTOR agrees that he/she is responsible for all costs and expenses arising from CONTRACTOR's
            performance of Contracted Services, including, but not limited to, costs related to CONTRACTOR's Personnel
            (deﬁned below) and Equipment. Except as otherwise required by law, CONTRACTOR assumes all risk of
            damage or loss to its Equipment.

   VIII. PERSONNEL
            1. In order to perform any Contracted Services, CONTRACTOR must, for the safety of consumers on the
               DOORDASH platform, pass a background check administered by a third-party vendor, subject to
https://www.doordash.com/dasher/us/ica/                                                                                    4/10
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            CONTRACTOR's lawful consent. CONTRACTOR is not required to perform any Contracted Services
            personally, but may, to the extent permitted by law and subject to the terms of this Agreement, hire or engage
            others (as employees or subcontractors of CONTRACTOR) to perform all or some of the Contracted Services,
            provided any such employees or subcontractors meet all the requirements applicable to CONTRACTOR
            including, but not limited to, the background check requirements that CONTRACTOR must meet in order to
            perform Contracted Services. To the extent CONTRACTOR furnishes his/her own employees or
            subcontractors (collectively "Personnel"), CONTRACTOR shall be solely responsible for the direction and
            control of the Personnel it uses to perform all Contracted Services.
         2. CONTRACTOR assumes full and sole responsibility for the payment of all amounts due to his/her
            Personnel for work performed in relation to this Agreement, including all wages, beneﬁts and expenses, if
            any, and for all required state and federal income tax withholdings, unemployment insurance
            contributions, and social security taxes as to CONTRACTOR and all Personnel employed by
            CONTRACTOR in the performance of Contracted Services under this Agreement. DOORDASH shall have
            no responsibility for any wages, beneﬁts, expenses, or other payments due CONTRACTOR's Personnel,
            nor for income tax withholding, social security, unemployment insurance contributions, or other payroll
            taxes relating to CONTRACTOR or his/her Personnel. Neither CONTRACTOR nor his/her Personnel shall
            receive any wages, including vacation pay or holiday pay, from DOORDASH, nor shall they participate in
            or receive any other beneﬁts, if any, available to DOORDASH's employees.
         3. Unless mandated by law, DOORDASH shall have no authority to withhold state or federal income taxes,
            social security taxes, unemployment insurance taxes/contributions, or any other local, state or federal tax
            on behalf of CONTRACTOR or his/her Personnel.
         4. CONTRACTOR and his/her Personnel shall not be required to wear a uniform or other clothing of any type
            bearing DOORDASH's name or logo.
         5. If CONTRACTOR uses the services of any Personnel to perform the Contracted Services, CONTRACTOR's
            Personnel must satisfy and comply with all of the terms of this Agreement, which CONTRACTOR must make
            enforceable by written agreement between CONTRACTOR and such Personnel. A copy of such written
            agreement must be provided to DOORDASH at least 7 days in advance of such Personnel performing the
            Contracted Services. The parties acknowledge that the sole purpose of this requirement is to ensure
            CONTRACTOR's compliance with the terms of this Agreement.

   IX. INSURANCE
         1. CONTRACTOR agrees, as a condition of doing business with DOORDASH, that during the term of this
            Agreement, CONTRACTOR will maintain current insurance, in amounts and of types required by law to
            provide the Contracted Services, at his/her own expense. CONTRACTOR acknowledges that failure to secure
            or maintain satisfactory insurance coverage shall be deemed a material breach of this Agreement and shall
            result in the termination of the Agreement and the loss of CONTRACTOR's right to receive Delivery
            Opportunities.
         2. NOTIFICATION OF COVERAGE: CONTRACTOR agrees to deliver to DOORDASH, upon request, current
            certiﬁcates of insurance as proof of coverage. CONTRACTOR agrees to provide updated certiﬁcates each
            time CONTRACTOR purchases, renews, or alters CONTRACTOR's insurance coverage. CONTRACTOR agrees
            to give DOORDASH at least thirty (30) days' prior written notice before cancellation of any insurance policy
            required by this Agreement.
         3. WORKERS' COMPENSATION/OCCUPATIONAL ACCIDENT INSURANCE: CONTRACTOR agrees that
            CONTRACTOR will not be eligible for workers' compensation beneﬁts through DOORDASH, and instead, will
            be responsible for providing CONTRACTOR's own workers' compensation insurance or occupational accident
            insurance, if permitted by law.

   X. INDEMNITY

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         1. DOORDASH agrees to indemnify, protect and hold harmless CONTRACTOR from any and all claims,
            demands, damages, suits, losses, liabilities and causes of action arising directly from DOORDASH's actions
            arranging and offering the Contracted Services to CONTRACTOR.
         2. CONTRACTOR agrees to indemnify, protect and hold harmless DOORDASH, including all parent, subsidiary
            and/or aﬃliated companies, as well as its and their past and present successors, assigns, oﬃcers, owners,
            directors, agents, representatives, attorneys, and employees, from any and all claims, demands, damages,
            suits, losses, liabilities and causes of action arising directly or indirectly from, as a result of or in connection
            with, the actions of CONTRACTOR and/or his/her Personnel arising from the performance of delivery services
            under this Agreement, including personal injury or death to any person (including to CONTRACTOR and/or
            his/her Personnel), as well as any liability arising from CONTRACTOR's failure to comply with the terms of this
            Agreement. CONTRACTOR's obligations hereunder shall include the cost of defense, including attorneys'
            fees, as well as the payment of any ﬁnal judgment rendered against or settlement agreed upon by
            DOORDASH or its parent, subsidiary and/or aﬃliated companies.
         3. CONTRACTOR agrees to indemnify, protect and hold harmless DOORDASH, including all parent, subsidiary,
            and/or aﬃliated companies, as well as its and their past and present successors, assigns, oﬃcers, owners,
            directors, agents, representatives, attorneys, and employees, from any and all tax liabilities and
            responsibilities for payment of all federal, state and local taxes, including, but not limited to all payroll taxes,
            self-employment taxes, workers compensation premiums, and any contributions imposed or required under
            federal, state and local laws, with respect to CONTRACTOR and CONTRACTOR's Personnel.
         4. CONTRACTOR shall be responsible for, indemnify and hold harmless DOORDASH, including all parent,
            subsidiary, and/or aﬃliated companies, as well as its and their past and present successors, assigns, oﬃcers,
            owners, directors, agents, representatives, attorneys, and employees, from all costs of CONTRACTOR's
            business, including, but not limited to, the expense and responsibility for any and all applicable insurance,
            local, state or federal licenses, permits, taxes, and assessments of any and all regulatory agencies, boards or
            municipalities.

   XI. MUTUAL ARBITRATION PROVISION
            1. CONTRACTOR and DOORDASH mutually agree to this arbitration agreement, which is governed by the
               Federal Arbitration Act (9 U.S.C. §§ 1-16) ("FAA") and shall apply to any and all claims arising out of or relating to
               this Agreement, CONTRACTOR's classiﬁcation as an independent contractor, CONTRACTOR's provision of
               Contracted Services to consumers, the payments received by CONTRACTOR for providing services to
               consumers, the termination of this Agreement, and all other aspects of CONTRACTOR's relationship with
               DOORDASH, past, present or future, whether arising under federal, state or local statutory and/or common
               law, including without limitation harassment, discrimination or retaliation claims and claims arising under or
               related to the Civil Rights Act of 1964 (or its state or local equivalents), Americans With Disabilities Act (or its
               state or local equivalents), Age Discrimination in Employment Act (or its state or local equivalents), Family
               Medical Leave Act (or its state or local equivalents), Federal Credit Reporting Act (or its state or local
               equivalents), Telephone Consumer Protection Act (or its state or local equivalents), or Fair Labor Standards
               Act (or its state or local equivalents), state and local wage and hour laws, state and local statutes or
               regulations addressing the same or similar subject matters, and all other federal, state or local claims arising
               out of or relating to CONTRACTOR's relationship or the termination of that relationship with DOORDASH. The
               parties expressly agree that this Agreement shall be governed by the FAA even in the event CONTRACTOR
               and/or DOORDASH are otherwise exempted from the FAA. Any disputes in this regard shall be resolved
               exclusively by an arbitrator. In the event, but only in the event, the arbitrator determines the FAA does not
               apply, the state law governing arbitration agreements in the state in which the CONTRACTOR operates shall
               apply.

         2. If either CONTRACTOR or DOORDASH wishes to initiate arbitration, the initiating party must notify the other
            party in writing via certiﬁed mail, return receipt requested, or hand delivery within the applicable statute of

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            limitations period. This demand for arbitration must include (1) the name and address of the party seeking
            arbitration, (2) a statement of the legal and factual basis of the claim, and (3) a description of the remedy
            sought. Any demand for arbitration by CONTRACTOR must be delivered to General Counsel, 901 Market
            Street, 6th Floor, San Francisco, California 94103.
         3. Arbitration Class Action Waiver. CONTRACTOR and DOORDASH mutually agree that by entering into this
            agreement to arbitrate, both waive their right to have any dispute or claim brought, heard or arbitrated as, or
            to participate in, a class action, collective action and/or representative action—including but not limited to
            actions brought pursuant to the Private Attorney General Act (“PAGA”), California Labor Code section 2699 et
            seq., and any request seeking a public injunction—and an arbitrator shall not have any authority to hear or
            arbitrate any class, collective or representative action, or to award relief to anyone but the individual in
            arbitration ("Arbitration Class Action Waiver"). Notwithstanding any other clause contained in this Agreement
            or the AAA Rules, as deﬁned below, any claim that all or part of this Arbitration Class Action Waiver is
            unenforceable, unconscionable, void or voidable may be determined only by a court of competent jurisdiction
            and not by an arbitrator. In any case in which (1) the dispute is ﬁled as a class, collective, or representative
            action and (2) there is a ﬁnal judicial determination that all or part of the Arbitration Class Action Waiver is
            unenforceable, the class, collective and/or representative action to that extent must be litigated in a civil court
            of competent jurisdiction, but the portion of the Arbitration Class Action Waiver that is enforceable shall be
            enforced in arbitration. Notwithstanding any other clause contained in this Agreement or the AAA Rules, as
            deﬁned below, any claim that all or part of this Arbitration Class Action Waiver is unenforceable,
            unconscionable, void or voidable may be determined only by a court of competent jurisdiction and not by an
            arbitrator. All other disputes with respect to whether this Mutual Arbitration Provision is unenforceable,
            unconscionable, applicable, valid, void or voidable shall be determined exclusively by an arbitrator, and not by
            any court.
         4. CONTRACTOR agrees and acknowledges that entering into this arbitration agreement does not change
            CONTRACTOR's status as an independent contractor in fact and in law, that CONTRACTOR is not an
            employee of DOORDASH or its customers and that any disputes in this regard shall be subject to arbitration
            as provided in this agreement.
         5. Any arbitration shall be governed by the American Arbitration Association Commercial Arbitration Rules ("AAA
            Rules"), except as follows:
                 a. The arbitration shall be heard by one arbitrator selected in accordance with the AAA Rules. The
                     Arbitrator shall be an attorney with experience in the law underlying the dispute.
                 b. If the parties cannot otherwise agree on a location for the arbitration, the arbitration shall take place
                     within 45 miles of CONTRACTOR's residence as of the effective date of this Agreement.
                 c. Unless applicable law provides otherwise, in the event that DOORDASH and CONTRACTOR have
                     agreed to this Mutual Arbitration Provision, DOORDASH and CONTRACTOR shall equally share ﬁling
                     fees and other similar and usual administrative costs, as are common to both court and administrative
                     proceedings. DOORDASH shall pay any costs uniquely associated with arbitration, such as payment of
                     the costs of AAA and the Arbitrator, as well as room rental.
                 d. The Arbitrator may issue orders (including subpoenas to third parties) allowing the parties to conduct
                     discovery suﬃcient to allow each party to prepare that party's claims and/or defenses, taking into
                     consideration that arbitration is designed to be a speedy and eﬃcient method for resolving disputes.
                 e. Except as provided in the Arbitration Class Action Waiver, the Arbitrator may award all remedies to
                     which a party is entitled under applicable law and which would otherwise be available in a court of law,
                     but shall not be empowered to award any remedies that would not have been available in a court of
                     law for the claims presented in arbitration. The Arbitrator shall apply the state or federal substantive
                     law, or both, as is applicable.
                  f. The Arbitrator may hear motions to dismiss and/or motions for summary judgment and will apply the
                     standards of the Federal Rules of Civil Procedure governing such motions.
                 g. The Arbitrator's decision or award shall be in writing with ﬁndings of fact and conclusions of law.
https://www.doordash.com/dasher/us/ica/                                                                                       7/10
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                  h. The Arbitrator may issue orders to protect the conﬁdentiality of proprietary information, trade secrets,
                      or other sensitive information. Subject to the discretion of the Arbitrator or agreement of the parties,
                      any person having a direct interest in the arbitration may attend the arbitration hearing. The Arbitrator
                      may exclude any non-party from any part of the hearing.
                   i. Either CONTRACTOR or DOORDASH may apply to a court of competent jurisdiction for temporary or
                      preliminary injunctive relief on the ground that without such relief the arbitration provided in this
                      paragraph may be rendered ineffectual.

         6. Nothing in this Mutual Arbitration Provision prevents you from making a report to or ﬁling a claim or charge
            with the Equal Employment Opportunity Commission, U.S. Department of Labor, U.S. Securities and Exchange
            Commission, National Labor Relations Board, or Oﬃce of Federal Contract Compliance Programs. Nothing in
            this Mutual Arbitration Provision prevents the investigation by a government agency of any report, claim or
            charge otherwise covered by this Mutual Arbitration Provision. This Mutual Arbitration Provision also does not
            prevent federal administrative agencies from adjudicating claims and awarding remedies based on those
            claims, even if the claims would otherwise be covered by this Mutual Arbitration Provision. Nothing in this
            Mutual Arbitration Provision prevents or excuses a party from satisfying any conditions precedent and/or
            exhausting administrative remedies under applicable law before bringing a claim in arbitration. DOORDASH
            will not retaliate against CONTRACTOR for ﬁling a claim with an administrative agency or for exercising rights
            (individually or in concert with others) under Section 7 of the National Labor Relations Act. Disputes between
            the parties that may not be subject to predispute arbitration agreement, including as provided by an Act of
            Congress or lawful, enforceable Executive Order, are excluded from the coverage of this Mutual Arbitration
            Provision.
         7. The AAA Rules may be found at www.adr.org or by searching for "AAA Commercial Arbitration Rules" using a
            service such as www.google.com or www.bing.com or by asking DOORDASH's General Counsel to provide a
            copy.
         8. CONTRACTOR's Right to Opt Out of Arbitration Provision. Arbitration is not a mandatory condition of
            CONTRACTOR's contractual relationship with DOORDASH, and therefore CONTRACTOR may submit a
            statement notifying DOORDASH that CONTRACTOR wishes to opt out and not be subject to this MUTUAL
            ARBITRATION PROVISION. In order to opt out, CONTRACTOR must notify DOORDASH in writing of
            CONTRACTOR's intention to opt out by sending a letter, by First Class Mail, to DoorDash, Inc., 901 Market
            Street, Suite 600, San Francisco, CA, 94131. Any attempt to opt out by email will be ineffective. The letter must
            state CONTRACTOR's intention to opt out. In order to be effective, CONTRACTOR's opt out letter must be
            postmarked within 30 days of the effective date of this Agreement. The letter must be signed by
            CONTRACTOR himself/herself, and not by any agent or representative of CONTRACTOR. The letter may opt
            out, at most, only one CONTRACTOR, and letters that purport to opt out multiple CONTRACTORS will not be
            effective as to any. No CONTRACTOR (or his or her agent or representative) may effectuate an opt out on
            behalf of other CONTRACTORS. If CONTRACTOR opts out as provided in this paragraph, CONTRACTOR will
            not be subject to any adverse action from DOORDASH as a consequence of that decision and he/she may
            pursue available legal remedies without regard to this Mutual Arbitration Provision. If CONTRACTOR does not
            opt out within 30 days of the effective date of this Agreement, CONTRACTOR and DOORDASH shall be
            deemed to have agreed to this Mutual Arbitration Provision. CONTRACTOR has the right to consult with
            counsel of CONTRACTOR's choice concerning this Mutual Arbitration Provision (or any other provision of this
            Agreement.
         9. This Mutual Arbitration Provision is the full and complete agreement relating to the formal resolution of
            disputes covered by this Mutual Arbitration Provision. In the event any portion of this Mutual Arbitration
            Provision is deemed unenforceable, the remainder of this Mutual Arbitration Provision will be enforceable.
            The award issued by the Arbitrator may be entered in any court of competent jurisdiction.

   XII. LITIGATION CLASS ACTION WAIVER

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            1. To the extent allowed by applicable law, separate and apart from the Mutual Arbitration Provision found in
               Section XI, CONTRACTOR agrees that any proceeding to litigate in court any dispute arising out of or relating
               to this Agreement, whether because CONTRACTOR opted out of the Arbitration Provision or any other
               reason, will be conducted solely on an individual basis, and CONTRACTOR agrees not to seek to have any
               controversy, claim or dispute heard as a class action, a representative action, a collective action, a private
               attorney-general action, or in any proceeding in which CONTRACTOR acts or proposes to act in a
               representative capacity (“Litigation Class Action Waiver”). CONTRACTOR further agrees that no proceeding
               will be joined, consolidated, or combined with another proceeding, without the prior written consent of all
               parties to any such proceeding. If a court of competent jurisdiction determines that all or part of this Litigation
               Class Action Waiver is unenforceable, unconscionable, void or voidable, the remainder of this Agreement
               shall remain in full force and effect.

   XIII. TERMINATION OF AGREEMENT
         1. CONTRACTOR may terminate this Agreement upon seven (7) days written notice. DOORDASH may terminate
            this Agreement and deactivate CONTRACTOR’S Dasher account only for the reasons set forth in the
            DOORDASH Deactivation Policy (http://www.doordash.com/deactivationpolicy), or for a material breach of this
            Agreement. Notwithstanding any other provision in this Agreement, DoorDash reserves the right to modify
            the Deactivation Policy if, in DoorDash’s good faith and reasonable discretion, it is necessary to do so for the
            safe and/or effective operation of the DoorDash platform. DOORDASH shall provide notice of any such
            changes to CONTRACTOR via e-mail. Changes to the Deactivation Policy shall be effective and binding on the
            parties upon CONTRACTOR’s continued use of the DOORDASH platform following DOORDASH’s e-mail
            notice of such modiﬁcations. Nothing will prevent CONTRACTOR from attempting to negotiate an exemption
            from any modiﬁcation to the Deactivation Policy.
         2. CONTRACTOR's and DOORDASH's obligations and rights arising under the Mutual Arbitration Provision of this
            Agreement shall survive termination of this Agreement. Notwithstanding any other provision in this
            Agreement, the Deactivation Policy is subject to change; such changes shall be effective and binding on the
            parties upon DOORDASH’S provision of notice to CONTRACTOR via e-mail.

   XIV. ENTIRE AGREEMENT, TRANSFERABILITY, AND WAIVER
         1. This Agreement shall constitute the entire agreement and understanding between the parties with respect to
            the subject matter of this Agreement and shall not be modiﬁed, altered, changed or amended in any respect,
            unless in writing and signed by both parties. Before accepting any modiﬁcations, alterations, changes or
            amendments, CONTRACTOR shall have the right to discuss any proposed changes with DOORDASH and
            consider whether to continue his/her contractual relationship with DOORDASH. This Agreement supersedes
            any prior contract between the parties. To the extent DOORDASH's consumer facing Terms and Conditions
            Agreement (or updated consumer facing Terms and Conditions Agreement, if applicable) is inconsistent or
            conﬂicts with this Agreement, this Agreement controls. However, the decision to opt-out of the Mutual
            Arbitration Provision in this Agreement does not affect the enforceability of any arbitration agreement in the
            consumer facing Terms and Conditions Agreement to which Contractor may be bound (and vice versa). This
            Agreement may not be assigned by either party without written consent of the other and shall be binding
            upon the parties hereto, including their heirs and successors, provided, however, that DOORDASH may assign
            its rights and obligations under this Agreement to an aﬃliate of DOORDASH or any successor(s) to its
            business and/or purchaser of substantially all of its stock or assets. References in this Agreement to
            DOORDASH shall be deemed to include such successor(s).
         2. The failure of DOORDASH or CONTRACTOR in any instance to insist upon a strict performance of the terms of
            this Agreement or to exercise any option herein, shall not be construed as a waiver or relinquishment of such
            term or option and such term or option shall continue in full force and effect.

   XV. MISCELLANEOUS
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         1. CAPTIONS: Captions appearing in this Agreement are for convenience only and do not in any way limit,
            amplify, modify, or otherwise affect the terms and provisions of this Agreement.
         2. SEVERABILITY Clause: Except as speciﬁcally provided in Section XI, if any part of this Agreement is declared
            unlawful or unenforceable, the remainder of this Agreement shall remain in full force and effect.
         3. GOVERNING LAW: Except for the Mutual Arbitration Provision above, which is governed by the Federal
            Arbitration Act, the choice of law for interpretation of this Agreement, and the right of the parties hereunder,
            as well as substantive interpretation of claims asserted pursuant to Section XI, shall be the rules of law of the
            state in which CONTRACTOR performs the majority of the services covered by this Agreement.
         4. NOTICE AND OPPORTUNITY TO CURE: CONTRACTOR agrees to notify DOORDASH in writing at
            https://www.doordash.com/help/ (https://www.doordash.com/help/) of any breach or perceived breach of this
            Agreement, of any claim arising out of or related to this Agreement, or of any claim that CONTRACTOR's
            services or scope of work differ in any way from what is contemplated in this Agreement, including but not
            limited to the terms in Sections II (Contractor's Operations) and III (Contractor's Services), or if the relationship
            of the parties differs from the terms contemplated in Section IV (Relationship of Parties).
         5. PRIVACY POLICY: CONTRACTOR represents and warrants that he or she has reviewed and understands
            DOORDASH'S Dasher Privacy Statement, which can be found here
            (http://www.doordash.com/dasherprivacypolicy). By using the Dasher Services, you consent to all actions
            taken by DOORDASH with respect to your information in accordance with the Dasher Privacy Statement.

                                                                                                             /s/Cody Aughney
                                                 Cody Aughney, authorized representative for DoorDash, Inc.
   About (/about/) • Blog (http://blog.doordash.com) • Careers (/careers/) • Terms (/terms/) • Privacy (/privacy/) •
   Accessibility (/accessibility/) • Delivery Locations (/food-delivery/) • Help & Support (/support/) • Become a Merchant
   (/merchant/apply/) • Become a Dasher (/driver/apply/)

    
     (http://twitter.com/doordash) 
                                     (http://facebook.com/doordash) 
                                                                      (http://instagram.com/doordash)
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Updated Terms and Conditions Agreement

This Agreement ("Agreement") is made and entered into
by and between you, the undersigned contractor
("CONTRACTOR"), an independent contractor engaged in
the business of performing the delivery services
contemplated by this Agreement, and DoorDash, Inc.
("DOORDASH" or "COMPANY"). This Agreement will
become effective on the date it is digitally signed.

IMPORTANT: PLEASE REVIEW THIS AGREEMENT
CAREFULLY. IN PARTICULAR, PLEASE REVIEW THE
MUTUAL ARBITRATION PROVISION IN SECTION XI, AS
IT REQUIRES THE PARTIES (UNLESS YOU OPT OUT OF
ARBITRATION AS PROVIDED BELOW) TO RESOLVE
DISPUTES ON AN INDIVIDUAL BASIS, TO THE
FULLEST EXTENT PERMITTED BY LAW, THROUGH
FINAL AND BINDING ARBITRATION. BY DIGITALLY
SIGNING THIS AGREEMENT, YOU ACKNOWLEDGE
THAT YOU HAVE READ AND UNDERSTOOD ALL OF
THE TERMS, INCLUDING SECTION XI, AND HAVE
TAKEN THE TIME AND SOUGHT ANY ASSISTANCE
NEEDED TO COMPREHEND THE CONSEQUENCES OF
SIGNING THIS AGREEMENT.

THE PARTIES
      I have read, understand, and agree to the
      Independent Contractor Agreement


       Disagree                                                                               Agree


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Updated Terms and Conditions Agreement

THE PARTIES
DOORDASH is a company that provides an online
marketplace connection using web-based technology
that connects contractors, restaurants and/or other
businesses, and consumers ("DOORDASH platform" or
"platform"). DOORDASH's software permits registered
users to place orders for food and/or other goods from
various restaurants and businesses. Once such orders
are made, DOORDASH software notifies contractors that
a delivery opportunity is available and the DOORDASH
software facilitates completion of the delivery.
DOORDASH is not a restaurant, food delivery service, or
food preparation business.

CONTRACTOR is an independent provider of delivery
services, authorized to conduct the delivery services
contemplated by this Agreement in the geographic
location(s) in which CONTRACTOR operates.
CONTRACTOR possesses all equipment and personnel
necessary to perform the delivery services contemplated
by this Agreement in accordance with applicable laws.
CONTRACTOR desires to enter into this Agreement for
the right to receive delivery opportunities made available

      I have read, understand, and agree to the
      Independent Contractor Agreement


       Disagree                                                                               Agree


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Updated Terms and Conditions Agreement

the right to receive delivery opportunities made available
through DOORDASH'S platform. CONTRACTOR
understands and expressly agrees that he/she is not an
employee of DOORDASH or any restaurant, other
business or consumer and that he/she is providing
delivery services on behalf of him/herself and his/her
business, not on behalf of DOORDASH. CONTRACTOR
understands (i) he/she is free to select those times he/she
wishes to be available on the platform to receive delivery
opportunities; (ii) he/she is free to accept or reject the
opportunities transmitted through the DOORDASH
platform by consumers, and can make such decisions to
maximize his/her opportunity to profit; and (iii) he/she has
the sole right to control the manner in which deliveries
are performed and the means by which those deliveries
are completed.

In consideration of the above, as well as the mutual
promises described herein, DOORDASH and
CONTRACTOR (collectively "the parties") agree as
follows:

I. PURPOSE OF THE AGREEMENT


      I have read, understand, and agree to the
      Independent Contractor Agreement


       Disagree                                                                                 Agree


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Updated Terms and Conditions Agreement

  1. This Agreement governs the relationship between
    DOORDASH and CONTRACTOR, and establishes
    the parties' respective rights and obligations. In
    exchange for the promises contained in this
    Agreement, CONTRACTOR shall have the right and
    obligation to perform the "Contracted Services" as
    defined herein. However, nothing in this
    Agreement requires CONTRACTOR to perform any
    particular volume of Contracted Services during
    the term of this Agreement, and nothing in this
    Agreement shall guarantee CONTRACTOR any
    particular volume of business for any particular
    time period.
 2. CONTRACTOR shall have no obligation to accept
    or perform any particular "Delivery Opportunity" (as
    that term is defined herein) offered by
    DOORDASH. However, once a Delivery
    Opportunity is accepted, CONTRACTOR shall be
    contractually bound to complete the Contracted
    Services in accordance with all consumer
    specifications and the terms laid out in this
    Agreement,


    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                               Agree


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    Agreement,

II. CONTRACTOR'S OPERATIONS
  1. CONTRACTOR represents that he/she operates an
    independently established enterprise that provides
    delivery services, and that he/she satisfies all legal
    requirements necessary to perform the services
    contemplated by this Agreement. As an
    independent contractor/enterprise, CONTRACTOR
    shall be solely responsible for determining how to
    operate his/her business and how to perform the
    Contracted Services.
  2. CONTRACTOR agrees to fully perform the
    Contracted Services in a timely, efficient, safe, and
    lawful manner. DOORDASH shall have no right to,
    and shall not, control the manner, method or
    means CONTRACTOR uses to perform the
    Contracted Services. Instead, CONTRACTOR shall
    be solely responsible for determining the most
    effective, efficient, and safe manner to perform the
    Contracted Services, including determining the
     manner of pickup, delivery, and route selection.
  3. As an independent business enterprise,

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                   Agree


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 3. As an independent business enterprise,
    CONTRACTOR retains the right to perform services
    (whether delivery services or other services) for
    others and to hold him/herself out to the general
    public as a separately established business. The
    parties recognize that they are or may be engaged
    in similar arrangements with others and nothing in
    this Agreement shall prevent CONTRACTOR or
    DOORDASH from doing business with others.
    DOORDASH does not have the right to restrict
    CONTRACTOR from performing services for other
    businesses, customers or consumers at any time,
    even if such business directly competes with
    DOORDASH, and even during the time
    CONTRACTOR is logged into the DOORDASH
    platform.
 4. CONTRACTOR is not required to purchase, lease,
    or rent any products, equipment or services from
    DOORDASH as a condition of doing business with
    DOORDASH or entering into this Agreement.
  5. CONTRACTOR agrees to immediately notify
    DOORDASH in writing at dasher@doordash.com if
    CONTRACTOR's right to control the manner or

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                  Agree


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    CONTRACTOR's right to control the manner or
    method he/she uses to perform services differs
    from the terms contemplated in this Section.

Ill. CONTRACTED SERVICES
  1. From time to time, the DOORDASH platform will
    notify CONTRACTOR of the opportunity to
    complete deliveries from restaurants or other
    businesses to consumers in accordance with
    orders placed by consumers through the
    DOOR DASH platform (each of these is referred to
    as a "Delivery Opportunity"). For each Delivery
    Opportunity accepted by CONTRACTOR
    ("Contracted Service"), CONTRACTOR agrees to
    retrieve the orders from restaurants or other
    businesses, ensure the order was accurately filled,
    and deliver the order to consumers in a safe and
    timely fashion. CONTRACTOR understands and
    agrees that the parameters of each Contracted
    Service are established by the consumer, not
    DOORDASH, and represent the end result desired,
    not the means by which CONTRACTOR is to
    accomplish the result. CONTRACTOR has the right

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                  Agree


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    accomplish the result. CONTRACTOR has the right
    to cancel, from time to time, a Contracted Service
    when, in the exercise of CONTRACTOR's
    reasonable discretion and business judgment, it is
    appropriate to do so. Notwithstanding the
    foregoing, CONTRACTOR agrees to maintain both
    a customer rating and a completion rate found
    here as of the date this Agreement becomes
    effective. Failure to satisfy this obligation
    constitutes a material breach of this Agreement,
    and DOORDASH shall have the right to terminate
    this Agreement and/or deactivate CONTRACTOR'S
    account.
 2. CONTRACTOR acknowledges that DOORDASH
    has discretion as to which, if any, Delivery
    Opportunity to offer, just as CONTRACTOR has the
    discretion whether and to what extent to accept
    any Delivery Opportunity.
 3. CONTRACTOR authorizes DOORDASH, during the
    course of a Contracted Service, to communicate
    with CONTRACTOR, consumer, and/or restaurant
    or other business to assist CONTRACTOR, to the
    extent permitted by CONTRACTOR, in facilitating

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    Disagree                                                                                      Agree


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    extent permitted by CONTRACTOR, in facilitating
    deliveries. However, under no circumstances shall
    DOORDASH be authorized to control the manner
    or means by which CONTRACTOR performs
    delivery services.
 4. CONTRACTOR may use whatever payment
     method he/she chooses to purchase items to be
    delivered to consumers, including, but not limited
    to CONTRACTOR's personal credit or debit card,
    cash or a prepaid card. CONTRACTOR may use, for
    CONTRACTOR's convenience, the prepaid card
    solely for purchasing items to be delivered to
    consumers. If CONTRACTOR chooses to use
    his/her personal credit or debit card or cash,
    CONTRACTOR shall invoice DOORDASH on a
    weekly basis and DOORDASH agrees to pay all
    invoices within 10 days of receipt.
  5. In the event CONTRACTOR fails to fully perform
    any Contracted Service (a "Service Failure") due to
    CONTRACTOR's action or omission, CONTRACTOR
    shall forfeit all or part of the agreed upon fee for
    that service. If CONTRACTOR disputes
     responsibility for a Service Failure, the dispute shall

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     Disagree                                                                                    Agree


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     responsibility for a Service Failure, the dispute shall
     be resolved pursuant to the "Payment Disputes"
     provision below.
  6. CONTRACTOR agrees to immediately notify
    DOORDASH in writing at dasher@doordash.com if
     CONTRACTOR's services or scope of work differ in
    any way from what is contemplated in this Section.

IV. RELATIONSHIP OF PARTIES
  1. The parties acknowledge and agree that this
    Agreement is between two co-equal, independent
     business enterprises that are separately owned
    and operated. The parties intend this Agreement to
     create the relationship of principal and
     independent contractor and not that of employer
     and employee. The parties are not employees,
    agents, joint venturers, or partners of each other
    for any purpose. Neither party shall have the right
    to bind the other by contract or otherwise except
     as specifically provided in this Agreement.
  2. DOORDASH shall not have the right to, and shall
     not, control the manner or the method of
    accomplishing Contracted Services to be

    I have read, understand, and agree to the
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     Disagree                                                                                    Agree


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    accomplishing Contracted Services to be
    performed by CONTRACTOR. The parties
    acknowledge and agree that those provisions of
    the Agreement reserving ultimate authority in
    DOORDASH have been inserted solely for the
    safety of consumers and other CONTRACTORS
    using the DOORDASH platform or to achieve
    compliance with federal, state, or local laws,
    regulations, and interpretations thereof.
  3. DOORDASH shall report all payments made to
    CONTRACTOR on a calendar year basis using an
    appropriate IRS Form 1099, if the volume of
    payments to CONTRACTOR qualify. CONTRACTOR
    agrees to report all such payments and any cash
    gratuities to the appropriate federal, state and local
    taxing authorities.

V. PAYMENT FOR SERVICES
  1. Unless notified otherwise by DOORDASH in writing
    or except as provided herein, CONTRACTOR will
    receive payment per accurate Contracted Service
    completed in the amount listed in the payment
    schedule for the relevant market, which you can

    I have read, understand, and agree to the
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     Disagree                                                                                   Agree


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     schedule for the relevant market, which you can
     view here. From time to time, DOORDASH may
     offer opportunities for CONTRACTOR to earn more
     money for performing Contracted Services at
     specified times or in specified locations. Nothing
     prevents the parties from negotiating a different
     rate of pay, and CONTRACTOR is free to accept or
     deny any such opportunities to earn different rates
     of pay.
 2. DOORDASH's online credit card software may
     permit consumers to add a gratuity to be paid to
     CONTRACTOR, and consumers can also pay a
     gratuity to CONTRACTOR in cash. CONTRACTOR
     shall retain 100% of any gratuity paid by the
     consumer, whether by cash or credit card.
     DOORDASH acknowledges it has no right to
     interfere with the amount of gratuity given by the
     consumer to the CONTRACTOR.
 3. DOORDASH will process payments made by
     consumers and transmit to CONTRACTOR via
     direct deposit on a weekly basis unless it notifies
     CONTRACTOR otherwise in writing.
  4. Notwithstanding the terms of Section V(1) - (3),

    I have read, understand, and agree to the
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     Disagree                                                                                     Agree


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  4. Notwithstanding the terms of Section V(1) - (3),
     fulfillment orders placed directly with merchants
     rather than through the App or doordash.com
     ("Fulfillment Orders") may be subject to a different
     payment model. The current pay schedules offered
     for Fulfillment Orders in the relevant markets are
     reflected here. Nothing prevents the parties from
     negotiating a different rate of pay for a Fulfillment
     Order, and the CONTRACTOR is free to accept or
     reject Fulfillment Order opportunities. As with all
     Delivery Opportunities, CONTRACTOR shall retain
     100% of any gratuity paid by the consumer for a
     Fulfillment Order. DoorDash's software may not
     always include an option to add gratuity for
     Fulfillment Orders; however, consumers can pay a
     gratuity to CONTRACTOR in cash.
  5. From time to time, DOORDASH may offer various
     Dasher promotions or referral programs.
     CONTRACTOR agrees that he or she will not
     manipulate or abuse the referral programs or
     Dasher promotions by, among other things: (a)
     tampering with the location feature on his or her
     mobile phone; (b) collecting incentive or

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     Disagree                                                                                    Agree


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    mobile phone; (b) collecting incentive or
    promotional pay when not eligible to receive such
    pay under relevant policies; or, (c) creating multiple
    Dasher or consumer accounts. CONTRACTOR
    understands that engaging in this type of
    manipulation or abuse constitutes a material
    breach of this Agreement and may lead to
    deactivation of his or her account.

VI. PAYMENT DISPUTES
  1. CONTRACTOR's Failure: In the event there is a
    Service Failure, CONTRACTOR shall not be entitled
    to payment as described above (as determined in
    DOORDASH's reasonable discretion). Any
    withholding of payment shall be based upon proof
    provided by the consumer, restaurant or other
    business, CONTRACTOR, and any other party with
    information relevant to the dispute. DOORDASH
    shall make the initial determination as to whether a
    Service Failure was the result of CONTRACTOR's
    action/omission. CONTRACTOR shall have the right
    to challenge DOORDASH's determination through
    any legal means contemplated by this Agreement;

    I have read, understand, and agree to the
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     Disagree                                                                                   Agree


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    any legal means contemplated by this Agreement;
    however, CONTRACTOR shall notify DOORDASH in
    writing at dasher@doordash.com of the challenge
    and provide DOORDASH the opportunity to
    resolve the dispute. CONTRACTOR should include
    any documents or other information in support of
    his/her challenge.
 2. DOORDASH's Failure: In the event DOORDASH
    fails to remit payment in a timely or accurate
    manner, CONTRACTOR shall have the right to seek
    proper payment by any legal means contemplated
    by this Agreement and, should CONTRACTOR
    prevail, shall be entitled to recover reasonable
    costs incurred in pursuing proper payment,
    provided, however, CONTRACTOR shall first inform
    DOORDASH in writing at dasher@doordash.com of
    the failure and provide a reasonable opportunity to
    cure it.

EQUIPMENT AND EXPENSES
  1. CONTRACTOR represents that he/she has or can
    lawfully acquire all equipment, including vehicles
    and food hot bags ("Equipment") necessary for

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                     Agree


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    and food hot bags ("Equipment") necessary for
    performing contracted services, and
    CONTRACTOR is solely responsible for ensuring
    that the vehicle used conforms to all vehicle laws
    pertaining to safety, equipment, inspection, and
    operational capability.
  2. CONTRACTOR agrees that he/she is responsible
    for all costs and expenses arising from
    CONTRACTOR's performance of Contracted
    Services, including, but not limited to, costs related
    to CONTRACTOR's Personnel (defined below) and
    Equipment. Except as otherwise required by law,
    CONTRACTOR assumes all risk of damage or loss
    to its Equipment.

VIII. PERSONNEL
  1. In order to perform any Contracted Services,
    CONTRACTOR must, for the safety of consumers
    on the DOORDASH platform, pass a background
    check administered by a third-party vendor, subject
    to CONTRACTOR's lawful consent. CONTRACTOR
    is not required to perform any Contracted Services
    personally, but may, to the extent permitted by law

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                   Agree


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    personally, but may, to the extent permitted by law
    and subject to the terms of this Agreement, hire or
    engage others (as employees or subcontractors of
    CONTRACTOR) to perform all or some of the
    Contracted Services, provided any such
    employees or subcontractors meet all the
    requirements applicable to CONTRACTOR
    including, but not limited to, the background check
    requirements that CONTRACTOR must meet in
    order to perform Contracted Services. To the
    extent CONTRACTOR furnishes his/her own
    employees or subcontractors (collectively
    "Personnel"), CONTRACTOR shall be solely
    responsible for the direction and control of the
    Personnel it uses to perform all Contracted
    Services.
 2. CONTRACTOR assumes full and sole responsibility
    for the payment of all amounts due to his/her
    Personnel for work performed in relation to this
    Agreement, including all wages, benefits and
    expenses, if any, and for all required state and
    federal income tax withholdings, unemployment
    insurance contributions, and social security taxes

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                   Agree


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    insurance contributions, and social security taxes
    as to CONTRACTOR and all Personnel employed
    by CONTRACTOR in the performance of
    Contracted Services under this Agreement.
    DOORDASH shall have no responsibility for any
    wages, benefits, expenses, or other payments due
    CONTRACTOR's Personnel, nor for income tax
    withholding, social security, unemployment
    insurance contributions, or other payroll taxes
    relating to CONTRACTOR or his/her Personnel.
    Neither CONTRACTOR nor his/her Personnel shall
    receive any wages, including vacation pay or
    holiday pay, from DOORDASH, nor shall they
    participate in or receive any other benefits, if any,
    available to DOORDASH's employees.
 3. Unless mandated by law, DOORDASH shall have
    no authority to withhold state or federal income
    taxes, social security taxes, unemployment
    insurance taxes/contributions, or any other local,
    state or federal tax on behalf of CONTRACTOR or
    his/her Personnel.
  4. CONTRACTOR and his/her Personnel shall not be
    required to wear a uniform or other clothing of any

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                   Agree


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    required to wear a uniform or other clothing of any
    type bearing DOORDASH's name or logo.
  5. If CONTRACTOR uses the services of any
    Personnel to perform the Contracted Services,
    CONTRACTOR's Personnel must satisfy and
    comply with all of the terms of this Agreement,
    which CONTRACTOR must make enforceable by
    written agreement between CONTRACTOR and
    such Personnel. A copy of such written agreement
    must be provided to DOORDASH at least 7 days in
    advance of such Personnel performing the
    Contracted Services. The parties acknowledge that
    the sole purpose of this requirement is to ensure
    CONTRACTOR's compliance with the terms of this
    Agreement.

IX. INSURANCE
  1. CONTRACTOR agrees, as a condition of doing
    business with DOORDASH, that during the term of
    this Agreement, CONTRACTOR will maintain
    current insurance, in amounts and of types
    required by law to provide the Contracted
    Services, at his/her own expense. CONTRACTOR

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                  Agree


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    Services, at his/her own expense. CONTRACTOR
    acknowledges that failure to secure or maintain
    satisfactory insurance coverage shall be deemed a
    material breach of this Agreement and shall result
    in the termination of the Agreement and the loss of
    CONTRACTOR's right to receive Delivery
    Opportunities.
 2. NOTIFICATION OF COVERAGE: CONTRACTOR
    agrees to deliver to DOORDASH, upon request,
    current certificates of insurance as proof of
    coverage. CONTRACTOR agrees to provide
    updated certificates each time CONTRACTOR
    purchases, renews, or alters CONTRACTOR's
    insurance coverage. CONTRACTOR agrees to give
    DOORDASH at least thirty (30) days' prior written
    notice before cancellation of any insurance policy
    required by this Agreement.
 3. WORKERS' COMPENSATION/OCCUPATIONAL
   ACCIDENT INSURANCE: CONTRACTOR agrees
    that CONTRACTOR will not be eligible for workers'
    compensation benefits through DOORDASH, and
    instead, will be responsible for providing
    CONTRACTOR's own workers' compensation

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                   Agree


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    CONTRACTOR's own workers' compensation
    insurance or occupational accident insurance, if
    permitted by Iaw.

X. INDEMNITY
  1. DOORDASH agrees to indemnify, protect and hold
    harmless CONTRACTOR from any and all claims,
    demands, damages, suits, losses, liabilities and
    causes of action arising directly from DOORDASH's
    actions arranging and offering the Contracted
    Services to CONTRACTOR.
  2. CONTRACTOR agrees to indemnify, protect and
    hold harmless DOORDASH, including all parent,
    subsidiary and/or affiliated companies, as well as
    its and their past and present successors, assigns,
    officers, owners, directors, agents, representatives,
    attorneys, and employees, from any and all claims,
    demands, damages, suits, losses, liabilities and
    causes of action arising directly or indirectly from,
    as a result of or in connection with, the actions of
    CONTRACTOR and/or his/her Personnel arising
    from the performance of delivery services under
    this Agreement, including personal injury or death

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                   Agree


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    this Agreement, including personal injury or death
    to any person (including to CONTRACTOR and/or
    his/her Personnel), as well as any liability arising
    from CONTRACTOR's failure to comply with the
    terms of this Agreement. CONTRACTOR's
    obligations hereunder shall include the cost of
    defense, including attorneys' fees, as well as the
    payment of any final judgment rendered against or
    settlement agreed upon by DOORDASH or its
    parent, subsidiary and/or affiliated companies.
 3. CONTRACTOR agrees to indemnify, protect and
    hold harmless DOORDASH, including all parent,
    subsidiary, and/or affiliated companies, as well as
    its and their past and present successors, assigns,
    officers, owners, directors, agents, representatives,
    attorneys, and employees, from any and all tax
    liabilities and responsibilities for payment of all
    federal, state and local taxes, including, but not
    limited to all payroll taxes, self-employment taxes,
    workers compensation premiums, and any
    contributions imposed or required under federal,
    state and local laws, with respect to CONTRACTOR
    and CONTRACTOR's Personnel.

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                    Agree


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    and CONTRACTOR's Personnel.
  4. CONTRACTOR shall be responsible for, indemnify
    and hold harmless DOORDASH, including all
    parent, subsidiary, and/or affiliated companies, as
    well as its and their past and present successors,
    assigns, officers, owners, directors, agents,
    representatives, attorneys, and employees, from all
    costs of CONTRACTOR's business, including, but
    not limited to, the expense and responsibility for
    any and all applicable insurance, local, state or
    federal licenses, permits, taxes, and assessments
    of any and all regulatory agencies, boards or
    municipalities.

XI. MUTUAL ARBITRATION PROVISION
  1. CONTRACTOR and DOORDASH mutually agree to
    resolve any justiciable disputes between them
    exclusively through final and binding arbitration
    instead of filing a lawsuit in court. This arbitration
    agreement is governed by the Federal Arbitration
    Act (9 U.S.C. §§ 1-16) ("FAA") and shall apply to any
    and all claims arising out of or relating to this
    Agreement, CONTRACTOR's classification as an

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    Independent Contractor Agreement


     Disagree                                                                                   Agree


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    Agreement, CONTRACTOR's classification as an
    independent contractor, CONTRACTOR's provision
    of Contracted Services to consumers, the
    payments received by CONTRACTOR for providing
    services to consumers, the termination of this
    Agreement, and all other aspects of
    CONTRACTOR's relationship with DOORDASH,
    past, present or future, whether arising under
    federal, state or local statutory and/or common law,
    including without limitation harassment,
    discrimination or retaliation claims and claims
    arising under or related to the Civil Rights Act of
   1964 (or its state or local equivalents), Americans
    With Disabilities Act (or its state or local
    equivalents), Age Discrimination in Employment
    Act (or its state or local equivalents), Family
    Medical Leave Act (or its state or local equivalents),
    or Fair Labor Standards Act (or its state or local
    equivalents), state and local wage and hour laws,
    state and local statutes or regulations addressing
    the same or similar subject matters, and all other
    federal, state or local claims arising out of or
    relating to CONTRACTOR's relationship or the

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                    Agree


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                   relating to CONTRACTOR's relationship or the
                   termination of that relationship with DOORDASH.
                   The parties expressly agree that this Agreement
                   shall be governed by the FAA even in the event
                   CONTRACTOR and/or DOORDASH are otherwise
                   exemptedfrom the FAA. Any disputes in this regard
                   shall be resolved exclusively by an arbitrator. In the
                   event, but only in the event, the arbitrator
                   determines the FAA does not apply, the state law
                   governing arbitration agreements in the state in
                   which the CONTRACTOR operates shall apply.

PENDING CLAIM EXCLUSION: This Mutual Arbitration
Agreement, including the Class Action Waiver (below),
does not apply to the lawsuit titled Edwards v. DoorDash,
Inc. - Case No. 4:16-cv-02255, United States District
Court for the Southern District of Texas - Houston
Division ("Edwards Lawsuit'1, which asserts wage and
hour claims related to employment status. Rather,
regardless of whether CONTRACTOR opts out of this
Mutual Arbitration Agreement, any prior arbitration
agreement between CONTRACTOR and DOORDASH that
would otherwise cover the claims in the Edwards Lawsuit
• • •: 11   - -   --- -   : .- : -- C. . I I .C -     .... -   -   -   .- -I      - .C.C -     -..&.   -   -    ..a. -   ..a.. I- - ..a.   - -   - -



                  I have read, understand, and agree to the
                  Independent Contractor Agreement


                     Disagree                                                                                               Agree


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would otherwise cover the claims in the Edwards Lawsuit
will remain in full force and effect as to that case,
including withoutlimitation anY. class and/or collective
action waiver (entitled "Class Action Waiver" or
otherwise)., regardless of anY. other grovision of Section
XI.

      2. If either CONTRACTOR or DOORDASH wishes to
        initiate arbitration, the initiating party must notify
        the other party in writing via certified mail, return
        receipt requested, or hand delivery within the
        applicable statute of limitations period. This
        demand for arbitration must include (1) the name
        and address of the party seeking arbitration, (2) a
        statement of the legal and factual basis of the
        claim, and (3) a description of the remedy sought.
        Any demand for arbitration by CONTRACTOR must
        be delivered to General Counsel, 116 New
        Montgomery Street, 4th Floor, San Francisco,
        California 94105.
      3. Class Action Waiver. CONTRACTOR and
        DOORDASH mutually agree that by entering into
        this agreement to arbitrate, both waive their right
        to have any dispute or claim brouqht, heard or

        I have read, understand, and agree to the
        Independent Contractor Agreement


         Disagree                                                                                   Agree


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    to have any dispute or claim brought, heard or
    arbitrated as, or to participate in, a class action,
    collective action and/or representative action, and
    an arbitrator shall not have any authority to hear or
    arbitrate any class, collective or representative
    action ("Class Action Waiver"). Notwithstanding any
    other clause contained in this Agreement or the
    AAA Rules, as defined below, any claim that all or
    part of this Class Action Waiver is unenforceable,
    unconscionable, void or voidable may be
    determined only by a court of competent
   jurisdiction and not by an arbitrator. In any case in
    which (1) the dispute is filed as a class, collective, or
    representative action and (2) there is a final judicial
    determination that all or part of the Class Action
    Waiver is unenforceable, the class, collective
    and/or representative action to that extent must be
    litigated in a civil court of competent jurisdiction,
    but the portion of the Class Action Waiver that is
    enforceable shall be enforced in arbitration.
    Notwithstanding any other clause contained in this
    Agreement or the AAA Rules, as defined below,
    any claim that all or part of this Class Action Waiver

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                    Agree


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    any claim that all or part of this Class Action Waiver
    is unenforceable, unconscionable, void or voidable
     may be determined only by a court of competent
    jurisdiction and not by an arbitrator. All other
    disputes with respect to whether this Mutual
    Arbitration Provision is unenforceable,
     unconscionable, applicable, valid, void or voidable
    shall be determined exclusively by an arbitrator,
    and not by any court.
  4. CONTRACTOR agrees and acknowledges that
    entering into this arbitration agreement does not
    change CONTRACTOR's status as an independent
    contractor in fact and in law, that CONTRACTOR is
    not an employee of DOORDASH or its customers
    and that any disputes in this regard shall be
    subject to arbitration as provided in this
    agreement.
  5. Any arbitration shall be governed by the American
    Arbitration Association Commercial Arbitration
    Rules ("AAA Rules"), except as follows:
        a. The arbitration shall be heard by one
           arbitrator selected in accordance with the
           AAA Rules. The Arbitrator shall be an

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                   Agree


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         AAA Rules. The Arbitrator shall be an
         attorney with experience in the law
         underlying the dispute.
      b. If the parties cannot otherwise agree on a
         location for the arbitration, the arbitration
         shall take place within 45 miles of
         CONTRACTOR's residence as of the
         effective date of this Agreement.
      c. Unless applicable law provides otherwise, as
         determined by the Arbitrator, the parties
         agree that DOOR DASH shall pay all of the
         Arbitrator's fees and costs.
      d. The Arbitrator may issue orders (including
         subpoenas to third parties) allowing the
         parties to conduct discovery sufficient to
         allow each party to prepare that party's
         claims and/or defenses, taking into
         consideration that arbitration is designed to
         be a speedy and efficient method for
         resolving disputes.
      e. Except as provided in the Class Action
         Waiver, the Arbitrator may award all
         remedies to which a party is entitled under

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                  Agree


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         remedies to which a party is entitled under
         applicable law and which would otherwise
         be available in a court of law, but shall not
         be empowered to award any remedies that
         would not have been available in a court of
         law for the claims presented in arbitration.
         The Arbitrator shall apply the state or federal
         substantive law, or both, as is applicable.
      f. The Arbitrator may hear motions to dismiss
         and/or motions for summary judgment and
         will apply the standards of the Federal Rules
         of Civil Procedure governing such motions.
      g. The Arbitrator's decision or award shall be in
         writing with findings of fact and conclusions
         of law.
      h. The Arbitrator may issue orders to protect
         the confidentiality of proprietary information,
         trade secrets, or other sensitive information.
         Subject to the discretion of the Arbitrator or
         agreement of the parties, any person having
         a direct interest in the arbitration may attend
         the arbitration hearing. The Arbitrator may
         exclude any non-party from any part of the

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                  Agree


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           exclude any non-party from any part of the
          hearing.
        i. Either CONTRACTOR or DOORDASH may
          apply to a court of competent jurisdiction for
          temporary or preliminary injunctive relief on
          the ground that without such relief the
          arbitration provided in this paragraph may
          be rendered ineffectual.

 6. Nothing in this Mutual Arbitration Provision
    prevents you from making a report to or filing a
    claim or charge with the Equal Employment
    Opportunity Commission, U.S. Department of
    Labor, U.S. Securities and Exchange Commission,
    National Labor Relations Board, or Office of
    Federal Contract Compliance Programs. Nothing in
    this Mutual Arbitration Provision prevents the
    investigation by a government agency of any
    report, claim or charge otherwise covered by this
    Mutual Arbitration Provision. This Mutual
    Arbitration Provision also does not prevent federal
    administrative agencies from adjudicating claims
    and awarding remedies based on those claims,
    even if the claims would otherwise be covered bv

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                    Agree


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    even it the claims would otherwise be covered by
    this Mutual Arbitration Provision. Nothing in this
    Mutual Arbitration Provision prevents or excuses a
    party from satisfying any conditions precedent
    and/or exhausting administrative remedies under
    applicable law before bringing a claim in
    arbitration. DOORDASH will not retaliate against
    CONTRACTOR for filing a claim with an
    administrative agency or for exercising rights
    (individually or in concert with others) under
    Section 7 of the National Labor Relations Act.
    Disputes between the parties that may not be
    subject to predispute arbitration agreement,
    including as provided by an Act of Congress or
    lawful, enforceable Executive Order, are excluded
    from the coverage of this Mutual Arbitration
    Provision.
  7. The AAA Rules may be found at www.adr.org or by
    searching for "AAA Commercial Arbitration Rules"
    using a service such as www.google.com or
    www.bing.com or by asking DOORDASH's General
    Counsel to provide a copy.
 8. CONTRACTOR's Right to Ogt Out of Arbitration
    -  ..     .. .     -.  •       • •          . .
    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                   Agree


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 8. CONTRACTOR's Right to OP-t Out of Arbitration
    Provision. Arbitration is not a mandatory
    condition of CONTRACTOR's contractual
    relationship with DOORDASH, and therefore
    CONTRACTOR may submit a statement notifying
    DOORDASH that CONTRACTOR wishes to opt
    out and not be subject to this MUTUAL
   ARBITRATION PROVISION. In order to opt out,
    CONTRACTOR must notify DOORDASH of
    CONTRACTOR's intention to opt out by sending an
    email to dasheroptout@doordash .com stating
    CONTRACTOR's intention to opt out. In order to be
    effective, CONTRACTOR's opt out notice must be
    provided within 30 days of the effective date of this
    Agreement. If CONTRACTOR opts out as provided
    in this paragraph, CONTRACTOR will not be
    subject to any adverse action from DOORDASH as
    a consequence of that decision and he/she may
    pursue available legal remedies without regard to
    this Mutual Arbitration Provision. If CONTRACTOR
    does not opt out within 30 days of the effective
    date of this Agreement, CONTRACTOR and
    DOORDASH shall be deemed to have agreed to

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                   Agree


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     DOORDASH shall be deemed to have agreed to
     this Mutual Arbitration Provision. CONTRACTOR
     has the right to consult with counsel of
     CONTRACTOR's choice concerning this Mutual
     Arbitration Provision (or any other provision of this
     Agreement.
  9. Subject to the Pending Claim Exclusion in Section
     Xl(1) above, this arbitration agreement is the full
     and complete agreement relating to the formal
     resolution of disputes covered by this arbitration
     agreement. In the event any portion of this
     arbitration agreement is deemed unenforceable,
     the remainder of this arbitration agreement will be
     enforceable. The award issued by the Arbitrator
     may be entered in any court of competent
    ju ris diction.

XII. TERMINATION OF AGREEMENT
  1. CONTRACTOR may terminate this Agreement
     upon seven (7) days written notice. DOORDASH
     may terminate this Agreement and deactivate
     CONTRACTOR'S Dasher account only for the
     reasons set forth in the DOORDASH Deactivation

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                     Agree


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    reasons set forth in the DOORDASH Deactivation
    Policy, or for a material breach of this Agreement.
    Notwithstanding any other provision in this
    Agreement, the DOORDASH Deactivation Policy is
    subject to change. DOORDASH shall provide
    notice of any such changes to CONTRACTOR via
    e-mail. Changes to the Deactivation Policy shall be
    effective and binding on the parties upon
    CONTRACTOR's continued use of the DOOR DASH
    platform following DOORDASH's e-mail notice of
    such changes.
  2. CONTRACTOR's and DOORDASH's obligations and
    rights arising under the Mutual Arbitration Provision
    of this Agreement shall survive termination of this
    Agreement. Notwithstanding any other provision in
    this Agreement, the Deactivation Policy is subject
    to change; such changes shall be effective and
    binding on the parties upon DOORDASH'S
    provision of notice to CONTRACTOR via e-mail.

XIII. ENTIRE AGREEMENT,
TRANSFERABILITY, AND WAIVER
  1. This Agreement shall constitute the entire

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                   Agree


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  1. This Agreement shall constitute the entire
    agreement and understanding between the parties
    with respect to the subject matter of this
    Agreement and shall not be modified, altered,
    changed or amended in any respect, unless in
    writing and signed by both parties. Before
    accepting any modifications, alterations, changes
    or amendments, CONTRACTOR shall have the
    right to discuss any proposed changes with
    DOORDASH and consider whether to continue
    his/her contractual relationship with DOORDASH.
    Subject to the Pending Claim Exclusion in Section
    Xl(1) above, this Agreement supersedes any prior
    contract between the parties. To the extent
    DOORDASH's consumer facing Terms and
    Conditions Agreement (or updated consumer
    facing Terms and Conditions Agreement, if
    applicable) is inconsistent or conflicts with this
    Agreement, this Agreement controls. This
    Agreement may not be assigned by either party
    without written consent of the other and shall be
    binding upon the parties hereto, including their
    heirs and successors, provided, however, that

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                   Agree


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    heirs and successors, provided, however, that
    DOORDASH may assign its rights and obligations
    under this Agreement to an affiliate of DOORDASH
     or any successor(s) to its business and/or
    purchaser of substantially all of its stock or assets.
    References in this Agreement to DOORDASH shall
    be deemed to include such successor(s).
  2. The failure of DOORDASH or CONTRACTOR in any
    instance to insist upon a strict performance of the
    terms of this Agreement or to exercise any option
    herein, shall not be construed as a waiver or
    relinquishment of such term or option and such
    term or option shall continue in full force and
     effect.

XIV. MISCELLANEOUS
  1. CAPTIONS: Captions appearing in this Agreement
    are for convenience only and do not in any way
    limit, amplify, modify, or otherwise affect the terms
    and provisions of this Agreement.
  2. SEVERABILITY Clause: Except as specifically
     provided in Section XI, if any part of this
    Agreement is declared unlawful or unenforceable,

    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                     Agree


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                                                                                                  ID #:228




Updated Terms and Conditions Agreement

    Agreement is declared unlawful or unenforceable,
    the remainder of this Agreement shall remain in full
    force and effect.
 3. GOVERNING LAW: Except for the Mutual
    Arbitration Provision above, which is governed by
    the Federal Arbitration Act, the choice of law for
    interpretation of this Agreement, and the right of
    the parties hereunder, as well as substantive
    interpretation of claims asserted pursuant to
    Section XI, shall be the rules of law of the state in
    which CONTRACTOR performs the majority of the
    services covered by this Agreement.
 4. NOTICE AND OPPORTUNITY TO CURE:
    CONTRACTOR agrees to notify DOORDASH in
    writing at dasher@doordash.com of any breach or
    perceived breach of this Agreement, of any claim
    arising out of or related to this Agreement, or of
    any claim that CONTRACTOR's services or scope
    of work differ in any way from what is
    contemplated in this Agreement, including but not
    limited to the terms in Sections II (Contractor's
    Operations) and Ill (Contractor's Services), or if the
    relationship of the parties differs from the terms

   I have read, understand, and agree to the
   Independent Contractor Agreement


    Disagree                                                                                    Agree


                                                                                                             Page 67
                          Case  3:19-cv-07646-WHA
                    Case 2:17-cv-01496-BRO-SS
                             Case  4:18-cv-03395-PJH Document
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Updated Terms and Conditions Agreement
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    which CONTRACTOR performs the majority of the
    services covered by this Agreement.
 4. NOTICE AND OPPORTUNITY TO CURE:
    CONTRACTOR agrees to notify DOORDASH in
    writing at dasher@doordash.com of any breach or
    perceived breach of this Agreement, of any claim
    arising out of or related to this Agreement, or of
    any claim that CONTRACTOR's services or scope
    of work differ in any way from what is
    contemplated in this Agreement, including but not
    limited to the terms in Sections II (Contractor's
    Operations) and Ill (Contractor's Services), or if the
    relationship of the parties differs from the terms
    contemplated in Section IV (Relationship of
    Parties).
  5. PRIVACY POLICY: CONTRACTOR represents and
    warrants that he or she has reviewed and
    understands DOORDASH'S Dasher Privacy
    Statement, which can be found here. By using the
    Dasher Services, you consent to all actions taken
    by DOORDASH with respect to your information in
    accordance with the Dasher Privacy Statement.


    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                          Agree


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                    Case 2:17-cv-01496-BRO-SS
                             Case  4:18-cv-03395-PJH Document
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Updated Terms and Conditions Agreement
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    which CONTRACTOR performs the majority of the
    services covered by this Agreement.
 4. NOTICE AND OPPORTUNITY TO CURE:
    CONTRACTOR agrees to notify DOORDASH in
    writing at dasher@doordash.com of any breach or
    perceived breach of this Agreement, of any claim
    arising out of or related to this Agreement, or of
    any claim that CONTRACTOR's services or scope
    of work differ in any way from what is
    contemplated in this Agreement, including but not
    limited to the terms in Sections II (Contractor's
    Operations) and Ill (Contractor's Services), or if the
    relationship of the parties differs from the terms
    contemplated in Section IV (Relationship of
    Parties).
  5. PRIVACY POLICY: CONTRACTOR represents and
    warrants that he or she has reviewed and
    understands DOORDASH'S Dasher Privacy
    Statement, which can be found here. By using the
    Dasher Services, you consent to all actions taken
    by DOORDASH with respect to your information in
    accordance with the Dasher Privacy Statement.


    I have read, understand, and agree to the
    Independent Contractor Agreement


     Disagree                                                                                          Agree


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               Exhibit
                 D
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From:                           AAA Heather Santo <heathersanto@adr.org>
Sent:                           Thursday, October 03, 2019 7:40 AM
To:                             Warren Postman; Sean Duddy; Ashley Keller; Justin Griffin; Lipshutz, Joshua S.; Holecek,
                                Michael; AAA Heather Santo
Subject:                        4,000 Individuals v. DoorDash, Inc.
Attachments:                    Wire Transfer Information.pdf


                                                 [EXTERNAL EMAIL]


Dear Counsel,

This will acknowledge receipt on September 27, 2019 of 4,000 individual Demands for Arbitration alleging
claims against DoorDash, Inc. Upon review of the documents, the AAA’s Commercial Arbitration Rules and
Mediation Procedures and the Employment/Workplace Fee Schedule shall apply to these disputes. We have
assigned AAA Case # 01-19-0003-0832 to these matters. Please note all individual arbitrations will be assigned
their own case numbers upon receipt of Respondent’s portion of filing fees.

Pursuant to the Employment/Workplace Fee Schedule a filing fee of $300.00 is due from the individuals when
claims are filed, unless the agreement provides that the individual pay less. A fee of $1,900.00 per case is due
from the company, unless the agreement provides that the company pay more.

Claimants have met their filing fee requirements. Accordingly, we request that the company pay its share of the
fees in the amount of $7,600,000.00 ($1,900.00 for 4,000 cases) on or before October 24, 2019.

Payment may be submitted via check, wire transfer or credit card. Attached are the AAA Wire Transfer
instructions. If paying by check, please reference the above case number, and mail your payment to:

Attention: Larry Allston
American Arbitration Association
13727 Noel Road, Suite 700
Dallas, TX 75240

If you wish to pay by credit card, please contact me directly and I will provide an AAA Paylink.

Please note: no answering statement or counterclaim is due at this time. The AAA will notify the parties of the
response deadlines when all fees have been received.

Should you have any questions, please do not hesitate to contact me.

Sincerely,



             Heather Santo



                                                          1
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               American Arbitration Association

               1301 Atwood Ave, Suite 211N, Johnston, RI 02919
               T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
               adr.org | icdr.org | aaamediation.org

The information in this transmittal (including attachments, if any) is privileged and/or confidential and is intended only for the recipient(s) listed above. Any review,
use, disclosure, distribution or copying of this transmittal is prohibited except by or on behalf of the intended recipient. If you have received this transmittal in error,
please notify me immediately by reply email and destroy all copies of the transmittal. Thank you.




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                 E
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From:                               Holecek, Michael <MHolecek@gibsondunn.com>
Sent:                               Wednesday, October 16, 2019 10:19 AM
To:                                 AAA Heather Santo; Warren Postman; Sean Duddy; Ashley Keller; Justin Griffin;
                                    Lipshutz, Joshua S.
Subject:                            RE: 4,000 Individuals v. DoorDash, Inc.


                                                     [EXTERNAL EMAIL]




Dear Ms. Santo,

On behalf of DoorDash, I write to request a 2‐week extension on the October 24, 2019, filing‐fee deadline AAA has set
for the matter of 4,000 Individuals v. DoorDash, Inc. We request the extension because we need more time to review
the arbitration demand, analyze its compliance with DoorDash’s arbitration agreement, and research company records
to try to identify the 4,000 claimants who are purportedly asserting claims. In the past, AAA has extended the filing‐fee
deadlines to provide DoorDash sufficient time to identify claimants and obtain the necessary approvals for large
payments. Indeed, Claimants’ counsel consented to a two‐week extension last week with respect to a smaller filing fee.

Thank you for your consideration.



Michael J. Holecek

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333 South Grand Avenue, Los Angeles, CA 90071-3197
Tel +1 213.229.7018 • Fax +1 213.229.6018
MHolecek@gibsondunn.com • www.gibsondunn.com
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                 F
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From:                                     Warren Postman <wdp@kellerlenkner.com>
Sent:                                     Wednesday, October 16, 2019 10:55 AM
To:                                       Holecek, Michael; AAA Heather Santo; Sean Duddy; Ashley Keller; Justin Griffin;
                                          Lipshutz, Joshua S.
Subject:                                  Re: 4,000 Individuals v. DoorDash, Inc.


                                                              [EXTERNAL EMAIL]


Ms. Santo,

Claimants oppose DoorDash’s request, and never “consented to a two‐week extension last week” as Mr. Holecek
incorrectly claims. Claimants previously stated:

         We request that AAA deny DoorDash’s request for an extension to its filing‐fee deadline. To the extent AAA
         grants DoorDash an extension notwithstanding our objection, we ask (a) that the extension be limited to two
         weeks and (b) that the extension be combined with a final deadline, after which AAA will dismiss any demands
         for which DoorDash has not paid filing fees so that those claimants may pursue judicial remedies.

Claimants’ position remains that DoorDash is seeking delay disconnected from any actual review it is conducting
regarding its filing fee obligations. DoorDash does not require any additional time to explain why it will not meet its
contractual obligations on or before October 24.

Sincerely,

Warren D. Postman
Partner
Keller | Lenkner
1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
202.749.8334 | Website | Email
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                Exhibit
                  G
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From:            Holecek Michael
To:              AAA Heather Santo; Warren Postman; Sean Duddy; Ashley Keller; Justin Griffin; Lipshutz Joshua S.
Cc:              AAA Tacy Zysk
Subject:         RE: 4,000 Individuals v. DoorDash, Inc.
Date:            Monday, October 28, 2019 6:31:27 PM
Attachments:     image002.png
                 image004.jpg


Dear Ms. Santo and Ms. Zysk,
We have completed our analysis of the most recent 6,250 arbitration demands filed by Keller Lenkner. See 2,250 Individuals v.
DoorDash, Inc. and 4,000 Individuals v. DoorDash, Inc. We have determined that there are significant deficiencies with the
claimants’ filings, rendering the demands insufficient to launch arbitration under the DoorDash Independent Contractor
Agreement, as well as AAA’s own rules. As a result, DoorDash is under no obligation to, and will not at this time, tender to AAA the
nearly $12 million in administrative fees that have been requested.   
As you are aware from DoorDash’s past actions, including the hundreds of pending AAA arbitrations in which the company is
presently engaged, the company is ready and willing to engage in individual arbitration with any independent contractor who has
non-frivolous claims and follows the proper procedures for initiating arbitration. But requiring DoorDash to pay almost $12 million
in filing fees for deficient arbitration demands constitutes an excessive and unreasonable hardship.
We are happy to discuss these matters further with you if helpful.
Thank you,

Michael J. Holecek


GIBSON DUNN
Gibson, Dunn & Crutcher LLP
333 Sou h Grand Avenue, Los Angeles, CA 90071-3197
Tel +1 213.229.7018 • Fax +1 213.229.6018
MHolecek@gibsondunn.com • www.gibsondunn.com
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               Exhibit
                 H
      Case 3:19-cv-07646-WHA                                           Document 1-1                          Filed 11/20/19                         Page 271 of 326


From:                    AAA Heather Santo
To:                      Warren Postman; Holecek Michael; Sean Duddy; Ashley Keller; Justin Griffin; Lipshutz Joshua S.
Cc:                      AAA Tacy Zysk
Subject:                 RE: 4,000 Individuals v. DoorDash, Inc.
Date:                    Friday, November 8, 2019 10:45:49 AM
Attachments:             image001.png
                         image002.jpg
                         image003.png
                         image004.jpg
                         image005.png
                         image006.jpg
                         image05b409.PNG
                         imagee64b32.JPG




Dear Counsel:
Respondent has failed to submit the previously requested filing fees for the 6,250 individual matters; accordingly, we have
administratively closed our files. Claimants filing fees will be refunded under separate cover.

Please do not hesitate to contact me, should you have any questions.

Sincerely,

Heather Santo




                Heather Santo
                American Arbitration Association

                1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                adr.org  | icdr.org | aaamediation.org

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reply email and destroy all copies of the transmittal. Thank you.
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               Exhibit
                 I
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From: "Lipshutz, Joshua S." <JLipshutz@gibsondunn.com>
Date: Wednesday, August 14, 2019 at 10:31 AM
To: AAA Heather Santo <heathersanto@adr.org>
Cc: Warren Postman <wdp@kellerlenkner.com>, Travis Lenkner <tdl@kellerlenkner.com>, Ashley Keller
<ack@kellerlenkner.com>, "Holecek, Michael" <MHolecek@gibsondunn.com>
Subject: RE: 250 Individuals v. DoorDash, Inc.

Ms. Santo,
I write on behalf of DoorDash, Inc. regarding the July 2, 2019 group arbitration demand filed by Keller Lenkner on behalf of 250 individuals
(the “Demand”). After receiving the Demand, the American Arbitration Association (“AAA”) sent an invoice to DoorDash for filing fees of
$1,900 per claimant, totaling $475,000. Pursuant to AAA’s July 30, 2019 correspondence (below), the deadline for DoorDash to pay these
fees is August 20, 2019.

I am writing because I understand that AAA plans to launch a new fee schedule for group arbitration demands. Although the new
schedule has not yet been launched, my understanding is that AAA intends to assess defendants an upfront filing fee of approximately
$300 per claimant, with subsequent payments to be made in the event individual arbitrations hit particular milestones.

A separate fee schedule for group filings makes good sense. Many of the arbitrations initiated by group demand may never proceed past
initial filing, and few of them are likely to proceed through completion of arbitration. A separate fee schedule thus avoids imposing
unnecessary and excessive upfront costs on defendants, requiring instead that both parties pay modest amounts to initiate arbitration
and then compensate AAA for additional time and expense commensurate with the proceedings. Such a fee schedule also reduces the
risk that claimants will use the threat of massive upfront filing fees as a means of extorting excessive settlement payments from
defendants that bear no relation to the merits of the underlying claims.
    
We believe that the Demand DoorDash received on behalf of 250 individuals would qualify under AAA’s forthcoming fee schedule. In light
of the advantages outlined above, we respectfully request that AAA apply the new fee schedule to the Demand. Doing so would not
prejudice the claimants in any way. Indeed, if the new fee schedule would benefit claimants over the prior fee schedule, DoorDash
requests that they be entitled to those benefits as well. But it makes little sense for DoorDash to pay full filing fees for 250 claimants at
this time before any proceedings have occurred.

We appreciate your consideration of this request. Please do not hesitate to contact me if I can provide additional information. If AAA
grants the request, DoorDash requests that AAA send a new invoice reflecting the amount due under the new group filing fee schedule.

Best,
Josh

Joshua S. Lipshutz
Partner


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Tel +1 202.955.8217 • Fax +1 202.530 9614

555 Mission Street, San Francisco, CA 94105-0921
Tel +1 415.393.8233 • Fax +1 415.374 8469
JLipshutz@gibsondunn.com • www.gibsondunn.com
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               Exhibit
                 J
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From:            AAA Heather Santo
To:              Warren Postman; Lipshutz Joshua S.
Cc:              Ashley Keller; Travis Lenkner; Holecek Michael
Subject:         RE: 250 Individuals v. DoorDash, Inc.
Date:            Friday, August 16, 2019 3:27:50 PM
Attachments:     image005 png
                 image007 jpg
                 image009 png
                 image011 jpg
                 imagec4317b.PNG
                 imagea10fa8.JPG




Dear Counsel:

The AAA acknowledges letters from the parties on August 14, 2019 and August 15, 2019. The AAA is considering a revised fee schedule
for cases where a large number of individual filings are received. This fee schedule is not finalized and a time frame for implementation is
not in place. The AAA at this time applies the current Employment/Workplace fee schedule to cases that are currently filed with the AAA.

In accordance with the AAA’s current Employment/Workplace Fee Schedule, the Respondent’s share of the fees, totaling $475,000.00,
remain due on or before August 20, 2019.

Should you have any questions, please do not hesitate to contact me.

Sincerely,

Heather Santo
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                 K
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From: Warren Postman
Sent: Wednesday, November 13, 2019 1:45 PM
To: Lipshutz, Joshua S. <JLipshutz@gibsondunn.com>; Holecek, Michael
<MHolecek@gibsondunn.com>
Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>
Subject: DoorDash ICA

Josh, Michael,

It appears that DoorDash has either already issued, or may soon be issuing, a revised arbitration
agreement to its Dashers that materially changes the terms of arbitration. As you know, we
represent tens of thousands of Dashers seeking to arbitrate misclassification claims against
DoorDash, including nearly 7,000 who have already filed arbitration demands. We sent you a list of
nearly 18,000 of those clients on October 7.

I expect that you have advised your client against sending the revised arbitration agreement to our
clients directly. See S.F. Unified Sch. Dist. ex rel. Contreras v. First Student, Inc., 213 Cal. App. 4th
1212, 1235 (2013) (“[A]n attorney is prohibited from drafting documents, correspondence, or other
written materials, to be delivered to an opposing party represented by counsel even if they are
prepared at the request of the client, are conveyed by the client and appear to be from the client
rather than the attorney.”). But as a reminder, DoorDash attorneys may propose material changes
to DoorDash’s agreement to our clients only through us, because they are aware that our clients
have retained us to bring claims against DoorDash in arbitration, and these changes relate to the
subject of our representation. See Cal R. Prof. Conduct 4.2(a) (“[A] lawyer shall not communicate
directly or indirectly about the subject of the representation with a person the lawyer knows to be
represented by another lawyer in the matter, unless the lawyer has the consent of the other
lawyer.”).

Sincerely,

Warren D. Postman
Partner
Keller | Lenkner
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                 L
Case 3:19-cv-07646-WHA            Document 1-1        Filed 11/20/19       Page 279 of 326




  From: "Lipshutz, Joshua S." <JLipshutz@gibsondunn.com>
  Date: November 14, 2019 at 7:04:39 PM EST
  To: Warren Postman <wdp@kellerlenkner.com>, "Holecek, Michael"
  <MHolecek@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>, Travis Lenkner
  <tdl@kellerlenkner.com>
  Subject: RE: DoorDash ICA



  Warren,
  Thank you for your email. We are more than comfortable that we have satisfied our
  obligations under Rule 4.2(a). The revised DoorDash IC Agreement went into effect on
  November 9 in the ordinary course of business. As you know, DoorDash periodically
  rolls out revisions to the Agreement, and this was the latest such rollout. To the extent
  your clients received notice of the new Agreement, it would only be because they
  chose to use the DoorDash app after the rollout date. If your clients continue to use
  the platform, they will receive the same communications from DoorDash as all other
  Dashers. In any event, none of the changes to the IC Agreement are about the subject
  of your representation.

  Best,
  Josh

  Joshua S. Lipshutz
  Partner


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ICA United States
  help.doordash.com/dashers/s/ica-us


This Agreement (“Agreement”) is made and entered into by and between you, the
undersigned contractor (“CONTRACTOR”), an independent contractor engaged in the
business of performing the services contemplated by this Agreement, and DoorDash, Inc.
(“DOORDASH” or “COMPANY”). CONTRACTOR may enter this Agreement either as an
individual or as a corporate entity. This Agreement will become effective on the date it is
accepted regardless of whether you are eligible to, or ever do, perform any Contracted
Services.

IMPORTANT: PLEASE REVIEW THIS AGREEMENT CAREFULLY. IN PARTICULAR, PLEASE
REVIEW THE MUTUAL ARBITRATION PROVISION IN SECTION XI, AS IT REQUIRES THE
PARTIES (UNLESS YOU VALIDLY OPT OUT OF ARBITRATION, AS PROVIDED BELOW) TO
RESOLVE DISPUTES ON AN INDIVIDUAL BASIS, TO THE FULLEST EXTENT PERMITTED BY
LAW, THROUGH FINAL AND BINDING ARBITRATION. BY ACCEPTING THIS AGREEMENT,
YOU ACKNOWLEDGE THAT YOU HAVE READ AND UNDERSTOOD ALL OF THE TERMS,
INCLUDING SECTION XI, AND HAVE TAKEN THE TIME AND SOUGHT ANY ASSISTANCE
NEEDED TO COMPREHEND THE CONSEQUENCES OF ACCEPTING THIS AGREEMENT.

RECITALS

DOORDASH is a company that provides an online marketplace connection using web-based
technology that connects contractors, restaurants and/or other businesses, and consumers
(“DOORDASH platform” or “platform”). DOORDASH’s software permits registered users to
place orders for food and/or other goods from various restaurants and businesses. Once
such orders are made, DOORDASH software notifies contractors that a delivery opportunity
is available and the DOORDASH software facilitates completion of the delivery. DOORDASH
is not a restaurant, food delivery service, or food preparation business.

CONTRACTOR is an independent provider of delivery and other services, authorized to
conduct the services contemplated by this Agreement in the geographic location(s) in which
CONTRACTOR operates. CONTRACTOR possesses all equipment and personnel necessary to
perform the delivery and any other services contemplated by this Agreement in accordance
with applicable laws. CONTRACTOR desires to enter into this Agreement for the right to
receive delivery opportunities made available through DOORDASH'S platform.
CONTRACTOR understands and expressly agrees that he/she is not an employee of
DOORDASH or any restaurant, other business or consumer and that he/she is providing
delivery and other services on behalf of him/herself and his/her business, not on behalf of
DOORDASH. CONTRACTOR understands (i) he/she is free to select those times he/she
wishes to be available on the platform to receive delivery opportunities; (ii) he/she is free to
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accept or reject the opportunities transmitted through the DOORDASH platform by
consumers, and can make such decisions to maximize his/her opportunity to profit; and (iii)
he/she has the sole right to control the manner in which deliveries are performed and the
means by which those deliveries are completed.

In consideration of the above, as well as the mutual promises described herein, DOORDASH
and CONTRACTOR (collectively “the parties”) agree as follows:

I. PURPOSE OF THE AGREEMENT

  1. This Agreement governs the relationship between DOORDASH and CONTRACTOR, and
     establishes the parties’ respective rights and obligations. In exchange for the promises
     contained in this Agreement, CONTRACTOR shall have the right and obligation to
     perform the “Contracted Services” as defined herein. However, nothing in this
     Agreement requires CONTRACTOR to perform any particular volume of Contracted
     Services during the term of this Agreement, and nothing in this Agreement shall
     guarantee CONTRACTOR any particular volume of business for any particular time
     period.
  2. CONTRACTOR shall have no obligation to accept or perform any particular “Delivery
     Opportunity” (as that term is defined herein) offered by DOORDASH. However, once a
     Delivery Opportunity is accepted, CONTRACTOR shall be contractually bound to
     complete the Contracted Services in accordance with all consumer specifications and
     the terms laid out in this Agreement,

II. CONTRACTOR'S OPERATIONS

  1. CONTRACTOR represents that he/she operates an independently established
     enterprise that provides delivery and other services, and that he/she satisfies all legal
     requirements and has all necessary licenses and permits necessary to perform any
     services contemplated by this Agreement. As an independent contractor/enterprise,
     CONTRACTOR shall be solely responsible for determining how to operate his/her
     business and how to perform the Contracted Services.
  2. CONTRACTOR agrees to fully perform the Contracted Services in a timely, efficient,
     safe, and lawful manner. DOORDASH shall have no right to, and shall not, control the
     manner, method or means CONTRACTOR uses to perform the Contracted Services.
     Instead, CONTRACTOR shall be solely responsible for determining the most effective,
     efficient, and safe manner to perform the Contracted Services, including determining
     the manner of pickup, delivery, and route selection.




                                                                                                 2/17
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  3. As an independent business enterprise, CONTRACTOR retains the right to perform
     services (whether delivery services or other services) for others and to hold
     him/herself out to the general public as a separately established business. The parties
     recognize that they are or may be engaged in similar arrangements with others and
     nothing in this Agreement shall prevent CONTRACTOR or DOORDASH from doing
     business with others. DOORDASH does not have the right to restrict CONTRACTOR
     from performing services for other businesses, customers or consumers at any time,
     even if such business directly competes with DOORDASH, and even during the time
     CONTRACTOR is logged into the DOORDASH platform. CONTRACTOR’s right to
     compete with DOORDASH, or perform services for business that compete with
     DOORDASH, will survive even after termination of this Agreement.
  4. CONTRACTOR is not required to purchase, lease, or rent any products, equipment or
     services from DOORDASH as a condition of doing business with DOORDASH or
     entering into this Agreement.
  5. CONTRACTOR agrees to immediately notify DOORDASH in writing at
     www.doordash.com/help/ if CONTRACTOR's right to control the manner or method
     he/she uses to perform services differs from the terms contemplated in this Section.

III. CONTRACTED SERVICES

  1. From time to time, the DOORDASH platform will notify CONTRACTOR of the
     opportunity to complete deliveries from restaurants or other businesses to consumers
     in accordance with orders placed by consumers through the DOORDASH platform
     (each of these is referred to as a "Delivery Opportunity"). For each Delivery
     Opportunity accepted by CONTRACTOR ("Contracted Service"), CONTRACTOR agrees
     to retrieve the orders from restaurants or other businesses on time and safely, ensure
     the order is accurately filled, and complete delivery orders to consumers in a safe and
     timely fashion. CONTRACTOR understands and agrees that the parameters of each
     Contracted Service are established by the consumer, not DOORDASH, and represent
     the end result desired, not the means by which CONTRACTOR is to accomplish the
     result. CONTRACTOR has the right to cancel, from time to time, a Contracted Service
     when, in the exercise of CONTRACTOR's reasonable discretion and business
     judgment, it is appropriate to do so. Notwithstanding the foregoing, CONTRACTOR
     agrees to maintain both a customer rating and a completion rate found here as of the
     date this Agreement becomes effective. Failure to satisfy this obligation constitutes a
     material breach of this Agreement, and DOORDASH shall have the right to terminate
     this Agreement and/or deactivate CONTRACTOR'S account.
  2. CONTRACTOR acknowledges that DOORDASH has discretion as to which, if any,
     Delivery Opportunity to offer, just as CONTRACTOR has the discretion whether and to
     what extent to accept any Delivery Opportunity.



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  3. CONTRACTOR acknowledges that CONTRACTOR is engaged in CONTRACTOR’s own
     business, separate and apart from DOORDASH’S business, which is to provide an
     online marketplace connection using web-based technology that connects contractors,
     restaurants and/or other businesses, and consumers.
  4. CONTRACTOR authorizes DOORDASH, during the course of a Contracted Service, to
     communicate with CONTRACTOR, consumer, and/or restaurant or other business to
     assist CONTRACTOR, to the extent permitted by CONTRACTOR, in facilitating
     deliveries. However, under no circumstances shall DOORDASH be authorized to
     control the manner or means by which CONTRACTOR performs delivery services or
     other services contemplated under this agreement. This includes, but is not limited to,
     the following:
  5. DOORDASH does not require any specific type, or quality, of CONTRACTOR’s choice of
     transportation.
  6. CONTRACTOR does not have a supervisor or any individual at DOORDASH to whom
     they report.
  7. CONTRACTOR is not required to use any signage or other designation of DOORDASH
     on his or her vehicle or person at any point in their use of the platform to perform the
     Contracted Services.
  8. DOORDASH has no control over CONTRACTOR’s personal appearance.
  9. CONTRACTOR does not receive regular performance evaluations by DOORDASH.
 10. CONTRACTOR may use whatever payment method he/she chooses to purchase items
     to be delivered to consumers, including, but not limited to CONTRACTOR's personal
     credit or debit card, cash or a prepaid card. CONTRACTOR may use, for
     CONTRACTOR's convenience, the prepaid card solely for purchasing items to be
     delivered to consumers. If CONTRACTOR chooses to use his/her personal credit or
     debit card or cash, CONTRACTOR shall invoice DOORDASH on a weekly basis and
     DOORDASH agrees to pay all invoices within 10 days of receipt.
 11. In the event CONTRACTOR fails to fully perform any Contracted Service (a "Service
     Failure") due to CONTRACTOR's action or omission, CONTRACTOR shall forfeit all or
     part of the agreed upon fee for that service. If CONTRACTOR disputes responsibility
     for a Service Failure, the dispute shall be resolved pursuant to the "Payment Disputes"
     provision below.
 12. CONTRACTOR agrees to immediately notify DOORDASH in writing by submitting a
     Support inquiry through https://help.doordash.com/consumers/s/contactsupport if
     CONTRACTOR's services or scope of work differ in any way from what is contemplated
     in this Section.

IV. RELATIONSHIP OF PARTIES




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  1. The parties acknowledge and agree that this Agreement is between two co-equal,
     independent business enterprises that are separately owned and operated. The
     parties intend this Agreement to create the relationship of principal and independent
     contractor and not that of employer and employee. The parties are not employees,
     agents, joint venturers, or partners of each other for any purpose. Neither party shall
     have the right to bind the other by contract or otherwise except as specifically
     provided in this Agreement.
  2. DOORDASH shall not have the right to, and shall not, control the manner or the
     method of accomplishing Contracted Services to be performed by CONTRACTOR. The
     parties acknowledge and agree that those provisions of the Agreement reserving
     ultimate authority in DOORDASH have been inserted solely for the safety of
     consumers and other CONTRACTORS using the DOORDASH platform or to achieve
     compliance with federal, state, or local laws, regulations, and interpretations thereof.
  3. DOORDASH shall report all payments made to CONTRACTOR on a calendar year basis
     using an appropriate IRS Form 1099, if the volume of payments to CONTRACTOR
     qualify. CONTRACTOR agrees to report all such payments and any cash gratuities to
     the appropriate federal, state and local taxing authorities.

V. PAYMENT FOR SERVICES

  1. Unless notified otherwise by DOORDASH in writing or except as provided herein,
     CONTRACTOR will receive payment per accurate Contracted Service completed in an
     amount consistent with the publicly provided pay model, which you can view here.
     From time to time, DOORDASH may offer opportunities for CONTRACTOR to earn
     more money for performing Contracted Services at specified times or in specified
     locations. Nothing prevents the parties from negotiating a different rate of pay, and
     CONTRACTOR is free to accept or deny any such opportunities to earn different rates
     of pay.
  2. DOORDASH’s online credit card software may permit consumers to add a gratuity to
     be paid to CONTRACTOR, and consumers can also pay a gratuity to CONTRACTOR in
     cash. CONTRACTOR shall retain 100% of any gratuity paid by the consumer, whether
     by cash or credit card. DOORDASH acknowledges it has no right to interfere with the
     amount of gratuity given by the consumer to the CONTRACTOR.
  3. DOORDASH will process payments made by consumers and transmit to
     CONTRACTOR. Payments for all deliveries completed in a given week will be
     transferred via direct deposit on no less than a weekly basis unless it notifies
     CONTRACTOR otherwise in writing.




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  4. Notwithstanding the terms of Section V(1) – (3), fulfillment orders placed directly with
     merchants rather than through the App or doordash.com (“Fulfillment Orders”) may
     be subject to a different payment model. More information regarding Fulfillment
     Orders may be found here. Nothing prevents the parties from negotiating a different
     rate of pay for a Fulfillment Order, and the CONTRACTOR is free to accept or reject
     Fulfillment Order opportunities. As with all Delivery Opportunities, CONTRACTOR shall
     retain 100% of any gratuity paid by the consumer for a Fulfillment Order. DoorDash's
     software may not always include an option to add gratuity for Fulfillment Orders;
     however, consumers can pay a gratuity to CONTRACTOR in cash.
  5. From time to time, DOORDASH may offer various Dasher promotions or referral
     programs. CONTRACTOR agrees that he or she will not manipulate or abuse the
     referral programs or Dasher promotions by, among other things: (a) tampering with
     the location feature on his or her mobile phone; (b) collecting incentive or
     promotional pay when not eligible to receive such pay under relevant policies; or, (c)
     creating multiple Dasher or consumer accounts. CONTRACTOR understands that
     engaging in this type of manipulation or abuse constitutes a material breach of this
     Agreement and may lead to deactivation of his or her account.

VI. PAYMENT DISPUTES

  1. CONTRACTOR's Failure: In the event there is a Service Failure, CONTRACTOR shall not be
     entitled to payment as described above (as determined in DOORDASH’s reasonable
     discretion). Any withholding of payment shall be based upon proof provided by the
     consumer, restaurant or other business, CONTRACTOR, and any other party with
     information relevant to the dispute. DOORDASH shall make the initial determination
     as to whether a Service Failure was the result of CONTRACTOR's action/omission.
     CONTRACTOR shall have the right to challenge DOORDASH’s determination through
     any legal means contemplated by this Agreement; however, CONTRACTOR shall notify
     DOORDASH in writing at www.doordash.com/help/ of the challenge and provide
     DOORDASH the opportunity to resolve the dispute. CONTRACTOR should include any
     documents or other information in support of his/her challenge.
  2. DOORDASH’s Failure: In the event DOORDASH fails to remit payment in a timely or
     accurate manner, CONTRACTOR shall have the right to seek proper payment by any
     legal means contemplated by this Agreement and, should CONTRACTOR prevail, shall
     be entitled to recover reasonable costs incurred in pursuing proper payment,
     provided, however, CONTRACTOR shall first inform DOORDASH in writing at
     www.doordash.com/help/ of the failure and provide a reasonable opportunity to cure
     it.

VII. EQUIPMENT AND EXPENSES



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  1. CONTRACTOR represents that he/she has or can lawfully acquire all equipment,
     including vehicles and food hot bags ("Equipment") necessary for performing
     Contracted Services, and CONTRACTOR is solely responsible for ensuring that the
     vehicle used conforms to all vehicle laws pertaining to safety, equipment, inspection,
     and operational capability.
  2. CONTRACTOR agrees that he/she is responsible for all costs and expenses arising
     from CONTRACTOR's performance of Contracted Services, including, but not limited
     to, costs related to CONTRACTOR's Personnel (defined below) and Equipment. Except
     as otherwise required by law, CONTRACTOR assumes all risk of damage or loss to its
     Equipment.

VIII. PERSONNEL

  1. In order to perform any Contracted Services, CONTRACTOR must, for the safety of
     consumers on the DOORDASH platform, pass a background check administered by a
     third-party vendor, subject to CONTRACTOR's lawful consent. CONTRACTOR is not
     required to perform any Contracted Services personally, but may, to the extent
     permitted by law and subject to the terms of this Agreement, hire or engage others
     (as employees or subcontractors of CONTRACTOR) to perform all or some of the
     Contracted Services, provided any such employees or subcontractors meet all the
     requirements applicable to CONTRACTOR including, but not limited to, the
     background check requirements that CONTRACTOR must meet in order to perform
     Contracted Services. To the extent CONTRACTOR furnishes his/her own employees or
     subcontractors (collectively "Personnel"), CONTRACTOR shall be solely responsible for
     the direction and control of the Personnel it uses to perform all Contracted Services.
  2. CONTRACTOR assumes full and sole responsibility for the payment of all
     amounts due to his/her Personnel for work performed in relation to this
     Agreement, including all wages, benefits and expenses, if any, and for all
     required state and federal income tax withholdings, unemployment insurance
     contributions, and social security taxes as to CONTRACTOR and all Personnel
     employed by CONTRACTOR in the performance of Contracted Services under this
     Agreement. DOORDASH shall have no responsibility for any wages, benefits,
     expenses, or other payments due CONTRACTOR's Personnel, nor for income tax
     withholding, social security, unemployment insurance contributions, or other
     payroll taxes relating to CONTRACTOR or his/her Personnel. Neither
     CONTRACTOR nor his/her Personnel shall receive any wages, including vacation
     pay or holiday pay, from DOORDASH, nor shall they participate in or receive any
     other benefits, if any, available to DOORDASH's employees.
  3. Unless mandated by law, DOORDASH shall have no authority to withhold state
     or federal income taxes, social security taxes, unemployment insurance
     taxes/contributions, or any other local, state or federal tax on behalf of
     CONTRACTOR or his/her Personnel.
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  4. CONTRACTOR and his/her Personnel shall not be required to wear a uniform or other
     clothing of any type bearing DOORDASH's name or logo.
  5. If CONTRACTOR uses the services of any Personnel to perform the Contracted
     Services, CONTRACTOR's Personnel must satisfy and comply with all of the terms of
     this Agreement, which CONTRACTOR must make enforceable by written agreement
     between CONTRACTOR and such Personnel. A copy of such written agreement must
     be provided to DOORDASH at least 7 days in advance of such Personnel performing
     the Contracted Services. The parties acknowledge that the sole purpose of this
     requirement is to ensure CONTRACTOR's compliance with the terms of this
     Agreement.

IX. INSURANCE

  1. CONTRACTOR agrees, as a condition of doing business with DOORDASH, that during
     the term of this Agreement, CONTRACTOR will maintain current insurance, in amounts
     and of types required by law to provide the Contracted Services, at his/her own
     expense. CONTRACTOR acknowledges that failure to secure or maintain satisfactory
     insurance coverage shall be deemed a material breach of this Agreement and shall
     result in the termination of the Agreement and the loss of CONTRACTOR's right to
     receive Delivery Opportunities.
  2. NOTIFICATION OF COVERAGE: CONTRACTOR agrees to deliver to DOORDASH, upon
     request, current certificates of insurance as proof of coverage. CONTRACTOR agrees to
     provide updated certificates each time CONTRACTOR purchases, renews, or alters
     CONTRACTOR's insurance coverage. CONTRACTOR agrees to give DOORDASH at least
     thirty (30) days' prior written notice before cancellation of any insurance policy
     required by this Agreement.
  3. WORKERS' COMPENSATION/OCCUPATIONAL ACCIDENT
     INSURANCE: CONTRACTOR agrees that CONTRACTOR will maintain sufficient
     insurance to cover any risks or claims arising out of or related to CONTRACTOR’S
     relationship with DoorDash, including workers’ compensation insurance where
     required by law. CONTRACTOR acknowledges and understands that CONTRACTOR will
     not be eligible for workers’ compensation benefits through DOORDASH and is instead
     responsible for maintaining CONTRACTOR’S own workers’ compensation insurance
     or occupational accident insurance. CONTRACTOR’S maintenance of CONTRACTOR’S
     own workers’ compensation insurance or occupational accident insurance will not
     disqualify CONTRACTOR from participating in the Occupational Accident Insurance
     Policy for Dashers, which DoorDash may make available to CONTRACTOR.

X. INDEMNITY




                                                                                             8/17
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  1. DOORDASH agrees to indemnify, protect and hold harmless CONTRACTOR from any
     and all claims, demands, damages, suits, losses, liabilities and causes of action arising
     directly from DOORDASH's actions arranging and offering the Contracted Services to
     CONTRACTOR.
  2. CONTRACTOR agrees to indemnify, protect and hold harmless DOORDASH, including
     all parent, subsidiary and/or affiliated companies, as well as its and their past and
     present successors, assigns, officers, owners, directors, agents, representatives,
     attorneys, and employees, from any and all claims, demands, damages, suits, losses,
     liabilities and causes of action arising directly or indirectly from, as a result of or in
     connection with, the actions of CONTRACTOR and/or his/her Personnel arising from
     the performance of delivery services under this Agreement, including personal injury
     or death to any person (including to CONTRACTOR and/or his/her Personnel), as well
     as any liability arising from CONTRACTOR's failure to comply with the terms of this
     Agreement. CONTRACTOR's obligations hereunder shall include the cost of defense,
     including attorneys' fees, as well as the payment of any final judgment rendered
     against or settlement agreed upon by DOORDASH or its parent, subsidiary and/or
     affiliated companies.
  3. CONTRACTOR agrees to indemnify, protect and hold harmless DOORDASH, including
     all parent, subsidiary, and/or affiliated companies, as well as its and their past and
     present successors, assigns, officers, owners, directors, agents, representatives,
     attorneys, and employees, from any and all tax liabilities and responsibilities for
     payment of all federal, state and local taxes, including, but not limited to all payroll
     taxes, self-employment taxes, workers compensation premiums, and any
     contributions imposed or required under federal, state and local laws, with respect to
     CONTRACTOR and CONTRACTOR's Personnel.
  4. CONTRACTOR shall be responsible for, indemnify and hold harmless DOORDASH,
     including all parent, subsidiary, and/or affiliated companies, as well as its and their
     past and present successors, assigns, officers, owners, directors, agents,
     representatives, attorneys, and employees, from all costs of CONTRACTOR's business,
     including, but not limited to, the expense and responsibility for any and all applicable
     insurance, local, state or federal licenses, permits, taxes, and assessments of any and
     all regulatory agencies, boards or municipalities.

XI. MUTUAL ARBITRATION PROVISION




                                                                                                  9/17
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1. CONTRACTOR and DOORDASH mutually agree to this Mutual Arbitration Provision,
   which is governed by the Federal Arbitration Act (9 U.S.C. §§ 1-16) (“FAA”) and shall
   apply to any and all disputes arising out of or relating to this Agreement,
   CONTRACTOR’s classification as an independent contractor, CONTRACTOR’s provision
   of Contracted Services to consumers, the payments received by CONTRACTOR for
   providing services to consumers, the termination of this Agreement, and all other
   aspects of CONTRACTOR's relationship with DOORDASH, past, present or future,
   whether arising under federal, state or local statutory and/or common law, including
   without limitation harassment, discrimination or retaliation claims and claims arising
   under or related to the Civil Rights Act of 1964 (or its state or local equivalents),
   Americans With Disabilities Act (or its state or local equivalents), Age Discrimination in
   Employment Act (or its state or local equivalents), Family Medical Leave Act (or its state
   or local equivalents), Federal Credit Reporting Act (or its state or local equivalents),
   Telephone Consumer Protection Act (or its state or local equivalents), or Fair Labor
   Standards Act (or its state or local equivalents), state and local wage and hour laws,
   state and local statutes or regulations addressing the same or similar subject matters,
   and all other federal, state or local claims arising out of or relating to CONTRACTOR’s
   relationship or the termination of that relationship with DOORDASH. The parties
   expressly agree that this Agreement shall be governed by the FAA even in the event
   CONTRACTOR and/or DOORDASH are otherwise exempted from the FAA. Any
   disputes in this regard shall be resolved exclusively by an arbitrator. If for any reason
   the FAA does not apply, the state law governing arbitration agreements in the state in
   which the CONTRACTOR operates shall apply.
2. If either CONTRACTOR or DOORDASH wishes to initiate arbitration, the initiating party
   must notify the other party in writing via certified mail, return receipt requested, or
   hand delivery within the applicable statute of limitations period. This demand for
   arbitration must include (1) the name and address of the party seeking arbitration, (2)
   a statement of the legal and factual basis of the claim, and (3) a description of the
   remedy sought and (4) the amount in controversy. Any demand for arbitration by
   CONTRACTOR must be delivered to General Counsel, 901 Market Street, 6th Floor, San
   Francisco, California 94103.




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  3. Arbitration Class Action Waiver. CONTRACTOR and DOORDASH mutually agree that by
     entering into this agreement to arbitrate, both waive their right to have any dispute or
     claim brought, heard or arbitrated as, or to participate in, a class action, collective
     action and/or representative action—including but not limited to actions brought
     pursuant to the Private Attorney General Act (“PAGA”), California Labor Code section
     2699 et seq., and any request seeking a public injunction—and an arbitrator shall not
     have any authority to hear or arbitrate any class, collective or representative action, or
     to award relief to anyone but the individual in arbitration (“Arbitration Class Action
     Waiver”). Notwithstanding any other clause contained in this Agreement or the CPR
     Rules, as defined below, any claim that all or part of this Arbitration Class Action
     Waiver is unenforceable, unconscionable, void or voidable may be determined only by
     a court of competent jurisdiction and not by an arbitrator. In any case in which (1) the
     dispute is filed as a class, collective, or representative action and (2) there is a final
     judicial determination that all or part of the Arbitration Class Action Waiver is
     unenforceable, the class, collective and/or representative action to that extent must be
     litigated in a civil court of competent jurisdiction, but the portion of the Arbitration
     Class Action Waiver that is enforceable shall be enforced in arbitration. All other
     disputes with respect to whether this Mutual Arbitration Provision is unenforceable,
     unconscionable, applicable, valid, void or voidable, and all disputes regarding the
     payment of arbitrator or arbitration-organization fees including the timing of such
     payments and remedies for nonpayment, shall be determined exclusively by an
     arbitrator, and not by any court. For sake of clarification only, nothing in this
     paragraph shall be construed to prohibit settlements on a class-wide, collective,
     and/or representative basis.
  4. CONTRACTOR agrees and acknowledges that entering into this Mutual Arbitration
     Provision does not change CONTRACTOR’s status as an independent contractor in fact
     and in law, that CONTRACTOR is not an employee of DOORDASH or its customers and
     that any disputes in this regard shall be subject to arbitration as provided in this
     agreement.
  5. Any arbitration shall be governed by the CPR Administered Arbitration Rules and,
     when applicable, the CPR Employment-Related Mass-Claims Protocol (together, the
     “CPR Rules”) of the International Institute for Conflict Prevention & Resolution, except
     as follows:

a. The arbitration shall be heard by one arbitrator (the “Arbitrator”) selected in accordance
with the CPR Rules. The Arbitrator shall be an attorney with experience in the law
underlying the dispute.

b. If the parties cannot otherwise agree on a location for the arbitration, the arbitration
shall take place within 45 miles of CONTRACTOR’s residence as of the effective date of this
Agreement.

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c. The CPR fee schedule will apply with the following exceptions. Unless applicable law
provides otherwise, in the event that DOORDASH and CONTRACTOR have agreed to this
Mutual Arbitration Provision, DOORDASH and CONTRACTOR shall equally share filing fees
and other similar and usual administrative costs, as are common to both court and
administrative proceedings, but CONTRACTOR’s share of such fees and costs will not exceed
the filing fee to file the case in a court of competent jurisdiction embracing the location of
the arbitration. DOORDASH shall pay any costs uniquely associated with arbitration, such as
payment of the fees of the Arbitrator, as well as room rental.

d. The Arbitrator may issue orders (including subpoenas to third parties) allowing the
parties to conduct discovery sufficient to allow each party to prepare that party's claims
and/or defenses, taking into consideration that arbitration is designed to be a speedy and
efficient method for resolving disputes.

e. Except as provided in the Arbitration Class Action Waiver, the Arbitrator may award all
remedies to which a party is entitled under applicable law and which would otherwise be
available in a court of law, but shall not be empowered to award any remedies that would
not have been available in a court of law for the claims presented in arbitration. The
Arbitrator shall apply the state or federal substantive law, or both, as is applicable.

f. The Arbitrator may hear motions to dismiss and/or motions for summary judgment and
will apply the standards of the Federal Rules of Civil Procedure governing such motions.

g. The Arbitrator's decision or award shall be in writing with findings of fact and
conclusions of law.

h. The Arbitrator may issue orders to protect the confidentiality of proprietary
information, trade secrets, or other sensitive information. Subject to the discretion of the
Arbitrator or agreement of the parties, any person having a direct interest in the arbitration
may attend the arbitration hearing. The Arbitrator may exclude any non-party from any part
of the hearing.

i. Either CONTRACTOR or DOORDASH may apply to a court of competent jurisdiction for
temporary or preliminary injunctive relief on the ground that without such relief the
arbitration provided in this paragraph may be rendered ineffectual.




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1. Nothing in this Mutual Arbitration Provision prevents you from making a report to or
   filing a claim or charge with the Equal Employment Opportunity Commission, U.S.
   Department of Labor, U.S. Securities and Exchange Commission, National Labor
   Relations Board, or Office of Federal Contract Compliance Programs. Nothing in this
   Mutual Arbitration Provision prevents the investigation by a government agency of
   any report, claim or charge otherwise covered by this Mutual Arbitration
   Provision. This Mutual Arbitration Provision also does not prevent federal
   administrative agencies from adjudicating claims and awarding remedies based on
   those claims, even if the claims would otherwise be covered by this Mutual Arbitration
   Provision. Nothing in this Mutual Arbitration Provision prevents or excuses a party
   from satisfying any conditions precedent and/or exhausting administrative remedies
   under applicable law before bringing a claim in arbitration. DOORDASH will not
   retaliate against CONTRACTOR for filing a claim with an administrative agency or for
   exercising rights (individually or in concert with others) under Section 7 of the National
   Labor Relations Act. Disputes between the parties that may not be subject to
   predispute arbitration agreement, including as provided by an Act of Congress or
   lawful, enforceable Executive Order, are excluded from the coverage of this Mutual
   Arbitration Provision.
2. The CPR Rules may be found at www.cpradr.org or by searching for “CPR
   Administered Arbitration Rules” and “CPR Employment-Related Mass-Claims Protocol”
   using a service such as www.google.com or www.bing.com or by asking DOORDASH’s
   General Counsel to provide a copy.




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  3. CONTRACTOR’s Right to Opt Out of Mutual Arbitration Provision. Arbitration is
     not a mandatory condition of CONTRACTOR’s contractual relationship with
     DOORDASH, and therefore CONTRACTOR may submit a statement notifying
     DOORDASH that CONTRACTOR wishes to opt out and not be subject to this
     MUTUAL ARBITRATION PROVISION. In order to opt out, CONTRACTOR must notify
     DOORDASH in writing of CONTRACTOR's intention to opt out by sending a letter, by
     First Class Mail, to General Counsel, 901 Market Street, Suite 600, San Francisco, CA,
     94103. Any attempt to opt out by email will be ineffective. The letter must state
     CONTRACTOR's intention to opt out. In order to be effective, CONTRACTOR's opt out
     letter must be postmarked within 30 days of the effective date of this Agreement. The
     letter must be signed by CONTRACTOR himself/herself, and not by any agent or
     representative of CONTRACTOR. The letter may opt out, at most, only one
     CONTRACTOR, and letters that purport to opt out multiple CONTRACTORS will not be
     effective as to any. No CONTRACTOR (or his or her agent or representative) may
     effectuate an opt out on behalf of other CONTRACTORS. If CONTRACTOR opts out as
     provided in this paragraph, CONTRACTOR will not be subject to any adverse action
     from DOORDASH as a consequence of that decision and he/she may pursue available
     legal remedies without regard to this Mutual Arbitration Provision. If CONTRACTOR
     does not opt out within 30 days of the effective date of this Agreement, CONTRACTOR
     and DOORDASH shall be deemed to have agreed to this Mutual Arbitration Provision.
     CONTRACTOR has the right to consult with counsel of CONTRACTOR's choice
     concerning this Mutual Arbitration Provision (or any other provision of this
     Agreement).
  4. This Mutual Arbitration Provision is the full and complete agreement relating to the
     formal resolution of disputes covered by this Mutual Arbitration Provision. In the
     event any portion of this Mutual Arbitration Provision is deemed unenforceable, the
     remainder of this Mutual Arbitration Provision will be enforceable. The award issued
     by the Arbitrator may be entered in any court of competent jurisdiction.

XII. LITIGATION CLASS ACTION WAIVER




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  1. To the extent allowed by applicable law, separate and apart from the Mutual
     Arbitration Provision found in Section XI, CONTRACTOR agrees that any proceeding to
     litigate in court any dispute arising out of or relating to this Agreement, whether
     because CONTRACTOR opted out of the Mutual Arbitration Provision or any other
     reason, will be conducted solely on an individual basis, and CONTRACTOR agrees not
     to seek to have any controversy, claim or dispute heard as a class action, a
     representative action, a collective action, a private attorney-general action, or in any
     proceeding in which CONTRACTOR acts or proposes to act in a representative capacity
     (“Litigation Class Action Waiver”). CONTRACTOR further agrees that no proceeding will
     be joined, consolidated, or combined with another proceeding, without the prior
     written consent of all parties to any such proceeding. If a court of competent
     jurisdiction determines that all or part of this Litigation Class Action Waiver is
     unenforceable, unconscionable, void or voidable, the remainder of this Agreement
     shall remain in full force and effect.

XIII. TERMINATION OF AGREEMENT

  1. CONTRACTOR may terminate this Agreement upon seven (7) days written notice.
     DOORDASH may terminate this Agreement and deactivate CONTRACTOR’S Dasher
     account only for the reasons set forth in the DOORDASH Deactivation Policy, or for a
     material breach of this Agreement. Notwithstanding any other provision in this
     Agreement, DOORDASH reserves the right to modify the Deactivation Policy if, in
     DOORDASH’s good faith and reasonable discretion, it is necessary to do so for the safe
     and/or effective operation of the DOORDASH platform. DOORDASH shall provide
     notice of any such changes to CONTRACTOR via e-mail. Changes to the Deactivation
     Policy shall be effective and binding on the parties upon CONTRACTOR’s continued
     use of the DOORDASH platform following DOORDASH’s e-mail notice of such
     modifications. Nothing will prevent CONTRACTOR from attempting to negotiate an
     exemption from any modification to the Deactivation Policy.
  2. CONTRACTOR’s and DOORDASH’s obligations and rights arising under the Mutual
     Arbitration Provision of this Agreement shall survive termination of this Agreement.
     Notwithstanding any other provision in this Agreement, the Deactivation Policy is
     subject to change; such changes shall be effective and binding on the parties upon
     DOORDASH’S provision of notice to CONTRACTOR via e-mail.

XIV. ENTIRE AGREEMENT, TRANSFERABILITY, AND WAIVER




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  1. This Agreement shall constitute the entire agreement and understanding between the
     parties with respect to the subject matter of this Agreement and shall not be modified,
     altered, changed or amended in any respect, unless in writing and signed by both
     parties. Before accepting any modifications, alterations, changes or amendments,
     CONTRACTOR shall have the right to discuss any proposed changes with DOORDASH
     and consider whether to continue his/her contractual relationship with DOORDASH.
     This Agreement supersedes any prior contract between the parties. To the extent
     DOORDASH’s consumer facing Terms and Conditions Agreement (or updated
     consumer facing Terms and Conditions Agreement, if applicable) is inconsistent or
     conflicts with this Agreement, this Agreement controls. However, the decision to opt-
     out of the Mutual Arbitration Provision in this Agreement does not affect the
     enforceability of any arbitration agreement in the consumer facing Terms and
     Conditions Agreement to which Contractor may be bound (and vice versa). This
     Agreement may not be assigned by either party without written consent of the other
     and shall be binding upon the parties hereto, including their heirs and successors,
     provided, however, that DOORDASH may assign its rights and obligations under this
     Agreement to an affiliate of DOORDASH or any successor(s) to its business and/or
     purchaser of substantially all of its stock or assets. References in this Agreement to
     DOORDASH shall be deemed to include such successor(s).
  2. The failure of DOORDASH or CONTRACTOR in any instance to insist upon a strict
     performance of the terms of this Agreement or to exercise any option herein, shall not
     be construed as a waiver or relinquishment of such term or option and such term or
     option shall continue in full force and effect.

XV. MISCELLANEOUS

  1. CAPTIONS: Captions appearing in this Agreement are for convenience only and do not
     in any way limit, amplify, modify, or otherwise affect the terms and provisions of this
     Agreement.
  2. SEVERABILITY Clause: Except as specifically provided in Section XI, if any part of this
     Agreement is declared unlawful or unenforceable, the remainder of this Agreement
     shall remain in full force and effect.
  3. GOVERNING LAW: Except for the Mutual Arbitration Provision above, which is
     governed by the Federal Arbitration Act, the choice of law for interpretation of this
     Agreement, and the right of the parties hereunder, as well as substantive
     interpretation of claims asserted pursuant to Section XI, shall be the rules of law of the
     state in which CONTRACTOR performs the majority of the services covered by this
     Agreement.




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4. NOTICE AND OPPORTUNITY TO CURE: CONTRACTOR agrees to notify DOORDASH in
   writing at https://www.doordash.com/help/ of any breach or perceived breach of this
   Agreement, of any claim arising out of or related to this Agreement, or of any claim
   that CONTRACTOR’s services or scope of work differ in any way from what is
   contemplated in this Agreement, including but not limited to the terms in Sections II
   (Contractor’s Operations) and III (Contracted Services), or if the relationship of the
   parties differs from the terms contemplated in Section IV (Relationship of Parties).




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                    WHAT IS THE EMPLOYMENT-RELATED
                       MASS CLAIMS PROTOCOL?

        Arbitration is a private process where a neutral third-party acts like a judge
         and resolves a claim for two parties. Sometimes employment contracts
         require employees to use arbitration in claims against their employer. Where
         many employees (sometimes tens of thousands) have brought arbitration
         claims against a single entity, it is often difficult for the arbitration provider to
         process these claims quickly and efficiently.
        CPR, which is short for the International Institute for Conflict Prevention and
         Resolution, is also an arbitration provider. CPR has developed a process
         called the Employment Related Mass Claims Protocol to help with the
         administration of these mass claims. Since this process affects each
         employee’s (or claimant’s) legal rights, the full Protocol should be read
         carefully and in consultation with a lawyer.
        The Protocol uses “test” cases (a randomly-selected initial round of
         arbitrations) to provide examples for a mediator (a neutral third party who
         helps the parties to a claim find a solution). While the test cases go forward,
         the others will stand by. This should in most circumstances take about 6
         months.
        Once the test cases result in decisions, CPR will remove information from the
         decisions that would reveal who the claimant is and give copies of the
         decisions to the mediator. Using these examples, the mediator will try for 90
         days to assist the parties through their lawyers in coming to a process for
         resolving all of the remaining claims.
        If a global resolution is reached by the parties to the mediation, but the
         individual claimant doesn’t like it, the claimant can proceed to an individual
         arbitration of the claim by a neutral arbitrator.
        If a global resolution is not reached, the company or the individual parties can
         choose to either proceed in court or in arbitration. If the company chooses to
         go to court, everyone can refile their claim in court. If the company chooses to
         proceed in arbitration, each claimant will still have the opportunity to decide to
         go to court instead of arbitration.



*The Employment Related Mass Claims Protocol is attached hereto.



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                              EMPLOYMENT-RELATED MASS-CLAIMS PROTOCOL

Any time greater than 30 individual employment-related arbitration claims1 of a nearly identical nature
are, or have been, filed with CPR against the same Respondent(s) in close proximity one to another,
where Respondent(s) and claimants have agreed to arbitrate such claims in accordance with the CPR
Administered Arbitration Rules (“Admin Rules”) or CPR Non-Administered Arbitration Rules (“NA Rules”)
and where each claimant has been afforded the due process protections specified on CPR’s website,2
then the parties agree that this Protocol shall apply to any such arbitration claims for which an arbitrator
has not yet been appointed (collectively, the “Initial Mass Arbitrations”).3 All parties also agree that
claims are of a “Nearly Identical” nature if they arise out of a factual scenario and raise legal issues so
similar one to another that application of the Protocol to the number of claims at issue will reasonably
result in an efficient and fair adjudication of the claims. To the extent the parties agree on the
application of the Protocol to particular claims, they shall so advise CPR, and CPR shall confirm
application of the Protocol. To the extent the parties disagree on the application of the Protocol to
particular claims, the disagreeing party shall advise CPR, and CPR shall appoint a standing arbitrator
(“Administrative Arbitrator”) to determine the Protocol’s applicability.4 In an effort to expedite
resolution of any such dispute by the Administrative Arbitrator, the parties agree the Arbitrator may set
forth such procedures as are necessary to resolve any disputes promptly. The arbitrator fees for work
by the Administrative Arbitrator shall be paid by the Respondent(s).5

Selection of the Initial Cases

1.   Once CPR has advised Respondent(s) that the Protocol applies to the Initial Mass Arbitrations,6 the
     Respondent(s) shall submit an initiation fee to CPR;
2.   Once the Excel spreadsheet from claimants and the initiation fee from Respondent(s) have been
     submitted to CPR, CPR will assign random sequential numbers to each of the Initial Mass
     Arbitrations. Those claims assigned numbers 1-10 will be the initial Test Cases to proceed to

1
  Any time multiple arbitrations are filed with CPR against the same Respondent(s), the claimants filing the
arbitrations must complete the Excel spreadsheet for each of the arbitrations per the template provided by CPR on
its website. Failure to do so will result in rejection of the filings by CPR.
2
  As specified on CPR’s website, to the extent these protections are not afforded to each claimant, CPR will decline
to administer any portion of the proceeding, and this Protocol shall not apply.
3
  The application of this Protocol to arbitration claims means that the procedures set forth in this Protocol, rather
than those set forth in the Admin Rules or NA Rules, shall apply to the arbitrations unless otherwise specified.
And, for the avoidance of doubt, this means that the submission of the Excel spreadsheet by claimants for claims
governed by the Protocol shall be deemed the complete filing for purposes of the Admin Rules.
4
  To the extent that the parties all agree to treat a claim separately from this Protocol, CPR will separate the claim
from this Protocol. In that event, the claim shall be treated in accordance with the Admin Rules or NA Rules
specified by the parties and any other provisions agreed to by the parties. The same shall be true for any claim
that is determined by the Administrative Arbitrator to not be subject to this Protocol.
5
  To the extent claimants commence arbitrations subsequent to the Initial Mass Arbitrations that are of a Nearly
Identical nature (“Newly Commenced Mass Arbitrations”) and that the parties believe should be treated pursuant
to this Protocol, the claims shall proceed in accordance with the Protocol as outlined in the Protocol. If the parties
disagree on the application of the Protocol to particular claims amongst the Newly Commenced Mass Arbitrations,
the disagreement shall be resolved by the Administrative Arbitrator, as set forth above
6
  At its discretion and once there are 30 or more Initial Mass Arbitrations, CPR may initiate the application of the
Protocol even while the application of the Protocol to other arbitrations is still being resolved.

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        arbitration. To the extent that either counsel for the Respondent(s) or the claimants in the Initial
        Mass Arbitrations believe that there are claims in addition to the Test Cases that are necessary to
        guide the mediation process set forth below, counsel collectively for the claimants and counsel for
        the Respondent(s), within 5 days of the identification of the Test Cases, may submit up to an
        additional 5 claims, along with the reasons why the addition of such claims would be necessary to
        the mediation process, to counsel for the counterparty and to the Administrative Arbitrator for
        determination. The parties agree that the Administrative Arbitrator may determine whether these
        additional claims should proceed to arbitration based alone on the submissions by counsel or may,
        in its discretion, seek a response from counsel for the counterparty;
3.      Each of the Test Cases along with any additional cases added by the Administrative Arbitrator
        pursuant to the process outlined above (collectively, the “Initial Cases”) shall proceed to be
        arbitrated in accordance with the NA Rules. However, selection of the single arbitrator for each of
        these Initial Cases shall be made only by each of the claimants pursuant to the following process.
        CPR shall first present a Master List of qualified arbitrators to the Respondent(s) within 5 days of
        receipt of the initiation fee. Respondent(s) shall have 7 days after presentation to object to any
        candidate on that list only on the ground that there exists justifiable doubt as to the arbitrator’s
        independence or impartiality in serving in these matters. The objection shall state with specificity
        the reasons for the objection. CPR shall decide objections by referring them to a Challenge Review
        Committee;
4.      Selection of the sole arbitrator in each of the Initial Cases shall be conducted pursuant to Rule 6 of
        the NA Rules with the following modifications:
            a. Each claimant will be presented with CPR’s Master List subject to any objections from
                Respondent(s) sustained by CPR;
            b. Each claimant will nominate up to 3 arbitrators from CPR’s Master List within 7 days of its
                presentation to each claimant;
            c. If a Claimant fails to nominate 3 candidates within the time period, CPR will choose 3
                candidates;
            d. CPR will query the nominated candidates for disclosures, rates and availability;
            e. The disclosures, rates and availability shall be shared with the parties and any objections
                based on the disclosures shall be raised with CPR within 5 days of the parties’ receipt of the
                disclosures; and
            f. Subject to payment by Respondent(s) of an appointment fee per appointment to CPR, CPR
                will then appoint any candidate who has received no objections or for whom CPR has not
                sustained an objection7, and who is available to commence the arbitration within a
                reasonable timeframe after appointment.
5.      Any additional fees for services in connection with these Initial Cases shall be as per the CPR Fee
        Schedule;
6.      As provided in the NA Rules, and unless these matters resolve in advance, arbitrators will render
        final, reasoned awards (an award that sets out the reasoning on which it is based) in these matters
        within 120 days of the initial pre-hearing conference, and any extensions of time that would result
        in a final award being rendered more than 120 days after the initial pre-hearing conference shall be
        approved by CPR; and
7.      The reasoned awards shall be reasonably anonymized by CPR.

The Mediation Process


7
    CPR may refer objections where necessary to its Challenge Review Committee.

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8.    Upon receipt of a mediation administrative fee from Respondent(s), and pursuant to CPR’s
      Mediation Procedure, CPR shall appoint a suitable mediator or counsel for the parties to the Initial
      Mass Arbitrations as well as counsel for any Newly Commenced Mass Arbitrations that were
      commenced prior to initiation of the process to select the mediator may by agreement select a
      suitable mediator. The Respondent(s) shall also pay the mediator’s fees. The mediator shall be
      provided with the anonymized reasoned awards;
9.    The mediator shall conduct the mediation pursuant to the CPR Mediation Procedure. The object
      of the mediation shall be to identify a substantive methodology for resolving any outstanding,
      Nearly Identical claims, whether already commenced or not;
10.   Once the reasoned awards are provided to the mediator by CPR, the mediator and the counsel
      identified in paragraph 8 above shall have 90 days (the “mediation period”) to arrive at an
      approach for efficiently and fairly resolving the remaining claims;
11.   From the commencement of the Initial Mass Arbitrations until the expiration of the mediation
      period, all remaining arbitrations (other than the Initial Cases) shall be stayed, and the
      Respondent(s) agrees to toll the statute of limitations from the commencement of the arbitrations
      until an arbitrator is selected for each of the claims or until such time as the claimant provides
      notice of opting-out, whichever is earlier, in accord with this Protocol;
12.   If by the expiration of the mediation period the parties are unable to agree upon a methodology
      for further resolution, then at this point (and only at this point) the Respondent(s) and each
      remaining claimant may choose to opt out of the arbitration process and proceed in court with the
      remaining claims;8
13.   Notice of opting out shall be provided within 60 days of the close of the mediation period by
      Respondent(s) and each of the claimants choosing to opt out on a Claimant Opt-Out form requiring
      each claimant’s signature. The opt-outs shall be submitted to cprneutrals@cpradr.org. Absent an
      opt-out, the arbitrations shall proceed in the order determined by the random sequential numbers
      assigned to the Initial Mass Arbitrations, with as many proceeding simultaneously as practicable
      consistent with the procedures set forth in this Protocol;
14.   To the extent by the expiration of the mediation period the parties can agree upon a methodology
      for further resolution, the parties shall then seek to apply the methodology, as agreed upon during
      the mediation, to the remaining claims in an orderly and fair fashion;
15.   The remaining claimants at their individual discretion can choose to accept the approach as agreed
      upon and as applied by the mediator to their claim;
16.   If claimant accepts the approach, the parties shall enter into a settlement agreement that shall
      fully and finally resolve the claim;
17.   To the extent a claimant chooses not to accept the approach of the mediator, then the claimant
      shall promptly notify CPR at cprneutrals@cpradr.org that the arbitration is to proceed; and
18.   The arbitrations shall proceed in a sequence determined by CPR, which sequence shall in part turn
      on the timing of these notifications and on any other factors necessary for the efficient and orderly
      arbitration of the remaining claims.



8
  The ability to opt-out at the close of an unsuccessful mediation process by each remaining claimant shall be
available to each claimant proceeding under this Protocol, including with respect to Newly Commenced Mass
Arbitrations unless and until there is an agreement by counsel for Respondent(s) and counsel for at least 30
claimants to reinitiate the mediation process and the newly-initiated mediation process results in an agreed-upon
approach for efficiently and fairly resolving the remaining claims. At that point, all outstanding claimants shall no
longer be given the option to opt out but shall be given the option resolve their claims pursuant to the agreed-
upon approach as applied to their claim or proceed with their individual arbitration.

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Selection of the Arbitrator

19. Within 10 days of the completion of the mediation period, and upon CPR receiving a presentation
    fee from Respondent(s), CPR shall present a Master List of qualified candidates to the
    Respondent(s);9
20. Within 7 days of the presentation of the Master List, Respondent(s) shall object to any candidate
    on that list only on the ground that there exists justifiable doubt as to the arbitrator’s
    independence or impartiality in serving in these matters. The objection shall state with specificity
    the reasons for the objection;
21. CPR shall decide objections by referring them to a Challenge Review Committee; and
22. The arbitration selection process for each of the remaining arbitrations shall proceed as set forth
    above at Paragraph 4, and prior to each appointment of an arbitrator for each arbitration,
    Respondent(s) shall pay to CPR the appointment fee.

The Arbitration Process

23. The arbitration shall then proceed with CPR pursuant to the NA Rules, provided that:
        a. All arbitration hearings must take place no more than 50 miles from the claimant’s
            residence, or the parties and the arbitrator may agree to conduct the hearing via video
            conferencing;
        b. Arbitrator will handle all scheduling and other administrative matters with the parties;
        c. Arbitrator will handle all fundholding; and
        d. To the extent CPR is requested to provide a la carte assistance, it shall do so if practicable at
            the posted fee.
24. Every two months, CPR shall indicate to counsel for the parties the availability for arbitral
    appointments over the next 60-day period;
25. At the request of CPR, and with the agreement of counsel for Respondent(s) and counsel for 30 or
    more claimants, the mediation process as set forth above may be re-initiated pursuant to the CPR
    Mediation Procedure; however, the parties may agree to split the mediator’s fee, and there shall
    be no stay of pending arbitrations;
26. If the parties to the re-initiated mediation are successful in the 90-day timeframe at agreeing upon
    a substantive methodology for resolving any outstanding, Nearly Identical claims, those claimants
    who have not received final decisions in their arbitrations shall be given the opportunity to resolve
    their claims pursuant to the methodology agreed upon by the parties to the mediation. To the
    extent the parties to the re-initiated mediation are unable to agree upon a methodology for
    resolving claims, then only those claimants who were not previously provided an opt-out option in
    connection with their claims shall be afforded that option pursuant to Paragraphs 12-13 above.
    Otherwise, all claimants’ arbitrations shall continue to proceed under this Protocol; and
27. This Protocol shall be subject to requirements of applicable law.
28. CPR reserves the right in its sole discretion to change the elements of this Protocol and any fees at
    any time, provided that any arbitration in which a selection had already been made will not be
    affected.




9
 The Master List shall be refreshed and re-presented to the Respondent(s) at least every 6 months or earlier, if
requested by Respondent(s). Respondent(s) shall pay the presentation fee in advance of each presentation.

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   1.   Aaron, Marjorie                                                                       United   Mediator and
                                                         Cincinnati        Ohio
        Corman                                                                                States   Arbitrator
   2.   Arrington, Robert                                                                     United   Mediator and
                                                         Kingsport         Tennessee
        L.                                                                                    States   Arbitrator
   3.   Badway, Ernest                                                                        United   Mediator and
                             Partner                     New York          New York
        Edward                                                                                States   Arbitrator
                                                                                              United   Mediator and
   4.   Balkan, Kenneth J.                               Garden City       New York
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   5.   Belen, Ariel E.                                  New York          New York
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   6.   Bennett, Bruce       Attorney / CPA              Grayson           Georgia
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   7.   Benson, Roger C.                                 St. Petersburg    Florida
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   8.   Chalk, John Allen                                Fort Worth        Texas
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   9.   Creo, Robert                                     Pittsburgh        Pennsylvania
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   10. Deitz, Roger M.                                   New York          New York
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   11. DiBlasi, John P.                                  Garden City       New York
                                                                                              States   Arbitrator
                                                                                              United
   12. Evans, Cameron J.                                 Rochester         Michigan                    Arbitrator
                                                                                              States
                             Former Dean of Fordham
                             University Law School,
                                                                                              United   Mediator and
   13. Feerick, John D.      Former Partner of           New York          New York
                                                                                              States   Arbitrator
                             Skadden, Arps, Slate,
                             Meagher & Flom
                             Special Master, September
   14. Feinberg, Kenneth                                                   District of        United   Mediator and
                             11 Victim Compensation      Washington
       R.                                                                  Columbia           States   Arbitrator
                             Fund
                                                                                              United   Mediator and
   15. Feliu, Alfred                                     New Rochelle      New York
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   16. Gerstel, Linda                                    New York          New York
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   17. Hanft, Noah J.                                    New York          New York
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   18. Holmes, Reginald A.                               Pasadena          California
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   19. Jacobs, Roger B.                                  New York          New York
                                                                                              States   Arbitrator
                                                                                              United   Mediator and
   20. Jayson, Melinda G.                                Dallas            Texas
                                                                                              States   Arbitrator
   21. Kavanagh, E.                                                                           United   Mediator and
                                                         Garden City       New York
       Michael                                                                                States   Arbitrator
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                                                                                             United   Mediator and
   22. Keyes, Jeffrey J.                                Edina             Minnesota
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   23. Kheel, Robert J.                                 New York          New York
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   24. Kreismann, Ronald                                New York          New York
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   25. Krouse, Allen J.                                 New Orleans       Louisiana
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   26. Lampert, Michael A.                              New York          New York
                                                                                             States   Arbitrator
                                                                          District of        United   Mediator and
   27. Lesser, Nancy F.                                 Washington
                                                                          Columbia           States   Arbitrator
                                                                                             United   Mediator and
   28. Levin, Jack P.                                   New York          New York
                                                                                             States   Arbitrator
                             Former U.S. Court of                                            United   Mediator and
   29. Lewis, Timothy K.                                Pittsburgh        Pennsylvania
                             Appeals Judge                                                   States   Arbitrator
                                                                                             United   Mediator and
   30. Lichter, David H.                                Aventura          Florida
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   31. Malone, Bernard J.                               Garden City       New York
                                                                                             States   Arbitrator
   32. Marinello, Mitchell                                                                   United   Mediator and
                                                        Chicago           Illinois
       L.                                                                                    States   Arbitrator
   33. McDowell, Michael                                                                     United   Mediator and
                                                        Pittsburgh        Pennsylvania
       D.                                                                                    States   Arbitrator
                                                                                             United
   34. Mentz, Barbara A.                                New York          New York                    Arbitrator
                                                                                             States
                                                        Haverford,                           United   Mediator and
   35. Meyer, Judith P.                                                   Pennsylvania
                                                        Pennsylvania                         States   Arbitrator
                                                                                             United   Mediator and
   36. Morril, Mark C.                                  New York          New York
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   37. Moxley, Charles J.                               New York          New York
                                                                                             States   Arbitrator
                             Former U.S. Magistrate                                          United   Mediator and
   38. Naranjo, Dan A.                                  San Antonio       Texas
                             Judge                                                           States   Arbitrator
                             Fmr. U.S. District Court                                        United   Mediator and
   39. Nevas, Alan H.                                   Westport          Connecticut
                             Judge                                                           States   Arbitrator
                             Member of the firm-wide
                             Management Committee,
                             Executive Committee, co-
                                                                                             United
   40. Ostolaza, Yvette      head of the Firm’s         Dallas            Texas                       Arbitrator
                                                                                             States
                             Litigation practice, and
                             Managing Partner of the
                             Dallas office.
                                                                                             United
   41. Panarella, Merriann                              Natick            Massachusetts               Arbitrator
                                                                                             States
                                                                                             United   Mediator and
   42. Phillips, F. Peter                               Montclair         New Jersey
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   43. Phillips, John R.                                Kansas City       Missouri
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   44. Platt, Steven I.                                 Annapolis         Maryland
                                                                                             States   Arbitrator
                                                                                             United
   45. Prather, Robert C.                               Dallas            Texas                       Arbitrator
                                                                                             States
                                                                                             United   Mediator and
   46. Ravala, M. Salman                                New York          New York
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   47. Rosenblatt, Arnold                               Manchester        New Hampshire
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   48. Rosengard, Lee A.                                Philadelphia      Pennsylvania
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   49. Shea, Robert M.                                  Boston            Massachusetts
                                                                                             States   Arbitrator
                                                                                             United   Mediator and
   50. Singer, David C.                                 New York          New York
                                                                                             States   Arbitrator
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                                                                                         United   Mediator and
   51. Skelos, Peter B.                                 Garden City    New York
                                                                                         States   Arbitrator
   52. Smith Dedrick,                                                                    United   Mediator and
                                                        Denver         Colorado
       Katherine                                                                         States   Arbitrator
                             Former Texas State Civil                                    United   Mediator and
   53. Soussan, Susan S.                                Houston        Texas
                             District Judge                                              States   Arbitrator
                                                                                         United   Mediator and
   54. Thorpe, R. Wayne                                 Atlanta        Georgia
                                                                                         States   Arbitrator
                                                                                         United   Mediator and
   55. Travis, Mark C.                                  Cookeville     Tennessee
                                                                                         States   Arbitrator
                                                                                         United
   56. Wang, Tong                                       New York       New York                   Arbitrator
                                                                                         States
                                                                                         United   Mediator and
   57. Warshawsky, Ira B.                               Garden City    New York
                                                                                         States   Arbitrator
                                                                                         United
   58. Welch, Dana                                      Berkeley       California                 Arbitrator
                                                                                         States
                                                                                         United   Mediator and
   59. Wickliff, A. Martin                              Houston        Texas
                                                                                         States   Arbitrator
                                                                                         United   Mediator and
   60. Zulkey, Edward J.                                Chicago        Illinois
                                                                                         States   Arbitrator
     Case 3:19-cv-07646-WHA           Document 1-1    Filed 11/20/19   Page 308 of 326



 1     Justin Griffin (#234675)
         justingriffin@quinnemanuel.com
 2     QUINN EMANUEL URQUHART & SULLIVAN, LLP
 3     865 S. Figueroa St., 10th Floor
       Los Angeles, California 90017
 4     (213) 443-3100

 5     Travis Lenkner (pro hac vice forthcoming)
         tdl@kellerlenkner.com
 6     KELLER LENKNER LLC
 7     150 N. Riverside Plaza, Suite 4270
       Chicago, Illinois 60606
 8     (312) 741-5220

 9     Warren Postman (pro hac vice forthcoming)
         wdp@kellerlenkner.com
10     KELLER LENKNER LLC
11     1300 I Street, N.W., Suite 400E
       Washington, D.C. 20005
12     (202) 749-8334

13     Attorneys for Petitioners

14                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

15                                 FOR THE COUNTY OF SAN FRANCISCO
16                                                   )
       CHRISTINE BOYD, et al.,                       ) Case No. CPF-19-516930
17
                                                     )
18                                                   ) DECLARATION OF CHRISTINE BOYD
                      Petitioners,                   ) IN SUPPORT OF PETITIONERS’
19                                                   ) MOTION FOR TEMPORARY
              vs.                                    ) RESTRAINING ORDER AND ORDER
20                                                   ) TO SHOW CAUSE
21     DOORDASH, INC.,                               )
                                                     )
22                                                   )
                      Respondent.                    )
23                                                   )
                                                     )
24

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28
                                     DECLARATION OF CHRISTINE BOYD
                                          CASE NO. CPF-19-516930
DocuSign Envelope ID: 0BD660DF-657B-454A-9A6F-BA56578C5E6F
                  Case 3:19-cv-07646-WHA             Document 1-1      Filed 11/20/19     Page 309 of 326



              1               I, Christine Boyd, declare as follows:

              2               1.        I am over the age of 18. I have personal knowledge of the facts stated herein,

              3     and if called upon as a witness I could and would testify competently thereto.

              4               2.        I live in Pomona, California and work in Claremont and LaVerne, California.

              5               3.        To the best of my recollection, I started working for DoorDash as a driver

              6     (called a “Dasher”) with an orientation on February 10, 2018 and with deliveries starting

              7     approximately two weeks later in late February 2018 or early March 2018.

              8               4.        When I signed up to be a Dasher, I was required to sign a contract that

              9     DoorDash provided me. I signed the agreement and do not recall opting out of its arbitration

             10     clause.

             11               5.        I still work as a Dasher.

             12               6.        On or around July 19, 2019, I signed an engagement agreement authorizing

             13     Keller Lenkner LLC to bring misclassification related claims on my behalf against DoorDash.

             14               7.        About a week ago, I logged into the DoorDash app to begin making deliveries

             15     for DoorDash.

             16               8.        But before I could begin making deliveries, DoorDash presented me with its

             17     new terms and agreement. It would not let me proceed until I accepted its terms.

             18               9.        I thought that the new agreement was merely an update to the app. I did not

             19     realize that this agreement contained new provisions that could affect my ongoing case against

             20     DoorDash.

             21               10.       The App does not give drivers a lot of time to sign on. That day, I had put

             22     myself on pause. When I went back to the App, I only had about five to ten minutes to sign in. If

             23     I did not do it within that time period, I would be kicked off the App for the day, and I would not

             24     have been able to make any deliveries. Because of the timing pressure, I did not have a lot of

             25     time to look at the agreement. The update caught me at a time where, if I did not sign quickly, I

             26     would lose the hours that I was signed up to work. I do not recall receiving any other information

             27

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                                                   DECLARATION OF CHRISTINE BOYD
                                                         CASE NO. _________
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                  Case 3:19-cv-07646-WHA             Document 1-1     Filed 11/20/19      Page 310 of 326



              1     about this new agreement ahead of the time that I was scheduled to work, which would have

              2     allowed me to read the agreement more thoroughly.

              3             11.        I accepted the terms of the agreement even though I did not have the time to

              4     fully read through and understand them. I did so because I rely on the income being a Dasher

              5     provides, and I did what I had to do to start working.

              6

              7     I affirm that the foregoing is true under penalty of perjury under the laws of the United States.

              8
                                  11/18/2019                      Pomona                   California
              9     Signed on _________________________ in __________________, ________.

             10

             11                                                            ____________________
                                                                           Christine Boyd
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                                                   DECLARATION OF CHRISTINE BOYD
                                                         CASE NO. _________
     Case 3:19-cv-07646-WHA           Document 1-1    Filed 11/20/19   Page 311 of 326



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13     Attorneys for Petitioners

14                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

15                                 FOR THE COUNTY OF SAN FRANCISCO
16                                                   )
       CHRISTINE BOYD, et al.,                       ) Case No. CPF-19-516930
17
                                                     )
18                                                   ) DECLARATION OF JUSTIN GRIFFIN
                      Petitioners,                   ) IN SUPPORT OF PETITIONERS’
19                                                   ) MOTION FOR A TEMPORARY
              vs.                                    ) RESTRAINING ORDER AND ORDER
20                                                   ) TO SHOW CAUSE
21     DOORDASH, INC.,                               )
                                                     )
22                                                   )
                      Respondent.                    )
23                                                   )
                                                     )
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                                     DECLARATION OF JUSTIN GRIFFIN
                                         CASE NO. CPF-19-516930
     Case 3:19-cv-07646-WHA             Document 1-1        Filed 11/20/19      Page 312 of 326



 1                                   DECLARATION OF JUSTIN GRIFFIN

 2             I, Justin Griffin, declare based on personal knowledge as follows:

 3             1.        I am a Partner at Quinn Emanuel Urquhart & Sullivan, LLP, counsel for Petitioners

 4     in this matter.

 5             2.        I have personal knowledge of the facts stated herein, and if called upon as a witness,

 6     I could and would testify competently thereto.

 7             3.        This declaration is submitted in support of Petitioners’ Motion For A Temporary

 8     Restraining Order.

 9             4.        I certify that on 4:30 p.m. on November 19, 2019, Petitioners’ counsel provided

10     notice of Petitioners’ motion for a temporary restraining order and order to show cause to

11     DoorDash, Inc. via an email to DoorDash’s counsel in this matter, Joshua Lipshutz and Michael

12     Holecek of Gibson, Dunn & Crutcher LLP.

13             5.        In the email, Petitioners’ counsel informed DoorDash’s counsel that Petitioners’

14     motion for a temporary restraining order will be heard at 11 a.m. on Thursday, November 21, 2019

15     in Department 302 of the Superior Court of California, County of San Francisco, 400 McAllister

16     St, San Francisco, CA 94102. Petitioners’ counsel further informed DoorDash’s counsel of the

17     relief sought in Petitioners’ motion. Specifically, Petitioners’ counsel informed DoorDash’s

18     counsel that Petitioners seek a temporary restraining order and an order to show cause why a

19     preliminary injunction should not issue enjoining DoorDash, Inc. and its counsel from sending

20     revised arbitration agreements directly to Petitioners in an attempt to alter or eliminate the rights

21     Petitioners are pursuing in this action and in circumvention of Petitioners’ counsel.

22             6.        Petitioners’ counsel’s notice to DoorDash complied with California Rule of Court

23     3.1203, as counsel informed DoorDash of the ex parte application and when and where the

24     application would be made prior to 10:00 a.m. on the day before Petitioners’ ex parte appearance.

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                                       DECLARATION OF JUSTIN GRIFFIN
                                           CASE NO. CPF-19-516930
     Case 3:19-cv-07646-WHA           Document 1-1       Filed 11/20/19      Page 313 of 326



 1            7.      DoorDash’s counsel confirmed receipt of Petitioners’ notice at 5:57 p.m on

 2     November 19, 2019. DoorDash’s counsel did not indicate whether they intended to oppose, though

 3     Petitioners expect that DoorDash will oppose the motion.

 4

 5     I affirm that the foregoing is true under penalty of perjury under the laws of the State of California

 6     California.

 7     Signed on November 19, 2019 in Los Angeles, California
                                                                             _______________        _
 8                                                                           Justin Griffin
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                                     DECLARATION OF JUSTIN GRIFFIN
                                         CASE NO. CPF-19-516930
                                                        L;l
     Case 3:19-cv-07646-WHA           Document 1-1    Filed 11/20/19   Page 314 of 326



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13     Attorneys for Petitioners

14                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

15                                 FOR THE COUNTY OF SAN FRANCISCO
16                                                   )
       CHRISTINE BOYD, et al.,                       ) Case No. CPF-19-516930
17
                                                     )
18                                                   ) [PROPOSED] ORDER GRANTING
                      Petitioners,                   ) PETITIONERS’ APPLICATION FOR
19                                                   ) ORDER TO SHOW CAUSE RE
              vs.                                    ) PRELIMINARY INJUNCTION
20                                                   )
21     DOORDASH, INC.,                               )
                                                     )
22                                                   )
                      Respondent.                    )
23                                                   )
                                                     )
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                                    [PROPOSED] ORDER TO SHOW CAUSE
                                          CASE NO. CPF-19-516930
     Case 3:19-cv-07646-WHA            Document 1-1       Filed 11/20/19       Page 315 of 326



 1      [PROPOSED] ORDER GRANTING PETITIONERS’ APPLICATION FOR ORDER TO

 2                          SHOW CAUSE RE PRELIMINARY INJUNCTION:

 3            Petitioners Application for an Order to Show Cause re Preliminary Injunction (the

 4     “Application”) was heard before this Court on November 21, 2019 at 11:00 a.m. Having

 5     considered the Application together with the papers on file, as well as any oral argument of

 6     counsel, for good cause showing, the Court hereby GRANTS Petitioners’ Application.

 7            RESPONDENTS ARE HEREBY ORDERED to appear on _________ at

 8     ___________ in Department _________ of this Court located at 400 McAllister St., San

 9     Francisco, CA 94102, to show cause why a preliminary injunction should not be issued

10     restraining and enjoining, Respondent, its affiliates, agents, servants, assigns, and all those in

11     concert with them as follows:

12            (1) DoorDash is hereby enjoined from presenting Petitioners with any updated arbitration

13                agreement until the permissibility of presenting each Petitioner with an updated

14                agreement is decided in individual arbitrations administered by AAA.

15            IT IS FURTHER ORDERED THAT:

16            This Order to Show Cause and supporting papers shall be served on Respondents no later

17     than _____________________ by [personal service/facsimile transmission/overnight mail].

18     Proof of such service shall be filed and delivered in the manner provided by California Civil

19     Procedure Code section 527 at least _______ court days before prior to the hearing.

20            Any opposition papers to the Order to Show Cause shall be filed and served on Petitioners

21     by [personal service/facsimile transmission/overnight mail] no later than ___________________.

22     Any reply papers to the opposition shall be filed and served on Respondents by [personal

23     service/facsimile transmission/overnight mail] no later than ____________________.

24            SO ORDERED.

25     DATED: November __, 2019                               _____________________________

26                                                    Judge of the San Francisco Superior Court

27

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                                   [PROPOSED] ORDER TO SHOW CAUSE
                                         CASE NO. CPF-19-516930
     Case 3:19-cv-07646-WHA           Document 1-1    Filed 11/20/19   Page 316 of 326



 1     Justin Griffin (#234675)
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13     Attorneys for Petitioners

14                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

15                                 FOR THE COUNTY OF SAN FRANCISCO
16                                                   )
       CHRISTINE BOYD, et al.,                       ) Case No. CPF-19-516930
17
                                                     )
18                                                   ) [PROPOSED] ORDER GRANTING
                      Petitioners,                   ) PETITIONERS’ MOTION FOR A
19                                                   ) TEMPORARY RESTRAINING ORDER
              vs.                                    )
20                                                   )
21     DOORDASH, INC.,                               )
                                                     )
22                                                   )
                      Respondent.                    )
23                                                   )
                                                     )
24

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           [PROPOSED] ORDER GRANTING MOTION FOR A TEMPORARY RESTRAINING
                                       ORDER
                                CASE NO. CPF-19-516930
     Case 3:19-cv-07646-WHA         Document 1-1        Filed 11/20/19     Page 317 of 326



 1                         [PROPOSED] ORDER GRANTING PETITIONERS’

 2                      MOTION FOR A TEMPORARY RESTRAINING ORDER

 3            Petitioners’ Application for a Temporary Restraining Order (the “Application”) was heard

 4     before this Court on November 21, 2019 at 11:00 a.m. Petitioners moved this Court for an order

 5     enjoining Respondent DoorDash, Inc. from presenting Petitioners with its updated contractor

 6     agreement and requiring Petitioners to sign that agreement to continue working for the company.

 7     The Court, having considered the motion and supporting papers, any opposition, reply, or other

 8     submissions of the parties, counsels’ arguments, and any other material properly before the Court,

 9     and for good cause shown, hereby grants the motion for a temporary restraining order and orders

10     as follows:

11            DoorDash must immediately stop presenting Petitioners with any updated arbitration

12     agreement until the permissibility of presenting each Petitioner with an updated agreement is

13     decided in individual arbitrations administered by American Arbitration Association.

14

15            SO ORDERED.

16     DATED: November __, 2019                            _____________________________

17                                                  Judge of the San Francisco Superior Court

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           [PROPOSED] ORDER GRANTING MOTION FOR A TEMPORARY RESTRAINING
                                       ORDER
                                CASE NO. CPF-19-516930
Case 3:19-cv-07646-WHA   Document 1-1   Filed 11/20/19   Page 318 of 326




              EXHIBIT G
                                                                                       EMPLOYMENT ARBITRATION RULES
                                                                                            DEMAND FOR ARBITRATION

    To ensure your demand is processed promptly, please include a copy of the Arbitration Agreement, Plan or Contract.


Mediation: If you would like the AAA to contact the other parties and attempt to arrange mediation, please check this box    .


Parties (Claimant)

Name of Claimant: Felipe Rosas (KL Tracking No. 5906761)

Address: 5217 Silver Springs Ln

City: Bakersfield                                                 State: California                 Zip Code: 93313

Phone No.: 6615995254                                             Fax No.:

Email Address: rosasfelipedoordashz5906761@projects.filevine.com

Representative’s Name (if known): Ashley Keller

Firm (if applicable): Keller Lenkner LLC

Representative’s Address: 150 N. Riverside Plaza, Suite 4270

City: Chicago                                                     State: Illinois                   Zip Code: 60606

Phone No.: 3127415222                                             Fax No.:

Email Address: ack@kellerlenkner.com

Parties (Respondent)

Name of Respondent: DoorDash, Inc.

Address: 901 Market Street, 6th Floor

City: San Francisco                                               State: California                 Zip Code: 94103

Phone No.: 8559731040                                             Fax No.:

Email Address:

Representative’s Name (if known): Joshua S. Lipshutz

Firm (if applicable): Gibson, Dunn & Crutcher LLP
      Case 3:19-cv-07646-WHA
Representative’s                  Document
                 Address: 1050 Connecticut   1-1 Filed
                                           Avenue, N.W. 11/20/19      Page 319 of 326

City: Washington                                                  State: DC                         Zip Code: 20036

Phone No.: 2029558217                                             Fax No.: 2025309614

Email Address: jlipshutz@gibsondunn.com
Claim: What was/is the employee/worker’s annual wage range?       Less than $100,000    $100,000-$250,000    Over $250,000
Note: This question is required by California law.

Amount of Claim: Claimant declines to specify the amount in controversy at this time, as the information needed to calculate
damages is exclusively within DoorDash’s control.
Claim involves:  Statutorily Protected Rights  Non-Statutorily Protected Rights
              Case 3:19-cv-07646-WHA                     Document 1-1           Filed 11/20/19          Page 320 of 326

                                                                                           EMPLOYMENT ARBITRATION RULES
                                                                                                DEMAND FOR ARBITRATION




In detail, please describe the nature of each claim. You may attach additional pages if necessary:
Claimant has been a courier for DoorDash. DoorDash has exercised significant control over Claimant, including by determining which
deliveries it has offered Claimant and how much it has paid Claimant for each delivery. Because DoorDash sets the material terms of
its couriers’ conduct, Claimant has not used managerial skill to increase profits. Claimant, along with other couriers, has made up
DoorDash’s core workforce; Claimant is integral to DoorDash’s business. While working for DoorDash, Claimant has not operated a
transportation-based business independent of DoorDash. DoorDash has thus misclassified Claimant as an independent contractor
instead of an employee. Claimant seeks all available relief under the following provisions, as showing to be applicable following
discovery of information exclusively within the control of Respondent: 29 U.S.C. §§ 206, 207 (Minimum Wage & Overtime); California
Labor Code, Wage Order No. 9 (Minimum Wage & Overtime); Applicable Municipal Codes (Minimum Wage, Overtime, Sick Time &
Notice Violations); California Labor Code § 226 (Wage Statement and Records Access); and Cal. Bus. & Prof. Code § 17200 (Unfair
and Unlawful Business Practices).

Other Relief Sought:     Attorneys Fees       Interest     Arbitration Costs     Punitive/ Exemplary
  Other: declaratory relief; appropriate individual equitable relief, damages; penalties; and restitution
Please describe the qualifications for arbitrator(s) to hear this dispute:
Claimant requests that the arbitrator “be an attorney with experience in the law underlying the dispute.” § XI.5.a.
Hearing: Estimated time needed for hearings overall: 6 hours

Hearing Locale: Claimant request a hearing location within 45 miles of Claimant’s residence. § XI.5.b.
(check one)    Requested by Claimant        Locale provision included in the contract
Filing Fee requirement or $300 (max amount per AAA) – Claimant will satisfy the $300 filing fee requirement.
Filing by Company:     $2,200 single arbitrator $2,800 three arbitrator panel

Notice: To begin proceedings, please send a copy of this Demand and the Arbitration Agreement, along with filing fee as
provided for in the Rules, to: American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100, Voorhees, NJ
08043. Send the original Demand to the Respondent.
Signature (may be signed by a representative):                         Date:
                                                                       August 26, 2019


Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross monthly income of less than 300% of
the federal poverty guidelines are entitled to a waiver of arbitration fees and costs, exclusive of arbitrator fees. This law applies to all
consumer agreements subject to the California Arbitration Act, and to all consumer arbitrations conducted in California. Only those
disputes arising out of employer plans are included in the consumer definition. If you believe that you meet these requirements, you
must submit to the AAA a declaration under oath regarding your monthly income and the number of persons in your household.
Please contact the AAA’s Western Case Management Center at1-800-778-7879. If you have any questions regarding the waiver of
administrative fees, AAA Case Filing Services can be reached at 877-495-4185. Please visit our website at www.adr.org if you would
like to file this case online. AAA Customer Service can be reached at 800-778-7879.
Case 3:19-cv-07646-WHA   Document 1-1   Filed 11/20/19   Page 321 of 326




              EXHIBIT H
                                                                                       EMPLOYMENT ARBITRATION RULES
                                                                                            DEMAND FOR ARBITRATION

    To ensure your demand is processed promptly, please include a copy of the Arbitration Agreement, Plan or Contract.


Mediation: If you would like the AAA to contact the other parties and attempt to arrange mediation, please check this box    .


Parties (Claimant)

Name of Claimant: Kaneisha Grim (KL Tracking No. 5764546)

Address: 1501 E Century Blvd #227

City: Los Angeles                                                 State: California                 Zip Code: 90002

Phone No.: 2133730972                                             Fax No.:

Email Address: grimkaneishadoordashz5764546@projects.filevine.com

Representative’s Name (if known): Ashley Keller

Firm (if applicable): Keller Lenkner LLC

Representative’s Address: 150 N. Riverside Plaza, Suite 4270

City: Chicago                                                     State: Illinois                   Zip Code: 60606

Phone No.: 3127415222                                             Fax No.:

Email Address: ack@kellerlenkner.com

Parties (Respondent)

Name of Respondent: DoorDash, Inc.

Address: 901 Market Street, 6th Floor

City: San Francisco                                               State: California                 Zip Code: 94103

Phone No.: 8559731040                                             Fax No.:

Email Address:

Representative’s Name (if known): Joshua S. Lipshutz

Firm (if applicable): Gibson, Dunn & Crutcher LLP
      Case 3:19-cv-07646-WHA
Representative’s                  Document
                 Address: 1050 Connecticut   1-1 Filed
                                           Avenue, N.W. 11/20/19      Page 322 of 326

City: Washington                                                  State: DC                         Zip Code: 20036

Phone No.: 2029558217                                             Fax No.: 2025309614

Email Address: jlipshutz@gibsondunn.com
Claim: What was/is the employee/worker’s annual wage range?       Less than $100,000    $100,000-$250,000    Over $250,000
Note: This question is required by California law.

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damages is exclusively within DoorDash’s control.
Claim involves:  Statutorily Protected Rights  Non-Statutorily Protected Rights
              Case 3:19-cv-07646-WHA                     Document 1-1           Filed 11/20/19          Page 323 of 326

                                                                                           EMPLOYMENT ARBITRATION RULES
                                                                                                DEMAND FOR ARBITRATION




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its couriers’ conduct, Claimant has not used managerial skill to increase profits. Claimant, along with other couriers, has made up
DoorDash’s core workforce; Claimant is integral to DoorDash’s business. While working for DoorDash, Claimant has not operated a
transportation-based business independent of DoorDash. DoorDash has thus misclassified Claimant as an independent contractor
instead of an employee. Claimant seeks all available relief under the following provisions, as showing to be applicable following
discovery of information exclusively within the control of Respondent: 29 U.S.C. §§ 206, 207 (Minimum Wage & Overtime); California
Labor Code, Wage Order No. 9 (Minimum Wage & Overtime); Applicable Municipal Codes (Minimum Wage, Overtime, Sick Time &
Notice Violations); California Labor Code § 226 (Wage Statement and Records Access); and Cal. Bus. & Prof. Code § 17200 (Unfair
and Unlawful Business Practices).

Other Relief Sought:     Attorneys Fees       Interest     Arbitration Costs     Punitive/ Exemplary
  Other: declaratory relief; appropriate individual equitable relief, damages; penalties; and restitution
Please describe the qualifications for arbitrator(s) to hear this dispute:
Claimant requests that the arbitrator “be an attorney with experience in the law underlying the dispute.” § XI.5.a.
Hearing: Estimated time needed for hearings overall: 6 hours

Hearing Locale: Claimant request a hearing location within 45 miles of Claimant’s residence. § XI.5.b.
(check one)    Requested by Claimant        Locale provision included in the contract
Filing Fee requirement or $300 (max amount per AAA) – Claimant will satisfy the $300 filing fee requirement.
Filing by Company:     $2,200 single arbitrator $2,800 three arbitrator panel

Notice: To begin proceedings, please send a copy of this Demand and the Arbitration Agreement, along with filing fee as
provided for in the Rules, to: American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100, Voorhees, NJ
08043. Send the original Demand to the Respondent.
Signature (may be signed by a representative):                         Date:
                                                                       August 26, 2019


Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross monthly income of less than 300% of
the federal poverty guidelines are entitled to a waiver of arbitration fees and costs, exclusive of arbitrator fees. This law applies to all
consumer agreements subject to the California Arbitration Act, and to all consumer arbitrations conducted in California. Only those
disputes arising out of employer plans are included in the consumer definition. If you believe that you meet these requirements, you
must submit to the AAA a declaration under oath regarding your monthly income and the number of persons in your household.
Please contact the AAA’s Western Case Management Center at1-800-778-7879. If you have any questions regarding the waiver of
administrative fees, AAA Case Filing Services can be reached at 877-495-4185. Please visit our website at www.adr.org if you would
like to file this case online. AAA Customer Service can be reached at 800-778-7879.
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                EXHIBIT I
                                                                                       EMPLOYMENT ARBITRATION RULES
                                                                                            DEMAND FOR ARBITRATION

    To ensure your demand is processed promptly, please include a copy of the Arbitration Agreement, Plan or Contract.


Mediation: If you would like the AAA to contact the other parties and attempt to arrange mediation, please check this box    .


Parties (Claimant)

Name of Claimant: Irwin Allen (KL Tracking No. 5906887)

Address: 415 E. Pine st. #3

City: Santa Ana                                                   State: California                 Zip Code: 92701

Phone No.: 7149473556                                             Fax No.:

Email Address: allenirwindoordashz5906887@projects.filevine.com

Representative’s Name (if known): Ashley Keller

Firm (if applicable): Keller Lenkner LLC

Representative’s Address: 150 N. Riverside Plaza, Suite 4270

City: Chicago                                                     State: Illinois                   Zip Code: 60606

Phone No.: 3127415222                                             Fax No.:

Email Address: ack@kellerlenkner.com

Parties (Respondent)

Name of Respondent: DoorDash, Inc.

Address: 901 Market Street, 6th Floor

City: San Francisco                                               State: California                 Zip Code: 94103

Phone No.: 8559731040                                             Fax No.:

Email Address:

Representative’s Name (if known): Joshua S. Lipshutz

Firm (if applicable): Gibson, Dunn & Crutcher LLP
      Case 3:19-cv-07646-WHA
Representative’s                  Document
                 Address: 1050 Connecticut   1-1 Filed
                                           Avenue, N.W. 11/20/19      Page 325 of 326

City: Washington                                                  State: DC                         Zip Code: 20036

Phone No.: 2029558217                                             Fax No.: 2025309614

Email Address: jlipshutz@gibsondunn.com
Claim: What was/is the employee/worker’s annual wage range?       Less than $100,000    $100,000-$250,000    Over $250,000
Note: This question is required by California law.

Amount of Claim: Claimant declines to specify the amount in controversy at this time, as the information needed to calculate
damages is exclusively within DoorDash’s control.
Claim involves:  Statutorily Protected Rights  Non-Statutorily Protected Rights
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                                                                                           EMPLOYMENT ARBITRATION RULES
                                                                                                DEMAND FOR ARBITRATION




In detail, please describe the nature of each claim. You may attach additional pages if necessary:
Claimant has been a courier for DoorDash. DoorDash has exercised significant control over Claimant, including by determining which
deliveries it has offered Claimant and how much it has paid Claimant for each delivery. Because DoorDash sets the material terms of
its couriers’ conduct, Claimant has not used managerial skill to increase profits. Claimant, along with other couriers, has made up
DoorDash’s core workforce; Claimant is integral to DoorDash’s business. While working for DoorDash, Claimant has not operated a
transportation-based business independent of DoorDash. DoorDash has thus misclassified Claimant as an independent contractor
instead of an employee. Claimant seeks all available relief under the following provisions, as showing to be applicable following
discovery of information exclusively within the control of Respondent: 29 U.S.C. §§ 206, 207 (Minimum Wage & Overtime); California
Labor Code, Wage Order No. 9 (Minimum Wage & Overtime); Applicable Municipal Codes (Minimum Wage, Overtime, Sick Time &
Notice Violations); California Labor Code § 226 (Wage Statement and Records Access); and Cal. Bus. & Prof. Code § 17200 (Unfair
and Unlawful Business Practices).

Other Relief Sought:     Attorneys Fees       Interest     Arbitration Costs     Punitive/ Exemplary
  Other: declaratory relief; appropriate individual equitable relief, damages; penalties; and restitution
Please describe the qualifications for arbitrator(s) to hear this dispute:
Claimant requests that the arbitrator “be an attorney with experience in the law underlying the dispute.” § XI.5.a.
Hearing: Estimated time needed for hearings overall: 6 hours

Hearing Locale: Claimant request a hearing location within 45 miles of Claimant’s residence. § XI.5.b.
(check one)    Requested by Claimant        Locale provision included in the contract
Filing Fee requirement or $300 (max amount per AAA) – Claimant will satisfy the $300 filing fee requirement.
Filing by Company:     $2,200 single arbitrator $2,800 three arbitrator panel

Notice: To begin proceedings, please send a copy of this Demand and the Arbitration Agreement, along with filing fee as
provided for in the Rules, to: American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100, Voorhees, NJ
08043. Send the original Demand to the Respondent.
Signature (may be signed by a representative):                         Date:
                                                                       August 26, 2019


Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross monthly income of less than 300% of
the federal poverty guidelines are entitled to a waiver of arbitration fees and costs, exclusive of arbitrator fees. This law applies to all
consumer agreements subject to the California Arbitration Act, and to all consumer arbitrations conducted in California. Only those
disputes arising out of employer plans are included in the consumer definition. If you believe that you meet these requirements, you
must submit to the AAA a declaration under oath regarding your monthly income and the number of persons in your household.
Please contact the AAA’s Western Case Management Center at1-800-778-7879. If you have any questions regarding the waiver of
administrative fees, AAA Case Filing Services can be reached at 877-495-4185. Please visit our website at www.adr.org if you would
like to file this case online. AAA Customer Service can be reached at 800-778-7879.
